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                                                  same period, which amounts to $83.8                                           paying application fees; reporting to                                       evaluations, undergoing site visits,
                                                  million per year when annualized at a                                         DSOs; preparing, with their employers,                                      researching the compensation of
                                                  7 percent discount rate. At a 3 percent                                       the Training Plan; and periodically                                         similarly situated U.S. workers,
                                                  discount rate, the rule will cost $737.6                                      submitting updates to employers and                                         enrolling in (if not previously enrolled)
                                                  million over the same period, which                                           DSOs. DSOs will incur costs reviewing                                       and using E-Verify to verify
                                                  amounts to $86.5 million per year when                                        information and forms submitted by                                          employment eligibility for all new hires,
                                                  annualized at a 3 percent discount rate.                                      students, inputting required information                                    and complying with additional
                                                  These costs include the direct and                                            into the SEVIS, and complying with                                          requirements related to E-Verify. The
                                                  monetized opportunity costs to the three                                      other oversight requirements related to                                     following table shows a summary of the
                                                  types of entities primarily affected by                                       prospective and participating STEM
                                                                                                                                                                                                            total costs for a 10-year period of
                                                  this rule: students, schools, and                                             OPT students. Employers will incur
                                                                                                                                                                                                            analysis.
                                                  employers. Students will incur costs                                          costs preparing the Training Plan with
                                                  completing application forms and                                              students, confirming students’

                                                                                             TABLE 2—SUMMARY OF THE TOTAL COSTS OF THE FINAL RULE, 2016–2025
                                                                                                                                                             [$ millions]

                                                                                                                                                                                                           STEM OPT
                                                                                                                        Year                                                                                                  E-Verify cost   Total cost
                                                                                                                                                                                                          extension cost

                                                                                                                                                                                                                a                  b          c=a+b

                                                  1 ...................................................................................................................................................             $65.5              $1.8          $67.3
                                                  2 ...................................................................................................................................................              50.1               2.1           52.2
                                                  3 ...................................................................................................................................................              57.7               2.5           60.2
                                                  4 ...................................................................................................................................................              66.3               3.0           69.3
                                                  5 ...................................................................................................................................................              76.2               3.5           79.7
                                                  6 ...................................................................................................................................................              84.6               4.2           88.8
                                                  7 ...................................................................................................................................................              93.9               5.0           98.9
                                                  8 ...................................................................................................................................................             104.2               6.0          110.2
                                                  9 ...................................................................................................................................................             115.7               7.1          122.8
                                                  10 .................................................................................................................................................              128.4               8.4          136.8

                                                      Total ......................................................................................................................................                  842.5              43.6          886.1
                                                  Total (7%) ....................................................................................................................................                   560.6              27.9          588.5
                                                  Total (3%) ....................................................................................................................................                   701.9              35.7          737.6
                                                  Annual (7%) .................................................................................................................................                      79.8               4.0           83.8
                                                  Annual (3%) .................................................................................................................................                      82.3               4.2           86.5
                                                     * Estimates may not sum to total due to rounding.


                                                     DHS estimates the following                                                objectives of their courses of study by                                     compliance, and requiring the
                                                  distribution of costs per STEM OPT                                            allowing them to gain valuable                                              accreditation of participating schools
                                                  extension under the final rule at: $767                                       knowledge and skills through on-the-job                                     will further prevent abuse of the limited
                                                  per student, $239 per university DSO,                                         training that may be unavailable in their                                   on-the-job training opportunities
                                                  $1,268 per employer (with E-Verify),                                          home countries. The changes will also                                       provided by this program. These and
                                                  and $1,549 per employers new to STEM                                          benefit the U.S. educational system,                                        other elements of the rule will also
                                                  OPT (new to E-Verify).                                                        U.S. employers, and the U.S. economy.                                       improve program oversight, strengthen
                                                     In addition to the quantified costs                                        The rule will benefit the U.S.                                              the requirements for program
                                                  summarized above, there could be                                              educational system by helping ensure                                        participation, and better protect against
                                                  unquantified direct costs associated                                          that the nation’s colleges and                                              adverse consequences on U.S. workers,
                                                  with this rule. Such costs could include                                      universities remain globally competitive                                    as well as consequences that may result
                                                  costs to students and schools resulting                                       in attracting international students in                                     from exploitation of students.
                                                  from the final accreditation                                                  STEM fields. U.S. employers will                                               DHS has not attempted to quantify the
                                                  requirement; costs to employers from                                          benefit from the increased ability to rely                                  potential benefits of the rule because
                                                  the final requirement to provide STEM                                         on the skills acquired by STEM OPT                                          such benefits are difficult to measure.
                                                  OPT students with compensation                                                students while studying in the United                                       These benefits encompass a number of
                                                  commensurate to similarly situated U.S.                                       States, as well as their knowledge of                                       dynamic characteristics and explanatory
                                                  workers; and decreased practical                                              markets in their home countries. The                                        variables that are very difficult to
                                                  training opportunities for students no                                        U.S. economy as a whole will benefit                                        measure and estimate. Quantifying these
                                                  longer eligible for the program due to                                        from the increased retention of STEM                                        variables would require specific
                                                  revisions to the STEM OPT program.                                            students in the United States, including                                    analyses to develop reasonable and
                                                  DHS does not have adequate data to                                            through increased research, innovation,                                     accurate estimates from survey methods
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                                                  estimate the monetary value of these                                          and other forms of productivity that                                        that are not within the scope of this
                                                  possible costs.                                                               enhance the nation’s scientific and                                         regulatory analysis.
                                                  4. Estimated Benefits of Final Rule                                           technological competitiveness.                                              5. Alternatives
                                                     Making the STEM OPT extension                                                 Furthermore, strengthening the STEM                                         For purposes of this analysis, DHS
                                                  available to additional students and                                          OPT extension by implementing                                               considered three principal alternatives
                                                  extending its length will enhance                                             requirements for training, tracking                                         to the final rule. The first alternative
                                                  students’ ability to achieve the                                              objectives, reporting on program                                            was to take no regulatory action, in

                                                                                                                                                                                                                                        STEM000126
                                             VerDate Sep<11>2014          19:04 Mar 10, 2016          Jkt 238001       PO 00000        Frm 00072         Fmt 4701       Sfmt 4700       E:\FR\FM\11MRR2.SGM          11MRR2
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                                                  which case STEM OPT students would                                            institutions compared to educational                             that the practical training opportunity is
                                                  no longer be allowed to work or reside                                        systems in other countries that have                             long enough to complement the
                                                  in the United States past their 12-month                                      more flexible postgraduate training                              student’s academic experience and
                                                  post-completion OPT period, unless                                            programs.                                                        allow for a meaningful educational
                                                  they were able to convert to another                                            The second alternative considered                              experience, particularly given the
                                                  employment-authorized visa                                                    was to keep the maximum length of the                            complex nature of many STEM projects.
                                                  classification or complete another                                            STEM OPT extension at 17 months,                                    The third alternative to the final rule
                                                  academic program. DHS believes the                                            while implementing all other aspects of                          was to include a six-month evaluation
                                                  benefits that accrue from allowing the                                        the final rule. For students seeking a                           as part of the Training Plan. This
                                                  F–1 STEM OPT extension for students                                           STEM OPT extension based on a second                             alternative was considered in the
                                                  and educational institutions would not                                        or previously earned STEM degree, the                            NRPM. After considering an employer’s
                                                  be realized under this alternative and                                        alternative would be similar to the final                        typical schedule of annual evaluations
                                                  that in many cases these students would                                       rule, except with respect to the duration                        for all employees, including STEM OPT
                                                  have to leave the United States. DHS                                          of the OPT period. The 10-year total of                          extension students, DHS has rejected
                                                  rejects this alternative because it would                                     this alternative is $29 million less than                        this alternative in favor of an annual
                                                  deter future international students from                                      the final rule, discounted at 7 percent.                         evaluation.
                                                  applying to STEM degree programs at                                           After evaluation of DHS’s experience                                The results of this comparison of
                                                  U.S. educational institutions and reduce                                      with the STEM OPT extension, DHS has                             alternatives are summarized in the
                                                  the attractiveness of U.S. educational                                        rejected this alternative so as to ensure                        following table.

                                                                                                 TABLE 3—TOTAL COSTS FOR REGULATORY ALTERNATIVES CONSIDERED
                                                                                                                                                             [$ millions]

                                                                                                                                                                                               Alternative 2                        Improving and
                                                                                                                                                                                                                    Alternative 3
                                                                                                                                                                              Alternative 1    no change in                           extending
                                                                                                          Year                                                                                                        6 month
                                                                                                                                                                               no action        STEM OPT                             STEM OPT
                                                                                                                                                                                                                    evaluations
                                                                                                                                                                                                   length                             (final rule)

                                                  1 .......................................................................................................................             $0.0              $44.8             $81.0           $67.3
                                                  2 .......................................................................................................................              0.0               51.6              64.2            52.2
                                                  3 .......................................................................................................................              0.0               59.3              73.8            60.2
                                                  4 .......................................................................................................................              0.0               68.2              85.0            69.3
                                                  5 .......................................................................................................................              0.0               78.5              97.8            79.7
                                                  6 .......................................................................................................................              0.0               87.4             108.9            88.8
                                                  7 .......................................................................................................................              0.0               97.3             121.2            98.9
                                                  8 .......................................................................................................................              0.0              108.4             134.9           110.2
                                                  9 .......................................................................................................................              0.0              120.8             150.2           122.8
                                                  10 .....................................................................................................................               0.0              134.6             167.3           136.8

                                                      Total ..........................................................................................................                   0.0              851.1           1,084.4           886.1
                                                  Total (7%) ........................................................................................................                    0.0              559.5             720.0           588.5
                                                  Total (3%) ........................................................................................................                    0.0              705.5             902.5           737.6
                                                     * Estimates may not sum to total due to rounding.


                                                  B. Regulatory Flexibility Act                                                 formal process for updating the list of                          small- to medium-sized businesses that
                                                     The Regulatory Flexibility Act of                                          STEM degree programs that are eligible                           use this program. Commenters stated
                                                  1980, 5 U.S.C. 601–612, as amended by                                         for the STEM OPT extension, and                                  that managers of such businesses have
                                                  the Small Business Regulatory                                                 incorporate new measures to better                               many daily responsibilities—they are
                                                  Enforcement Fairness Act of 1996,                                             ensure that STEM OPT extensions do                               responsible for payroll, managing the
                                                  Public Law 104–121 (March 29, 1996),                                          not adversely affect U.S. workers. DHS                           Human Resources department, and
                                                  requires Federal agencies to consider                                         objectives and legal authority for this                          personally working with their customers
                                                  the potential impact of regulations on                                        final rule are further discussed                                 or clients, among other responsibilities.
                                                  small entities during rulemaking. The                                         elsewhere in this preamble.                                      Commenters stated that DHS
                                                  term ‘‘small entities’’ comprises small                                                                                                        underestimated the increased
                                                                                                                                2. A Statement of the Significant Issues                         administrative burdens that will be
                                                  business, not-for-profit organizations                                        Raised by the Public Comments in
                                                  that are independently owned and                                                                                                               borne by small businesses, and noted
                                                                                                                                Response to the Initial Regulatory                               that this time cannot be spent on the
                                                  operated and are not dominant in their                                        Flexibility Analysis, a Statement of the
                                                  fields, and governmental jurisdictions                                                                                                         core competencies of the firm. Many of
                                                                                                                                Assessment of the Agency of Such                                 these same concerns are shared by larger
                                                  with populations of less than 50,000.                                         Issues, and a Statement of Any Changes                           companies as well. Commenters
                                                  1. A Statement of the Need for, and                                           Made in the Rule as a Result of Such                             identifying as large participants in the
                                                  Objectives of, the Rule                                                       Comments
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                                                                                                                                                                                                 OPT program stated concerns that the
                                                    The final rule improves the STEM                                              Comment. Many universities and                                 individualized training plan must be
                                                  OPT extension by increasing oversight                                         employers specifically stated that the                           tracked by a supervisory employee at
                                                  and strengthening requirements for                                            rule would improve overall U.S.                                  the firm for each worker.
                                                  participation. The changes to the STEM                                        economic competitiveness. However,                                  Commenters stated that many firms
                                                  OPT extension regulations are intended                                        commenters stated that the burden of                             already have workable mentoring and
                                                  to enhance the educational benefit of                                         the proposed Mentoring and Training                              training programs in place at their firms,
                                                  the STEM OPT extension, create a                                              Plan would be felt more acutely by                               and some expressed concerns that the

                                                                                                                                                                                                                              STEM000127
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                                                  training plan requirement, in many                                 Finally, DHS disagrees with the                                 their DSOs when requesting the 24-
                                                  cases, would force companies to make                             comment concerning school revenue.                                month STEM OPT extension. The DSO
                                                  major changes to their current                                   DHS presents the costs to schools as a                            must retain a copy of the form. The
                                                  mentoring programs while imposing an                             percentage of estimated annual revenue                            student and employer must ensure that
                                                  unreasonable cost burden. Other                                  in order to assess the impact of                                  any modified Training Plan is submitted
                                                  commenters expressed concern that                                universities’ costs in the context of their                       to the student’s DSO (at the earliest
                                                  DHS severely underestimated the time                             overall revenue.                                                  available opportunity). The student and
                                                  to fill out the form. Finally, in the initial                    3. The Response of the Agency to Any                              employer must sign the modified
                                                  regulatory flexibility analysis, DHS                             Comments Filed by the Chief Counsel                               Training Plan reflecting the material
                                                  presented the costs to schools as a                              for Advocacy of the Small Business                                change(s) or deviation(s). Additionally,
                                                  percentage of annual revenue. A                                  Administration in Response to the                                 students will be required to update the
                                                  university commenter stated that                                 Proposed Rule, and a Detailed                                     form every 12 months to include a
                                                  comparing costs against revenue is not                           Statement of Any Changes Made to the                              progress report on accomplishments and
                                                  appropriate because schools do not                               Proposed Rule in the Final Rule as a                              skills or knowledge obtained. Employers
                                                  generate revenue from their graduates                            Result of the Comments                                            must meet with the student and sign the
                                                  directly, and universities do not fund                                                                                             12-month evaluation, and DSOs will
                                                                                                                      DHS did not receive comments from                              check to ensure the evaluation has been
                                                  their international student offices based
                                                                                                                   the Chief Counsel for Advocacy of the                             completed and retain a copy.
                                                  on student population.
                                                                                                                   Small Business Administration in
                                                     Response. DHS recognizes the                                  response to the proposed rule.                                    Schools
                                                  concerns of employers with regard to                                                                                                  Under the final rule, students must
                                                  complying with the training plan                                 4. A Description of and an Estimate of
                                                                                                                   the Number of Small Entities to Which                             provide the completed Training Plan for
                                                  requirements. As noted in sections IV.B.                                                                                           STEM OPT Students forms to their
                                                  and IV.F. of this preamble, DHS has                              the Rule Will Apply or an Explanation
                                                                                                                   of Why No Such Estimate Is Available                              DSOs to request STEM OPT extensions.
                                                  revised the NPRM to allow for                                                                                                      DHS’s analysis includes an opportunity
                                                  additional flexibilities for employers.                             DHS conducted a statistically valid
                                                                                                                                                                                     cost of time for reviewing the form to
                                                  For instance, DHS has changed the                                sample analysis to estimate the number
                                                                                                                   of STEM OPT employers and schools                                 ensure its proper completion and filing
                                                  frequency of the evaluation                                                                                                        the record either electronically or in a
                                                  requirement. DHS proposed requiring                              that would be considered small entities.
                                                                                                                   To identify the entities that would be                            paper folder.
                                                  an evaluation every six months, but is                                                                                                Schools will incur costs providing
                                                  reducing the frequency to every 12                               considered ‘‘small,’’ DHS used the SBA
                                                                                                                   guidelines on small business size                                 oversight, reporting STEM OPT
                                                  months. This change is intended to                                                                                                 students’ information, and reviewing
                                                  better reflect employer practices where                          standards applied by NAICS code. This
                                                                                                                   analysis indicated that 48 percent of                             required documentation. DSOs will be
                                                  annual reviews are standard, allowing                                                                                              required to ensure the form has been
                                                  students and employers to better align                           schools are small entities. Based on
                                                                                                                   1,109 approved and accredited schools                             properly completed and signed prior to
                                                  the evaluations required under this rule                                                                                           making a recommendation in SEVIS.
                                                  with current evaluation cycles. In                               participating in STEM OPT extensions,
                                                                                                                   about 532 could reasonably be expected                            Schools will be required to ensure that
                                                  addition, DHS has modified the                                                                                                     SEVP has access to student evaluations
                                                  regulatory text to further ensure that                           to be small entities impacted by the
                                                                                                                   rule. Analysis of a sample of 26,260                              (electronic or hard copy) for a period of
                                                  employers may rely on their existing                                                                                               at least three years following the
                                                  training programs to meet certain                                entities that employed students who
                                                                                                                   had obtained STEM OPT extensions                                  completion of each STEM practical
                                                  training plan requirements under this                                                                                              training opportunity. This rule, like the
                                                  rule, so long as such training programs                          revealed that about 69 percent were
                                                                                                                   small. Hence, about 18,000 employers                              2008 IFR, requires six-month student
                                                  otherwise meet the rule’s training plan                                                                                            validation check-ins with DSOs. While
                                                                                                                   that are small entities could be affected
                                                  requirements. Finally, in response to                                                                                              the DSO will be in communication with
                                                                                                                   by the rule.
                                                  comments received, DHS has updated                                                                                                 the student during a six-month
                                                  the estimate of time to complete the                             5. A Description of the Projected                                 validation check-in, the final rule adds
                                                  Training Plan for STEM OPT Students                              Reporting, Recordkeeping, and Other                               an additional requirement that DSOs
                                                  form to 7.5 hours.                                               Compliance Requirements of the Rule,                              also check to ensure the 12-month
                                                     While employers may need to make                              Including an Estimate of the Classes of                           evaluation has been properly completed
                                                  adjustments due to the training plan                             Small Entities That Will Be Subject to                            and retain a copy. The final rule
                                                  requirement, DHS views the educational                           the Requirements and the Types of                                 maintains the 2008 IFR requirements for
                                                  and program integrity benefits as                                Professional Skills Necessary for                                 periodic information reporting
                                                  outweighing any costs associated with                            Preparation of the Report or Record                               requirements on students, which results
                                                  the Training Plan and supporting                                    The final rule requires assurance that                         in a burden for DSOs. Table 3
                                                  documentation. In addition, it is                                STEM OPT students develop, with their                             summarizes the school costs from the
                                                  primarily the student’s responsibility to                        employers, a training plan. When                                  final rule, as described in the Costs
                                                  complete the Training Plan with the                              completed, students submit the Training                           section of the separate Regulatory
                                                  employer and submit it to the DSO.                               Plan for STEM OPT Students form to                                Impact Analysis.

                                                                                     TABLE 4—SCHOOLS—COST OF COMPLIANCE PER STEM OPT OPPORTUNITY
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                                                                                                                                                                                                         Cost in year 1   Cost in year 2
                                                                            Final provision                                             Calculation of school cost per student                            per student      per student

                                                  Initially Reviewing and Filing Training Plan Form 1 ......                 (1.33 hours u$39.33) ...................................................          $52.31            $0.00
                                                  12-Month Evaluation 2 ..................................................   (1 hour u1 eval u$39.33) ...........................................              39.33            39.33
                                                  6-Month Validation Check-Ins 2 ....................................        (0.17 hours u2 validation check-ins u$39.33) ............                         13.37            13.37



                                                                                                                                                                                                                   STEM000128
                                             VerDate Sep<11>2014      19:04 Mar 10, 2016     Jkt 238001     PO 00000     Frm 00074     Fmt 4701     Sfmt 4700     E:\FR\FM\11MRR2.SGM           11MRR2
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                                                                              TABLE 4—SCHOOLS—COST OF COMPLIANCE PER STEM OPT OPPORTUNITY—Continued
                                                                                                                                                                                                                                    Cost in year 1    Cost in year 2
                                                                                Final provision                                                       Calculation of school cost per student                                         per student       per student

                                                  Additional Implementation 2 ..........................................                 0.10 u(Training Plan Initial + eval + validation check-                                             10.83             5.27
                                                                                                                                           ins costs).
                                                  Periodic Reports to DSO ..............................................                 0.17 hours u2 reports u$39.33 ..................................                                   13.37            13.37

                                                        Total .......................................................................     .......................................................................................           128.88             71.34
                                                     1 Training Plan initial costs are only in year 1 per STEM OPT student.
                                                     2 Estimated based on 12-month-period.




                                                    DHS estimates the annual impact to                                        estimate school revenue.129 While                                              sufficient data would be less than 1
                                                  schools based on the school cost of                                         tuition revenue may underestimate                                              percent, with the average annual impact
                                                  compliance as a percentage of annual                                        actual school revenue, this is the best                                        being 0.005 percent. All sampled small-
                                                  revenue. Second-year costs account for                                      information available to DHS, and                                              entity schools with sufficient data had
                                                  new additional STEM OPT extension                                           certainly the largest source of income                                         second-year annual impacts of less than
                                                  students. For not-for-profit schools, DHS                                   for most schools. DHS’s analysis shows                                         1 percent, with the average annual
                                                  multiplied full-time first-year student                                     that the first-year annual impact for the                                      impact being 0.009 percent.
                                                  tuition by total number of students to                                      sampled small-entity schools with

                                                                                                                     TABLE 5—SCHOOLS—ANNUAL IMPACT IN YEAR 1
                                                                                                                                                                                                           Number of                  Number of        Percent of
                                                                                                                                                                                                            for-profit                non-profit
                                                                                                        Revenue impact range                                                                                                                           small entity
                                                                                                                                                                                                          small entities             small entities     schools
                                                                                                                                                                                                           with data                  with data

                                                  0% < Impact d1% .......................................................................................................................                                     4                137           100%

                                                        Total ......................................................................................................................................                           141                               100


                                                                                                                     TABLE 6—SCHOOLS—ANNUAL IMPACT IN YEAR 2
                                                                                                                                                                                                           Number of                  Number of        Percent of
                                                                                                                                                                                                            for-profit                non-profit
                                                                                                        Revenue impact range                                                                                                                           small entity
                                                                                                                                                                                                          small entities             small entities     schools
                                                                                                                                                                                                           with data                  with data

                                                  0% < Impact d1% .......................................................................................................................                                     4                137           100%

                                                        Total ......................................................................................................................................                       141                  100



                                                    Finally, schools not accredited by a                                      hours per week while on their STEM                                             employment to those of the STEM OPT
                                                  Department of Education-recognized                                          OPT extension, and that they receive                                           student’s practical training opportunity.
                                                  accrediting agency may incur                                                commensurate compensation. DHS does                                               The final rule indicates that DHS, at
                                                  unquantified costs from the final rule’s                                    not have data on the number of STEM                                            its discretion, may conduct a site visit
                                                  prohibition on participation in the                                         OPT students who do not currently                                              of an employer. The employer site visit
                                                  STEM OPT extension by students                                              receive compensation. Nor does DHS                                             is intended to ensure that each
                                                  attending unaccredited schools. A few                                       have data on the number of STEM OPT                                            employer meets program requirements,
                                                  schools may choose to seek                                                  students who do not currently receive                                          including that they are complying with
                                                  accreditation, or may potentially lose                                      wages or other qualifying compensation                                         their attestations and that they possess
                                                  future international students and                                           that would be considered commensurate                                          the ability and resources to provide
                                                  associated revenue.                                                         under the final rule. To the extent that                                       structured and guided work-based
                                                  Employers                                                                   employers are not currently                                                    learning experiences outlined in
                                                                                                                              compensating STEM OPT students in                                              students’ Training Plans. Site visits will
                                                     Employers will be required to provide                                    accordance with the final rule, this                                           be performed at the discretion of DHS
                                                  information for certain fields in the                                       rulemaking creates additional costs to                                         either randomly or when DHS
                                                  Training Plan for STEM OPT Students                                         these employers. In the quantified costs,                                      determines that such an action is
                                                  form, review the completed form, and                                                                                                                       needed. The length and scope of such a
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                                                                                                                              DHS does account for the possible
                                                  attest to the certifications on the form.                                                                                                                  visit would be determined on a case-by-
                                                                                                                              additional burden of reviewing the
                                                  The final rule also prohibits using                                                                                                                        case basis. For law enforcement reasons,
                                                                                                                              employment terms of similarly situated
                                                  STEM OPT extension students as                                                                                                                             DHS does not include an estimate of the
                                                  volunteers. The rule additionally                                           U.S. workers in order to compare the                                           basis for initiating a site visit and is
                                                  requires that students work at least 20                                     terms and conditions of their                                                  unable to estimate the number of site
                                                    129 U.S. Department of Education, National Center                         Sciences, ‘‘Academic year prices for full-time, first-                         including Undergraduate and Graduate) 2014–2015,
                                                  for Education Statistics, Institute of Education                            time undergraduate students,’’ (Total enrollment,                              Available at http://nces.ed.gov/globallocator/.


                                                                                                                                                                                                                                               STEM000129
                                             VerDate Sep<11>2014         19:04 Mar 10, 2016         Jkt 238001       PO 00000        Frm 00075        Fmt 4701        Sfmt 4700       E:\FR\FM\11MRR2.SGM                 11MRR2
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                                                  visits that may be conducted, and thus                                      DHS estimates that an employer site                                         to receive such a site visit, it would cost
                                                  is unable to provide a total annual                                         visit may include review of records and                                     the employer approximately $394.80 (5
                                                  estimated cost for such potential                                           questions for the supervisor, and will                                      hours u$78.96).130
                                                  occurrences. However, based on                                              take five hours per employer. Therefore,
                                                  previous on-site-reviews to schools,                                        DHS estimates that if an employer were

                                                                                                                      TABLE 7—EMPLOYERS—COST OF COMPLIANCE
                                                                                Final provision                                                                      Calculation of costs                                       Cost in year 1    Cost in year 2

                                                  Initially Completing Training Plan Form 1 .....................                        (3 hours u$78.96) + (1 hour u$43.93) .......................                                $280.81             $0.00
                                                  12-Month Evaluations 2 .................................................               (0.75 hours u1 eval u$78.96) .....................................                            59.22             59.22
                                                  Additional Implementation ............................................                 0.1 u(Training Plan Initial + evals costs) .....................                               34.00              5.92

                                                  Employer STEM OPT Costs per Student = .................                                Total ..............................................................................           374.03             65.14

                                                  Cost for E-Verify per New Hire Case ...........................                        (0.16 hours u$43.93) ...................................................                        7.03             7.03
                                                  E-Verify Enrollment & Setup ........................................                   (2.26 hours u$80.12) + $100 ......................................                            281.07             0.00
                                                  E-Verify Annual Training & Maintenance .....................                           (1 hour u$43.93) + $398 .............................................                         441.93           441.93
                                                  Compliance Site Visit ...................................................              ([5 hours u$78.96] + [5 hours u$43.93]) ....................                                   0.00           614.45

                                                  E-Verify and Site Visit Employer Costs = ....................                          Total ..............................................................................           723.00         1,056.38
                                                     1 Training Plan initial costs are only in year 1 per STEM OPT student.
                                                     2Estimated based on 12-month-period.




                                                    DHS estimates the annual impact to                                        revenue data, DHS multiplied the                                            the average first-year annual revenue
                                                  employers based on the employer cost                                        tuition per full-time first-year student                                    impact being 0.11 percent and second-
                                                  of compliance as a percentage of annual                                     with total enrollment numbers to                                            year annual revenue impact being 0.13
                                                  revenue. Second-year costs include                                          estimate their revenue. DHS’s analysis                                      percent. Additionally, the cost impact
                                                  initial submission of Training Plans for                                    shows that the first- and second-year                                       per employer included a compliance
                                                  new STEM OPT students who will be                                           annual impact for 99 percent of the                                         site visit in year 2; therefore, costs could
                                                  hired in the second year. For not-for-                                      sampled small entities with sufficient                                      be less for employers that do not receive
                                                  profit school employers without                                             data would be less than 1 percent, with                                     a site visit.

                                                                                                                  TABLE 8—EMPLOYERS—ANNUAL IMPACT IN YEAR 1
                                                                                                                                                                                                        Number of                 Number of        Percent of
                                                                                                                                                                                                         for-profit               non-profit
                                                                                                        Revenue impact range                                                                                                                       small entity
                                                                                                                                                                                                       small entities            small entities    employers
                                                                                                                                                                                                        with data                 with data

                                                  0% < Impact d1% .......................................................................................................................                             240                    7             99%
                                                  1% < Impact d3% .......................................................................................................................                               2                    0               1

                                                        Total ......................................................................................................................................                       249                             100.0


                                                                                                                  TABLE 9—EMPLOYERS—ANNUAL IMPACT IN YEAR 2
                                                                                                                                                                                                        Number of                 Number of        Percent of
                                                                                                                                                                                                         for-profit               non-profit
                                                                                                        Revenue impact range                                                                                                                       small entity
                                                                                                                                                                                                       small entities            small entities    employers
                                                                                                                                                                                                        with data                 with data

                                                  0% < Impact d1% .......................................................................................................................                             239                    7             99%
                                                  1% < Impact d3% .......................................................................................................................                               3                    0               1

                                                        Total ......................................................................................................................................                       249                             100.0



                                                  Current Employers That Do Not                                               extension opportunity, some employers                                       employers due to lack of available
                                                  Continue to Participate                                                     (such as temporary employment                                               information on employers that would
                                                                                                                              agencies) will no longer be allowed to                                      fall under this category and the
                                                    Due to additional employer                                                participate in STEM OPT extensions.                                         associated economic impacts.
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                                                  requirements that must be met in order                                      DHS has not attempted to quantify costs
                                                  to receive the benefit of a STEM OPT                                        associated with this possible impact on
                                                    130 DHS estimates that this work will be                                  Calculated 1.46 by dividing total compensation for                          worked for employee compensation and costs as a
                                                  performed by general management staff at an hourly                          all workers of $33.13 by wages and salaries for all                         percent of total compensation: Civilian workers, by
                                                  rate of $54.08 (as published by the May 2014 BLS                            workers of $22.65 per hour (yields a benefits                               major occupational and industry group, December
                                                  Occupational Employment and Wage Estimates),                                multiplier of approximately 1.46 uwages). Bureau                           2014.’’ Available at: http://www.bls.gov/
                                                  which we multiply by 1.46 to account for employee                           of Labor Statistics, Employer Costs for Employee
                                                                                                                                                                                                          news.release/archives/ececB03112015.htm.
                                                  benefits to obtain a total hourly labor cost of $78.96.                     Compensation, Table 1. Employer costs per hour


                                                                                                                                                                                                                                           STEM000130
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                                                  6. A description of the steps the agency                three alternative options that could have             State, local, or tribal government in the
                                                  has taken to minimize the significant                   reduced the burden of the rule on small               aggregate, or by the private sector, of
                                                  economic impact on small entities                       entities. The alternatives considered                 $100,000,000 (adjusted for inflation) or
                                                  consistent with the stated objectives of                were (1) no regulatory action, (2) no                 more in any year. Although this rule
                                                  applicable statutes, including a                        change in the duration of the STEM                    would not result in such an
                                                  statement of the factual, policy, and                   OPT extension, and (3) requiring a six                expenditure, we do discuss the effects of
                                                  legal reasons for selecting the alternative             month evaluation. DHS rejected these                  this rule elsewhere in this preamble.
                                                  adopted in the final rule, and why each                 alternatives. First, without regulatory
                                                                                                                                                                E. Congressional Review Act
                                                  one of the other significant alternatives               action, OPT students would no longer
                                                  to the rule considered by the agency                    be allowed to work or reside in the                     DHS has sent this final rule to the
                                                  which affect the impact on small                        United States past their 12-month post-               Congress and to Comptroller General
                                                  entities was rejected                                   completion OPT period. This would                     under the Congressional Review Act, 5
                                                                                                          deter future international students who               U.S.C. 801 et seq. This rule is a ‘‘major
                                                     DHS recognizes that the final rule will                                                                    rule’’ within the meaning of the
                                                                                                          would pursue STEM degrees from
                                                  increase requirements on schools and                                                                          Congressional Review Act.
                                                                                                          applying to U.S. educational
                                                  employers of STEM OPT students. DHS
                                                                                                          institutions, and reduce the                          F. Collection of Information
                                                  has tried to minimize, to the extent
                                                                                                          attractiveness of U.S. educational
                                                  possible, the small entity economic                                                                              Federal agencies are required to
                                                                                                          institutions compared to educational
                                                  impacts of the final rule by structuring                                                                      submit to OMB, for review and
                                                                                                          systems in other countries that have
                                                  the program such that students are                      more flexible student work programs.                  approval, any reporting or
                                                  largely responsible for meeting its                     Second, without increasing the duration               recordkeeping requirements inherent in
                                                  requirements. This not only minimizes                   of the STEM OPT extension, students’                  a rule under the Paperwork Reduction
                                                  the burden of the final program on                      practical training opportunities would                Act of 1995, as amended, 44 U.S.C.
                                                  schools and employers but also helps to                 not be long enough to complement the                  3501–3520. Under the Paperwork
                                                  ensure that students, who are the most                  student’s academic experience and                     Reduction Act, an agency may not
                                                  direct beneficiaries of the practical                   allow for a meaningful educational                    conduct or sponsor, and a person is not
                                                  training opportunities, bear an equitable               experience, particularly given the                    required to respond to, a collection of
                                                  amount of responsibility.                               complex nature of STEM projects. After                information unless it displays a
                                                     DHS has tried to minimize additional                 weighing the advantages and                           currently valid OMB control number.
                                                  DSO responsibilities while balancing                    disadvantages of each alternative, DHS                   DHS has submitted the following
                                                  the need for oversight. For example,                    elected to improve and extend the                     information collection request to the
                                                  Training Plan evaluations will be                       STEM OPT program in order to increase                 OMB for review and approval in
                                                  conducted and submitted annually,                       students’ ability to gain valuable                    accordance with the review procedures
                                                  rather than semi-annually, as DHS had                   knowledge and skills through on-the-job               of the Paperwork Reduction Act. The
                                                  initially proposed.                                     training in their field that may be                   information collection requirements are
                                                     DHS has tried to provide flexibility                 unavailable in their home countries,                  outlined in this rule. The rule maintains
                                                  for small entities in methods they can                  increase global attractiveness of U.S.                the 2008 IFR revisions to previously
                                                  use to meet the commensurate duties,                    colleges and universities, increase                   approved information collections. The
                                                  hours, and compensation requirements                    program oversight and strengthen                      2008 IFR impacted information
                                                  for STEM OPT students. The final rule                   requirements for program participation,               collections for Form I–765, Application
                                                  allows employers to perform an analysis                 and institute new protections for U.S.                for Employment Authorization (OMB
                                                  that uses their own wage and                            workers.                                              Control No. 1615–0040); SEVIS and
                                                  compensation data to determine how to                                                                         Form I–20, Certificate of Eligibility for
                                                  compensate their STEM OPT employee                      C. Small Business Regulatory                          Nonimmigrant Student Status (both
                                                  in a comparable manner to their                         Enforcement Fairness Act of 1996                      OMB Control No. 1653–0038); and E-
                                                  similarly situated U.S. workers. This                     Pursuant to Sec. 213(a) of the Small                Verify (OMB Control No. 1615–0092).
                                                  provides small entities flexibility rather              Business Regulatory Enforcement                       These four approved information
                                                  than applying a prescriptive national,                  Fairness Act of 1996, Public Law 104–                 collections corresponding to the 2008
                                                  state, or metropolitan data requirement.                121, DHS wants to assist small entities               IFR include the number of respondents,
                                                  And because small entities may not                      in understanding this rule. If the rule               responses and burden hours resulting
                                                  have similarly situated U.S. workers, the               would affect your small business,                     from the 2008 IFR requirements, which
                                                  rule provides alternative options,                      organization, or governmental                         remain in this final rule. Therefore DHS
                                                  discussed in the preamble, for                          jurisdiction and you have questions                   is not revising the burden estimates for
                                                  compliance with the requirement to                      concerning its provisions, please                     these four information collections.
                                                  provide commensurate compensation.                      consult DHS using the contact                         Additional responses tied to new
                                                  Finally, the rule allows employers to                   information provided in the FOR                       changes to STEM OPT eligibility will
                                                  meet some of the Training Plan                          FURTHER INFORMATION CONTACT section                   minimally increase the number of
                                                  requirements using existing training                    above. DHS will not retaliate against                 responses and burden for Form I–765
                                                  programs.                                               small entities that question or complain              and E-Verify information collections, as
                                                     DHS will engage in further                           about this rule or about any DHS policy               the two collections cover a significantly
                                                  stakeholder outreach activities and                     or action related to this rule.                       broader population of respondents and
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                                                  provide clarifying information as                                                                             responses than those impacted by the
                                                  appropriate. DHS envisions that this                    D. Unfunded Mandates Reform Act                       rule and already account for growth in
                                                  outreach will reduce the burden that                      The Unfunded Mandates Reform Act                    the number of responses in their
                                                  may result from small entities’                         of 1995 (2 U.S.C. 1531–1538) requires                 respective published information
                                                  uncertainty in how to comply with the                   federal agencies to assess the effects of             collection notices burden estimates.
                                                  requirements.                                           their discretionary regulatory actions. In               As part of this rule, DHS is creating
                                                     As explained in greater detail in                    particular, the Act addresses actions                 a new information collection instrument
                                                  Chapter 8 of the RIA, DHS examined                      that may result in the expenditure by a               for the Training Plan for STEM OPT

                                                                                                                                                                                       STEM000131
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                                                  Students, which is now available at                     those goals will be achieved through the              have determined that it does not have
                                                  https://studyinthestates.dhs.gov/. This                 work-based learning opportunity with                  implications for federalism.
                                                  information collection is necessary to                  the employer, including details of the
                                                                                                                                                                H. Civil Justice Reform
                                                  enable reporting and attesting to                       knowledge, skills, or techniques to be
                                                  specified information relating to STEM                  imparted to the student; identifies the                 This rule meets applicable standards
                                                  OPT extensions, to be executed by                       performance evaluation process; and                   in sections 3(a) and 3(b)(2) of Executive
                                                  STEM OPT students and their                             describes the methods of oversight and                Order 12988, Civil Justice Reform, to
                                                  employers. Such reporting will include                  supervision. The Training Plan also                   minimize litigation, eliminate
                                                  goals and objectives, progress, hours,                  includes a number of employer                         ambiguity, and reduce burden.
                                                  and compensation. Attestations will                     attestations intended to ensure the                   I. Energy Effects
                                                  ensure proper training opportunities for                educational benefit of the practical
                                                  students and safeguard interests of U.S.                training experience, protect STEM OPT                    We have analyzed this rule under
                                                  workers in related fields.                              students, and protect against                         Executive Order 13211, Actions
                                                     Additionally, DHS is making minor                    appreciable adverse consequences on                   Concerning Regulations That
                                                  non-substantive changes to the                          U.S. workers. The rule also requires                  Significantly Affect Energy Supply,
                                                  instructions to Form I–765 to reflect                   schools to collect and retain this                    Distribution, or Use. We have
                                                  changes to the F–1 regulations that                     information for a period of three years               determined that it is not a ‘‘significant
                                                  lengthen the STEM OPT extension and                     following the completion of each STEM                 energy action’’ under that order because
                                                  allow applicants to file Form I–765 with                practical training opportunity.                       it is not likely to have a significant
                                                  USCIS within 60 days (rather than 30                       5. An estimate of the total annual                 adverse effect on the supply,
                                                  days) from the date the DSO endorses                    average number of respondents, annual                 distribution, or use of energy.
                                                  the STEM OPT extension. Accordingly,                    average number of responses, and the                  J. Environment
                                                  USCIS submitted an OMB 83–C,                            total amount of time estimated for
                                                  Correction Worksheet, to OMB, which                                                                              The U.S. Department of Homeland
                                                                                                          respondents in an average year to
                                                  reviewed and approved the minor edits                                                                         Security Management Directive (MD)
                                                                                                          collect, provide information, and keep
                                                  to the Form I–765 instructions.                                                                               023–01 Rev. 01 establishes procedures
                                                                                                          the required records is:
                                                     Overview of New Information                                                                                that DHS and its components use to
                                                                                                             x 42,092 STEM OPT student                          comply with the National
                                                  Collection- Training Plan for STEM OPT                  respondents; 1,109 accredited schools
                                                  Students                                                                                                      Environmental Policy Act of 1969
                                                                                                          endorsing STEM OPT students; and                      (NEPA), 42 U.S.C. 4321–4375, and the
                                                     (1) Type of Information Collection:                  16,891 employers of STEM OPT
                                                  New Collection.                                                                                               Council on Environmental Quality
                                                                                                          students.                                             (CEQ) regulations for implementing
                                                     (2) Title of the Form/Collection:
                                                                                                             x 42,092 average responses annually                NEPA, 40 CFR parts 1500–1508. CEQ
                                                  Training Plan for STEM OPT Students.
                                                     (3) Agency form number, if any, and                  at 7.5 hours per initial Training Plan                regulations allow federal agencies to
                                                  the applicable component of DHS                         response.                                             establish categories of actions, which do
                                                  sponsoring the collection: Immigration                     x 70,153 average responses annually                not individually or cumulatively have a
                                                  and Customs Enforcement Form I–983;                     at 3.66 hours per 12-month evaluation                 significant effect on the human
                                                     (4) Affected public who will be asked                response by STEM OPT students, DSOs,                  environment and, therefore, do not
                                                  or required to respond, as well as a brief              and employers.                                        require an Environmental Assessment or
                                                  abstract:                                                  6. An estimate of the total public                 Environmental Impact Statement. 40
                                                     x Primary: Students with F–1                         burden (in hours) associated with the                 CFR 1508.4. The MD 023–01 Rev. 01
                                                  nonimmigrant status, state governments,                 collection: 566,698 hours.                            lists the Categorical Exclusions that
                                                  local governments, educational                             The recordkeeping requirements set                 DHS has found to have no such effect.
                                                  institutions, businesses, and other for-                forth by this rule are new requirements               MD 023–01 Rev. 01 Appendix A Table
                                                  profit and not-for-profit organizations.                that require a new OMB Control                        1.
                                                     x Other: None.                                       Number.                                                  For an action to be categorically
                                                     x Abstract: DHS is publishing a final                   During the NPRM, DHS sought                        excluded, MD 023–01 Rev. 01 requires
                                                  rule that makes certain changes to the                  comment on these proposed                             the action to satisfy each of the
                                                  STEM OPT extension first introduced                     requirements. DHS received a number of                following three conditions:
                                                  by the 2008 IFR. The rule lengthens the                 comments on the burden potentially                       (1) The entire action clearly fits
                                                  duration of the STEM OPT extension to                   imposed by the proposed rule. The                     within one or more of the Categorical
                                                  24 months; requires a Training Plan                     comments, and DHS’s responses to                      Exclusions.
                                                  executed by STEM OPT students and                       those comments, can be found in the                      (2) The action is not a piece of a larger
                                                  their employers; requires that the plan                 discussion of public comments                         action.
                                                  include assurances to safeguard                         regarding Form I–983 in section IV of                    (3) No extraordinary circumstances
                                                  students and the interests of U.S.                      this preamble. The final form and                     exist that create the potential for a
                                                  workers in related fields; and requires                 instructions are available in the docket              significant environmental effect. MD
                                                  that the plan include objective-tracking                for this rulemaking.                                  023–01 Rev. 01 section V.B(1)–(3).
                                                  and reporting requirements. The rule                                                                             Where it may be unclear whether the
                                                  requires students and employers                         G. Federalism
                                                                                                                                                                action meets these conditions, MD 023–
                                                  (through an appropriate signatory                         A rule has implications for federalism              01 Rev. 01 requires the administrative
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                                                  official) to report on the Training Plan                under Executive Order 13132,                          record to reflect consideration of these
                                                  certain specified information relating to               Federalism, if it has substantial direct              conditions. MD 023–01 Rev. 01 section
                                                  STEM OPT extensions. For instance, the                  effects on the States, on the relationship            V.B.
                                                  Training Plan explains how the                          between the national government and                      DHS has analyzed this rule under MD
                                                  practical training is directly related to               the States, or on the distribution of                 023–01 Rev. 01. DHS has determined
                                                  the student’s qualifying STEM degree;                   power and responsibilities among the                  that this action is one of a category of
                                                  explains the specific goals of the STEM                 various levels of government. We have                 actions that do not individually or
                                                  practical training opportunity and how                  analyzed this rule under that Order and               cumulatively have a significant effect on

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                                                  the human environment. This rule                        List of Subjects                                      shall automatically terminate upon the
                                                  clearly fits within the Categorical                                                                           rejection, denial, revocation, or
                                                                                                          8 CFR Part 214
                                                  Exclusion found in MD 023–01 Rev. 01,                                                                         withdrawal of the H–1B petition filed
                                                  Appendix A, Table 1, number A3(a):                        Administrative practice and                         on such F–1 student’s behalf or upon
                                                  ‘‘Promulgation of rules . . . of a strictly             procedure, Aliens, Employment,                        the denial or withdrawal of the request
                                                  administrative or procedural nature;’’                  Foreign officials, Health professions,                for change of nonimmigrant status, even
                                                  and A3(d): ‘‘Promulgation of rules . . .                Reporting and recordkeeping                           if the H–1B petition filed on the F–1
                                                  that interpret or amend an existing                     requirements, Students.                               student’s behalf is approved for
                                                  regulation without changing its                         8 CFR Part 274a                                       consular processing.
                                                  environmental effect.’’ This rule is not                                                                         (C) In order to obtain the automatic
                                                  part of a larger action. This rule presents               Administrative practice and                         extension of stay and employment
                                                  no extraordinary circumstances creating                 procedure, Aliens, Employment,                        authorization under paragraph
                                                  the potential for significant                           Penalties, Reporting and recordkeeping                (f)(5)(vi)(A) of this section, the F–1
                                                  environmental effects. Therefore, this                  requirements.                                         student, consistent with 8 CFR part 248,
                                                  rule is categorically excluded from                     The Amendments                                        must not have violated the terms or
                                                  further NEPA review.                                                                                          conditions of his or her nonimmigrant
                                                                                                            For the reasons set forth in the                    status.
                                                  K. Indian Tribal Governments                            preamble, the Department of Homeland                     (D) An automatic extension of an F–
                                                     This rule does not have tribal                       Security amends parts 214 and 274a of                 1 student’s duration of status under
                                                  implications under Executive Order                      Chapter 1 of Title 8 of the Code of                   paragraph (f)(5)(vi)(A) of this section
                                                  13175, Consultation and Coordination                    Federal Regulations as follows:                       also applies to the duration of status of
                                                  with Indian Tribal Governments,                                                                               any F–2 dependent aliens.
                                                                                                          PART 214—NONIMMIGRANT CLASSES
                                                  because it does not have a substantial                                                                        *       *    *      *     *
                                                  direct effect on one or more Indian                     ■ 1. Revise the authority citation for part              (10) * * *
                                                  tribes, on the relationship between the                 214 to read as follows:                                  (ii) * * *
                                                  Federal Government and Indian tribes,                                                                            (A) * * *
                                                                                                             Authority: 6 U.S.C. 111 and 202; 8 U.S.C.
                                                  or on the distribution of power and                     1101, 1102, 1103, 1182, 1184, 1186a, 1187,
                                                                                                                                                                   (3) After completion of the course of
                                                  responsibilities between the Federal                    1221, 1281, 1282, 1301–1305, 1324a, 1372              study, or, for a student in a bachelor’s,
                                                  Government and Indian tribes.                           and 1762; Sec. 643, Pub. L. 104–208, 110              master’s, or doctoral degree program,
                                                                                                          Stat. 3009–708; Pub. L. 106–386, 114 Stat.            after completion of all course
                                                  L. Taking of Private Property
                                                                                                          1477–1480; Pub. L. 107–173, 116 Stat. 543;            requirements for the degree (excluding
                                                    This rule would not cause a taking of                 section 141 of the Compacts of Free                   thesis or equivalent). Continued
                                                  private property or otherwise have                      Association with the Federated States of              enrollment, for the school’s
                                                  takings implications under Executive                    Micronesia and the Republic of the Marshall           administrative purposes, after all
                                                                                                          Islands, and with the Government of Palau,            requirements for the degree have been
                                                  Order 12630, Governmental Actions and
                                                                                                          48 U.S.C. 1901 note, and 1931 note,
                                                  Interference with Constitutionally                      respectively; 48 U.S.C. 1806; 8 CFR part 2.
                                                                                                                                                                met does not preclude eligibility for
                                                  Protected Property Rights.                                                                                    optional practical training. A student
                                                                                                          ■ 2. Amend § 214.2 by revising
                                                                                                                                                                must complete all practical training
                                                  M. Protection of Children                               paragraphs (f)(5)(vi), (f)(10)(ii)(A)(3),             within a 14-month period following the
                                                                                                          (f)(10)(ii)(C), (D), and (E), and (f)(11) and         completion of study, except that a 24-
                                                    DHS has analyzed this rule under
                                                                                                          (12) to read as follows:                              month extension pursuant to paragraph
                                                  Executive Order 13045, Protection of
                                                  Children from Environmental Health                      § 214.2 Special requirements for                      (f)(10)(ii)(C) of this section does not
                                                  Risks and Safety Risks. This rule would                 admission, extension, and maintenance of              need to be completed within such 14-
                                                  not create an environmental risk to                     status.                                               month period.
                                                  health or risk to safety that might                     *      *     *    *    *                              *       *    *      *     *
                                                  disproportionately affect children.                        (f) * * *                                             (C) 24-month extension of post-
                                                                                                             (5) * * *                                          completion OPT for a science,
                                                  N. Technical Standards
                                                                                                             (vi) Extension of duration of status               technology, engineering, or mathematics
                                                    The National Technology Transfer                      and grant of employment authorization.                (STEM) degree. Consistent with
                                                  and Advancement Act of 1995 (15                         (A) The duration of status, and any                   paragraph (f)(11)(i)(C) of this section, a
                                                  U.S.C. 272 note) directs agencies to use                employment authorization granted                      qualified student may apply for an
                                                  voluntary consensus standards in their                  under 8 CFR 274a.12(c)(3)(i)(B) or (C), of            extension of OPT while in a valid
                                                  regulatory activities unless the agency                 an F–1 student who is the beneficiary of              period of post-completion OPT
                                                  provides Congress, through the OMB,                     an H–1B petition subject to section                   authorized under 8 CFR
                                                  with an explanation of why using these                  214(g)(1)(A) of the Act (8 U.S.C.                     274a.12(c)(3)(i)(B). An extension will be
                                                  standards would be inconsistent with                    1184(g)(1)(A)) and request for change of              for 24 months for the first qualifying
                                                  applicable law or otherwise                             status shall be automatically extended                degree for which the student has
                                                  impracticable. Voluntary consensus                      until October 1 of the fiscal year for                completed all course requirements
                                                  standards are technical standards (e.g.,                which such H–1B status is being                       (excluding thesis or equivalent),
                                                  specifications of materials, performance,               requested where such petition:                        including any qualifying degree as part
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                                                  design, or operation; test methods;                        (1) Has been timely filed; and                     of a dual degree program, subject to the
                                                  sampling procedures; and related                           (2) Requests an H–1B employment                    requirement in paragraph (f)(10)(ii)(C)(3)
                                                  management systems practices) that are                  start date of October 1 of the following              of this section that previously obtained
                                                  developed or adopted by voluntary                       fiscal year.                                          degrees must have been conferred. If a
                                                  consensus standards bodies. This rule                      (B) The automatic extension of an F–               student completes all such course
                                                  does not use technical standards.                       1 student’s duration of status and                    requirements for another qualifying
                                                  Therefore, we did not consider the use                  employment authorization under                        degree at a higher degree level than the
                                                  of voluntary consensus standards.                       paragraph (f)(5)(vi)(A) of this section               first, the student may apply for a second

                                                                                                                                                                                       STEM000133
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                                                  24-month extension of OPT while in a                       (iii) At the time the DSO recommends               prior to the end of the authorized period
                                                  valid period of post-completion OPT                     a 24-month OPT extension under this                   of OPT. Such reporting must be made
                                                  authorized under 8 CFR                                  paragraph (f)(10)(ii)(C) in SEVIS, the                within five business days of the
                                                  274a.12(c)(3)(i)(B). In no event may a                  degree that is the basis for the                      termination or departure. An employer
                                                  student be authorized for more than two                 application for the OPT extension must                shall consider a student to have
                                                  lifetime STEM OPT extensions. A                         be contained within a category on the                 departed when the employer knows the
                                                  student who was granted a 17-month                      STEM Designated Degree Program List.                  student has left the practical training
                                                  OPT extension under the rule issued at                     (3) Previously obtained STEM                       opportunity, or if the student has not
                                                  73 FR 18944, whether or not such                        degree(s). The degree that is the basis for           reported for his or her practical training
                                                  student requests an additional 7-month                  the 24-month OPT extension under this                 for a period of five consecutive business
                                                  period of STEM OPT under 8 CFR                          paragraph (f)(10)(ii)(C) may be, but is               days without the consent of the
                                                  214.16, is considered to have been                      not required to be, the degree that is the            employer, whichever occurs earlier.
                                                  authorized for one STEM OPT                             basis for the post-completion OPT                        (7) Training Plan for STEM OPT
                                                  extension, and may be eligible for only                 period authorized under 8 CFR                         Students, Form I–983 or successor form.
                                                  one more STEM OPT extension. Any                        274a.12(c)(3)(i)(B). If an application for            (i) A student must fully complete an
                                                  subsequent application for an additional                a 24-month OPT extension under this                   individualized Form I–983 or successor
                                                  24-month OPT extension under this                       paragraph (f)(10)(ii)(C) is based upon a              form and obtain requisite signatures
                                                  paragraph (f)(10)(ii)(C) must be based on               degree obtained previous to the degree                from an appropriate individual in the
                                                  a degree at a higher degree level than                  that provided the basis for the period of             employer’s organization on the form,
                                                  the degree that was the basis for the                   post-completion OPT authorized under                  consistent with form instructions, before
                                                  student’s first OPT extension. In order                 8 CFR 274a.12(c)(3)(i)(B), that                       the DSO may recommend a 24-month
                                                  to qualify for an extension of post-                    previously obtained degree must have                  OPT extension under paragraph
                                                  completion OPT based upon a STEM                        been conferred from a U.S. educational                (f)(10)(ii)(C)(2) of this section in SEVIS.
                                                  degree, all of the following requirements               institution that is accredited and SEVP-              A student must submit the Form I–983
                                                  must be met.                                            certified at the time the student’s DSO               or successor form, which includes a
                                                     (1) Accreditation. The degree that is                recommends the student for the 24-                    certification of adherence to the training
                                                  the basis for the 24-month OPT                          month OPT extension and must be in a                  plan completed by an appropriate
                                                  extension is from a U.S. educational                    degree program category included on                   individual in the employer’s
                                                  institution accredited by an accrediting                the current STEM Designated Degree                    organization who has signatory
                                                  agency recognized by the Department of                  Program List at the time of the DSO                   authority for the employer, to the
                                                  Education at the time of application.                   recommendation. That previously                       student’s DSO, prior to the new DSO
                                                     (2) DHS-approved degree. The degree                  obtained degree must have been                        recommendation. A student must
                                                  that is the basis for the 24-month OPT                  conferred within the 10 years preceding               present his or her signed and completed
                                                  extension is a bachelor’s, master’s, or                 the date the DSO recommends the                       Form I–983 or successor form to a DSO
                                                  doctoral degree in a field determined by                student for the 24-month OPT                          at the educational institution of his or
                                                  the Secretary, or his or her designee, to               extension.                                            her most recent enrollment. A student,
                                                  qualify within a science, technology,                      (4) Eligible practical training                    while in F–1 student status, may also be
                                                  engineering, or mathematics field.                      opportunity. The STEM practical                       required to submit the Form I–983 or
                                                     (i) The term ‘‘science, technology,                  training opportunity that is the basis for            successor form to ICE and/or USCIS
                                                  engineering or mathematics field’’                      the 24-month OPT extension under this                 upon request or in accordance with
                                                  means a field included in the                           paragraph (f)(10)(ii)(C) must be directly             form instructions.
                                                  Department of Education’s                               related to the degree that qualifies the                 (ii) The training plan described in the
                                                  Classification of Instructional Programs                student for such extension, which may                 Form I–983 or successor form must
                                                  taxonomy within the two-digit series or                 be the previously obtained degree                     identify goals for the STEM practical
                                                  successor series containing engineering,                described in paragraph (f)(10)(ii)(C)(3) of           training opportunity, including specific
                                                  biological sciences, mathematics, and                   this section.                                         knowledge, skills, or techniques that
                                                  physical sciences, or a related field. In                  (5) Employer qualification. The                    will be imparted to the student, and
                                                  general, related fields will include fields             student’s employer is enrolled in E-                  explain how those goals will be
                                                  involving research, innovation, or                      Verify, as evidenced by either a valid E-             achieved through the work-based
                                                  development of new technologies using                   Verify Company Identification number                  learning opportunity with the employer;
                                                  engineering, mathematics, computer                      or, if the employer is using an employer              describe a performance evaluation
                                                  science, or natural sciences (including                 agent to create its E-Verify cases, a valid           process; and describe methods of
                                                  physical, biological, and agricultural                  E-Verify Client Company Identification                oversight and supervision. Employers
                                                  sciences).                                              number, and the employer remains a                    may rely on their otherwise existing
                                                     (ii) The Secretary, or his or her                    participant in good standing with E-                  training programs or policies to satisfy
                                                  designee, will maintain the STEM                        Verify, as determined by USCIS. An                    the requirements relating to
                                                  Designated Degree Program List, which                   employer must also have an employer                   performance evaluation and oversight
                                                  will be a complete list of qualifying                   identification number (EIN) used for tax              and supervision, as applicable.
                                                  degree program categories, published on                 purposes.                                                (iii) The training plan described in the
                                                  the Student and Exchange Visitor                           (6) Employer reporting. A student may              Form I–983 or successor form must
                                                  Program Web site at http://www.ice.gov/                 not be authorized for employment with                 explain how the training is directly
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                                                  sevis. Changes that are made to the                     an employer pursuant to paragraph                     related to the student’s qualifying STEM
                                                  Designated Degree Program List may                      (f)(10)(ii)(C)(2) of this section unless the          degree.
                                                  also be published in a notice in the                    employer agrees, by signing the Training                 (iv) If a student initiates a new
                                                  Federal Register. All program categories                Plan for STEM OPT Students, Form I–                   practical training opportunity with a
                                                  included on the list must be consistent                 983 or successor form, to report the                  new employer during his or her 24-
                                                  with the definition set forth in                        termination or departure of an OPT                    month OPT extension, the student must
                                                  paragraph (f)(10)(ii)(C)(2)(i) of this                  student to the DSO at the student’s                   submit, within 10 days of beginning the
                                                  section.                                                school, if the termination or departure is            new practical training opportunity, a

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                                                  new Form I–983 or successor form to                     employment authorization document                        (i) The employer has sufficient
                                                  the student’s DSO, and subsequently                     granted pursuant to the student’s 24-                 resources and personnel available and is
                                                  obtain a new DSO recommendation.                        month OPT extension application, and                  prepared to provide appropriate training
                                                     (8) Duties, hours, and compensation                  a concluding evaluation. The student is               in connection with the specified
                                                  for training. The terms and conditions of               responsible for ensuring the DSO                      opportunity at the location(s) specified
                                                  a STEM practical training opportunity                   receives his or her 12-month evaluation               in the Form I–983 or successor form;
                                                  during the period of the 24-month OPT                   and final evaluation no later than 10                    (ii) The student on a STEM OPT
                                                  extension, including duties, hours, and                 days following the conclusion of the                  extension will not replace a full- or part-
                                                  compensation, must be commensurate                      reporting period or conclusion of his or              time, temporary or permanent U.S.
                                                  with terms and conditions applicable to                 her practical training opportunity,                   worker; and
                                                  the employer’s similarly situated U.S.                  respectively.                                            (iii) The student’s opportunity assists
                                                  workers in the area of employment. A                       (ii) If any material change to or                  the student in reaching his or her
                                                  student may not engage in practical                     deviation from the training plan                      training goals.
                                                  training for less than 20 hours per week,               described in the Form I–983 or                           (11) Site visits. DHS, at its discretion,
                                                  excluding time off taken consistent with                successor form occurs, the student and                may conduct a site visit of any
                                                  leave-related policies applicable to the                employer must sign a modified Form I–                 employer. The purpose of the site visit
                                                  employer’s similarly situated U.S.                      983 or successor form reflecting the                  is for DHS to ensure that each employer
                                                  workers in the area of employment. If                                                                         possesses and maintains the ability and
                                                                                                          material change(s) or deviation(s).
                                                  the employer does not employ and has                                                                          resources to provide structured and
                                                                                                          Material changes and deviations relating
                                                  not recently employed more than two                                                                           guided work-based learning experiences
                                                                                                          to training may include, but are not
                                                  similarly situated U.S. workers in the                                                                        consistent with any Form I–983 or
                                                                                                          limited to, any change of Employer
                                                  area of employment, the employer                                                                              successor form completed and signed by
                                                                                                          Identification Number resulting from a
                                                  nevertheless remains obligated to attest                                                                      the employer. DHS will provide notice
                                                                                                          corporate restructuring, any reduction
                                                  that the terms and conditions of a STEM                                                                       to the employer 48 hours in advance of
                                                                                                          in compensation from the amount
                                                  practical training opportunity are                                                                            any site visit, except notice may not be
                                                                                                          previously submitted on the Form I–983
                                                  commensurate with the terms and                                                                               provided if the visit is triggered by a
                                                                                                          or successor form that is not tied to a
                                                  conditions of employment for other                                                                            complaint or other evidence of
                                                                                                          reduction in hours worked, any                        noncompliance with the regulations in
                                                  similarly situated U.S. workers in the                  significant decrease in hours per week
                                                  area of employment. ‘‘Similarly situated                                                                      this paragraph (f)(10)(ii)(C).
                                                                                                          that a student engages in a STEM                         (D) Duration of status while on post-
                                                  U.S. workers’’ includes U.S. workers                    training opportunity, and any decrease
                                                  performing similar duties subject to                                                                          completion OPT. For a student with
                                                                                                          in hours worked below the minimum                     approved post-completion OPT, the
                                                  similar supervision and with similar                    hours for the 24-month extension as
                                                  educational backgrounds, industry                                                                             duration of status is defined as the
                                                                                                          described in paragraph (f)(10)(ii)(C)(8) of           period beginning on the date that the
                                                  expertise, employment experience,
                                                                                                          this section. Material changes and                    student’s application for OPT was
                                                  levels of responsibility, and skill sets as
                                                                                                          deviations also include any change or                 properly filed and pending approval,
                                                  the student. The duties, hours, and
                                                                                                          deviation that renders an employer                    including the authorized period of post-
                                                  compensation of such students are
                                                                                                          attestation inaccurate, or renders                    completion OPT, and ending 60 days
                                                  ‘‘commensurate’’ with those offered to
                                                                                                          inaccurate the information in the Form                after the OPT employment authorization
                                                  U.S. workers employed by the employer
                                                                                                          I–983 or successor form on the nature,                expires.
                                                  in the same area of employment when
                                                                                                          purpose, oversight, or assessment of the                 (E) Periods of unemployment during
                                                  the employer can show that the duties,
                                                                                                          student’s practical training opportunity.             post-completion OPT. During post-
                                                  hours, and compensation are consistent
                                                  with the range of such terms and                        The student and employer must ensure                  completion OPT, F–1 status is
                                                  conditions the employer has offered or                  that the modified Form I–983 or                       dependent upon employment. Students
                                                  would offer to similarly situated U.S.                  successor form is submitted to the                    may not accrue an aggregate of more
                                                  employees. The student must disclose                    student’s DSO at the earliest available               than 90 days of unemployment during
                                                  his or her compensation, including any                  opportunity.                                          any post-completion OPT period
                                                  adjustments, as agreed to with the                         (iii) The educational institution whose            described in 8 CFR 274a.12(c)(3)(i)(B).
                                                  employer, on the Form I–983 or                          DSO is responsible for duties associated              Students granted a 24-month OPT
                                                  successor form.                                         with the student’s latest OPT extension               extension under paragraph
                                                     (9) Evaluation requirements and                      under paragraph (f)(10)(ii)(C)(2) of this             (f)(10)(ii)(C)(2) of this section may not
                                                  Training Plan modifications. (i) A                      section is responsible for ensuring the               accrue an aggregate of more than 150
                                                  student may not be authorized for                       Student and Exchange Visitor Program                  days of unemployment during a total
                                                  employment with an employer pursuant                    has access to each individualized Form                OPT period, including any post-
                                                  to paragraph (f)(10)(ii)(C)(2) of this                  I–983 or successor form and associated                completion OPT period described in 8
                                                  section unless the student submits a                    student evaluations (electronic or hard               CFR 274a.12(c)(3)(i)(B) and any
                                                  self-evaluation of the student’s progress               copy), including through SEVIS if                     subsequent 24-month extension period.
                                                  toward the training goals described in                  technologically available, beginning                     (11) OPT application and approval
                                                  the Form I–983 or successor form. All                   within 30 days after the document is                  process—(i) Student responsibilities. A
                                                  required evaluations must be completed                  submitted to the DSO and continuing                   student must initiate the OPT
                                                  prior to the conclusion of a STEM                       for a period of three years following the             application process by requesting a
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                                                  practical training opportunity, and the                 completion of each STEM practical                     recommendation for OPT from his or
                                                  student and an appropriate individual                   training opportunity.                                 her DSO. Upon making the
                                                  in the employer’s organization must                        (10) Additional STEM opportunity                   recommendation, the DSO will provide
                                                  sign each evaluation to attest to its                   obligations. A student may only                       the student a signed Form I–20
                                                  accuracy. All STEM practical training                   participate in a STEM practical training              indicating that recommendation.
                                                  opportunities require an initial                        opportunity in which the employer                        (A) Applications for employment
                                                  evaluation within 12 months of the                      attests, including by signing the Form I–             authorization. The student must
                                                  approved starting date on the                           983 or successor form, that:                          properly file an Application for

                                                                                                                                                                                        STEM000135
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                                                  Employment Authorization, Form I–765                    (f)(11)(i)(C) of this section. A student              requirements described in paragraph
                                                  or successor form, with USCIS,                          may not request a start date that is more             (f)(10)(ii)(C)(8) of this section, and note
                                                  accompanied by the required fee, and                    than 60 days after the student’s program              in SEVIS the OPT start and end dates.
                                                  the supporting documents, as described                  end date. Employment authorization                       (C) The DSO must provide the student
                                                  in the form’s instructions.                             will begin on the date requested or the               with a signed, dated Form I–20 or
                                                     (B) Applications and filing deadlines                date the employment authorization is                  successor form indicating that OPT has
                                                  for pre-completion OPT and post-                        adjudicated, whichever is later.                      been recommended.
                                                  completion OPT—(1) Pre-completion                          (ii) Additional DSO responsibilities. A               (iii) Decision on application for OPT
                                                  OPT. For pre-completion OPT, the                        student must have a recommendation                    employment authorization. USCIS will
                                                  student may properly file his or her                    from his or her DSO in order to apply                 adjudicate a student’s Form I–765 or
                                                  Form I–765 or successor form up to 90                   for OPT. When a DSO recommends a                      successor form on the basis of the DSO’s
                                                  days before being enrolled for one full                 student for OPT, the school assumes the               recommendation and other eligibility
                                                  academic year, provided that the period                 added responsibility for maintaining the              considerations.
                                                  of employment will not start prior to the               SEVIS record of that student for the                     (A) If granted, the employment
                                                  completion of the full academic year.                   entire period of authorized OPT,                      authorization period for post-
                                                     (2) Post-completion OPT. For post-                   consistent with paragraph (f)(12) of this             completion OPT begins on the requested
                                                  completion OPT, not including a 24-                     section.                                              date of commencement or the date the
                                                  month OPT extension under paragraph                        (A) Prior to making a                              Form I–765 or successor form is
                                                  (f)(10)(ii)(C)(2) of this section, the                  recommendation, the DSO at the                        approved, whichever is later, and ends
                                                  student may properly file his or her                    educational institution of the student’s              at the conclusion of the remaining time
                                                  Form I–765 or successor form up to 90                   most recent enrollment must ensure that               period of post-completion OPT
                                                  days prior to his or her program end                    the student is eligible for the given type            eligibility. The employment
                                                  date and no later than 60 days after his                and period of OPT and that the student                authorization period for a 24-month
                                                  or her program end date. The student                    is aware of the student’s responsibilities            OPT extension under paragraph
                                                  must also file his or her Form I–765 or                 for maintaining status while on OPT.                  (f)(10)(ii)(C) of this section begins on the
                                                  successor form with USCIS within 30                     Prior to recommending a 24-month OPT                  day after the expiration of the initial
                                                  days of the date the DSO enters the                     extension under paragraph (f)(10)(ii)(C)              post-completion OPT employment
                                                  recommendation for OPT into his or her                  of this section, the DSO at the                       authorization and ends 24 months
                                                  SEVIS record.                                           educational institution of the student’s              thereafter, regardless of the date the
                                                     (C) Applications and filing deadlines                most recent enrollment must certify that              actual extension is approved.
                                                  for 24-month OPT extension. A student                   the student’s degree being used to                       (B) USCIS will notify the applicant of
                                                  meeting the eligibility requirements for                qualify that student for the 24-month                 the decision on the Form I–765 or
                                                  a 24-month OPT extension under                          OPT extension, as shown in SEVIS or                   successor form in writing, and, if the
                                                  paragraph (f)(10)(ii)(C) of this section                official transcripts, is a bachelor’s,                application is denied, of the reason or
                                                  may request an extension of                             master’s, or doctorate degree with a                  reasons for the denial.
                                                  employment authorization by filing                      degree code that is contained within a                   (C) The applicant may not appeal the
                                                  Form I–765 or successor form, with the                  category on the current STEM                          decision.
                                                  required fee and supporting documents,                  Designated Degree Program List at the                    (12) Reporting while on optional
                                                  up to 90 days prior to the expiration                   time the recommendation is made. A                    practical training—(i) General. An F–1
                                                  date of the student’s current OPT                       DSO may recommend a student for a 24-                 student who is granted employment
                                                  employment authorization. The student                   month OPT extension under paragraph                   authorization by USCIS to engage in
                                                  seeking such 24-month OPT extension                     (f)(10)(ii)(C) of this section only if the            optional practical training is required to
                                                  must properly file his or her Form I–765                Form I–983 or successor form described                report any change of name or address,
                                                  or successor form with USCIS within 60                  in paragraph (f)(10)(ii)(C)(7) of this                or interruption of such employment to
                                                  days of the date the DSO enters the                     section has been properly completed                   the DSO for the duration of the optional
                                                  recommendation for the OPT extension                    and executed by the student and                       practical training. A DSO who
                                                  into his or her SEVIS record. If a student              prospective employer. A DSO may not                   recommends a student for OPT is
                                                  timely and properly files an application                recommend a student for an OPT                        responsible for updating the student’s
                                                  for such 24-month OPT extension and                     extension under paragraph (f)(10)(ii)(C)              record to reflect these reported changes
                                                  timely and properly requests a DSO                      of this section if the practical training             for the duration of the time that training
                                                  recommendation, including by                            would be conducted by an employer                     is authorized.
                                                  submitting the fully executed Form I–                   who has failed to meet the requirements                  (ii) Additional reporting obligations
                                                  983 or successor form to his or her DSO,                under paragraphs (f)(10)(ii)(C)(5)                    for students with an approved 24-month
                                                  but the Employment Authorization                        through (9) of this section or has failed             OPT extension. Students with an
                                                  Document, Form I–766 or successor                       to provide the required assurances of                 approved 24-month OPT extension
                                                  form, currently in the student’s                        paragraph (f)(10)(ii)(C)(10) of this                  under paragraph (f)(10)(ii)(C) of this
                                                  possession expires prior to the decision                section.                                              section have additional reporting
                                                  on the student’s application for the OPT                   (B) The DSO must update the                        obligations. Compliance with these
                                                  extension, the student’s Form I–766 or                  student’s SEVIS record with the DSO’s                 reporting requirements is required to
                                                  successor form is extended                              recommendation for OPT before the                     maintain F–1 status. The reporting
                                                  automatically pursuant to the terms and                 student can apply to USCIS for                        obligations are:
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                                                  conditions specified in 8 CFR                           employment authorization. The DSO                        (A) Within 10 days of the change, the
                                                  274a.12(b)(6)(iv).                                      will indicate in SEVIS whether the OPT                student must report to the student’s
                                                     (D) Start of OPT employment. A                       employment is to be full-time or part-                DSO a change of legal name, residential
                                                  student may not begin OPT employment                    time, or for a student seeking a                      or mailing address, employer name,
                                                  prior to the approved start date on his                 recommendation for a 24-month OPT                     employer address, and/or loss of
                                                  or her Employment Authorization                         extension under paragraph (f)(10)(ii)(C)              employment.
                                                  Document, Form I–766 or successor                       of this section whether the OPT                          (B) The student must complete a
                                                  form, except as described in paragraph                  employment meets the minimum hours                    validation report, confirming that the

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                                                  information required by paragraph                       will be regarded as being covered by 8                the 150-day unemployment limit
                                                  (f)(12)(ii)(A) of this section has not                  CFR 214.2(f)(11)(i)(C) and 8 CFR                      described in 8 CFR 214.2(f)(10)(ii)(E),
                                                  changed, every six months. The                          274a.12(b)(6)(iv).                                    which applies to students only upon
                                                  requirement for validation reporting                       (b) STEM OPT Applications for                      approval of the additional 7-month OPT
                                                  starts on the date the 24-month OPT                     Employment Authorization that are                     extension. Subsequent to any denial of
                                                  extension begins and ends when the                      filed and approved before May 10, 2016.               the application for the additional 7-
                                                  student’s F–1 status expires or the 24-                 A student whose Form I–765 is filed                   month extension, the student, the
                                                  month OPT extension concludes,                          and approved prior to May 10, 2016 will               student’s employer, and the student’s
                                                  whichever is first. The validation report               be issued an Employment Authorization                 DSO must abide by all the terms and
                                                  is due to the student’s DSO within 10                   Document, Form I–766, that is valid for               conditions that were in effect when the
                                                  business days of each reporting date.                   17 months even if the student requested               17-month OPT extension was issued
                                                  *     *      *      *     *                             a 24-month OPT extension.                             throughout the remaining validity
                                                  ■ 3. In § 214.3, revise paragraph
                                                                                                             (c) Students with 17-Month STEM                    period of the 17-month OPT extension.
                                                  (g)(2)(ii)(F) to read as follows:                       OPT employment authorization. (1)
                                                                                                          Subject to paragraph (c)(3) of this                   PART 274a—CONTROL OF
                                                  § 214.3 Approval of schools for enrollment              section, any Employment Authorization                 EMPLOYMENT OF ALIENS
                                                  of F and M nonimmigrants.                               Document, Form I–766, indicating a 17-
                                                  *      *    *     *     *                               month OPT extension under the rule                    ■ 5. The authority citation for part 274a
                                                    (g) * * *                                             issued at 73 FR 18944 that has been                   continues to read as follows:
                                                    (2) * * *                                             issued and is valid prior to May 10,                    Authority: 8 U.S.C. 1101, 1103, 1324a; 48
                                                    (ii) * * *                                            2016 remains valid until such Form I–                 U.S.C. 1806; 8 CFR part 2.
                                                    (F) For F–1 students authorized by                    766 expires or is terminated or revoked
                                                  USCIS to engage in a 24-month                           under 8 CFR 274a.14, and the student,                 Subpart B—Employment Authorization
                                                  extension of OPT under 8 CFR                            the student’s employer, and the
                                                  214.2(f)(10)(ii)(C):                                    student’s DSO must continue to abide                  ■ 6. In § 274a.12, revise paragraph
                                                    (1) Any change that the student                       by all the terms and conditions that                  (b)(6)(iv) and (v) and (c)(3)(i) to read as
                                                  reports to the school concerning legal                  were in effect when the Form I–766 was                follows:
                                                  name, residential or mailing address,                   issued.
                                                  employer name, or employer address;                        (2) Subject to the requirements in                 § 274a.12 Classes of aliens authorized to
                                                  and                                                     paragraphs (c)(2)(i) through (iii) of this            accept employment.
                                                    (2) The end date of the student’s                     section, F–1 students with a 17-month                 *     *     *    *      *
                                                  employment reported by a former                         OPT extension under the rule issued at                  (b) * * *
                                                  employer in accordance with 8 CFR                       73 FR 18944 are eligible to apply for an                (6) * * *
                                                  214.2(f)(10)(ii)(C)(6).                                 additional 7-month period of OPT. The                   (iv) An Employment Authorization
                                                  *      *    *     *     *                               F–1 student applying for the additional               Document, Form I–766 or successor
                                                  ■ 4. Section § 214.16 is added, effective               7-month period of OPT must:                           form, under paragraph (c)(3)(i)(C) of this
                                                  May 10, 2016 through May 10, 2019, to                      (i) Properly file a Form I–765, with               section based on a STEM Optional
                                                  read as follows:                                        USCIS on or after May 10, 2016 and on                 Practical Training extension, and whose
                                                                                                          or before August 8, 2016, and within 60               timely filed Form I–765 or successor
                                                  § 214.16 Transition Procedures for OPT                  days of the date the DSO enters the                   form is pending and employment
                                                  Applications for Employment Authorization               recommendation for the 24-month OPT                   authorization and accompanying Form
                                                     (a) STEM OPT Applications for                        extension into the student’s SEVIS                    I–766 or successor form issued under
                                                  Employment Authorization that are                       record, with applicable fees and                      paragraph (c)(3)(i)(B) of this section
                                                  filed prior to, and remain pending on                   supporting documentation, as described                have expired. Employment is authorized
                                                  May 10, 2016. (1) On or after May 10,                   in the form instructions;                             beginning on the expiration date of the
                                                  2016, USCIS will issue Requests for                        (ii) Have at least 150 calendar days               Form I–766 or successor form issued
                                                  Evidence (RFEs) to students whose                       remaining prior to the end of his or her              under paragraph (c)(3)(i)(B) of this
                                                  applications for a 17-month OPT                         17-month OPT extension at the time the                section and ending on the date of
                                                  extension under the rule issued at 73 FR                Form I–765, is properly filed; and                    USCIS’ written decision on the current
                                                  18944 are still pending. The RFEs will                     (iii) Meet all the requirements for the            Form I–765 or successor form, but not
                                                  request documentation that will                         24-month OPT extension as described in                to exceed 180 days. For this same
                                                  establish that the student is eligible for              8 CFR 214.2(f)(10)(ii)(C), except the                 period, such Form I–766 or successor
                                                  a 24-month OPT extension under 8 CFR                    requirement that the student must be in               form is automatically extended and is
                                                  214.2(f)(10)(ii)(C), including a Form I–                a valid period of post-completion OPT                 considered unexpired when combined
                                                  20 endorsed on or after May 10, 2016,                   authorized under 8 CFR                                with a Certificate of Eligibility for
                                                  indicating that the Designated School                   274a.12(c)(3)(i)(B).                                  Nonimmigrant (F–1/M–1) Students,
                                                  Official (DSO) recommends the student                      (3) Students on a 17-month OPT
                                                                                                                                                                Form I–20 or successor form, endorsed
                                                  for a 24-month OPT extension and that                   extension who apply for and are granted
                                                                                                                                                                by the Designated School Official
                                                  the requirements for such an extension                  an additional 7-month period of OPT
                                                                                                                                                                recommending such an extension; or
                                                  have been met. Submission of the Form                   shall be considered to be in a period of
                                                                                                          24-month OPT extension, as authorized                   (v) Pursuant to 8 CFR 214.2(h) is
                                                  I–20 in response to an RFE issued under
                                                                                                                                                                seeking H–1B nonimmigrant status and
asabaliauskas on DSK3SPTVN1PROD with RULES




                                                  8 CFR 214.16(a) will be regarded as                     under 8 CFR 214.2(f)(10)(ii)(C). Upon
                                                                                                          proper filing of the application for the              whose duration of status and
                                                  fulfilling the requirement in 8 CFR
                                                                                                          additional 7-month OPT extension, the                 employment authorization have been
                                                  214.2(f)(11)(i) that a student must
                                                                                                          student, the student’s employer as                    extended pursuant to 8 CFR
                                                  initiate the OPT application process by
                                                                                                          identified in the student’s completed                 214.2(f)(5)(vi).
                                                  requesting a recommendation for OPT
                                                  by his or her DSO.                                      Form I–983 and the student’s DSO are                  *     *     *    *      *
                                                     (2) Forms I–765 that are filed prior to,             subject to all requirements of the 24-                  (c) * * *
                                                  and remain pending on, May 10, 2016,                    month OPT extension period, except for                  (3) * * *

                                                                                                                                                                                        STEM000137
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                                                    (i)(A) Is seeking pre-completion                      Optional Practical Training (OPT)                       (C) Is seeking a 24-month OPT
                                                  practical training pursuant to 8 CFR                    pursuant to 8 CFR 214.2(f)(10)(ii)(A)(3);             extension pursuant to 8 CFR
                                                  214.2(f)(10)(ii)(A)(1) and (2);                         or                                                    214.2(f)(10)(ii)(C);
                                                    (B) Is seeking authorization to engage                                                                      *     *     *     *    *
                                                  in up to 12 months of post-completion                                                                         Jeh Charles Johnson,
                                                                                                                                                                Secretary of Homeland Security.
                                                                                                                                                                [FR Doc. 2016–04828 Filed 3–9–16; 8:45 am]
                                                                                                                                                                BILLING CODE 9111–28–P
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                                                                                                                                                                                          STEM000138
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    DEPARTMENT OF HOMELAND                       III. Public Comments on Proposed Rule         expects to facilitate the use of parole in
    SECURITY                                        A. Summary of Public Comments              this area.
                                                    B. Legal Authority                            Under this final rule, an applicant
    8 CFR Parts 103, 212, and 274a                  C. Significant Public Benefit              would need to demonstrate that his or
                                                    D. Definitions
                                                                                               her parole would provide a significant
    [CIS No. 2572–15; DHS Docket No. USCIS–         E. Application Requirements
    2015–0006]                                      F. Parole Criteria and Conditions          public benefit because he or she is the
                                                    G. Employment Authorization                entrepreneur of a new start-up entity in
    RIN 1615–AC04                                   H. Comments on Parole Process              the United States that has significant
                                                    I. Appeals and Motions To Reopen           potential for rapid growth and job
    International Entrepreneur Rule                 J. Termination of Parole                   creation. DHS believes that such
    AGENCY: U.S. Citizenship and                    K. Opposition to the Overall Rule          potential would be indicated by, among
                                                    L. Miscellaneous Comments on the Rule      other things, the receipt of (1)
    Immigration Services, DHS.
                                                    M. Public Comments on Statutory and        significant capital investment from U.S.
    ACTION: Final rule.                                Regulatory Requirements                 investors with established records of
                                                 IV. Statutory and Regulatory Requirements
    SUMMARY: This final rule amends                                                            successful investments or (2) significant
                                                    A. Unfunded Mandates Reform Act of 1995
    Department of Homeland Security                 B. Small Business Regulatory Enforcement   awards or grants from certain Federal,
    (DHS) regulations to implement the                 Fairness Act of 1996                    State, or local government entities. The
    Secretary of Homeland Security’s                C. Executive Orders 12866 and 13563        final rule also includes alternative
    discretionary parole authority in order         1. Summary                                 criteria for applicants who partially
    to increase and enhance                         2. Purpose of the Rule                     meet the thresholds for capital
    entrepreneurship, innovation, and job           3. Volume Estimate                         investment or government awards or
    creation in the United States. The final        4. Costs                                   grants and can provide additional
                                                    5. Benefits                                reliable and compelling evidence of
    rule adds new regulatory provisions
                                                    6. Alternatives Considered                 their entities’ significant potential for
    guiding the use of parole on a case-by-         D. Regulatory Flexibility Act
    case basis with respect to entrepreneurs                                                   rapid growth and job creation. An
                                                    E. Executive Order 13132
    of start-up entities who can demonstrate        F. Executive Order 12988                   applicant must also show that he or she
    through evidence of substantial and             G. Paperwork Reduction Act                 has a substantial ownership interest in
    demonstrated potential for rapid                                                           such an entity, has an active and central
                                                 I. Executive Summary                          role in the entity’s operations, and
    business growth and job creation that
    they would provide a significant public      A. Purpose of the Regulatory Action           would substantially further the entity’s
    benefit to the United States. Such                                                         ability to engage in research and
                                                    Section 212(d)(5) of the Immigration       development or otherwise conduct and
    potential would be indicated by, among       and Nationality Act (INA), 8 U.S.C.
    other things, the receipt of significant                                                   grow its business in the United States.
                                                 1182(d)(5), confers upon the Secretary        The grant of parole is intended to
    capital investment from U.S. investors       of Homeland Security the discretionary
    with established records of successful                                                     facilitate the applicant’s ability to
                                                 authority to parole individuals into the      oversee and grow the start-up entity.
    investments, or obtaining significant        United States temporarily, on a case-by-         DHS believes that this final rule will
    awards or grants from certain Federal,       case basis, for urgent humanitarian           encourage foreign entrepreneurs to
    State or local government entities. If       reasons or significant public benefit.        create and develop start-up entities with
    granted, parole would provide a              DHS is amending its regulations               high growth potential in the United
    temporary initial stay of up to 30           implementing this authority to increase       States, which are expected to facilitate
    months (which may be extended by up          and enhance entrepreneurship,                 research and development in the
    to an additional 30 months) to facilitate    innovation, and job creation in the           country, create jobs for U.S. workers,
    the applicant’s ability to oversee and       United States. As described in more           and otherwise benefit the U.S. economy
    grow his or her start-up entity in the       detail below, the final rule would            through increased business activity,
    United States.                               establish general criteria for the use of     innovation, and dynamism. Particularly
    DATES: This final rule is effective July     parole with respect to entrepreneurs of       in light of the complex considerations
    17, 2017.                                    start-up entities who can demonstrate         involved in entrepreneur-based parole
    FOR FURTHER INFORMATION CONTACT:             through evidence of substantial and           requests, DHS also believes that this
    Steven Viger, Adjudications Officer,         demonstrated potential for rapid growth       final rule will provide a transparent
    Office of Policy and Strategy, U.S.          and job creation that they would              framework by which DHS will exercise
    Citizenship and Immigration Services,        provide a significant public benefit to       its discretion to adjudicate such
    Department of Homeland Security, 20          the United States. In all cases, whether      requests on a case-by-case basis under
    Massachusetts Avenue NW., Suite 1100,        to parole a particular individual under       section 212(d)(5) of the INA, 8 U.S.C.
    Washington, DC 20529–2140;                   this rule is a discretionary                  1182(d)(5).
    Telephone (202) 272–1470.                    determination that would be made on a         B. Legal Authority
    SUPPLEMENTARY INFORMATION:                   case-by-case basis.
                                                    Given the complexities involved in           The Secretary of Homeland Security’s
    Table of Contents                                                                          authority for the proposed regulatory
                                                 adjudicating applications in this
    I. Executive Summary                         context, DHS has decided to establish         amendments can be found in various
       A. Purpose of the Regulatory Action       by regulation the criteria for the case-by-   provisions of the immigration laws.
       B. Legal Authority                        case evaluation of parole applications        Sections 103(a)(1) and (3) of the INA, 8
       C. Summary of the Final Rule Provisions   filed by entrepreneurs of start-up            U.S.C. 1103(a)(1), (3), provides the
       D. Summary of Changes From the Notice                                                   Secretary the authority to administer
                                                 entities. By including such criteria in
         of Proposed Rulemaking                                                                and enforce the immigration and
       E. Summary of Costs and Benefits          regulation, as well as establishing
       F. Effective Date                         application requirements that are             nationality laws. Section 402(4) of the
    II. Background                               specifically tailored to capture the          Homeland Security Act of 2002 (HSA),
       A. Current Framework                      necessary information for processing          Public Law 107–296, 116 Stat. 2135, 6
       B. Final Rule                             parole requests on this basis, DHS            U.S.C. 202(4), expressly authorizes the

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Secretary to establish rules and                      grant of parole; and (2) has an active and         considered under this rule for a
regulations governing parole. Section                 central role in the operations and future          discretionary grant of parole lasting up
212(d)(5) of the INA, 8 U.S.C.                        growth of the entity, such that his or her         to 30 months (2.5 years) based on the
1182(d)(5), vests in the Secretary the                knowledge, skills, or experience would             significant public benefit that would be
discretionary authority to grant parole               substantially assist the entity in                 provided by the applicant’s (or family’s)
for urgent humanitarian reasons or                    conducting and growing its business in             parole into the United States. An
significant public benefit to applicants              the United States. See final 8 CFR                 applicant will be required to file a new
for admission temporarily on a case-by-               212.19(a)(1). Such an applicant cannot             application specifically tailored for
case basis.1 Section 274A(h)(3)(B) of the             be a mere investor.                                entrepreneurs to demonstrate eligibility
INA, 8 U.S.C. 1324a(h)(3)(B), recognizes                3. Significant U.S. Capital Investment           for parole based upon significant public
the Secretary’s general authority to                  or Government Funding. The applicant               benefit under this rule, along with
extend employment authorization to                    can further validate, through reliable             applicable fees. Applicants will also be
noncitizens in the United States. And                 supporting evidence, the entity’s                  required to appear for collection of
section 101(b)(1)(F) of the HSA, 6 U.S.C.             substantial potential for rapid growth             biometric information. No more than
111(b)(1)(F), establishes as a primary                and job creation. An applicant may be              three entrepreneurs may receive parole
mission of DHS the duty to ‘‘ensure that              able to satisfy this criterion in one of           with respect to any one qualifying start-
the overall economic security of the                  several ways:                                      up entity.
United States is not diminished by                      a. Investments from established U.S.                USCIS adjudicators will consider the
efforts, activities, and programs aimed at            investors. The applicant may show that             totality of the evidence, including
securing the homeland.’’                              the entity has received significant                evidence obtained by USCIS through
                                                      investment of capital from certain                 background checks and other means, to
C. Summary of the Final Rule Provisions               qualified U.S. investors with established          determine whether the applicant has
  This final rule adds a new section 8                records of successful investments. An              satisfied the above criteria, whether the
CFR 212.19 to provide guidance with                   applicant would generally be able to               specific applicant’s parole would
respect to the use of parole for                      meet this standard by demonstrating                provide a significant public benefit, and
entrepreneurs of start-up entities based              that the start-up entity has received              whether negative factors exist that
upon significant public benefit. An                   investments of capital totaling $250,000           warrant denial of parole as a matter of
individual seeking to operate and grow                or more from established U.S. investors            discretion. To grant parole, adjudicators
his or her start-up entity in the United              (such as venture capital firms, angel              will be required to conclude, based on
States would generally need to                        investors, or start-up accelerators) with          the totality of the circumstances, that
demonstrate the following to be                       a history of substantial investment in             both: (1) The applicant’s parole would
considered for a discretionary grant of               successful start-up entities.                      provide a significant public benefit, and
parole under this final rule:                           b. Government grants. The applicant              (2) the applicant merits a grant of parole
  1. Formation of New Start-Up Entity.                may show that the start-up entity has              as a matter of discretion.
The applicant has recently formed a                   received significant awards or grants                 If parole is granted, the entrepreneur
new entity in the United States that has              from Federal, State or local government            will be authorized for employment
lawfully done business since its creation             entities with expertise in economic                incident to the grant of parole, but only
and has substantial potential for rapid               development, research and                          with respect to the entrepreneur’s start-
growth and job creation. An entity may                development, or job creation. An                   up entity. The entrepreneur’s spouse
be considered recently formed if it was               applicant would generally be able to               and children, if any, will not be
created within the 5 years immediately                meet this standard by demonstrating                authorized for employment incident to
preceding the date of the filing of the               that the start-up entity has received              the grant of parole, but the
initial parole application. See 8 CFR                 monetary awards or grants totaling                 entrepreneur’s spouse, if paroled into
219.12(a)(2), 8 CFR 103.2(a)(7).                      $100,000 or more from government                   the United States pursuant to 8 CFR
  2. Applicant is an Entrepreneur. The                entities that typically provide such               212.19, will be permitted to apply for
applicant is an entrepreneur of the start-            funding to U.S. businesses for                     employment authorization consistent
up entity who is well-positioned to                   economic, research and development, or             with new 8 CFR 274a.12(c)(34). DHS
advance the entity’s business. An                     job creation purposes.                             retains the authority to revoke any such
applicant may meet this standard by                     c. Alternative criteria. The final rule          grant of parole at any time as a matter
providing evidence that he or she: (1)                provides alternative criteria under                of discretion or if DHS determines that
Possesses a significant (at least 10                  which an applicant who partially meets             parole no longer provides a significant
percent) ownership interest in the entity             one or more of the above criteria related          public benefit, such as when the entity
at the time of adjudication of the initial            to capital investment or government                has ceased operations in the United
                                                      funding may be considered for parole               States or DHS has reason to believe that
   1 In sections 402 and 451 of the HSA, Congress
                                                      under this rule if he or she provides              the approved application involves fraud
transferred from the Attorney General to the
Secretary of Homeland Security the general            additional reliable and compelling                 or misrepresentation. See new 8 CFR
authority to enforce and administer the immigration   evidence that they would provide a                 212.19(k).
laws, including those pertaining to parole. In        significant public benefit to the United              As noted, the purpose of this parole
accordance with section 1517 of title XV of the       States. Such evidence must serve as a              process is to provide qualified
HSA, any reference to the Attorney General in a
provision of the INA describing functions             compelling validation of the entity’s              entrepreneurs of high-potential start-up
transferred from the Department of Justice to DHS     substantial potential for rapid growth             entities in the United States with the
‘‘shall be deemed to refer to the Secretary’’ of      and job creation.                                  improved ability to conduct research
Homeland Security. See 6 U.S.C. 557 (codifying the      This final rule states that an applicant         and development and expand the
HSA, tit. XV, section 1517). Authorities and
functions of DHS to administer and enforce the
                                                      who meets the above criteria (and his or           entities’ operations in the United States
                                                      her spouse and minor, unmarried                    so that our nation’s economy may
immigration laws are appropriately delegated to
DHS employees and others in accordance with           children,2 if any) generally may be
section 102(b)(1) of the HSA, 6 U.S.C. 112(b)(1);                                                        under section 101(b)(1) of the INA, 8 U.S.C.
section 103(a) of the INA, 8 U.S.C. 1103(a); and 8      2 The terms ‘‘child’’ and ‘‘children’’ in this   1101(b)(1) (defining a child as one who is
CFR 2.1.                                              proposed rule have the same meaning as they do     unmarried and under twenty-one years of age).


                                                                                                                                        IER00042
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benefit from such development and            awards or grants from U.S. government          entrepreneurs (and their spouses and
expansion, including through increased       entities that regularly provide such           children) may receive such additional
capital expenditures, innovation, and        funding to start-up entities; or a             periods of parole with respect to any
job creation. The final rule allows          combination of both. An applicant              one qualifying entity.
individuals granted parole under this        would generally be expected to                    As with initial parole applications,
rule to be considered for re-parole for an   demonstrate that the entity received at        USCIS adjudicators will consider the
additional period of up to 30 months         least $500,000 in additional qualifying        totality of the evidence, including
(2.5 years) if, and only if, they can        funding during the initial parole period.      evidence obtained by USCIS through
demonstrate that their entities have         As noted previously, any private               verification methods, to determine
shown signs of significant growth since      investment that the applicant is relying       whether the applicant has satisfied the
the initial grant of parole and such         upon as evidence that the investment           above criteria and whether his or her
entities continue to have substantial        criterion has been met must be made by         continued parole would provide a
potential for rapid growth and job           qualified U.S. investors (such as venture      significant public benefit. To be re-
creation.                                    capital firms, angel investors, or start-up    paroled, adjudicators will be required to
  An applicant under this rule will          accelerators) with a history of                conclude, based on the totality of the
generally need to demonstrate the            substantial investment in successful           circumstances, both: (1) That the
following to be considered for a             start-up entities. Government awards or        applicant’s continued parole would
discretionary grant of an additional         grants must be from U.S. federal, state        provide a significant public benefit, and
period of parole:                            or local government entities with              (2) that the applicant continues to merit
  1. Continuation of Start-Up Entity.        expertise in economic development,             parole as a matter of discretion. If the
The entity continues to be a start-up        research and development, or job               applicant is re-paroled, DHS retains the
entity as defined by the proposed rule.      creation.                                      authority to revoke parole at any time as
For purposes of seeking re-parole, an           b. Revenue generation. The applicant        a matter of discretion or if DHS
applicant may be able to meet this           may show that the start-up entity has          determines that parole no longer
standard by showing that the entity: (a)     generated substantial and rapidly              provides a significant public benefit,
Has been lawfully operating in the           increasing revenue in the United States        such as when the entity has ceased
United States during the period of           during the initial parole period. To           operations in the United States or DHS
parole; and (b) continues to have            satisfy this criterion, an applicant will      believes that the application involved
substantial potential for rapid growth       need to demonstrate that the entity            fraud or made material
and job creation.                            reached at least $500,000 in annual            misrepresentations.
  2. Applicant Continues to Be an            revenue, with average annualized                  The entrepreneur and any dependents
Entrepreneur. The applicant continues        revenue growth of at least 20 percent,         granted parole under this program will
to be an entrepreneur of the start-up        during the initial parole period.              be required to depart the United States
entity who is well-positioned to                c. Job creation. The applicant may          when their parole periods have expired
advance the entity’s business. An            show that the start-up entity has              or have otherwise been terminated,
applicant may meet this standard by          demonstrated substantial job creation in       unless such individuals are otherwise
providing evidence that he or she: (a)       the United States during the initial           eligible to lawfully remain in the United
Continues to possess a significant (at       parole period. To satisfy this criterion,      States. At any time prior to reaching the
least 5 percent) ownership interest in       an applicant will need to demonstrate          5-year limit for parole under this final
the entity at the time of adjudication of    that the entity created at least 5 full-time   rule, such individuals may apply for
the grant of re-parole; and (b) continues    jobs for U.S. workers during the initial       any immigrant or nonimmigrant
to have an active and central role in the    parole period.                                 classification for which they may be
operations and future growth of the             d. Alternative criteria. As with initial    eligible (such as classification as an O–
entity, such that his or her knowledge,      parole, the final rule includes                1 nonimmigrant or as a lawful
skills, or experience would substantially    alternative criteria under which an            permanent resident pursuant to an EB–
assist the entity in conducting and          applicant who partially meets one or           2 National Interest Waiver). Because
continuing to grow its business in the       more of the above criteria related to          parole is not considered an admission to
United States. This reduced ownership        capital investment, revenue generation,        the United States, parolees are ineligible
amount takes into account the need of        or job creation may be considered for re-      to adjust or change their status in the
some successful start-up entities to raise   parole under this rule if he or she            United States under many immigrant or
additional venture capital investment by     provides additional reliable and               nonimmigrant visa classifications. For
selling ownership interest during their      compelling evidence that his or her            example, if such individuals are
initial years of operation.                  parole will continue to provide a              approved for a nonimmigrant or
  3. Significant U.S. Investment/            significant public benefit. As discussed       employment-based immigrant visa
Revenue/Job Creation. The applicant          above, such evidence must serve as a           classification, they would generally
further validates, through reliable          compelling validation of the entity’s          need to depart the United States and
supporting evidence, the start-up            substantial potential for rapid growth         apply for a visa with the Department of
entity’s continued potential for rapid       and job creation.                              State (DOS) for admission to the United
growth and job creation. An applicant           As indicated above, an applicant who        States as a nonimmigrant or lawful
may be able to satisfy this criterion in     generally meets the above criteria and         permanent resident.
one of several ways:                         merits a favorable exercise of discretion         Finally, DHS is making conforming
  a. Additional Investments or Grants.       may be granted an additional 30-month          changes to the employment
The applicant may show that during the       period of re-parole, for a total maximum       authorization regulations at 8 CFR
initial period of parole the start-up        period of 5 years of parole under 8 CFR        274a.12(b) and (c), the employment
entity received additional substantial       212.19, to work with the same start-up         eligibility verification regulations at 8
investments of capital, including            entity based on the significant public         CFR 274a.2(b), and fee regulations at 8
through qualified investments from U.S.      benefit that would be served by his or         CFR 103.7(b)(i). The final rule amends
investors with established records of        her continued parole in the United             8 CFR 274a.12(b) by: (1) Adding
successful investments; significant          States. No more than three                     entrepreneur parolees to the classes of

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aliens authorized for employment                            DHS is revising proposed 8 CFR                with the change to the qualified
incident to their immigration status or                     212.19(a)(1), a provision that defines the    investment definition by adding ‘‘or
parole, and (2) providing temporary                         term ‘‘entrepreneur,’’ and establishes a      other security convertible into equity
employment authorization for those                          minimum ownership percentage                  commonly used in financing
applying for re-parole. The final rule                      necessary to meet the definition. In the      transactions within their respective
amends 8 CFR 274a.12(c) by extending                        NPRM, DHS proposed that the                   industries.’’
eligibility for employment authorization                    entrepreneur must have an ownership              x Start-up Entity Definition. In the
to the spouse of an entrepreneur paroled                    interest of at least 15 percent for initial   final rule, DHS is revising the definition
into the United States under 8 CFR                          parole, and 10 percent for re-parole. In      of a start-up entity as proposed in 8 CFR
212.19. The final rule amends 8 CFR                         response to public comment, DHS is            212.19(a)(2). In the NPRM, DHS
274a.2(b) by designating the                                modifying this requirement to allow           proposed that an entity may be
entrepreneur’s foreign passport and                         individuals who have an ownership             considered recently formed if it was
Arrival/Departure Record (Form I–94)                        interest of at least 10 percent in the        created within the 3 years preceding the
indicating entrepreneur parole as                           start-up entity at the time of                date of filing of the initial parole
acceptable evidence for employment                          adjudication of the initial grant of          request. In response to public comment,
eligibility verification (Form I–9)                         parole, and at least a 5 percent              DHS is modifying this provision so that
purposes.3 The final rule also amends 8                     ownership interest at the time of             an entity may be considered recently
CFR 103.7(b)(i) by including the fee for                    adjudication of a subsequent period of        formed if it was created within the 5
the new Application for Entrepreneur                        re-parole, to qualify under this              years immediately preceding the filing
Parole form.                                                definition.                                   date of the initial parole request.
                                                               x Qualified Investment Definition.         Additionally, for purposes of paragraphs
D. Summary of Changes From the
                                                            DHS is revising proposed 8 CFR                (a)(3) and (a)(5) of this section, which
Notice of Proposed Rulemaking
                                                            212.19(a)(4), which establishes the           pertain to the definitional requirements
   Following careful consideration of                       definition of a qualified investment. In      to be a qualified investor or qualified
public comments received, including                         the NPRM, DHS proposed that the term          government award or grant,
relevant data provided by stakeholders,                     ‘‘qualified investment’’ means an             respectively, DHS made corresponding
DHS has made several modifications to                       investment made in good faith, and that       changes in this final rule such that an
the regulatory text proposed in the                         is not an attempt to circumvent any           entity may be considered recently
Notice of Proposed Rulemaking (NPRM)                        limitations imposed on investments            formed if it was created within the 5
published in the Federal Register on                        under this section, of lawfully derived       years immediately preceding the receipt
August 31, 2016. See 81 FR 60129.                           capital in a start-up entity that is a        of the relevant grant(s), award(s), or
Those changes include the following:                        purchase from such entity of equity or        investment(s).
   x Minimum Investment Amount. In                          convertible debt issued by such entity.          x Job Creation Requirement. In the
the final rule, DHS is responding to                        In response to public comment, DHS is         final rule, DHS is revising proposed 8
public comment by revising proposed 8                       modifying this definition to include          CFR 212.19(c)(2)(ii)(B)(2), a provision
CFR 212.19(b)(2)(ii)(B)(1), a provision                     other securities that are convertible into    that identifies the minimum job creation
that identifies the qualifying investment                   equity issued by such an entity and that      requirement under the general re-parole
amount required from one or more                            are commonly used in financing                criteria. In the NPRM, DHS proposed
qualified investors. In the NPRM, DHS                       transactions within such entity’s             that an entrepreneur may be eligible for
proposed a minimum investment                               industry.                                     an additional period of parole by
amount of $345,000. Based on data                              x Qualified Investor Definition. DHS       establishing that his or her start-up
provided by the public, DHS is revising                     is revising proposed 8 CFR 212.19(a)(5),      entity has created at least 10 qualified
this figure to $250,000. Thus, under the                    which establishes the definition of a         jobs during the initial parole period. In
final rule, an applicant would generally                    qualified investor. In the NPRM, DHS          response to public comment, DHS is
be able to meet the investment standard                     proposed that an individual or                modifying this provision so that an
by demonstrating that the start-up entity                   organization may be considered a              entrepreneur may qualify for re-parole if
has received investments of capital                         qualified investor if, during the             the start-up entity created at least 5
totaling $250,000 or more from                              preceding 5 years: (i) The individual or      qualified jobs with the start-up entity
established U.S. investors (such as                         organization made investments in start-       during the initial parole period.
venture capital firms, angel investors, or                  up entities in exchange for equity or            x Revenue Generation. In the final
start-up accelerators) with a history of                    convertible debt in at least 3 separate       rule, DHS is clarifying proposed 8 CFR
substantial investment in successful                        calendar years comprising a total within      212.19(c)(2)(ii)(B)(3), a provision that
start-up entities. In addition, DHS has                     such 5-year period of no less than            identifies the minimum annual revenue
increased the timeframe during which                        $1,000,000; and (ii) subsequent to such       requirement under the general re-parole
the qualifying investments must be                          investment by such individual or              criteria. DHS has clarified that for the
received from 365 days to 18 months                         organization, at least 2 such entities        revenue to be considered for purposes of
immediately preceding the filing of an                      each created at least 5 qualified jobs or     re-parole, it must be generated in the
application for initial parole.                             generated at least $500,000 in revenue        United States.
   x Definition of Entrepreneur:                            with average annualized revenue growth           x Parole Validity Periods. In the final
Ownership Criteria. In the final rule,                      of at least 20 percent. In this final rule,   rule, DHS is revising proposed 8 CFR
                                                            the minimum investment amount has             212.19(d)(2) and (3), which are
   3 Additionally, DHS is making a technical change
                                                            been decreased from the originally            provisions that identify the length of the
to this section by adding the Department of State
(DOS) Consular Report of Birth Abroad (Form FS–             proposed $1,000,000 to $600,000. The          initial and re-parole periods. In the
240) to the regulatory text and to the ‘‘List C’’ listing   requirement that investments be made          NPRM, DHS proposed (1) a potential
of acceptable documents for Form I–9 verification           in at least 3 separate calendar years has     initial period of parole of up to 2 years
purposes. This rule departs from the Notice of
Proposed Rulemaking by not adding ‘‘or successor
                                                            also been removed from this final rule.       beginning on the date the request is
form’’ after Form FS–240. DHS determined that               DHS is also making revisions to the           approved by USCIS and (2) a potential
inclusion of the phrase is unnecessary and may              form of investment made by the                period of re-parole of up to 3 years
cause confusion in the future.                              individual or organization consistent         beginning on the date of the expiration

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of the initial parole period. First, DHS     final rule makes conforming revisions to               filing costs is estimated to be $8,136,571
revised 8 CFR 212.19(d)(2) to correct        this provision based on changes to the                 annually.
that the initial parole period would         definition of entrepreneur and to the                     DHS anticipates that establishing a
begin running on the date the individual     material change provisions.                            parole process for those entrepreneurs
is initially paroled into the United                                                                who stand to provide a significant
States. Second, in response to public        E. Summary of Costs and Benefits                       public benefit will advance the U.S.
comment, DHS revised 8 CFR                      DHS does not anticipate that this rule              economy by enhancing innovation,
212.19(d)(2) and (3) to provide 2            will generate significant costs and                    generating capital investments, and
potential parole periods of up to 30         burdens to private or public entities.                 creating jobs. DHS does not expect
months each, rather than an initial 2-       Costs of the rule stem from filing fees                significant negative consequences or
year period followed by a potential 3-                                                              labor market impacts from this rule;
                                             and opportunity costs associated with
year period of re-parole. Specifically, 8                                                           indeed, DHS believes this rule will
                                             applying for parole, and the requirement
CFR 212.19(d)(2) now provides that an                                                               encourage entrepreneurs to pursue
                                             that the entrepreneur notify DHS of any
applicant who meets the eligibility                                                                 business opportunities in the United
                                             material changes.
criteria (and his or her spouse and                                                                 States rather than abroad, which can be
minor, unmarried children, if any) may          DHS estimates that 2,940                            expected to generate significant
be considered under this rule for a          entrepreneurs will be eligible for parole              scientific, research and development,
discretionary grant of an initial parole     annually and can apply using the                       and technological impacts that could
period of up to 30 months (2.5 years)        Application for Entrepreneur Parole                    create new products and produce
based on the significant public benefit      (Form I–941). Each applicant for parole                positive spillover effects to other
that would be provided by the                will face a total filing cost—including                businesses and sectors. The impacts
applicant’s (or family’s) parole into the    the application form fee, biometric filing             stand to benefit the economy by
United States. DHS also revised in this      fee, travel costs, and associated                      supporting and strengthening high-
final rule the period of re-parole in 8      opportunity costs—of $1,591, resulting                 growth, job-creating businesses in the
CFR 212.19(d)(3) to reduce the period of     in a total cost of $4,678,336                          United States.
re-parole from 3 years to 30 months in       (undiscounted) for the first full year the
order to extend the initial parole period,   rule will take effect and any subsequent               F. Effective Date
while still maintaining the overall 5-       year. Additionally, dependent family                      This final rule will be effective on
year period of parole limitation.            members (spouses and children) seeking                 July 17, 2017, 180 days from the date of
   x Material Changes. In the final rule,    parole with the principal applicant will               publication in the Federal Register.
DHS is revising proposed 8 CFR               be required to file an Application for                 DHS has determined that this 180-day
212.19(a)(10), a provision that defines      Travel Document (Form I–131) and                       period is necessary to provide USCIS
material changes. The final rule adds the    submit biographical information and                    with a reasonable period to ensure
following to the definition of material      biometrics. DHS estimates                              resources are in place to process and
changes: ‘‘a significant change with         approximately 3,234 dependent spouses                  adjudicate Applications for
respect to ownership and control of the      and children could seek parole based on                Entrepreneur Parole filed by eligible
start-up entity.’’ This reflects a change    the estimate of 2,940 principal                        entrepreneurs and related applications
from the originally proposed language of     applicants. Each spouse and child 14                   filed by eligible dependents under this
any significant change to the                years of age and older seeking parole                  rule without sacrificing the quality of
entrepreneur’s role in or ownership and      will face a total cost of $765 per                     customer service for all USCIS
control in the start-up entity or any        applicant,4 for a total aggregate cost of              stakeholders. USCIS believes it will thus
other significant change with respect to     $2,474,914.5 Additionally, spouses who                 be able to implement this rule in a
ownership and control of the start-up        apply for work authorization via an                    manner that will avoid delays of
entity. Additionally, the final rule at 8    Application for Employment                             processing these and other applications.
CFR 212.19(a)(1) adds language that          Authorization (Form I–765) will incur a
permits the entrepreneur during the                                                                 II. Background
                                             total additional cost of $446 each. Based
initial parole period to reduce his or her   on the same number of entrepreneurs,                   A. Discretionary Parole Authority
ownership interest, as long as at least 5    the estimated 2,940 spouses 6 will incur
percent ownership is maintained. This                                                                  The Secretary of Homeland Security
                                             total costs of $1,311,830 (undiscounted).              has discretionary authority to parole
provision was revised in response to a       The total cost of the rule to include
number of public comments that                                                                      into the United States temporarily
                                             direct filing costs and monetized non-                 ‘‘under
requested that DHS reconsider how and                                                               only on conditions as hebasis
                                                                                                            a case-by-case   mayfor
                                                                                                                                  prescribe
                                                                                                                                    urgent
when material changes should be                 4 On October 24, 2016, U.S. Citizenship and
reported.                                                                                           humanitarian reasons or significant
                                             Immigration Services published a final rule
   x Reporting of Material Changes. In       establishing a new fee schedule for immigration        public benefit any individual applying
the final rule, DHS is revising proposed     benefits and services (81 FR 73292). The new filing    for admission to the United States,’’
8 CFR 212.19(j), a provision that            fees for Form I–131 and Form I–765, $575 and $410,     regardless of whether the alien is
                                             respectively, will be effective on December 23,        inadmissible. INA section 212(d)(5)(A),
describes reporting of material changes.     2016. This final rule uses those new filing fees in
DHS is revising 8 CFR 212.19(j) to allow     estimating costs to potential applicants under this    8 U.S.C. 1182(d)(5)(A).7 The Secretary’s
DHS to provide additional flexibility in     rule.                                                  parole authority is expansive. Congress
the future with respect to the manner in        5 For parole requests for children under the age    did not define the phrase ‘‘urgent
                                             of 14, only the filing fee will be required, as such   humanitarian reasons or significant
which material changes are reported to       children do not appear for biometric collection.
DHS. The final rule also makes               Applicants under the age of 14 and over the age of
                                                                                                    public benefit,’’ entrusting
conforming changes based on changes to       79 are not required to be fingerprinted. However,      interpretation and application of those
the definition of entrepreneur.              they may still be required to attend a biometrics
   x Termination of Parole. In the final     appointment in order to have their photographs and       7 Although section 212(d)(5) continues to refer to
                                             signatures captured.                                   the Attorney General, the parole authority now
rule, DHS is revising proposed 8 CFR            6 DHS used a simple one-to-one mapping of           resides exclusively with the Secretary of Homeland
212.19(k)(2), a provision that describes     entrepreneurs to spouses to obtain 2,940 spouses,      Security. See Matter of Arrabally, 25 I. & N. Dec.
automatic termination of parole. The         the same number as entrepreneur parolees.              771, 777 n.5 (BIA 2012).


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standards to the Secretary. Aside from                 will appear at all hearings and will                    authorized parole period. See 8 CFR
requiring case-by-case determinations,                 depart from the United States when                      235.1(h)(2). CBP retains the authority to
Congress limited the parole authority by               required to do so. See 8 CFR 212.5(d).                  deny parole to a parole applicant or to
restricting its use with respect to two                   Each of the DHS immigration                          modify the length of advance parole
classes of applicants for admissions: (1)              components—USCIS, U.S. Customs and                      authorized by USCIS. See 8 CFR
Aliens who are refugees (unless the                    Border Protection (CBP), and U.S.                       212.5(c).
Secretary determines that ‘‘compelling                 Immigration and Customs Enforcement                        Because parole does not constitute an
reasons in the public interest with                    (ICE)—has been delegated the authority                  admission, individuals may be paroled
respect to that particular alien require               to parole applicants for admission in                   into the United States even if they are
that the alien be paroled . . . rather                 accordance with section 212(d)(5) of the                inadmissible under section 212(a) of the
than be admitted as a refugee’’ under                  INA, 8 U.S.C. 1182(d)(5). See 8 CFR                     INA, 8 U.S.C. 1182(a). Further, parole
INA section 207, 8 U.S.C. 1157), see INA               212.5(a). The parole authority is often                 does not provide a parolee with
section 212(d)(5)(B), 8 U.S.C.                         utilized to permit an individual who is                 nonimmigrant status or lawful
1182(d)(5)(B); and (2) certain alien                   outside the United States to travel to                  permanent resident status. Nor does it
crewmen during a labor dispute in                      and come into the United States without                 provide the parolee with a basis for
specified circumstances (unless the                    a visa. USCIS, however, also accepts                    changing status to that of a
Secretary ‘‘determines that the parole of              requests for ‘‘advance parole’’ by                      nonimmigrant or adjusting status to that
such alien is necessary to protect the                 individuals who seek authorization to                   of a lawful permanent resident, unless
national security of the United States’’),             depart the United States and return to                  the parolee is otherwise eligible.
INA section 214(f)(2)(A), 8 U.S.C.                     the country pursuant to parole in the                      Under current regulations, once
1184(f)(2)(A).                                         future. See 8 CFR 212.5(f); Application                 paroled into the United States, a parolee
   Parole decisions are discretionary                  for Travel Document (Form I–131).                       is eligible to request employment
determinations and must be made on a                   Aliens who seek parole as entrepreneurs                 authorization from USCIS by filing a
case-by-case basis consistent with the                 under this rule may need to apply for                   Form I–765 application with USCIS. See
INA. To exercise its parole authority,                 advance parole if at the time of                        8 CFR 274a.12(c)(11). If employment
DHS must determine that an                             application they are present in the                     authorization is granted, USCIS issues
individual’s parole into the United                    United States after admission in, for                   the parolee an employment
States is justified by urgent                          example, a nonimmigrant classification,                 authorization document (EAD) with an
humanitarian reasons or significant                    as USCIS is unable to grant parole to                   expiration date that is commensurate
public benefit. Even when one of those                 aliens who are not ‘‘applicants for                     with the period of parole on the
standards would be met, DHS may                        admission.’’ See INA section                            parolee’s Arrival/Departure Record
nevertheless deny parole as a matter of                212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A); see               (Form I–94). The parolee may use this
discretion based on other factors.8 In                 also INA section 235(a)(1), 8 U.S.C.                    EAD to demonstrate identity and
making such discretionary                              1225(a)(1) (describing ‘‘applicants for                 employment authorization to an
determinations, USCIS considers all                    admission’’). Advance authorization of                  employer for Form I–9 verification
relevant information, including any                    parole by USCIS does not guarantee that                 purposes as required by section 274A(a)
criminal history or other serious adverse              the individual will be paroled by CBP                   and (b) of the INA, 8 U.S.C. 1324a(a)
factors that would weigh against a                     upon his or her appearance at a port of                 and (b). Under current regulations, the
favorable exercise of discretion.                      entry.10 Rather, with a grant of advance                parolee is not employment authorized
   Parole is not an admission to the                   parole, the individual is issued a                      by virtue of being paroled, but instead
United States. See INA sections                        document authorizing travel (in lieu of                 only after receiving a discretionary grant
101(a)(13)(B), 212(d)(5)(A), 8 U.S.C.                  a visa) indicating ‘‘that, so long as                   of employment authorization from
1101(a)(13)(B), 1182(d)(5)(A); see also 8              circumstances do not meaningfully                       USCIS based on the Application for
CFR 1.2 (‘‘An arriving alien remains an                change and the DHS does not discover                    Employment Authorization.
arriving alien even if paroled pursuant                material information that was                              Parole will terminate automatically
to section 212(d)(5) of the Act, and even              previously unavailable, . . . DHS’s                     upon the expiration of the authorized
after any such parole is terminated or                 discretion to parole him at the time of                 parole period or upon the departure of
revoked.’’). Parole may also be                        his return to a port of entry will likely               the individual from the United States.
terminated at any time in DHS’s                        be exercised favorably.’’ 11                            See 8 CFR 212.5(e)(1). Parole also may
discretion, consistent with existing                      Currently, upon an individual’s                      be terminated on written notice when
regulations; in those cases, the                       arrival at a U.S. port of entry with a                  DHS determines that the individual no
individual is ‘‘restored to the status that            parole travel document (e.g., a                         longer warrants parole or through the
he or she had at the time of parole.’’ 8               Department of State (DOS) foil,                         service of a Notice to Appear (NTA). See
CFR 212.5(e); see also INA section                     Authorization for Parole of an Alien into               8 CFR 212.5(e)(2)(i).
212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A).9                 the United States (Form I–512L), or an
                                                                                                               B. Final Rule
   DHS regulations at 8 CFR 212.5                      Employment Authorization Document
generally describe DHS’s discretionary                 (Form I–766)), a CBP officer at a port of                 Following careful consideration of
parole authority, including the authority              entry inspects the prospective parolee. If              public comments received, DHS has
to set the terms and conditions of                     parole is authorized, the CBP officer                   made several modifications to the
parole. Some conditions are described                  issues an Arrival/Departure Record                      regulatory text proposed in the NPRM
in the regulations, including requiring                (Form I–94) documenting the grant of                    (as described above in Section I.C.). The
reasonable assurances that the parolee                 parole and the length of the parolee’s                  rationale for the proposed rule and the
                                                                                                               reasoning provided in the background
  8 The denial of parole is not subject to judicial       10 See Matter of Arrabally, 25 I. & N. Dec. at 779   section of that rule remain valid with
review. See INA section 242(a)(2)(B)(ii), 8 U.S.C.     n.6 (citing 71 FR 27585, 27586 n.1 (May 12, 2006)       respect to these regulatory amendments.
1252(a)(2)(B)(ii); Bolante v. Keisler, 506 F.3d 618,   (‘‘[A] decision authorizing advance parole does not
621 (7th Cir. 2007).                                   preclude denying parole when the alien actually
                                                                                                               Section III of this final rule includes a
  9 The grounds for termination set forth in           arrives at a port-of-entry, should DHS determine        detailed summary and analysis of public
212.19(k) are in addition to the general grounds for   that parole is no longer warranted.’’)).                comments that are pertinent to the
termination of parole described at 8 CFR 212.5(e).        11 Id.
                                                                                                               proposed rule and DHS’s role in

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administering the International             executive branch. Another commenter             more restrictive than earlier versions of
Entrepreneur Rule. A brief summary of       indicated that the proposed rule is too         the parole authority, which did not
comments deemed by DHS to be out of         vague regarding whether ‘‘the agency            always require case-by-case review and
scope or unrelated to this rulemaking,      intends to grant parole to aliens already       now includes additional limits on the
making a detailed substantive response      present in the United States,’’ and             use of parole for refugees and certain
unnecessary, is provided in Section         questioned whether the proposed                 alien crewmen. See INA section
III.K. Comments may be reviewed at the      exercise of parole authority is supported       212(d)(5)(B), 8 U.S.C. 1182(d)(5)(B)
Federal Docket Management System            by legislative history, is consistent with      (refugees); INA section 214(f)(2)(A), 8
(FDMS) at http://www.regulations.gov,       the INA’s overall statutory scheme, and         U.S.C. 1184(f)(2)(A) (alien crewmen);
docket number USCIS–2015–0006.              whether ‘‘significant public benefit            Illegal Immigration Reform and
                                            parole’’ as outlined in this rule is            Immigrant Responsibility Act of 1996,
III. Public Comments on the Proposed                                                        Public Law 104–208, div. C, sec. 602(a)–
                                            ‘‘arbitrary and capricious.’’
Rule                                           Response. DHS agrees with the                (b), 110 Stat. 3009–689 (1996) (changing
A. Summary of Public Comments               commenter that contended that the               the standard for parole). But the statute
                                            Secretary has authority to promulgate           clearly continues to authorize the
   In response to the proposed rule, DHS    this rule. As noted above, DHS’s                granting of parole. Across
received 763 comments during the 45-        authority to promulgate this rule arises        Administrations, moreover, it has been
day public comment period. Of these,        primarily from sections 101(b)(1)(F) and        accepted that the Secretary can identify
43 comments were duplicate                  402(4) of the HSA; sections 103(a)(1)           classes of individuals to consider for
submissions and approximately 242           and (3) of the INA, 8 U.S.C. 1103(a)(1),        parole so long as each individual
were letters submitted through mass         (3); section 212(d)(5) of the INA, 8            decision is made on a case-by-case basis
mailing campaigns. As those letters         U.S.C. 1182(d)(5); and section                  according to the statutory criteria. See,
were sufficiently unique, DHS               274A(h)(3)(B) of the INA, 8 U.S.C.              e.g., 8 CFR 212.5(b) (as amended in
considered all of these comment             1324a(h)(3)(B). The Secretary retains           1997); Cuban Family Reunification
submissions. Commenters consisted           broad statutory authority to exercise his       Parole Program, 72 FR 65,588 (Nov. 21,
primarily of individuals but also           discretionary parole authority based            2007). This rule implements the parole
included startup incubators, companies,     upon ‘‘significant public benefit.’’            authority in that way.
venture capital firms, law firms and           DHS disagrees with the comment                   In addition to the concerns described
representatives from State and local        asserting that the proposed rule would          above, one commenter argued that the
governments. Approximately 51 percent       effectively create a new visa category,         proposed rule did not clearly explain
of commenters expressed support for         which only Congress has the authority           whether ‘‘the agency intends to grant
the rule and/or offered suggestions for     to do. See INA section 101(a)(15), 8            parole to aliens already present in the
improvement. Nearly 46 percent of           U.S.C. 1101(a)(15) (identifying                 United States.’’ DHS believes it is clear
commenters expressed general                nonimmigrant categories). Congress              under this rule that an individual who
opposition to the rule without              expressly empowered DHS to grant                is present in the United States as a
suggestions for improvement. For            parole on a case-by-case basis, and             nonimmigrant based on an inspection
approximately 3 percent of the public       nothing in this rule uses that authority        and admission is not eligible for parole
comments, DHS could not ascertain           to establish a new nonimmigrant                 without first departing the United States
whether the commenter supported or          classification. Among other things,             and appearing at a U.S. port of entry to
opposed the proposed rule.                  individuals who are granted parole—             be paroled into United States. See INA
   DHS has reviewed all of the public       which can be terminated at any time in          sections 212(d)(5)(A), 235(a)(1); 8 U.S.C.
comments received in response to the        the Secretary’s discretion—are not              1182(d)(5)(A), 1225(a)(1). As further
proposed rule and addresses relevant        considered to have been ‘‘admitted’’ to         discussed in section III.H. of this rule,
comments in this final rule. DHS’s          the United States, see INA sections             moreover, DHS does not contemplate
responses are grouped by subject area,      101(a)(13)(B), 212(d)(5)(A), 8 U.S.C.           using this rule to grant requests for
with a focus on the most common issues      1101(a)(13)(B), 1182(d)(5)(A); and              parole in place for initial requests for
and suggestions raised by commenters.       cannot change to a nonimmigrant                 parole.
                                            category as a parolee, see INA section              Comment: A commenter objected to
B. Legal Authority
                                            248(a), 8 U.S.C. 1258(a). Nor does parole       the extension of employment
   Comments. One commenter                  confer lawful permanent resident status.        authorization by this rule to
supported DHS’s stated authority for        To adjust status to that of a lawful            entrepreneur parolees for the sole
promulgating this regulation and said       permanent resident, individuals                 purpose of engaging in entrepreneurial
that the INA grants the Secretary of        generally must, among other things, be          employment, stating that DHS is barred
Homeland Security the authority to          admissible to the United States, have a         from doing so given the comprehensive
establish policies governing parole and     family or employment-based immigrant            legislative scheme for employment-
that efforts to reduce barriers to          visa immediately available to them, and         based temporary and permanent
entrepreneurship via regulatory reform      not be subject to the various bars to           immigration.
directly addresses DHS’s mandate, ‘‘to      adjustment of status. See INA section               Response: DHS disagrees with the
ensure that the overall economic            245(a), (c), (k); 8 U.S.C. 1255(a), (c), (k);   commenter. Under a plain reading of
security of the United States is not        8 CFR 245.1.                                    INA section 103(a), 8 U.S.C. 1103(a), the
diminished by efforts, activities, and         DHS further disagrees with the               Secretary is provided with broad
programs aimed at securing the              comment that this rule is inconsistent          discretion to administer and enforce the
homeland.’’ On the other hand, some         with the legislative history on parole.         Nation’s immigration laws and broad
commenters questioned DHS’s authority       Under current law, Congress has                 authority to ‘‘establish such regulations
to implement this rule. A commenter         expressly authorized the Secretary to           . . . and perform such other acts as he
asserted that the rule created a new visa   grant parole on a case-by-case basis for        deems necessary for carrying out his
category which is under the exclusive       urgent humanitarian reasons or                  authority under the [INA],’’ see INA
purview of Congress, and therefore an       significant public benefit. The statutory       section 103(a)(3), 8 U.S.C. 1103(a)(3).
illegal extension of authority by the       language in place today is somewhat             Further, the specific definitional

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provision at section 274A(h)(3)(B) of the        Given the way job creation will           ownership percentage requirements in
INA, 8 U.S.C. 1324a(h)(3)(B), which was       already be considered, DHS believes it       this final rule adequately account for the
raised by the commenter, presumes that        is unnecessary to make ‘‘job quality’’ its   possibility of equity dilution, while
employment may be authorized by the           own separate criterion in determining        ensuring that the individual continues
Secretary and not just by statute. See        whether to grant parole or re-parole. It     to have a substantial ownership interest
Arizona Dream Act Coal. v. Brewer, 757        is also unclear how the commenter            in, and assumes more than a nominal
F.3d 1053, 1062 (9th Cir. 2014)               believes DHS should apply any such           financial risk related to, the start-up
(‘‘Congress has given the Executive           criterion. Under this final rule, DHS will   entity.
Branch broad discretion to determine          evaluate the totality of the                    Given that this is a new and complex
when noncitizens may work in the              circumstances, including the evidence        process, DHS declines to adopt a
United States.’’); Perales v. Casillas, 903   about job creation, in determining           separate option of establishing
F.2d 1043, 1048, 1050 (5th Cir. 1990)         whether to parole an individual into the     substantial ownership interest based on
(describing the authority recognized by       United States for significant public         a valuation of the entrepreneur’s
INA 274A(h)(3) as ‘‘permissive’’ and          benefit.                                     ownership interest. DHS believes that
largely ‘‘unfettered’’). The fact that                                                     the percentages provided within the
Congress has directed the Secretary to        D. Definitions                               final rule offer clear guidance to
authorize employment to specific              1. Entrepreneur—Ownership Criteria           stakeholders and adjudicators as to what
classes of foreign nationals in certain                                                    constitutes a substantial ownership
                                                 Comments: Several commenters              interest regardless of the industry
statutory provisions does not diminish
the Secretary’s broad authority under         expressed concern with the 15 percent        involved. Reliance upon valuations of
other statutory provisions to administer      ‘‘substantial ownership interest’’           an owner’s interest would unnecessarily
the immigration laws, including through       requirement in the definition of             complicate the adjudicative review
the extension of employment                   ‘‘entrepreneur’’ in the proposed rule.       process, could potentially increase fraud
authorization. See generally 8 CFR            One such commenter said the 15               and abuse, and may be burdensome for
274a.12 (identifying, by regulation,          percent ‘‘substantial ownership              the applicant to obtain from an
numerous ‘‘classes of aliens authorized       interest’’ requirement is only reasonable    independent and reliable source. DHS,
to accept employment’’).                      for smaller startups and proposed that       therefore, believes that the best
                                              the rule also separately include a dollar    indicator of an entrepreneur’s
C. Significant Public Benefit                 amount to satisfy the ‘‘substantial          ownership interest is the individual’s
   Comment: One commenter stated that         ownership interest’’ requirement (e.g.,      ownership percentage since that is easy
the quality of the jobs created should be     15 percent ownership interest or             for an applicant to establish and
a factor in determining whether the           ownership interest valued at $150,000        provides an objective indicator for DHS
entrepreneur’s parole will provide a          or more). Several commenters                 to assess. DHS has decided to take an
significant public benefit. The               recommended that the final rule reduce       incremental approach and will consider
commenter suggested formalizing some          the initial parole threshold from 15 to      potential modifications in the future
form of priority criteria.                    10 percent and reduce the re-parole          after it has assessed the implementation
   Response: Under this final rule,           threshold from 10 to 5 percent. Other        of the rule and its impact on operational
evidence regarding job creation may be        commenters suggested that 10 percent         resources.
considered in determining whether to          ownership per individual would be a
parole an individual into the United          more appropriate threshold because           2. Other Comments on Entrepreneur
States for ‘‘significant public benefit.’’    some start-ups may be founded by teams       Definition
An entrepreneur may be considered for         of founders that need to split equity and       Comment: One commenter stated that,
an initial period of parole if the            requiring more than 15 percent               in defining who counts as an
entrepreneur’s start-up entity has            ownership might be too restrictive and       ‘‘entrepreneur,’’ the rule should take
received a qualifying investment or           limit business creativity and growth.        into account whether an individual has
grant. Alternatively, if the entity has          Response: Consistent with the             been successful in the past, including by
received a lesser investment or grant         commenters’ concerns and suggestions,        having previously owned and
amount, the entrepreneur may still be         DHS is revising the definition of            developed businesses, generated more
considered for parole by providing other      entrepreneur in this final rule to reduce    than a certain amount of revenue,
reliable and compelling evidence of the       the ownership percentage that the            created more than a certain number of
start-up entity’s substantial potential for   individual must possess. See 8 CFR           jobs, or earned at least a certain amount.
rapid growth and job creation. Evidence       212.19(a)(1). Based on further analysis,        Response: Under this final rule,
pertaining to the creation of jobs, as well   DHS believes that the thresholds from        evidence regarding an entrepreneur’s
as the characteristics of the jobs created    the proposed rule could have                 track record may be considered in
(e.g., occupational classification and        unnecessarily impacted an                    determining whether to parole an
wage level) may be considered by DHS          entrepreneur’s ability to dilute his or      individual into the United States for
in determining whether the evidence,          her ownership interest to raise              ‘‘significant public benefit.’’ The final
when combined with the amount of              additional funds and grow the start-up       rule’s definition of entrepreneur
investment, grant or award, establishes       entity. In this final rule, an individual    requires the applicant to show that he
that the entrepreneur will provide a          may be considered to possess a               or she both: (1) Possesses a substantial
significant public benefit to the United      substantial ownership interest if he or      ownership interest in the start-up entity,
States. As with initial parole                she possesses at least a 10 percent          and (2) has a central and active role in
determinations, evidence pertaining to        ownership interest in the start-up entity    the operations of that entity, such that
the creation of jobs, as well as the          at the time of adjudication of the initial   the alien is well-positioned, due to his
characteristics of the jobs created (e.g.,    grant of parole and possesses at least a     or her knowledge, skills, or experience,
occupational classification and wage          5 percent ownership interest in the          to substantially assist the entity with the
level) may be considered by DHS to            start-up entity at the time of               growth and success of its business. See
determine whether the entrepreneur            adjudication of a subsequent period of       new 8 CFR 212.19(a)(1). Some of the
should be granted re-parole.                  re-parole. DHS believes that the revised     factors suggested by the commenter are

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relevant evidence that the applicant can      role,’’ and therefore is well-positioned      authorization and join the emerging
submit to show that he or she is well-        to advance the entity’s business, will be     startup company, resulting in loss of key
positioned to substantially assist the        determined based on the totality of the       technical ability, delay, and additional
entity with the growth and success of its     evidence provided on a case-by-case           cost for the startup company to achieve
business. DHS will also evaluate the          basis. Such evidence may include:             market success. The commenter believes
totality of the evidence to determine            x Letters from relevant government         this rule could alleviate this investment
whether an applicant’s presence in the        agencies, qualified investors, or             risk.
United States will provide a significant      established business associations with           Response: As discussed above, an
public benefit and that he or she             an understanding of the applicant’s           applicant for parole under this rule may
otherwise merits a favorable exercise of      knowledge, skills or experience that          provide any relevant, probative, and
discretion. Given the way an                  would advance the entity’s business;          credible evidence indicating the
entrepreneur’s track record may already          x news articles or other similar           applicant’s ability to advance the
be considered on a case-by-case basis,        evidence indicating that the applicant        entity’s business in the United States.
DHS believes it is unnecessary to make        has received significant attention and        Such evidence includes documentation
the specific factors identified by the        recognition;                                  pertaining to intellectual property of the
commenter their own separate criteria            x documentation showing that the           start-up entity, such as a patent, that
in determining whether to grant parole        applicant or entity has been recently         was obtained by the applicant or as a
or re-parole.                                 invited to participate in, is currently       result of the applicant’s efforts and
   Comment: A few commenters                  participating in, or has graduated from       expertise. DHS will consider such
recommended that DHS clarify the term         one or more established and reputable         evidence to determine whether the
‘‘well-positioned’’ as used in the            start-up accelerators;                        applicant performs, or will perform, an
definition of ‘‘entrepreneur.’’ See final 8      x documentation showing that the           active and central role in the start-up
CFR 212.19(a)(1) (requiring an                applicant has played an active and            entity.
international entrepreneur to prove that      central role in the success of prior start-      Given the breadth of evidence that
he or she ‘‘is well-positioned, due to his    up or other relevant business entities;       can already be considered in these
or her knowledge, skills, or experience,         x degrees or other documentation           determinations, DHS declines to amend
to substantially assist the entity with the   indicating that the applicant has             the definition of ‘‘entrepreneur’’ in 8
growth and success of its business’’).        knowledge, skills, or experience that         CFR 212.19(a)(1) to include some
The commenters believe that the               would significantly advance the entity’s      consideration of ‘‘intellectual property’’
proposed rule did not explain how an          business;                                     as a specific metric to determine if the
applicant would demonstrate that he or           x documentation pertaining to              applicant will have an active and
she is ‘‘well-positioned.’’ The               intellectual property of the start-up         central role in the start-up entity. DHS
commenters recommend that the                 entity, such as a patent, that was            believes it is appropriate to allow for
‘‘substantial ownership interest’’ test in    obtained by the applicant or as a result      sufficient flexibility in the definition for
the same provision should provide a           of the applicant’s efforts and expertise;     adjudicators to evaluate each case on its
rebuttable presumption that the                  x a position description of the            own merits. Given the considerable
entrepreneur is ‘‘well-positioned’’ and       applicant’s role in the operations of the     range of entrepreneurial ventures that
that the ‘‘significant capital financing’’    company; and                                  might form the basis for an application
requirements reflect the market demand           x any other relevant, probative, and       for parole under this rule, DHS believes
for the entrepreneur to grow the              credible evidence indicating the              that such flexibility is important to
business.                                     applicant’s ability to advance the            ensure that cutting edge industries or
   Response: DHS believes that both the       entity’s business in the United States.       groundbreaking ventures are not
proposed rule and this final rule                Particularly given the way this            precluded from consideration simply
sufficiently explain how an applicant         evidence will be evaluated on a case-by-      because of an overly rigid or narrow
may establish that he or she is ‘‘well-       case basis, and the need to ensure parole     definition of ‘‘entrepreneur.’’
positioned’’ to grow the start-up entity.     is justified by significant public benefit,      Comment: One commenter noted that
An applicant may generally establish          DHS declines to adopt the commenters’         DHS’s inclusion of criteria in section
that he or she is well-positioned to          suggestion of adopting a rebuttable           IV.B.1. of the NPRM, ‘‘Recent Formation
advance the entity’s business by              presumption that certain applicants           of a Start-Up Entity,’’ is reminiscent of
providing evidence that he or she: (1)        meet the ‘‘well-positioned’’                  criteria used in the O–1 nonimmigrant
Possesses a significant (at least 10          requirement. The burden of proof              classification for individuals with
percent) ownership interest in the entity     remains with the applicant.                   extraordinary ability, except for the
at the time of adjudication of the initial       Comment: One commenter                     focus on entrepreneurial endeavors. The
grant of parole, and (2) has an active and    representing a group of technology            commenter especially welcomed the
central role in the operations and future     companies recommended that DHS add            final ‘‘catch-all’’ that referenced ‘‘any
growth of the entity, such that his or her    the term ‘‘intellectual property’’ as a       other relevant, probative, and credible
knowledge, skills, or experience would        metric that an adjudicator would take         evidence indicating the entity’s
substantially assist the entity in            into consideration when determining           potential for growth.’’ The commenter
conducting and growing its business in        the ‘‘active and central role’’ that the      asserted that as it pertains to
the United States. Such an applicant          international entrepreneur performs in        ‘‘newspaper articles,’’ one of the major
cannot be a mere investor. The                the organization. The commenter noted         difficulties of the O–1 petition process
applicant must be central to the entity’s     that it had several member companies          is the lack of awareness by adjudicators
business and well-positioned to actively      that have non-citizen inventors on a key      of tech-press publications, such as
assist in the growth of that business,        patent application, and have had core         Recode or TechCrunch. The commenter
such that his or her presence would           intellectual property developed by non-       explained that coverage in these
help the entity create jobs, spur research    citizens, often within the university         publications is very valuable to startups,
and development, or provide other             environment. In many of these                 and forcing startups to garner traditional
benefits to the United States. Whether        situations, the non-citizen inventors         media coverage in publications like the
an applicant has an ‘‘active and central      were unable to obtain work                    Wall Street Journal or the New York

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Times is often counterproductive                      This commenter asserted that the draft        that ‘‘recently formed’’ should include
towards the entrepreneur’s success.                   rule does not adequately account for          entities formed within the last 10 years,
   Response: DHS agrees with the                      situations where a typical entrepreneur       and also requested that where
commenter that the list of evidence                   partially qualifies or does not qualify for   applicable, DHS accept alternative
provided in the preamble to the NPRM                  parole, but nevertheless seeks to start a     evidence to determine and establish that
and this final rule provides an                       business in the United States. The            the company is a ‘‘start-up’’ entity, such
illustrative, non-exhaustive list of the              commenter stated that USCIS and the           as letters of attestation from investors,
types of evidence that might be                       White House should plan to have a             industry experts within a particular
submitted by an applicant to establish                separate case study team to evaluate          niche field, and government agencies
that he or she meets the definition of                each application.                             that speak to the average growth cycle
entrepreneur in 8 CFR 212.19(a)(1).                      Response: DHS believes that the rule       of a new company within a particular
Applicants may submit any relevant,                   provides a reasonable and clear               area. A few commenters stated that the
probative and credible evidence that                  definition of an entrepreneur. This rule      3-year limitation was appropriate.
demonstrates the entity’s potential for               is not designed or intended to provide           Response: In response to these
growth, including tech-press                          parole to everyone who seeks to be an         comments, DHS revised proposed 8 CFR
publications.                                         entrepreneur, but will instead provide a      212.19(a)(2) and the definition of ‘‘start-
   Comment: One commenter                             framework for case-by-case                    up entity’’ in this final rule to require
recommended broadening the proposed                   determinations based upon specified           that the entity must have been formed
requirement that the parolee play a                   criteria for determining that a grant of      within the 5 years immediately
central role in operations. The                       parole in this context provides a             preceding the filing of the initial parole
commenter noted that the DHS                          significant public benefit. The               application, rather than 3 years as
November 2014 memorandum,12 which                     framework in this rule is consistent with     proposed. DHS believes that this
initially directed USCIS to develop a                 DHS’s parole authority under INA              definition appropriately reflects that
proposed rule under the Secretary’s                   section 212(a)(5), 8 U.S.C. 1182(a)(5),       some entities, particularly given the
parole authority, refers to researchers,              and is based on the statutory                 industry in which the entity operates,
not just managers or founders. The                    authorization to provide parole for           may require a longer gestation time
commenter stated that in the technology               significant public benefit. Each              before receiving substantial investment,
world, ‘‘technical founders’’ are key                 application for parole under this rule        grants, or awards. This 5-year limitation
employees who lead the research and                   will be adjudicated by an Immigration         continues to reflect the Department’s
development phase, and recommended                    Services Officer trained on the               intention for parole under this final
that these technical founders be                      requirements for significant public           rule: To incentivize and support the
included even if they are not managing                benefit parole under 8 CFR 212.19. DHS        creation and growth of new businesses
overall operations. To keep this                      believes that a separate case-study team      in the United States, so that the country
expansion targeted, the commenter                     could unnecessarily complicate and            may benefit from their substantial
recommended requiring a technical                     delay adjudications and declines to           potential for rapid growth and job
founder to have an advanced degree in                 adopt the commenter’s suggestion.             creation. DHS recognizes that the term
a STEM field from a U.S. institution of                                                             ‘‘start-up’’ is usually used to refer to
                                                      3. Definition of Start-Up Entity—
higher education.                                                                                   entities in early stages of development,
   Response: DHS agrees that ‘‘technical              ‘‘Recently-Formed’’ and the 3-year
                                                      Limitation                                    including various financing rounds used
founders’’ are often key employees who                                                              to raise capital and expand the new
play an important role in the                            Comment: Several commenters                business, but the term ‘‘goes beyond a
development and success of a start-up                 expressed concern with the definition of      company just getting off the ground.’’ 13
entity. DHS disagrees, however, with                  ‘‘start-up entity’’ and the requirement       Limiting the definition of ‘‘start-up’’ in
the commenter’s assertion that the                    that an entity, in order to satisfy that      this proposed rule to entities that are
definition of entrepreneur in 8 CFR                   definition, must have been created            less than 5 years old at the time the
212.19(a)(1) does not sufficiently                    within the 3 years immediately                parole application is filed is a
encompass technical founders.                         preceding the parole request filing date.     reasonable way to help ensure that the
Technical founders can perform a                      A few individual commenters said that         entrepreneur’s entity is the type of new
central and active role in the operations             the 3-year limitation could be                business likely to experience rapid
of their start-up entity, and may be well-            inadequate in certain situations, such as     growth and job creation, while still
positioned, due to their knowledge,                   when investing in an inactive business        allowing a reasonable amount of time
skills, or experience, to substantially               with other co-founders to initiate the        for the entrepreneur to form the
assist the entity with the growth and                 start-up, or when investing in high-          business and obtain qualifying levels of
success of its business. The definition of            priority areas like healthcare,               investor financing (which may occur in
‘‘entrepreneur’’ is not limited to those              biotechnology, and clean energy that          several rounds) or government grants or
individuals who manage the overall                    have long gestation times. A couple of        awards.
operations of the start-up entity. Thus,              individual commenters said that the 3-
DHS believes it is unnecessary to                     year limitation may not be necessary          4. Other Comments on the Definition of
broaden the definition of                             given the other, more stringent               Start-up Entity
‘‘entrepreneur’’ in the way the                       requirements in the proposed rule.               Comment: One commenter said that
commenter suggests.                                   Some commenters provided the                  formation should be defined to be either
   Comment: One commenter suggested                   following recommendations relating to         the creation of a legal entity under
that the rule should provide a clear-cut              the 3-year limitation: Eliminate the          which the activities of the business
definition of a typical entrepreneur.                 limitation, lengthen the period to 5
                                                      years, lengthen the period to 10 years,          13 U.S. Small Business Administration, Startups &
  12 Memorandum from Jeh Johnson, DHS
                                                      or include a case-by-case provision           High Growth Businesses, available at https://
Secretary, Policies Supporting U.S. High-Skilled                                                    www.sba.gov/content/startups-high-growth-
Business and Workers 4 (Nov. 20, 2014), at https://   allowing for submissions that may             businesses (‘‘In the world of business, the word
www.dhs.gov/sites/default/files/publications/14B     satisfy the definition of ‘‘start-up          ‘startup’ goes beyond a company just getting off the
1120BmemoBbusinessBactions.pdf.                       entity.’’ One commenter recommended           ground.’’).


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would be conducted or the effective          to retain and attract international           considered for parole under this rule.
date of an agreement between the             entrepreneurs who will provide a              An applicant who only partially meets
entrepreneur and an existing business to     significant public benefit to the United      one or both of the criteria in 8 CFR
launch the business activities as a start-   States.                                       212.19(b)(2)(ii) may still be eligible for
up, branch, department, subsidiary, or          Comment: An individual commenter           consideration for parole under this rule
other activity of an existing business       requested that staffing companies be          if the applicant provides additional
entity. Another commenter suggested          included as a type of startup.                reliable and compelling evidence that
that DHS consider restructuring (e.g.,          Response: In this final rule, and for      the start-up entity has the substantial
use successor-in-interest rules) and         purposes of parole under this program,        potential for rapid growth and job
other pivots (in terms of changes in the     DHS defines a ‘‘start-up entity’’ as a U.S.   creation. DHS recognizes that the rule
service or product, as well as markets)      business entity that was recently             does not provide specific evidence that
during the 3-year period immediately         formed, has lawfully done business            must be submitted in order to satisfy the
preceding the filing of the parole           during any period of operation since its      alternative criteria in 8 CFR
application and at time of application       date of formation, and has substantial        212.19(b)(2)(iii). DHS believes that
for re-parole.                               potential for rapid growth and job            providing a specific set of evidence
   Response: DHS appreciates the             creation. See 8 CFR 212.19(a)(2). The         would have the unintended effect of
commenters’ suggestions and notes that       rule requires that entities meet certain      narrowing a provision that was designed
recent formation within the definition of    specified criteria for obtaining parole,      to allow for the submission of any
‘‘start-up entity’’ in 8 CFR 212.19(a)(2)    but the rule does not specifically            evidence that the applicant believes
is already limited to the creation of the    exclude staffing companies from               may establish the substantial potential
entity within the 5 years immediately        participating if they otherwise meet          of his or her start-up entity, recognizing
preceding the filing date of the alien’s     these criteria. DHS therefore will not        that such evidence may vary depending
initial parole request. DHS further          revise the definition of start-up entity in   on the nature of the business and the
declines to amend 8 CFR 212.19(a)(2) to      this rule as requested by the commenter.      industry in which it operates. DHS
broaden what may be considered                  Comment: One commenter asserted            believes that it is important to retain
‘‘recently formed’’ to include the           that the rule fails to specify how a start-   criteria that provide flexibility to the
effective date of an agreement between       up entity can demonstrate that it has         applicant and DHS. Such flexibility is
the entrepreneur and an existing             ‘‘lawfully done business’’ or ‘‘has           consistent with DHS’s parole authority
business to launch new business              substantial potential for rapid growth        and the case-by-case nature of each
activities, restructurings and other         and job creation.’’ The commenter             parole determination as required by
pivots. Given that this is a new and         recommended revising the definition to        statute. See INA section 212(d)(5)(A), 8
complex process, DHS has decided to          more closely align with 8 CFR                 U.S.C. 1182(d)(5)(A).
take an incremental approach and will        214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H) by       DHS does not believe that the rule
consider potential modifications in the      instead requiring evidence that the           should be revised to align with 8 CFR
future after it has assessed the             entity is or will be engaged in the           214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H). The
implementation of the rule and its           regular, systematic, and continuous           requirements set forth in 8 CFR
impact on operational resources.             provision of goods or services. This          214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H)
   Comment: One commenter suggested          commenter suggested that the                  relate specifically to eligibility for
that start-up entities under this rule       submission of expert witness testimony        classification as an L–1 nonimmigrant
should be limited to businesses that fill    by a reputable third party, such as a         and are not necessarily relevant to the
a need that is currently not being           recognized professor or leader in the         requirements set forth in this rule,
fulfilled in the United States.              start-up entity’s proposed field, should      which are specifically designed to
   Response: One of the goals of this        be given deference and treated under          provide the framework by which USCIS
final rule is to increase and enhance        the final rule as a rebuttable                will determine whether to grant parole
entrepreneurship, innovation, and job        presumption establishing that the start-      to certain individuals for significant
creation in the United States; and, under    up ‘‘has substantial potential for rapid      public benefit. Particularly given the
this rule, evidence regarding the            growth and job creation.’’                    way this evidence will be evaluated on
expected contributions of a start-up            Response: DHS declines to adopt the        a case-by-case basis, and the need to
entity will be considered in determining     commenter’s suggested changes in this         ensure parole is justified by significant
whether to parole an individual into the     final rule. DHS believes that an              public benefit, DHS declines to adopt
United States. A successful start-up         applicant can demonstrate the start-up        the commenters’ suggestion of adopting
entity, particularly one with high-          entity’s lawful business activities           a rebuttable presumption that certain
growth potential, will fulfill an            through many different means and will         entities have substantial potential for
identified business need. For example,       keep this requirement flexible to             rapid growth and job creation. The
the entrepreneur may be starting the         account for the many differences among        burden of proof remains with the
business to alter an existing industry       start-up entities. Such evidence might        applicant.
through innovative products or               include, but is not limited to, business
processes, innovative and more efficient                                                   5. Qualified Government Award or
                                             permits, equipment purchased or
methods of production, or cutting-edge                                                     Grant
                                             rented, contracts for products or
research and development to expand an        services, invoices, licensing agreements,        Comment: One commenter stated that
existing market or industry. It is also      federal tax returns, sales tax filings, and   the rule’s grant-based criteria for
unclear from the commenter’s                 evidence of marketing efforts.                consideration focused too narrowly on
suggestion how ‘‘business need’’ would          DHS believes that the rule provides a      awards made by government entities
be defined, and DHS believes that            clear framework for establishing that a       The commenter noted that
attempting to do so in this rule could       start-up entity has substantial potential     entrepreneurs seek grants from a variety
result in an overly restrictive definition   for rapid growth and job creation. See 8      of sources and that funding from non-
that fails to account for future             CFR 212.19(b)(2)(ii) and (iii). An            profits or not-for-profit entities (such as
innovation, would be unnecessarily           applicant generally must satisfy the          U.S. universities) can be significant
rigid, and would lessen the rule’s ability   criteria in 8 CFR 212.19(b)(2)(ii) to be      sources of start-up capital. The

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commenter requested that the rule be         or foreign relations concerns, DHS           significant in nature. This promotes fair
revised to allow entrepreneurs of non-       declines to expand the definition of         and efficient administration of the
profit start-up entities to qualify for      qualified government grant or award to       process under this rule, while also
parole under this program based on the       include grants or awards from a foreign      ensuring the integrity of that process. In
receipt of charitable grants.                governmental entity. To eliminate            addition, equity investments and
   Response: DHS appreciates the             potential confusion, DHS is revising the     convertible debt investments both
commenter’s suggestion, but declines to      definition as proposed to specifically       involve a distinctive level of expert
adopt the suggestion in this final rule to   exclude foreign government entities.         review, due diligence, and oversight.
include charitable grants as a type of       The receipt of significant funding from      For example, according to the Small
qualifying grant or award under 8 CFR        certain U.S. federal, state or local         Business Administration, venture
212.19(a)(3). DHS believes, given the        government entities is an important          capital firms and angel investors
nature of charitable grants, that they       factor that DHS will weigh in                typically review a business plan and
would not present the same level of          determining if the entrepreneur will         evaluate a start-up’s management team,
validation regarding the entity’s high-      provide a significant public benefit to      market, products and services, operating
growth potential as would a grant or         the United States. DHS believes that         history, corporate governance
award from a Federal, State, or local        significant funding from certain U.S.        documents, and financial statements
government entity with expertise in          federal, state or local governmental         before making an equity investment.14
economic development, research and           entities is a strong indicator of a start-   Such investment generally also involves
development, or job creation. Since the      up entity’s substantial potential for        active monitoring via board
validating quality of a substantial          rapid growth, including through              participation, strategic marketing,
government grant or award is an              enhancing innovation, generating             governance, and capital structure.15
important factor DHS will rely upon to       revenue, obtaining significant additional    While non-monetary contributions
determine if the entrepreneur will           investments of capital, and creating         made to a start-up entity may not be
provide a significant public benefit to      jobs. Such government entities regularly     considered as a qualified investment for
the United States, and since that same       evaluate the potential of U.S.               purposes of the general criteria of a
validating quality does not necessarily      businesses, so the choice to provide a       parole determination under this rule,
extend to charitable grants or awards,       significant award or grant to a particular   the rule does not prohibit such
DHS declines to adopt the commenter’s        start-up entity can be a compelling          contributions and they may be
suggestion. DHS notes, however, that         indicator of that start-up’s substantial     considered as evidence under the
nothing in this final rule prohibits         potential for rapid growth and job           alternative criteria at 8 CFR
entrepreneurs from accepting charitable      creation. Because these government           212.19(b)(2)(iii) and (c)(2)(iii) to
grants or pointing to such funding as        entities are formed to serve the U.S.        establish that the start-up entity has, or
evidence that parole would be justified      public, their choice to fund a particular    continues to have, substantial potential
and that they merit a favorable exercise     business may be more indicative than         for rapid growth and job creation.
of discretion. Moreover, given that this     that of a foreign government as to              Comment: One commenter stated that
is a new and complex process, DHS has        whether the business’s operations            the requirement that start-up capital
decided to take an incremental               would provide a significant public           must be equity or convertible debt may
approach and will consider potential         benefit in the United States. DHS            be too limiting given the venture finance
modifications in the future after it has     believes that the reliability and weight     markets today. The commenter said that
assessed the implementation of the rule      of the independent assessment                other investment instruments are
and its impact on operational resources.     performed by certain U.S. federal, state     commonly used by sophisticated market
   Comment: One commenter noted that         or local governmental entities before        participants, and that such investments
the definition of qualified government       issuing a grant or award does not            might not technically be considered
award or grant and the phrase ‘‘federal,     necessarily extend to grants or awards       equity or convertible debt even though
state, or local government entity,’’ are     made by foreign governmental entities.       they are bona fide capital investments.
ambiguous as to whether an                   DHS therefore declines to adopt the          The commenter recommended that the
entrepreneur may qualify under the rule      commenter’s suggestion to revise the
based on a grant by a foreign                                                             definition be made ‘‘future-proof’’ by
                                             rule to include funding from foreign         creating a catch-all for other investment
government. According to the                 governmental entities as one of the
commenter, the rule does not explicitly                                                   instruments that are convertible,
                                             criteria in 8 CFR 212.19(a)(3).              exchangeable, or exercisable for equity
state that the ‘‘federal, state, or local
government entity’’ needs to be              6. Qualified Investment                      in the start-up, regardless of the name of
restricted to entities in the United            Comment: Some commenters                  the investment instrument.
                                             suggested that DHS define ‘‘capital’’           Response: DHS understands that the
States. The commenter encouraged
                                             broadly to include cash, cash                regulatory text may not capture all
USCIS to adopt a broad approach in
determining which kinds of grants may        equivalents, secured or unsecured loan       possible future investment instruments
qualify and to allow entrepreneurs to        proceeds, payments for or obligations        and has amended the regulatory text to
qualify if their start-up entity attracts    under binding leases, the value of           capture other commonly used
substantial foreign government               goods, equipment, and intangible             convertible securities now and in the
financing. The commenter also                property such as patent rights,              future. The final rule defines ‘‘qualified
suggested that USCIS and CBP should          trademarks, trade secrets, and               investment’’ as an investment made in
again emphasize that parole may be           distinctive ‘‘know how.’’                    good faith, and that is not an attempt to
discretionarily denied in cases that            Response: DHS declines to adopt the       circumvent any limitations imposed on
could risk national security or impair       commenters’ suggestions. ‘‘Qualified         investments under this section, of
international relations.                     investment’’ as a general criterion for      lawfully derived capital in a start-up
   Response: While DHS always                parole is limited to a specific monetary       14 Venture Capital, https://www.sba.gov/starting-
maintains the ability to deny parole in      investment in the form of equity or          business/finance-your-business/venture-capital/
its discretion, including in those cases     convertible debt, to ensure that the         venture-capital.
where there may be a national security       investment is easily valued as well as         15 Id.




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entity that is a purchase from such          removed the proposed requirement that                  track record of successfully investing in
entity of its equity, convertible debt or    the total investment amount be made in                 start-up entities. An investor’s
other security convertible into its equity   3 separate calendar years and,                         successful track record of investing in
commonly used in financing                   consistent with its analysis of relevant               start-up entities provides an important
transactions within such entity’s            investment data, reduced the amount                    measure of objective validation that
industry. DHS believes that this             from $1,000,000 to $600,000.16 DHS is                  DHS will rely upon as part of evaluating
definition, in practice, will apply to       also making revisions consistent with                  whether granting parole to a particular
other securities convertible into equity     the change to the qualified investment                 individual would provide a significant
(other than convertible debt) that are or    definition by adding ‘‘other securities                public benefit.
become commonly used within the              that are convertible into equity issued                   DHS also declines to adopt the
start-up entity’s industry, and DHS may      by such an entity and that are                         investor track record criteria associated
issue additional guidance in the future      commonly used in financing                             with AngelList’s requirements, as DHS
regarding such securities as necessary.      transactions within such entity’s                      believes that the past success of
Given that this program is new and           industry.’’ DHS agrees with commenters                 qualified investors can be demonstrated
complex, DHS has decided to take an          that the qualified investor requirement                sufficiently by utilizing the criteria set
incremental approach and will consider       is more stringent than the SEC                         forth in the final rule. DHS has
potential modifications in the future        ‘‘accredited investor’’ definition, but                maintained the requirements under 8
after it is able to assess implementation    believes the additional parameters for                 CFR 212.19(a)(5)(ii) as evidence that the
of the rule and its impact on operational    qualified investors under the rule are                 investor has had previous successful
resources.                                   appropriate. The ‘‘accredited investor’’               investments, which are similar to
                                             definition for SEC purposes is focused                 certain criteria for a start-up entity to
7. Qualified Investor                                                                               demonstrate eligibility for re-parole
                                             on the investing entity’s assets or the
   Comment: Several commenters,              individual investor’s net worth or                     under this rule. See final 8 CFR
including associations and individual        annual income,17 not on the investor’s                 212.19(a)(5)(ii).
commenters, stated that the proposed                                                                   Comment: A joint submission from an
‘‘qualified investor’’ definition is more       16 To arrive at this level, DHS relied on the       advocacy group and a non-profit
stringent than the ‘‘accredited investor’’   $250,000 median seed round for active firms that       organization proposed that DHS create a
definition adopted by the Securities and     successfully exited accelerators, as is described      ‘‘whitelist’’ of qualified investors and
                                             more fully in in the ‘‘Volume Projections’’
Exchange Commission (SEC). Several           subsection of the ‘‘Statutory and Regulatory           modify the rule such that any start-up
commenters stated that many angel            Requirements’’ section of this final rule notice.      receiving an investment from a
investors, especially newer investment       Second, DHS multiplied this figure by 2.4, which       whitelisted investor proceed through an
firms and angels, would not be               is an estimate of the average number of investments    expedited review process. The
                                             made over a five-year period by qualified investors.
considered ‘‘qualified investors’’ under     DHS arrived at the figure for average investments      commenter said that this would both
this rule. One of these commenters           over five years using the following methodology.       streamline the parole process and
suggested revising the definition of a       DHS used the ‘‘investor graph’’ section of the Seed    diminish the burden on adjudicators to
qualified investor using the guidelines      DB data set to extract investment round information    analyze the merits of often complicated
                                             for investors that have invested in various startup
set forth by AngelList, which requires       accelerators’ portfolio companies. The search
                                                                                                    technology companies. The commenter
all syndicate leads on their site to have    engine is not set up in a manner in which random       said that the qualification process for
registered as accredited investors, to       sampling can be done, so DHS obtained data for         such an investor whitelist could be
have made at least two direct                nine accelerators chosen from the 2016 Seed            significantly more robust than the rule’s
                                             Accelerator Rankings project (SARP), the report of
investments in technology start-ups, and     which is found at: http://seedrankings.com/pdf/
                                                                                                    proposed definition of ‘‘qualified
to have attracted additional funding         sarpB2016BacceleratorBrankings.pdf. SARP ranks         investor’’ and should be updated on an
beyond the syndicate lead. Some              accelerators via a composite scoring system based      annual or biannual basis. Another joint
commenters generally stated that many        on various metrics, including funding value            submission suggested the creation of a
potentially high-growth firms started by     averages and exit performance, and produces a list     ‘‘Known Qualified Investor’’ program,
                                             of the top-rated accelerators, although there is no
international entrepreneurs will not         pre-set number of accelerators that can appear in      similar to the ‘‘Known Employer’’ pilot
qualify for parole or re-parole because      the ranking list each year. In the 2016 SARP report    program recently created by DHS in a
the business did not receive an              there were twenty-three Seed Accelerators ranked       different context, to assist the overall
investment from a qualified U.S.             out of a total of 160 that the program tracks. DHS     adjudication process.
                                             was able to extract investment round data from nine
investor, and encouraged the rule to be      of the twenty-three SARP ranked accelerators, for a
                                                                                                       Response: DHS appreciates the
more flexible to allow for additional        total of about 3,600 individual investment rounds.     commenters’ suggestions. The Known
sources of capital.                          Next, DHS grouped these rounds for the five-year       Employer program referenced by the
   Response: In response to comments         period October 2011–November 2016 to result in         commenter remains in a pilot stage.
                                             3,085 records. Next, DHS removed duplicates to
received, DHS is revising proposed 8         parse the list into records for unique investor
                                                                                                    DHS will assess the effectiveness of the
CFR 212.19(a)(5), which provides the         names. As a result, 1,329 unique investors             Known Employer program after the pilot
definition of a qualified investor. For      remained. Dividing the 3,085 by 1,329 investors        is complete, and then determine
purposes of this section, such an            yields an average of 2.4, which DHS used as a          whether the program should be made
                                             reasonable estimate of the average number of
individual or organization may be            investments that qualified investors made in a five
                                                                                                    permanent. If the program is successful,
considered a qualified investor if,          year period, at least for the specific accelerators    DHS will assess whether it may be
during the preceding 5 years, the            involved. DHS notes that there are several caveats     expanded to other adjudication
individual or organization made              to this analysis. First, the data only includes        contexts. Committing to use a similar
                                             investments made through accelerators. If non-
investments in start-up entities in          accelerator investments were included, for which
                                                                                                    program in the context of this
exchange for equity or convertible debt      DHS could not obtain data, the average would likely    rulemaking would thus be premature.
or other security convertible into equity    be higher. Second, some rounds did not include an      DHS also declines to adopt the
commonly used in financing                   amount and some investor names appeared with           commenters’ suggestion to create a
                                             variations. DHS conducted several data runs based
transactions within their respective         on different filtering techniques and generally the
                                                                                                    ‘‘whitelist of qualified investors’’ and an
industries comprising a total in such 5-     range of average investments was between 2.32 and      expedited process for applications based
year period of no less than $600,000.        2.5.                                                   on investment from such investors at
See final 8 CFR 212.19(a)(5)(i). DHS has        17 17 CFR 230.501(a).
                                                                                                    this time. Given that this is a new and

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complex process, DHS has decided to           funds must come from either U.S.              U.S. investors and becoming eligible for
take an incremental approach and will         citizens, lawful permanent residents, or      parole under this rule. Another
consider potential modifications in the       entities that are majority owned and          commenter cited data concluding that
future after the Department has assessed      controlled by U.S. citizens or lawful         foreign entrepreneurs currently outside
the implementation the process and its        permanent residents. Nearly all               of the United States are at a particular
impact on operational resources.              commenters on this topic expressed            disadvantage, as they lack access to U.S.-
                                              concerns about this requirement as a          based angel and venture funding.
8. Evidence Required To Establish
                                              major limiting factor of the rule. Some          Response: DHS agrees that the U.S.
Qualified Investor
                                              commenters focused on the potential           location of the start-up entity and its
   Comment: Several commenters                economic benefits of broadening the           related growth and job creation should
expressed concern about the burden of         definition of ‘‘qualified investor’’ to       be a critical component of eligibility
proving that investors have met the           include foreign investment. These             under this rule in order to help ensure
revenue and job creation criteria in the      commenters asserted that it would be          the exercise of parole is justified by
definition of qualified investor, which       economically beneficial to allow non-         significant public benefit to the United
the commenters said could prevent             U.S. investments, as there are many           States. DHS believes, however, that the
investors from participating. One             experienced investors from outside the        ‘‘qualifying investor’’ must also be a
commenter stated that early-stage             United States that could bring direct         U.S. citizen or lawful permanent
investors usually do not keep records of      foreign investment into the country and       resident or an entity that is majority
employees or the revenues of their            create jobs. Another commenter stated         owned or controlled by U.S. citizens or
portfolio companies, and that those           that, by limiting qualification to            lawful permanent residents. DHS can
companies would not be inclined to            domestic investors, DHS is foregoing a        evaluate more rapidly, precisely, and
respond to paperwork requests from            critical opportunity to attract foreign       effectively whether these investors have
their investors that do not relate to their   entrepreneurs and their investments.          an established track record of prior
own success. Another commenter said              Response: DHS disagrees with the           investments, in part due to greater
that some investors do not make their         assertion that this rule precludes or         access to relevant and reliable records.
investments known publicly and the            otherwise discourages foreign                 Such investors will also be subject to
vast majority of investors do not make        investment. This rule does not preclude       the laws of the United States, which
public their returns (let alone the           entrepreneurs from seeking and                provides some additional assurance that
number of jobs created). Another              obtaining investment from any number          the entrepreneurs they back will
commenter said that the rule should           of sources, whether that is foreign           provide a significant public benefit to
only require evidence of publicly             investment, personal funds, or funds          the United States.
available information, concluding that it     from friends and family. This rule,              DHS is not prohibiting foreign
would be too invasive to require              however, does limit the types of              investors from investing in the
disclosure of confidential employee data      investment that will be considered by         entrepreneur’s start-up entity, but rather
or other confidential financial               DHS as a qualifying investment for            is simply limiting those investors that
information of third-party companies          purpose of determining if the                 can serve as ‘‘qualified investors’’ for
that have no ties to the start-up entity      entrepreneur and his or her start-up          purposes of establishing the
related to the parole applicant. A few        entity meet the requirements for              entrepreneur’s eligibility for parole
commenters requested that DHS allow           consideration for parole set out in 8 CFR     under this rule. DHS anticipates that
venture capitalists, accelerators, and        212.19. DHS believes it is important to       entrepreneurs living outside the United
incubators to register so that they would     limit the type and source of investment       States will be able to demonstrate
not be required to produce the evidence       that will be considered a qualifying          eligibility for parole consideration
of their qualifications with each parole      investment, since the investment is           under this rule, whether based on
application.                                  meant to serve in part as an objective        investment from U.S. investors, grants
   Response: DHS does not believe that        way to help ensure and validate that the      or awards from certain U.S. Government
providing evidence of revenues                start-up entity’s activities will benefit     entities, or a mixture of alternative
generated or jobs created by entities in      the United States. DHS does not believe       criteria. For all the reasons above, the
which the investor previously invested        investments from foreign sources—             definition of ‘‘qualified investor’’ will
is overly burdensome or would require         which are significantly more difficult        help DHS manage an efficient process
the investor to publicly reveal otherwise     for DHS to evaluate for legitimacy and        for adjudicating requests under this rule
sensitive information. DHS believes,          screen for indicators of fraud and            while appropriately screening for
given the significance of an investor’s       abuse—would provide the same                  potential fraud or abuse and ensuring
track record of successful investment in      measure of objective validation.              that each grant of parole is justified by
start-ups to the determination of                Comment: Multiple commenters               significant public benefit to the United
significant public benefit, that the need     stated that eligibility criteria should       States.
for this evidence outweighs the               focus exclusively on the location of the         Comment: Other commenters focused
potential burden on the applicant and         start-up entity and its related growth        on specific ways that DHS might allow
investor to compile and submit it.            and job creation, not on the citizenship      applicants to use foreign investment to
However, as DHS continues to assess           and residence of the investor. Some           establish their eligibility for parole
the implementation of the process once        commenters stated that excluding              consideration, including by limiting
the rule is final, the Department will        foreign investors from the definition of      such investment to the entrepreneur’s
consider potential ways to modify the         ‘‘qualified investors’’ is unduly limiting,   country of origin, or to only those
process given the kinds of issues raised      because many high-potential                   foreign investors who do not present a
by these comments.                            international entrepreneurs might not         national security concern. A few
                                              have a pre-existing relationship with a       commenters asserted that DHS has the
9. Foreign Funding/Investment                 U.S.-based investor. Commenters state         capability to verify the bona fides of
   Comment: Several commenters                that such entrepreneurs, especially if        foreign investors through, for example,
provided input on the proposed                living in other countries, would have         the following mechanisms: Making
requirement that ‘‘qualified investor’’       difficulty attracting investment from         inquiries through U.S. embassy officials,

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requesting resumes and the investment          include self-funding by the entrepreneur    SEC-compliant intermediary, such as an
history for foreign angel investors,           applicant. DHS believes that this           SEC-compliant crowdfunding platform,
requesting similar documentation used          definition should include only those        will be treated no differently for
by EB–5 petitioners to establish their         investors who have a history of making      purposes of this rule than had the
lawful source of funds, and consulting         similar investments over a 5-year period    investments been made directly. In
publicly available data on reputable           and who can demonstrate that at least       order to promote the integrity of
foreign investors with a history of            two of the entities receiving such          adjudications under this rule, DHS
successful investments in various              investments have subsequently               declines to make changes to the
countries. Some commenters provided            experienced significant growth in           definition of ‘‘qualified investor’’ that
suggestions for alternative or revised         revenue or job creation. See final 8 CFR    would effectively treat funds generated
definitions relating to foreign investors      212.19(a)(5). DHS believes that the         through crowdfunding platforms as a
that could remain easily verifiable by         investment of a substantial amount of       different class of eligible investment.
DHS, with the burden being on the              capital by qualified investors in an        DHS notes, however, that evidence of a
investor, including (1) professionally         entrepreneur’s start-up entity can serve    successful donation-based or securities-
managed funds with at least $10 million        as a strong indication of the entity’s      based crowdfunding campaign could be
under management and registered with           substantial and demonstrated potential      provided under the rule’s alternative
the local jurisdiction, and (2) angel          for rapid business growth and job           eligibility criteria.
investors that have made credible              creation. Self-funding, while a rational    b. Established U.S. Investors
investments in U.S. companies under            financing strategy for many
the same standards as U.S. ‘‘qualified                                                        Comment: One commenter questioned
                                               entrepreneurs, does not provide the
investors.’’ Finally, an individual                                                        the requirement that capital be received
                                               same objective and external validation
commenter expressed concerns that                                                          ‘‘from established U.S. investors (such
                                               that DHS requires in assessing whether
even investments from U.S. sources                                                         as venture capital firms, angel investors,
                                               granting parole to an individual is
could be suspect, and could serve as a                                                     or start-up accelerators) with a history of
                                               justified based on significant public
pass-through for ineligible investors                                                      substantial investment in successful
                                               benefit.
such as the entrepreneur’s family or                                                       start-up entities.’’ The commenter stated
foreign nationals.                             11. Other Comments on Qualified             that the requirement increases the
   Response: While DHS understands             Investors                                   relative bargaining power of established
that international entrepreneurs can           a. Crowdfunding                             investors working with entrepreneurs
attract legitimate investment capital                                                      seeking parole under this rule, while
from non-U.S. sources, DHS believes—              Comment: Several commenters stated       diminishing that of new venture capital
as explained at greater length above—          that the rule should allow crowdfunding     firms, new angel investors, and new
that it is appropriate and important to        as a qualified investment. These            start-up accelerators. The commenter
require that a ‘‘qualified investment’’        commenters noted that entrepreneurs         stated that if it is kept in its current
come from a U.S. source as one of the          have raised over a billion dollars in       form, the rule is not clear whether an
general criteria to establish that the         investments through various types of        investment from a non-established
start-up entity has the substantial            crowdfunding platforms, which serve to      investor would jeopardize the parole
potential for rapid growth and job             broaden the base of available investors     eligibility of an entrepreneur whose
creation. DHS is prepared to monitor the       and demonstrate a venture’s potential       start-up entity is also funded by
bona fide nature of such U.S.-based            growth. Commenters also cited the           established investors.
investments, as described in greater           Jumpstart Our Business Startups Act            Response: The definition of ‘‘qualified
detail above. Moreover, the rule neither       (JOBS Act) of 2012, which created a         investor, including the requirement that
precludes an applicant from securing           national regulatory framework for           an investor have a history of substantial
funding from non-U.S. sources nor              securities-based crowdfunding               investment in successful start-up
precludes such funding from being              platforms in particular, along with         entities, is intended to help ensure that
considered, non-exclusively, under the         public statements suggesting that           such investors are bona fide and not
alternative criteria at 8 CFR                  securities-based crowdfunding is            concealing fraud or other illicit
212.19(b)(2)(iii) or (c)(2)(iii). Given that   recognized by Congress and the              activity—and thus protect the integrity
this is a new and complex process, DHS         Administration as a valuable and            of the parole process under this rule.
will consider potential modifications in       increasingly-used investment tool. One      The definition is also intended to ensure
the future after it has assessed the           commenter also stated that allowing the     that a qualifying investment serves as a
implementation of the rule and its             use of crowdfunding platforms would         strong and reliable indicator of the start-
impact on operational resources.               increase the pool of potential applicants   up entity’s substantial potential for
                                               for entrepreneurial parole and could        rapid growth and job creation, which is
10. Self-Funding/‘‘Bootstrapping’’                                                         relevant to assessing whether granting
                                               provide a workable intermediary for
  Comment: Several commenters argued           foreign investment in eligible start-up     parole to an entrepreneur is justified by
that entrepreneurs should be able to           entities. One commenter suggested           significant public benefit.
demonstrate eligibility for parole under       potential requirements that would              DHS emphasizes that the rule does
this rule not only through funding from        facilitate the use of crowdfunding          not prohibit investment from U.S.
U.S. investors or U.S. Government              investment sources, such as setting a       investors who do not have an
entities, but also through self-financing      threshold amount for eligible               established track record of substantial
(known as ‘‘bootstrapping’’). One              crowdfunding investments and                investment in start-up entities under the
commenter noted that many highly               confirming that such investments have       rule’s definition of ‘‘qualified investor.’’
successful start-up founders initially         been deposited in the start-up entity’s     Any investment from an investor who is
grew their companies through                   bank account after the end of the           not a qualified investor, however, will
bootstrapping, not by raising capital          crowdfunding campaign.                      not count toward the minimum
from external investors.                          Response: DHS appreciates the            investment criteria associated with the
  Response: DHS declines to expand the         commenters’ suggestions. Investments        initial parole period or re-parole period.
definition of ‘‘qualified investment’’ to      made in a start-up entity through an        DHS will, of course, monitor all

                                                                                                                      IER00056
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elements of an application for evidence        12. Qualified Jobs                                   benefit created by an entrepreneur’s
of fraud or other illegal or illicit           a. Qualifying Employee                               start-up entity.19
activities. It will also assess the totality                                                        b. Full-Time Employment
of the evidence in evaluating whether            Comments: Two commenters
granting parole to an entrepreneur is          recommended that DHS broaden the                        Comments: Several commenters said
justified by significant public benefit.       definition of the term ‘‘qualifying                  that the rule should have a more flexible
                                               employee.’’ One commenter stated that                definition of ‘‘full-time employment.’’
c. Approved Regional Centers                   the term should include any individual               One commenter said that the definition
                                               authorized to work in the United States,             of the term should not require the job
   Comment: One commenter requested                                                                 to be filled for at least a year and should
                                               regardless of immigration status, to
that USCIS-approved Regional Centers                                                                include job-sharing arrangements.
                                               avoid creating a conflict for employers
(based on an approved Form I–924) be                                                                Another commenter recommended that
                                               who are prohibited from discriminating
allowed to qualify as established U.S.                                                              the definition of full-time employment
                                               based on an individual’s citizenship or
investors. The commenter stated that                                                                include combinations of part-time
                                               immigration status. Another commenter
investment by a Regional Center in a                                                                positions.
                                               advocated for the inclusion of
U.S. start-up entity would be a natural        independent contractors in the                          Response: DHS declines to expand the
extension of what Regional Centers                                                                  definition of full-time employment to
                                               definition of qualifying employee.
already do, since Regional Centers pool                                                             include jobs filled for less than a year
investment for qualified EB–5 visa                Response: DHS declines to expand the              by a qualifying employee, job-sharing
projects.                                      definition of qualifying employee,                   arrangements, and combinations of part-
                                               which already includes a U.S. citizen, a             time jobs. DHS believes that the creation
   Response: DHS believes it is                lawful permanent resident, or other
important to limit qualifying investors                                                             of long-term and full-time positions is a
                                               immigrant lawfully authorized to be                  more reliable indicator that an
to those who have an established record        employed in the United States, who is
of successful investments in start-up                                                               entrepreneur’s start-up entity is
                                               not an entrepreneur of the relevant start-           continuing to yield significant public
entities. DHS believes that such a record      up entity or the parent, spouse, brother,            benefit. Jobs filled for less than a year
would include, during the 5-year period        sister, son, or daughter of such an                  could be temporary or seasonal, thus
immediately preceding the filing of the        entrepreneur. See final 8 CFR                        limiting the duration and impact of the
parole application, one or more                212.12(a)(7). DHS believes that creating             benefit. Additionally, including job-
investments in other start-up entities in      jobs for these individuals is more likely            sharing or combinations of part-time
exchange for equity or convertible debt        to provide a significant public benefit              positions could significantly complicate
comprising a total of no less than             given their stronger ties to the United              adjudications. The final rule, moreover,
$600,000. See final 8 CFR                      States. Similarly, DHS believes that                 already reduces by half the threshold
212.19(a)(5)(i). DHS will require              entrepreneurs and start-up entities that             number of jobs to qualify for a re-parole
monetary commitments, rather than              create positions for employees are more              period, making it all the more
non-monetary commitments such as               likely to provide a significant public               reasonable to require that each of such
credit for in-kind value (e.g., credit for     benefit than those who rely only on                  jobs be full-time positions as part of the
services), given the difficulty of valuing     arrangements with independent                        criteria for ensuring that granting parole
such commitments and the potential for         contractors. Such arrangements would                 to an international entrepreneur is
fraud and abuse. The applicant would           generally have a weaker nexus to the                 justified by significant public benefit.20
also need to show that, subsequent to          start-up entity, may not have been
such investment by the investor, at least      created as a direct result of the start-up           13. Material Change
2 such entities each created at least 5        entity’s activities, and could be more                  Comment: One commenter
qualified jobs or achieved at least            difficult to validate. Nothing in this rule          recommended that the final rule
$500,000 in revenue with average               either supersedes or conflicts with                  expressly exempt from the definition of
annualized revenue growth of at least 20       nondiscrimination laws enacted under                 ‘‘material change’’ transitions that are
percent. See final 8 CFR 212.19(a)(5)(ii).     the Immigration Reform and Control Act               typical within start-ups, such as a
   As described in greater detail above,       (IRCA).18 Under existing law, it would               company’s (1) pivoting its products or
these criteria are intended to ensure that     generally be an unfair immigration-                  services; (2) bringing on board a
                                               related employment practice for an                   significant round of funding that could
investors are bona fide and thus protect
                                               entity to discriminate against someone               dilute the entrepreneur’s ownership
the integrity of the parole process under
                                               authorized to work in the United States              interest; (3) changing the role of a
this rule. They are also intended to
                                               because of that person’s national origin             founder to meet the needs of the
ensure that a qualifying investment                                                                 growing company; or (4) by virtue of a
serves as a strong and reliable indicator      or, in the case of a ‘‘protected
                                               individual,’’ citizenship status. See 8              foreseeable stock or asset acquisition,
of the start-up entity’s substantial                                                                executing a merger into or with a related
                                               U.S.C. 1324b(a) (generally prohibiting
potential for rapid growth and job             such practices, subject to specific                  or unrelated entity, or some other form
creation, which is relevant to assessing       exceptions, and defining ‘‘protected                 of corporate restructuring. A few
whether granting
entrepreneur         parole by
                is justified to an
                                significant    individual’’ to include U.S. citizens,
                                               lawful permanent residents, and certain                19 It is important to note that job creation during

public benefit. DHS declines to adopt a        other immigrants). This rule does not                the initial period of parole is not the only way to
special provision for regional centers         permit any such otherwise prohibited                 demonstrate the start-up entity’s continued
                                                                                                    substantial potential for rapid growth and job
approved to participate in the EB–5 visa       practices. Instead, it uses the creation of          creation. See final 8 CFR 212.19(c)(2)(ii)(A),
program. Although such centers are not         jobs for U.S. citizens, permanent                    (c)(2)(ii)(C), and (c)(2)(iii).
categorically excluded from the                residents, and other authorized                        20 As explained earlier, job creation during the

definition of ‘‘qualified investor’’ under     immigrants as one indication of the                  initial period of parole is not the only way to
                                                                                                    demonstrate the start-up entity’s continued
this rule, they would need to meet all                                                              substantial potential for rapid growth and job
the same criteria as any other qualified         18 Public Law 99–603 section 102, 100 Stat. 3359   creation. See final 8 CFR 212.19(c)(2)(ii)(A),
investor.                                      (Nov. 6, 1986); INA section 274B.                    (c)(2)(ii)(C), and (c)(2)(iii).


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commenters recommended that DHS                continues to provide, a significant          so that the assistance of an attorney is
clarify what constitutes a ‘‘material          public benefit to the United States. DHS     not required.
change’’ given the rapidly evolving            has revised the final rule to limit            Response: DHS agrees with the
nature of start-ups.                           material change regarding ownership          comment that the Form I–941 is
   Response: DHS appreciates the               changes only to ‘‘a significant change       beneficial for capturing information
concerns expressed by commenters               with respect to ownership and control        specific to parole requests filed under
regarding the material change definition       of the start-up entity.’’ For example, a     this rule. DHS declines to model the
in the NPRM. This final rule reflects          significant change with respect to           application process for parole under this
changes that help clarify what                 ownership and control of the start-up        rule after the Canadian express entry
constitutes a material change, with the        entity may include a transfer of equity      program as that program is a points
understanding that start-up entities are       in the start-up entity that results in an    system designed to manage applications
likely to experience a variety of              owner or owners not previously               for permanent residence under certain
transitions as part of their legitimate        identified on the Application for            Canadian federal economic immigration
development and growth. DHS                    Entrepreneur Parole (Form I–941)             programs.21 DHS has attempted to
disagrees, however, that all of the events     collectively acquiring a controlling stake   develop the Form I–941 to be as simple
listed by commenters should be                 in the entity. DHS recognizes that           as possible for applicants while
specifically exempted from the                 achieving a significant round of funding     capturing sufficient information to
definition of material change. Some            for the start-up entity during the initial   enable adjudicators to make appropriate
changes to the start-up entity can clearly     parole period may often constitute the       case-by-case decisions under the
impact the determination of whether the        very qualifying investment that renders      statutory and regulatory requirements
entrepreneur provides, or will continue        the entrepreneur eligible for a re-parole    for parole.
to provide, a significant public benefit       period under this rule’s significant         2. Submissions of Documentary/
to the United States. It is essential to the   public benefit test, despite diluting the    Supporting Evidence
rule’s integrity that such material            entrepreneur’s ownership interest.
changes are clearly defined and reported                                                       Comment: Two commenters
                                               While DHS will make these
to DHS. In the final rule, DHS has                                                          expressed concern that the evidentiary
                                               determinations on a case-by-case basis,
outlined those changes that DHS                                                             requirements were excessive and that
                                               DHS does not anticipate that such            start-up entities operating in ‘‘stealth-
believes are critical to the continuing        significant changes with respect to
eligibility of the entrepreneur to be                                                       mode’’ would not be able to provide
                                               ownership and control of the start-up        letters or media articles. Both
granted parole based on a significant          entity will often result in termination of
public benefit to the United States.                                                        commenters suggested that evidence of
                                               parole. A full vetting of new investors      a significant capital investment from a
Specifically, the final rule maintains         with a significant ownership interest,
that the following changes are material:                                                    qualified investor should be sufficient to
                                               however, can provide DHS with                demonstrate the potential for rapid
Any criminal charge, conviction, plea of       additional insights into the start-up
no contest, or other judicial                                                               growth and job creation.
                                               entity’s activities in the United States        Response: As an initial matter, DHS
determination in a criminal case
                                               and will help DHS ensure the                 recognizes there may be legitimate
concerning the entrepreneur or start-up
                                               entrepreneur is continuing to provide a      reasons for operating a start-up in a
entity; any complaint, settlement,
                                               significant public benefit to the United     manner that does not attract significant
judgment, or other judicial or
                                               States. In the future, DHS may issue         public attention. In part for this reason,
administrative determination
                                               additional guidance on the scope of          this final rule extends the definition of
concerning the entrepreneur or start-up
                                               such significant changes in ownership        start-up entity to include entities formed
entity in a legal or administrative
                                               interest if deemed necessary.                within the 5 years immediately
proceeding brought by a government                DHS believes these changes are
entity; any settlement, judgment, or                                                        preceding the filing date of the
                                               sufficient to clarify the definition of      applicant’s initial parole request. DHS
other legal determination concerning
                                               ‘‘material change’’ in regulation and to     believes that start-up entities that are
the entrepreneur or start-up entity in a
                                               provide entrepreneurs with sufficient        seeking to operate without significant
legal proceeding brought by a private
                                               detail about the kinds of changes that       public attention will generally have
individual or organization other than
                                               could impact their eligibility and must      sufficient time to emerge from that
proceedings primarily involving claims
                                               be reported. Given that this is a new and    status prior to the parole application.
for damages not exceeding 10 percent of
                                               complex process, DHS will consider              DHS agrees with the commenters that
the current assets of the entrepreneur or
                                               potential modifications in the future        evidence of having received substantial
start-up entity; a sale or other
disposition of all or substantially all of     after it has assessed the implementation     investment from a qualified investor
the start-up entity’s assets; the              of the rule and its impact on operational    may be sufficient to establish that the
liquidation, dissolution, or cessation of      resources.                                   start-up entity has the potential for
operations of the start-up entity; and the     E. Application Requirements                  rapid growth and job creation (one
voluntary or involuntary filing of a                                                        factor in making parole determinations
                                               1. Application for Entrepreneur Parole       under this rule). See 8 final CFR
bankruptcy petition by or against the
start-up entity. DHS has revised the              Comments: One commenter                   212.19(b)(2)(ii)(B)(1). DHS understands
definition of ‘‘material change’’ to           supported the Application for                that other evidence that may be required
include the cessation of the                   Entrepreneur Parole (Form I–941), and        to establish eligibility for parole
entrepreneur’s qualifying ownership            called it ‘‘ideal’’ because without the      consideration under this rule, including
interest in the start-up entity.               form applicants must attempt to list         whether the applicant is well-positioned
   DHS recognizes that not all changes to      information on existing application          to advance the entity’s business, may
the ownership structure of a start-up          forms that do not specifically relate to     not be a matter of public record. DHS
entity constitute a change of such             entrepreneurs. Another commenter             believes, however, that even an
significance that it would reasonably          requested that the application process       entrepreneur operating a company in
affect the outcome of the determination        resemble the Canadian express entry
of whether the entrepreneur provides, or       immigration system and be simplified          21 http://www.cic.gc.ca/english/express-entry/.




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‘‘stealth mode’’ should generally be able     innovation, and growth—rather than           recommended setting the threshold at
to provide such evidence for purposes         create it in another country.                $250,000, and DHS’s further analysis of
of satisfying the requirements of this                                                     seed and angel investment data
                                              4. Other Comments on Application
rule. Indeed, for entrepreneurs to be                                                      indicates that this level is reasonable.
paroled under this rule, they must            Requirements
                                                                                           As is described more fully in the
persuade adjudicators, based on the              Comment: One commenter asked that         ‘‘Volume Projections’’ subsection of the
totality of the evidence, that they will      DHS clarify the application procedures       ‘‘Statutory and Regulatory
provide a significant public benefit.         for Canadians and whether they may           Requirements’’ section of this final rule,
                                              apply at the border or whether they          DHS’s analysis of investments received
3. Application Requirements of Spouses
                                              must visit a U.S. consulate prior to         by a set of new firms that graduated
and Minor Children
                                              requesting to be paroled at a U.S. port      from startup accelerator programs
   Comment: DHS received a few                of entry.                                    revealed that the median seed
comments supporting the provision in             Response: Canadians and applicants        investment was $250,000.22 Following
the proposed rule allowing the spouse         from other countries may apply for           the intent of this final rule to increase
and children of an entrepreneur granted       parole under this rule while inside or       and enhance entrepreneurship,
parole under this rule to also apply for      outside of the United States. If the         innovation, and job creation in the
and be granted parole in the United           applicant’s parole request is approved,      United States, DHS determined that
States in order to accompany or               the applicant would request to be            investment amounts that entrepreneurs
ultimately join the entrepreneur. One         paroled by Customs and Border                would need to meet to be considered for
commenter also supported the proposal         Protection at a U.S. port of entry after     parole under this rule should be more
to allow the spouse, if granted parole, to    arriving from outside the United States.     in line with typical early investment
obtain employment authorization in the        Canadian nationals who will be               rounds, rather than the higher
United States in order to work and help       appearing at a U.S. port of entry directly   investment levels typical of later
support the entrepreneur’s family.            from Canada will not have to visit a U.S.
   Response: DHS agrees with these                                                         rounds. In each individual case, DHS
                                              consulate prior to appearing at the port     must be persuaded that granting parole
comments. Each spouse or child seeking        of entry and requesting that CBP grant       would provide a significant public
parole must independently establish           parole. Canadian nationals who will not      benefit and that the person requesting
eligibility for parole based on significant   be appearing at a U.S. port of entry
public benefit (or, alternatively, for                                                     parole merits a favorable exercise of
                                              directly from Canada, and will instead       discretion.
urgent humanitarian reasons), and that        be travelling to the United States from
the individual merits a favorable                                                             Comment: One commenter stated that
                                              another country abroad to request a          there should not be a minimum
exercise of discretion. In a case in which    grant of parole may, similar to other
an entrepreneur has been granted parole                                                    investment amount and suggested that
                                              applicants, have to visit a U.S. consulate   the rule instead establish minimum
based on significant public benefit           first in order to obtain travel
under this rule, DHS may consider                                                          revenue amounts. Several other
                                              documentation (e.g., a boarding foil)        commenters suggested that evidence of
granting parole to the entrepreneur’s         that allows the individual to travel to a
spouse and children who provide a                                                          rapid revenue growth should be a
                                              U.S. port of entry. In all cases, however,   standalone eligibility criterion for the
significant public benefit by                 the individual must have an approved
maintaining family unity and thereby                                                       initial parole period under 8 CFR
                                              Form I–941 before the individual may         212.19(b)(2)(ii).
further encouraging the entrepreneur to       appear at the port-of-entry to request a
operate and grow his or her business in                                                       Response: DHS disagrees with the
                                              grant of parole.                             suggestion that there should not be a
the United States—and to provide the
benefits of such growth to the United         F. Parole Criteria and Conditions            minimum investment amount.
States.                                                                                    Establishing a minimum investment
   Under this final rule, spouses of          1. Minimum Investment                        amount based on available data
entrepreneur parolees who wish to                Comment: Numerous commenters—             provides a clear and predictable
obtain employment authorization must          including advocacy groups, law firms,        benchmark for how an applicant may
apply for an EAD pursuant to 8 CFR            associations, and individual                 demonstrate that a start-up entity has
274a.12(c)(34), consistent with current       commenters—argued that the proposed          substantial potential for rapid growth
parole policy that allows parolees to         rule’s minimum investment criterion for      and job creation (one factor in making
apply for employment authorization.           the initial parole period would set too      parole determinations under this rule).
DHS agrees with the commenter that            high an eligibility bar for many high-       If international entrepreneurs are unable
allowing spouses of entrepreneurs to          potential entrepreneurs. Citing a range      to meet the threshold investment
apply for work authorization may              of different kinds of evidence, several      amount but have received some
alleviate a significant portion of the        commenters argued that the proposed          qualified investments or qualified
potential economic burdens that               $345,000 threshold represented               government awards or grants, they may
entrepreneurs and their families may          significantly more capital than is           alternatively qualify for parole
face, such as paying for education            actually needed by most start-ups            consideration under this rule if they
expenses for their children, and to           initially and would unnecessarily            partially meet the threshold criteria and
ensure that they satisfy the condition on     exclude from consideration some              provide ‘‘other reliable and compelling
their parole that they maintain               entrepreneurs whose entities would           evidence of the start-up entity’s
household income that is greater than         create significant public benefit in the     substantial potential for rapid growth
400 percent of the Federal poverty line,      United States.                               and job creation.’’ See final 8 CFR
as they grow and develop their start-up          Response: In response to public           212.19(b)(2)(iii).
entities. Moreover, extending                 comments, DHS is reducing the
employment authorization to the spouse        proposed minimum investment of                 22 The data utilized by DHS is provided publicly

                                                                                           by SeedDB: http://seed-db.com/accelerators, as well
may further incentivize an international      $345,000 to $250,000 in the final rule.      as the Angel List: https://angel.co/, and the Angel
entrepreneur to bring a start-up entity to    See 8 final CFR 212.19(b)(2)(ii)(B)(1).      Capital Association (ACA): https://
the United States—along with new jobs,        Multiple public comments                     www.angelcapitalassociation.org/.


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   DHS disagrees with the suggestion           receipt by the start-up entity is             (SBIR) 23 and Small Business
that evidence of rapid revenue growth          contingent upon the approval of parole.       Technology Transfer (STTR) awards and
or generation of a certain amount of              Response: DHS is revising the              dollar amounts.
revenue should be a separate criterion                                                          Response: DHS declines to make the
                                               proposed requirement that the
under 8 CFR 212.19(b)(2)(ii). In setting                                                     suggested changes to the minimum
                                               substantial investment be received
threshold criteria, DHS intends to                                                           government grant or award threshold. In
                                               within the 365 days immediately
identify reliable indicators of a start-up                                                   light of the range of comments received
                                               preceding the filing of the application
entity’s substantial potential for rapid                                                     on increasing or decreasing the
                                               for initial parole. The final rule
growth and job creation and, ultimately,                                                     minimum grant amount, DHS believes
                                               increases this period from 12 months          its proposed minimum grant amount is
of the significant public benefit that a
                                               (365 days) to 18 months. DHS made this        reasonable. Because government entities
grant of parole would provide in an
                                               change based on feedback that it often        regularly evaluate the potential of U.S.
individual case. DHS does not believe
                                               takes longer than 12 months for a start-      businesses, the choice to provide a
that revenue should be the sole external
                                               up to secure and receive investment           significant award or grant to a particular
validation factor as compared to
                                               funding. This revised requirement still       start-up entity will often be a strong
substantial funding from qualified U.S.
investors and government entities for          ensures that a qualified investor or          indicator of that start-up’s substantial
initial parole applications. DHS               government entity has recently                potential for growth and job creation.
reiterates, however, that a start-up           validated (within 18 months) the start-       Additionally, because government
entity’s revenue may be taken under            up entity’s potential for rapid growth        entities are by definition formed to serve
consideration, both under the                  and job creation. With respect to the         the public, the choice by such an entity
‘‘alternative criteria’’ test and as part of   comment suggesting that DHS accept            to fund a particular business generally
the totality of evidence relevant to           funding contingent upon approval of           indicates the government entity’s
whether the grant of parole in an              parole toward the qualified investment        independent assessment that the
individual case would be justified by          amount, DHS believes that funds               business’s operations would provide a
significant public benefit and the person      contingent on the occurrence of a future      significant public benefit—and can be a
requesting parole deserves a favorable         event, such as a grant of parole to the       strong indicator of a start-up entity’s
exercise of discretion. See 8 CFR              entrepreneur, would not satisfy the           substantial potential for rapid growth
219.2(b)(2)(iii), 219.2(c)(2)(B)(iii).         general criteria in 8 CFR 212.19(b)(2)(ii).   and job creation. The specific $100,000
   Comment: Several individual                 DHS notes, however, that such funds           minimum government funding
commenters recommended that the                may be considered under the alternative       threshold identified in this final rule is
investment threshold be based upon the         criteria in 8 CFR 212.19(b)(2)(iii) if the    based in part on the fact that seed
type of business activity.                     entrepreneur partially meets one or both      funding awards (‘‘Phase I’’ awards) from
   Response: In an effort to provide a         of the criteria in 8 CFR                      the Federal SBIR/STTR program are
reasonable level of simplicity and             212.19(b)(2)(ii)(B), since DHS may            generally below $150,000.
predictability in the final rule, DHS          consider such contingent funds as other
decided to utilize a single investment         reliable and compelling evidence of the       3. Initial Parole Alternative Criteria
threshold rather than several amounts          start-up entity’s substantial potential for      Comment: Several commenters
based on the type of business activity.        rapid growth and job creation. Given          offered suggestions for the factors to be
DHS believes that determining multiple         that this process is a new and complex        considered by DHS under the rule’s
investment thresholds based on                 one, DHS has decided to take an               alternative criteria for the initial parole
business activity or industry would be         incremental approach and will consider        period, such as adding a metric for
unduly complicated, making                     the suggested modification in the future      number of users or customers of the
adjudications more labor-intensive and         after assessing the implementation of         entrepreneur’s start-up entity, the start-
increasing processing times. DHS               the rule and its impact on operational        up entity’s social impact, and the start-
believes that using a single investment        resources.                                    up entity’s national scope or location in
threshold, backed by available data, is a                                                    a low- or middle-class neighborhood.
reasonable approach and provides a             2. Minimum Government Grants or               Other commenters proposed the
clearer benchmark for applicants,              Awards                                        following factors: The applicant’s
investors, and adjudicators.                                                                 academic degree; participation in or
   Comment: Some commenters                       Comment: Several commenters argued
                                               that DHS should require less than             training from a start-up accelerator;
provided input on the requirement that                                                       prior success as demonstrated by market
funding be received within the                 $100,000 to meet the eligibility criteria
                                               based on a start-up entity’s receipt of       share from patented innovations, annual
preceding 365 days. A CEO roundtable                                                         sales volume, or job creation; and
agreed that the $345,000 threshold was         government grants and awards. An
an appropriate amount, but questioned          individual commenter said that most              23 The Small Business Innovation Research (SBIR)
the 365-day requirement,                       government grants were well beneath           program is coordinated by the Small Business
recommending that the rule be changed          the $100,000 minimum threshold in the         Administration to seed capital for start-up
to require that only 65 percent of the         proposed rule. Another individual             businesses. It is designed to stimulate technological
                                                                                             innovation among small private-sector businesses,
investment to have occurred within the         commenter recommended a $50,000               and it is the largest source of seed capital in the
last 365 days. A trade association and a       government grant threshold. By                United States for technology driven start-ups,
joint submission from a professional           contrast, one commenter stated that the       funding between 5,000 and 7,000 projects a year.
association and a non-profit                   $100,000 minimum investment for               The ‘‘first phase’’ award is an innovation grant
                                                                                             made for initial eligibility and corresponds to the
organization recommended that the              government grants and awards is too           start-up of the commercial business and proof of
investment occur within a 3-year               low to start a meaningful business and        ‘‘concept phase’’—the average award amounts vary
window. As an alternative, the trade           suggested increasing the amount to            by department, but most SBIR Phase I awards are
association stated that some of a start-       $500,000 or more. Several commenters          made at or below $150,000. The Phase I awards are
                                                                                             geared towards financing the startup of the private
up entity’s capital that would otherwise       stated that the $100,000 grant threshold      commercial entity and also the innovation and
count toward the qualified investment          aligns with the timing of the Federal         research and development (R&D) that the enterprise
amount should do so even if its ultimate       Small Business Innovation Research            undertakes.


                                                                                                                             IER00060
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demonstrated success using alternative         independently provide sufficient               (one factor in making parole
funding platforms.                             external validation that a start-up entity     determinations under this rule). DHS,
   Response: DHS agrees with these             has the substantial potential for rapid        however, understands that some start-
suggestions. DHS may consider the              growth or job creation and meets the           up entities with the potential to yield
following additional types of evidence,        ‘‘significant public benefit’’ requirement     significant public benefit may have
among others, as factors under the             under this rule. Evidence that the start-      legitimate economic or strategic reasons
alternative criteria for those applicants      up is involved with certain initiatives in     to not pursue or accept capital
who partially satisfy 8 CFR                    the public interest can, however, be           investment or government funding at
212.19(b)(2)(ii):                              considered a positive factor in                the levels set forth in 8 CFR
   x number of users or customers;             determining whether an entrepreneur            212.19(b)(2)(ii)(B). Therefore, DHS has
   x revenue generated by the start-up         merits a grant of parole as a matter of        provided in the rule an alternative
entity;                                        discretion. Given that this is a new and       criterion for further consideration of
   x social impact of the start-up entity;     complex process, DHS has decided to            those applications where the applicant
   x national scope of the start-up entity;    take an incremental approach and will          only partially satisfies the capital
   x positive effects on the start-up          consider potential modifications in the        investment or government funding
entity’s locality or region;                   future after it has assessed the               thresholds, but provides additional
   x success using alternative funding         implementation of the rule and its             reliable and compelling evidence that
platforms, including crowdfunding              impact on operational resources.               establishes the substantial potential of
platforms;                                        Comment: One commenter said the             the start-up entity for rapid growth and
   x the applicant’s academic degrees;         term ‘‘reliable and compelling                 job creation.
   x the applicant’s prior success in          evidence’’ in proposed 8 CFR                      Comment: A commenter suggested
operating start-up entities as                 212.19(b)(2)(iii), with respect to the         that, instead of focusing on capital
demonstrated by patented innovations,          start-up entity’s substantial potential for    investment and job creation criteria,
annual revenue, job creation, or other         rapid growth and job creation, is too          DHS should focus on whether the start-
factors; and                                   vague and should be elaborated on              up entity would be in industries in
   x selection of the start-up entity to       further in the regulatory text.                traded sectors. The commenter
participate in one or more established            Response: DHS disagrees with the            proposed that the following industries
and reputable start-up accelerators or         commenter’s suggestion to elaborate            would qualify: Manufacturing, software
incubators.                                    further in 8 CFR 212.19(b)(2)(iii) on the      publishers, Internet publishing, and
   With respect to start-up accelerators       type of evidence that may be submitted         research and development services.
and incubators, DHS expects to evaluate        and considered as reliable and                    Response: While DHS recognizes the
them on several relevant factors,              compelling. DHS believes that this             benefits of increased exports to the U.S
including years in existence, graduation       alternative criterion should be flexible       economy, it declines to limit eligible
rates, significant exits by portfolio start-   so as not to restrict the types of evidence    start-up entities to traded sectors, since
ups, significant investment or                 that may be submitted and relied upon          start-up entities in a much wider set of
fundraising by portfolio start-ups, and        to determine if the start-up entity has        industries can yield significant public
valuation of portfolio start-ups.              substantial potential for rapid growth         benefit to the United States through
   DHS understands that some                   and job creation. DHS believes that such       rapid growth and job creation.
applicants will be able to establish that      flexibility is important given the case- by-      Comment: A commenter requested
their start-up entity is likely to grow        case nature of these discretionary parole      that DHS form an advisory group of
rapidly and create jobs based on other         determinations. An applicant for parole        industry experts to recommend
factors beyond only the amount of              under this rule who does not meet the          alternative criteria.
capital investment or government               threshold capital investment or                   Response: DHS afforded an
funding received, which is why DHS             government funding criteria in 8 CFR           opportunity for notice and comment on
has not limited the types of evidence          212.19(b)(2)(ii)(B) may submit any             the NPRM and expressly sought
that may be considered under the               evidence that the applicant believes is        proposals for alternative criteria from
alternative criteria at 8 CFR                  reliable and compelling to support the         the public. DHS does not believe that
212.19(b)(2)(iii) for those who only           claim that the applicant’s start-up entity     forming a new advisory group is
partially meet the initial threshold           has substantial potential for rapid            necessary at this time.
criteria at 8 CFR 212.19(b)(2)(ii)(B).         growth and job creation. DHS, after               Comment: One commenter suggested
   Comment: One commenter suggested            reviewing the application and all of the       that the term ‘‘rapid growth’’ should be
linking the rule’s application to              evidence submitted in support of the           determined based on factors pertaining
applications for other initiatives, such       application, will make a determination         to the start-up entity’s industry, normal
as National Minority Supplier                  as to whether the applicant is eligible        business growth in the industry,
Development Council Certification and,         for parole consideration under the             geographic area, and the amount of
when applicable, Minority Women                relevant statutory and regulatory              investment in the entity. The
Based Entrepreneur Certification.              standards, and as to whether the person        commenter also recommended that the
   Response: DHS appreciates the               seeking parole merits a favorable              term ‘‘substantial potential’’ take into
commenters’ suggestions but declines to        exercise of discretion.                        account the start-up entity’s particular
adopt these factors as evidence of                Comment: One commenter asserted             geographic area rather than a national
substantial potential for rapid business       that securing an investment from a U.S.        scale.
growth or job creation. Nothing in this        investor or obtaining a U.S. government           Response: While the industry- and
rule prohibits or discourages                  grant or award is not a viable option for      geography-specific factors suggested by
entrepreneurs from participating in            most people.                                   the commenter may be taken into
initiatives or certification processes            Response: DHS believes that qualified       consideration by DHS as part of the
designed to help promote more diverse          investments or government funding are          totality of the circumstances for a given
and inclusive entrepreneurship. DHS            appropriate factors to consider when           application, DHS believes that the
does not believe, however, that such           assessing the ability of a start-up entity     general and alternative eligibility
initiatives and certifications                 to achieve rapid growth and job creation       criteria provided in the final rule are

                                                                                                                        IER00061
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sufficient to determine if a start-up                  criterion, moreover, he or she may still      start-ups focus more on growing their
entity has the substantial potential for               be eligible for re-parole based on            number of users in their early years.
rapid growth and job creation, and                     revenue generated or jobs created. See           Response: DHS declines to include
provide a more predictable framework                   final 8 CFR 212.19(c)(2)(ii)(B)(2) and (3).   user growth as a stand-alone criterion
by which these parole applications will                Under the final rule, entrepreneurs           for establishing eligibility for re-parole.
be adjudicated than would a more                       partially meeting the threshold re-parole     DHS, however, may consider user
mechanical and unduly rigid                            criteria may alternatively qualify ‘‘by       growth as a factor when evaluating an
consideration of the variables suggested               providing other reliable and compelling       entrepreneur’s eligibility under the
by the commenter.                                      evidence of the start-up entity’s             alternative criteria provision. The list of
                                                       substantial potential for rapid growth        factors provided in the preamble to the
4. Re-parole Criteria                                                                                proposed rule was intended only to
                                                       and job creation.’’ Final 8 CFR
a. Minimum Investment or Grants/                       212.19(c)(2)(iii).                            illustrate the kinds of factors that DHS
Awards                                                                                               may consider as reliable and compelling
                                                       b. Minimum Annual Revenue                     evidence of the start-up entity’s
   Comment: Several commenters
discussed the proposed re-parole                          Comment: Several commenters                substantial potential for rapid growth
eligibility criteria at 8 CFR                          discussed the proposed re-parole              and job creation.
212.19(c)(2)(ii)(B)(1), namely that the                criterion at 8 CFR 212.19(c)(2)(ii)(B)(3),       As noted in the NPRM, DHS is not
applicant’s start-up entity has received               which establishes an eligibility              defining in regulation the specific types
at least $500,000 in qualifying                        threshold when the applicant’s start-up       of evidence that may be deemed
investments, qualified government                      entity has reached at least $500,000 in       ‘‘reliable and compelling’’ at this time,
grants or awards, or a combination of                  annual revenue and averaged 20 percent        because DHS seeks to retain flexibility
such funding, during the initial parole                in annual revenue growth during the           as to the kinds of supporting evidence
period. Most commenters argued that                    initial parole period. Most commenters        that may warrant the Secretary’s
this funding level was unduly high,                    suggested alternative approaches,             exercise of discretion in granting parole
especially given the duration of the                   arguing that start-ups are often              based on significant public benefit. DHS
initial parole period.                                 legitimately focused on the                   believes, however, that such evidence
   Response: DHS declines to adjust the                development of an innovative product          would need to be compelling to
$500,000 funding threshold. See final 8                or service, and not on generating early       demonstrate that the entrepreneur’s
CFR 212.19(c)(2)(ii)(B)(1). DHS believes               revenue. Another commenter stated that        presence in the United States would
that $500,000 is a reasonable level for                the revenue criterion is reasonable.          provide a significant public benefit.
re-parole. An industry report on startups                                                            DHS will evaluate on a case-by-case
                                                          Response: DHS declines to adjust           basis whether such evidence—in
shows the median seed investment                       these criteria. See final 8 CFR
round for the first half of 2016 was                                                                 conjunction with the entity’s substantial
                                                       212.19(c)(2)(ii)(B)(1). DHS chose             funding, revenue generation, or job
$625,000, which rose from $425,000 in                  $500,000 in revenue and 20 percent
2015. This figure is valuable because it                                                             creation—establishes that the
                                                       annual revenue growth as threshold            applicant’s presence in the United
includes seed rounds for firms that                    criteria because, after consulting with       States will provide a significant public
participate with accelerators and that                 SBA, DHS determined these criteria: (1)       benefit during a re-parole period.
often start out with investment rounds                 Would be reasonable as applied across            Comment: An individual commenter
below $100,000.24 The median for angel                 start-up entities regardless of industry or   suggested that the minimum annual
group seed investments is reported at                  location; and (2) would serve as strong       revenue threshold for re-parole be set as
$620,000 as the annual average over                    indications of an entity’s potential for      just enough to sustain the
2013–2015, which rose sharply to                       rapid growth and job creation (and that       entrepreneur’s salary and continue
$850,000 in 2015 from a median of                      such entity is not, for example, a small      business operations.
$505,000 from the previous two years.                  business created for the sole or primary         Response: The final rule states that
Venture capital round sizes are even                   purpose to provide income to the owner        the start-up entity must be of a type that
larger, as the 2014 median round size                  and his or her family). As noted, DHS         has the substantial potential to
for both seed and startup stage venture                has also increased the length of the          experience rapid growth and job
rounds was $1,000,000.                                 initial parole period from 24 months to       creation, including through significant
   DHS has also increased the length of                30 months. This change will allow             levels of capital investment, government
the initial parole period from 24 months               entrepreneurs additional time to meet         awards or grants, revenue generation, or
to 30 months. This change will allow                   the minimum revenue threshold for re-         job creation during the re-parole period.
entrepreneurs additional time to seek                  parole. If an entrepreneur is unable to       These factors are intended to help DHS
and receive qualified investments or                   meet the minimum revenue                      identify the types of start-up entities
government funding, to meet the re-                    requirement, he or she may still be           that are most likely to provide a
parole criteria. If an entrepreneur is                 eligible under the minimum investment         significant public benefit, while
unable to meet the minimum funding                     or job creation criteria. See final 8 CFR     excluding entities without such
                                                       212.19(c)(2)(ii)(B)(1) and (2). Under the     potential—such as a business with
  24 The report on the seed median is published as
                                                       final rule, entrepreneurs partially           limited growth potential created by an
a newsletter by Crunchbase and is found at: https://
techcrunch.com/2016/09/07/crunchbase-sees-rise- in-
                                                       meeting the threshold re-parole criteria      entrepreneur for the sole or primary
average-seed-round-in-2016/. The Angel group           may alternatively qualify ‘‘by providing      purpose of providing income to the
median round size is obtained from the Angel           other reliable and compelling evidence        entrepreneur and his or her family.25
Resource Institute’s annual (2015) ‘‘Halo Report,’’    of the start-up entity’s substantial          Because this latter type of business is
found at http://angelresourceinstitute.org/reports/
halo-report-full-version-ye-2015.pdf. The venture
                                                       potential for rapid growth and job            less likely to experience rapid growth
capital figures are obtained from the Ernst and        creation.’’ Final 8 CFR 212.19(c)(2)(iii).
Young Venture Capital Insights Report (4th quarter        Comment: An individual commenter             25 Erik Hurst & Benjamin Wild Pugsley, ‘‘What Do

2014) and are found at: http://www.ey.com/                                                           Small Businesses Do?’’ (Aug. 2011), available at
Publication/vwLUAssets/VentureBCapitalBInsightsB
                                                       suggested that DHS should include in          http://www.brookings.edu/a/media/files/programs/
4Q14B-BJanuaryB2015/%24FILE/ey-venture-capital-        the rule a criterion for user growth,         es/bpea/2011BfallBbpeaBpapers/2011BfallBbpeaB
insights-4Q14.pdf.                                     rather than revenue growth, as many           conferenceBhurst.pdf.


                                                                                                                                    IER00062
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and job creation, DHS believes it is            Response: DHS declines to adopt the        under this rule of up to 5 years. The
unlikely that the entrepreneur of such a     commenter’s suggestion. DHS believes          additional time for the initial parole
business would be able to meet the           that a start-up entity would have to          period will provide entrepreneurs with
significant public benefit requirement       generate a significant level of revenue or    more time to receive additional
for a grant of parole. Establishing a        job creation (which are already criteria      qualified investments or government
minimum annual revenue threshold for         under this rule) to meet any separate,        funding, increase revenue, or create
re-parole that would, by definition,         standalone tax-based threshold. Any           qualified jobs sufficient to meet the
cover only an entrepreneur’s salary and      such additional criterion would               eligibility criteria for an additional
continue business operations would not       therefore be unlikely to be particularly      period of parole. While this change does
likely help identify whether an              probative in determining whether re-          reduce the length of the re-parole
entrepreneur’s activity in the United        parole is justified by significant public
                                                                                           period, DHS believes that this approach
States would provide a significant           benefit or the person seeking re-parole
public benefit. DHS therefore declines                                                     is necessary to provide additional time
                                             merits a favorable exercise of discretion.
to adopt the commenter’s suggestion.         DHS therefore declines to include the         during the initial period of parole while
                                             payment of taxes as a stand-alone             maintaining the same maximum overall
c. Minimum Jobs Created                                                                    parole period of 5 years. DHS further
                                             eligibility criterion.
   Comment: Several commenters                  Comment: A commenter suggested             believes that a 5-year total maximum
discussed the proposed re-parole             that if DHS lowers the funding and job        parole period is consistent with the
criterion at 8 CFR 212.19(c)(2)(ii)(B)(2),   creation thresholds for re-parole, there      amount of time successful start-up
which establishes an eligibility             should be no need for alternative             entities generally require to realize rapid
threshold for applicants whose start-up      criteria.                                     growth and job creation potential.
entities have created at least 10               Response: While DHS did reduce the         Moreover, an entrepreneur of a start-up
qualified jobs within the start-up           job creation threshold for re-parole in       entity that is almost 5 years old when
entities during the initial parole period.   the final rule, DHS believes that             the parole application is filed would
Most commenters argued that this job         parolees should have the flexibility to       have the possibility to obtain up to 5
creation requirement was unduly high         present other reliable and compelling         years of parole, which would allow the
or that the time period for compliance       evidence of the start-up entity’s             entity to realize its rapid growth and job
was too short.                               substantial potential for rapid growth        creation potential by the time it is 10
   Response: Based on comments               and job creation. Examples of such
received, DHS has lowered the job                                                          years old—and to provide those benefits
                                             evidence are provided above, in the
creation criterion for re-parole from 10                                                   in the United States.26 DHS retains the
                                             discussion on alternative criteria for the
to 5 qualified jobs. See final 8 CFR         initial parole period. DHS believes that      discretion to provide any length of
212.19(c)(2)(ii)(B)(2). DHS agrees with      it is important to retain such flexibility    parole to an applicant, including a
commenters that requiring 10 jobs to         in the final rule, consistent with the        period shorter than 30 months where
satisfy this criterion may be unduly high    case-by-case nature of these parole           appropriate. DHS also notes that
for many start-ups, even those with          determinations. DHS, therefore, has not       although USCIS would designate an
demonstrated substantial potential for       adopted the commenter’s suggestions.          appropriate initial parole period upon
rapid growth and job creation. DHS                                                         approval of the Application for
                                             5. Authorized Periods of Parole
believes that the creation of 5 qualifying                                                 Entrepreneur Parole, CBP would retain
jobs during the initial period of parole        Comment: Several commenters                its authority to deny parole to an
is sufficient to determine that the start-   discussed the initial 2-year parole           applicant or to modify the length of
up entity continues to have substantial      period at 8 CFR 212.19(d)(2). Most            parole authorized by USCIS upon
potential for rapid growth and job           commenters argued that the 2-year             issuing parole at the port of entry,
creation, particularly in light of the       period was unduly short, as start-ups         consistent with CBP’s discretion with
substantial capital investment,              with significant potential for rapid
                                                                                           respect to any advance authorization of
government funding, or other reliable        growth and job creation may require
                                                                                           parole by USCIS.
and compelling evidence that supported       more time to meet re-parole eligibility
the initial parole determination. In each    requirements. Some commenters                    26 Estimates based on the Census Bureau Business

case, DHS must be persuaded that re-         suggested having a 3-year initial period      Dynamics Statistics suggest that on average 55
parole is justified by significant public    of parole and a 2-year period of re-          percent of new firms survived after 3 years, but 80
benefit and that the person seeking re-      parole. Other commenters suggested a          percent of the firms that survived 3 years also made
parole merits a favorable exercise of        range for initial parole from 3 to 5 years.   it through 5 years. Dane Stangler and Jared Konczal
                                             A number of comments discussed the            ‘‘Give me your entrepreneurs, your innovators:
discretion. As discussed elsewhere in                                                      Estimating the Employment Impact of a Startup
this preamble, DHS has also extended         overall duration of the parole periods,       Visa’’, Ewing Marion Kauffman Foundation (Feb.
the initial period of parole from 2 years    the majority of which advocated for           2013), available at http://www.kauffman.org/a/
to 30 months, in order to allow              longer periods ranging from 6 to 10           media/kauffmanBorg/
additional time for start-up entities to     years in total. Some of these                 research%2Oreports%20and%20covers/2013/02/
grow, obtain additional substantial          commenters based the need for an              startupBvisaBimpactBfinal.pdf; ‘‘CrunchBase
                                             extended parole period on the typical         Reveals: The Average Successful Startup Raises
funding, generate substantial revenue,                                                     $41M, Exits at $242.9M,’’ Techcrunch.com (Dec. 14,
or create jobs. See 8 CFR                    duration of the start-up growth path          2013), available at http://techcrunch.com/2013/12/
212.19(c)(2)(iii).                           from seed funding to venture capital          14/crunchbase-reveals-the-average-successful-
                                             financing to exit (through an initial         startup-raises-41m-exits-at-242-9m/; see also
d. Re-Parole Alternative Criteria            public offering or a merger or                TruBridge Capitol Partners, Why the ‘Next Billion
   Comment: One commenter suggested          acquisition).                                 Dollar Startup’ Is not Always the Next IPO, Forbes,
                                                Response: Based on the comments            Apr. 15, 2015, available at http://www.forbes.com/
that DHS should consider taxes paid by                                                     sites/truebridge/2015/04/15/why-next-billion-
a start-up entity as a criterion for re-     received, DHS is changing the                 dollar-startup-not-always-next-ipo/ (‘‘From 2001–
parole, leaving the task to DHS to define    maximum periods for initial parole and        2004, the average age of a company at its public exit
the threshold of the amount and type of      re-parole to 30 months (2.5 years) each,      was 5.4 years. . . . From 2009–2012, the average
taxes paid.                                  for a total maximum parole period             age was 7.9.’’).


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6. Limitation on Number of                              parole will provide a significant public             above the poverty guidelines. Lastly,
Entrepreneurs                                           benefit.                                             one commenter said the ‘‘significant
                                                           The limitation, moreover, will help               public benefit’’ determination should
   Comment: Several commenters                          strengthen the integrity of the                      not just be applied to entrepreneurs who
addressed 8 CFR 212.19(f) in the                        international entrepreneur parole                    meet a particular income or wealth
proposed rule, which states that no                     process in various ways. Among other                 criterion, but should be liberally applied
more than three entrepreneurs may be                    things, limiting the number of                       to all entrepreneurs who are seeking to
granted parole based on the same start-                 individuals who may be granted parole                build and grow a business.
up entity. Most commenters on this                      under this rule in connection with the                  Response: DHS appreciates the
provision recommended that DHS                          same start-up entity will provide an                 concerns raised by these commenters,
increase the number of entrepreneurs,                   additional safeguard against an entity               but declines to adopt the commenter’s
with suggestions to increase the                        being used as a means to fraudulently                suggestion to eliminate or alter the
maximum number to 4 or 5. Several                       allow individuals to come to the United              income-related condition on parole.
other commenters, including a trade                     States. Such a limit diminishes, for                 Establishing this income-related
association and a professional                          example, the incentive to dilute equity              condition on parole is consistent with
association, supported the proposed                     in the start-up entity as a means to                 the Secretary’s discretionary authority
rule’s limit of 3 entrepreneurs obtaining               apply for parole for individuals who are             to grant parole ‘‘under conditions as he
parole under this rule based on the same                not bona fide entrepreneurs. Finally,                may prescribe.’’ INA section
start-up entity. An individual                          DHS clarifies that the rule does not                 212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A). As
commenter stated that DHS should                        require that additional entrepreneurs,               stated in the NPRM, DHS established
allow for additional entrepreneurs to                   up to 3 entrepreneurs per start-up                   this income threshold to ensure that
qualify for parole based on the same                    entity, apply for parole based on the                applicants seeking parole under this
start-up entity, not only at the time of                same start-up entity at the same time.               rule will have sufficient personal
application but also at a later date,                   7. Income-Related Conditions on Parole               economic stability to make significant
asserting that it is very common for                                                                         economic and related contributions to
                                                           Comment: Several commenters                       the United States. Those policy goals
technology companies to introduce
                                                        discussed the proposed rule’s provision              remain valid and are appropriate in
multiple co-owners over time that are
                                                        requiring that entrepreneurs paroled                 guiding the decision to retain the
key personnel vital to the operations of
                                                        into the United States must maintain a               requirement that the household income
the start-up entity.                                    household income that is greater than                of an entrepreneur requesting parole
   Response: DHS appreciates the                        400 percent of the Federal poverty line              under this rule be greater than 400
comments regarding this limitation and                  for their household size, as defined by              percent of the Federal poverty line.
recognizes that some start-ups may                      the Department of Health and Human                      Under this rule, DHS will take steps
initially have more than 3 founders or                  Services. Many of these commenters                   to ensure that each grant of parole will
owners. After reviewing all comments,                   discussed the financial difficulties faced           provide a positive net benefit to the
DHS declines to increase the number of                  by start-ups and argued that the income              economy of the United States,
entrepreneurs permitted to request                      requirements were unduly high or                     consistent with the statutory framework
parole related to the same start-up                     suggested other alternatives. The                    authorizing parole only for significant
entity, and will retain the current limit               majority of commenters on this issue                 public benefit absent urgent
of no more than 3 eligible entrepreneur                 stated that entrepreneurs in start-up                humanitarian issues. In addition to
applicants per start-up entity. See final               endeavors typically do not take a salary             considering all the other positive
8 CFR 212.19(f). As an initial matter,                  or take a minimal salary in the early                evidence—from job creation to
DHS believes it would be difficult for a                years. Several commenters                            investment to growth—DHS includes
larger number of entrepreneurs                          recommended lowering this income                     the income threshold as an additional
associated with the same start-up entity                threshold, with many suggesting                      safeguard that the entrepreneur and his
to each meet the eligibility criteria and               lowering it to 100 percent, while others             or her family will not be eligible to draw
comply with the conditions on parole                    suggested alternatives of 125 percent,               upon Federal public benefits or
while ultimately developing a                           200 percent, or 250 percent of the                   premium tax credits under the Health
successful business in the United States.               Federal poverty level. An individual                 Insurance Marketplace of the Affordable
A higher number of entrepreneurs                        commenter recommended that DHS                       Care Act. Furthermore, Secretary
associated with the same start-up entity                institute a minimum yearly income                    Johnson indicated in his memorandum
may affect the start-up’s ability to grow               requirement of $80,000, while another                titled ‘‘Policies Supporting U.S. High-
and succeed, and may even result in the                 individual commenter stated that DHS                 Skilled Business and Workers’’ that
startup’s failure, thus preventing the                  should adopt a more nuanced approach                 such thresholds would be created so
goals of the parole process under this                  that takes into account factors like                 that individuals would not be eligible
rule from being realized.27 Imposing a                  standard of living, unemployment rates,              for these public benefits or premium tax
limit on the number of entrepreneurs                    and economic growth by state. Other                  credits in light of the purpose of the
who may be granted parole based on the                  commenters recommended that DHS                      policy.29
same start-up entity is thus consistent                 allow for other types of compensation,                  DHS emphasizes that the funding
with ensuring that each entrepreneur’s                  in the form of benefits or rewards, in               amounts received by a start-up entity
                                                        addition to salary to satisfy the income-            from governmental sources or from
  27 Max Marmer, Bjoern Lasse Herrmann, Ertan           related conditions on parole. Another
Dogrultan, Ron Berman, Startup Genome Report            individual commenter stated that DHS                 show that they have adequate means of financial
Extra on Premature Scaling, Startup Genome              should use the income threshold                      support and are not likely to rely on the U.S.
Report: Premature scaling v 1.2 (Mar. 2012 ed.)                                                              government for financial support.
                                                        already established by the Affidavit of                29 Memorandum from Jeh Johnson, DHS
(explaining that ‘‘hiring too many people too early’’
in a start-up’s development is one of several reasons   Support,28 which is set at 125 percent               Secretary, Policies Supporting U.S. High-Skilled
that most start-ups fail), available at https://                                                             Business and Workers 4 (Nov. 20, 2014), at https://
s3.amazonaws.com/startupcompass-public/                   28 Affidavits of Support, filed using Form I–134   www.dhs.gov/sites/default/files/publications/14B
StartupGenomeReport2BWhyBStartupsBFailBv2.pdf.          or I–864, are required for certain immigrants to     1120BmemoBbusinessBactions.pdf.


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qualified investors in order to meet the        understands that start-ups may have          appear burdensome to the entrepreneur,
rule’s eligibility thresholds are distinct      frequent ownership changes over the          DHS believes that a new filing is
from the possible sources of salary             course of successive funding rounds,         necessary in order to re-evaluate the
payments to the individual                      and thus has revised the definition of       entrepreneur’s eligibility when such
entrepreneur. Nothing in this rule              ‘‘material change’’ regarding ownership      material changes occur. Material
prevents a start-up entity from raising         changes to cover only those that are         changes, by their definition, may affect
higher funding levels than the minimum          ‘‘significant’’ in nature. Clarifying the    the entrepreneur’s ability to
parole eligibility thresholds, and from a       scope of the material change definition      demonstrate that the start-up entity has
wider set of funders than those in the          also limits the reporting requirement,       potential for rapid growth and job
rule’s definitions of qualified investors       which should help reduce the                 creation, and whether the entrepreneur
and government entities. DHS intends            anticipated burden on entrepreneurs.         will continue to provide a significant
for the eligibility criteria for parole to be   DHS also emphasizes that the rule            public benefit to the United States.
useful independent validation tools for         requires notification of pending actions     Therefore, at present, the entrepreneur
assessing the significant growth and job        only in the context of a criminal case or    must file a new application to allow
creation potential of the start-up entity.      other action brought by a government         DHS the opportunity to determine the
While there is certainly validity to the        entity, while actions brought by private     entrepreneur’s continued eligibility for
arguments made by some of the                   individuals or entities are not              parole. Given that this is a new and
commenters that many entrepreneurs do           considered ‘‘material changes’’ until a      complex process, DHS has decided to
not take large salaries, choosing instead       settlement, judgment, or other final         take an incremental approach and will
to re-invest available funds back into the      determination is reached. DHS does not       consider potential modifications in the
start-up entity or to take other forms of       believe that the material change             future after it has assessed the
non-cash compensation, DHS must                 reporting requirement under this rule        implementation of the rule and its
establish criteria that protect the overall     will impact an individual’s due process      impact on operational resources.
policy goals of this rule in accordance         or would otherwise be unfair. DHS            9. Other Comments on Parole Criteria
with the requirements of the INA. The           believes, however, that it is important      and Conditions
income-related requirements offer a             for an entrepreneur granted parole
clear and predictable mechanism for             under this rule to immediately inform           Comment: Several comments
DHS to have a strong measure of                 USCIS if certain actions are brought         expressed concern that the rule did not
confidence that the entrepreneur and            against the entrepreneur or his or her       require that the entrepreneur receive
his or her family, while paroled into the       start-up entity.                             prevailing wages for their work, with
United States under this rule, will be             Comment: One commenter                    some commenters expressing concern
net positive contributors to the                recommended that the process of              that the only wage requirements relate
American economy.                               addressing material changes would be         to the Federal Poverty Level.
                                                improved if DHS were to implement a             Response: DHS appreciates
8. Reporting of Material Changes                policy similar to the ‘‘deference’’ policy   commenters’ concerns regarding
   Comment: Several commenters                  it applies in the EB–5 investor program.     prevailing wages. Unlike some
discussed the proposed requirement              Such a policy provides that DHS will         employment-based visa classifications,
that entrepreneurs report any material          defer to prior determinations regarding      however, the intention of this parole
changes during a parole period to DHS           certain documentary evidence used to         process is not to address labor shortages
by submitting a new application for             establishing program eligibility             in the United States. Rather, it is to
parole. Most commenters argued that             requirements absent fraud,                   encourage international entrepreneurs
such a requirement would be onerous             misrepresentation, a mistake of law or       to create and develop start-up entities
given the constantly changing nature of         fact, or a material change.                  with high growth potential in the
start-ups. A law firm argued that                  Response: As discussed above, DHS         United States. DHS believes that
requiring entrepreneurs to report and           decided to narrow and clarify the            requiring the parolee to maintain a
reapply when there are pending actions          definition of ‘‘material change’’ in order   household income of greater than 400
against the start-up entity or                  to address commenters’ concerns about        percent of the Federal Poverty Level
entrepreneur would be unfair, as both           reporting burdens. In the absence of         adequately ensures that he or she will
are entitled to due process, and                specific suggestions, DHS could not          have sufficient personal economic
suggested a reporting requirement only          ascertain from this comment what             stability to provide a significant public
if an adverse judgment were issued. An          aspect of the EB–5 deference policy          benefit to the United States through
individual commenter stressed that a            could be applied under this rule. DHS        entrepreneurial activities.
$1,200 fee to report every material             believes it is important for this rule to       Comment: One commenter
change would create a major financial           provide mechanisms, including the            recommended that DHS should not
burden for entrepreneurs.                       requirement to report material changes,      require an applicant’s start-up entity to
   Response: DHS recognizes that the            to ensure that parole continues to be        receive investment prior to the initial
nature of start-up entities involves            justified by significant public benefit in   application for parole; that DHS should
constant change. DHS also appreciates           each particular case.                        recognize cash infusions during the
the concerns regarding the                         Comment: A joint submission from a        growth period of a start-up entity as
administrative and financial burden             professional association and a non-          eligibility criteria for re-parole; and that
placed on entrepreneurs by additional           profit organization stated that, where a     at the end of the initial parole period,
filings. DHS believes, however, that the        material change filing is mandated by        if the venture is deemed successful, no
revised definition of material change in        the rule, the entrepreneur should only       additional funding milestones should be
the final rule will help to clarify the         be required to file an update with           required for re-parole eligibility.
situations in which the entrepreneur            USCIS, instead of being required to re-         Response: DHS appreciates the
must notify the agency of material              file an entire parole or re-parole           comment but declines to revise the rule
changes, and thus limit the                     application.                                 as suggested. DHS believes that the
administrative and financial burdens on            Response: As explained above, while       alternative criteria provided in this rule
the entrepreneur. Specifically, DHS             DHS appreciates that a new filing may        to determine if the start-up entity has

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substantial potential for rapid growth        parole for entrepreneurs who are no           in the entrepreneur’s own employment
and job creation provide sufficient           longer actively working in a central role     authorization. Such delays could create
flexibility for those entrepreneurs who       with the start-up entity that served as       difficulties for the entrepreneur’s
may have received amounts of qualified        the basis for the initial parole              operation of the start-up entity, as he or
investments or government funding that        application. The individual’s activity        she would be prohibited from working
are less than those required to satisfy       through a new start-up entity, however,       until work authorization was approved,
the general criteria for parole               could serve as a basis for a new grant        and would frustrate the very purpose for
consideration under this rule. The            of parole if all requirements for such        paroling the entrepreneur into the
determination that the entity has             parole are met.                               United States. As an entrepreneur’s
substantial potential for rapid growth           Comment: One commenter suggested           spouse would not be coming for the
and job creation will be made based on        that DHS should utilize the same              same kind of specific employment
the evidence in the record at the time        methodology for granting parole for           purpose, DHS does not believe there is
the parole application is adjudicated,        entrepreneurs as defined in a proposed        a similar need to provide him or her
rather than the possibility that the entity   nonimmigrant visa classification in a         work authorization incident to parole.
may receive cash infusions at some            Senate bill, S. 744, 113 Cong. section        Instead, this rule adds a new provision
point in the future. If cash infusions        4801(2013).                                   making the spouse of an entrepreneur
from various sources are received by the         Response: DHS appreciates the              parolee eligible to seek employment
start-up entity during the period of          comment but declines to adopt the             authorization. See final 8 CFR
initial parole, evidence of such cash         commenter’s suggestion. Under this            274a.12(c)(34). Based on this provision
infusions may be taken into                   rule, DHS has identified a process for        and 8 CFR 274a.13(a), an entrepreneur’s
consideration if the entrepreneur             implementing the Secretary’s existing         spouse seeking employment
applies for re-parole. DHS, however,          statutory authority to grant parole           authorization under this rule would
does not believe that cash infusions into     consistent with section 212(d)(5) of the      need to file an Application for
the start-up entity during the initial        INA. DHS does not believe it is               Employment Authorization (Form I–
parole period will independently suffice      advisable to import in this rule the          765) with USCIS in accordance with the
to establish that the entity continues to     standards from unenacted legislation          relevant form instructions.
have the significant potential for rapid      focused on nonimmigrant visas rather             Comment: One commenter expressed
growth and job creation. Infusions of         than discretionary grants of parole.          concern that the proposed employment
cash, as a general matter, do not have                                                      authorization provision is too narrow in
the same validating qualities as do           G. Employment Authorization                   scope. The commenter stated that DHS
evidence of additional investment from        1. Automatic Employment                       should clarify that employment with an
qualifying investors, grants or awards        Authorization Upon Parole                     entity that is under common control as
from qualifying government entities,                                                        the start-up entity, such as a subsidiary
significant revenue growth, or job               Comment: One commenter suggested           or affiliate, would be permissible.
creation.                                     that if employment authorization were            Response: Under the final rule, the
   Comment: One commenter asserted            deemed incident to parole, rather than        entrepreneur parolee’s employment
that entrepreneurs who have left their        through a follow-up application, then         authorization is limited to the specific
start-up entity should not have their         the regulations governing employment          start-up entity listed on the Application
parole status immediately revoked. The        verification would need to be amended         for Entrepreneur Parole, Form I–941.
commenter suggested that DHS issue            to permit employment by the parolee           This limitation helps ensure that the
guidance and options for entrepreneurs        and spouse without an EAD.                    entrepreneur’s work is consistent with
who leave their start-up entity but have         Response: DHS agrees that the              the purposes for which parole was
contributed to the significant public         employment verification provisions of         granted, especially since parole
benefit of the United States. A similar       the regulations should be appropriately       applications will be evaluated based in
comment recommended that                      revised. In this final rule, and as           part on the activities and performance of
individuals be able to remain in the          proposed, DHS is revising the                 that particular start-up entity. DHS
United States under parole and qualify        employment eligibility verification           appreciates that there are certain
for re-parole if a second start-up meets      regulations by expanding the foreign          circumstances in which some flexibility
the requirements of the rule. Another         passport and Form I–94 document               could further the purpose of
related comment argued that                   combination described at 8 CFR                encouraging entrepreneurship,
entrepreneurs whose start-up entities         274a.2(b)(1)(v)(A)(5) to include Forms I–     innovation, economic growth, and job
fail should be given a second chance, in      94A containing an endorsement that an         creation in the United States. Given that
order to account for the dynamism and         individual is authorized to work              this is a new process however, DHS has
uncertainty inherent in new businesses.       incident to parole. This document             decided to take an incremental
   Response: DHS appreciates the              combination was previously acceptable         approach and will consider potential
comments but declines to adopt the            only for certain nonimmigrants                modifications in the future after
commenters’ suggestions. As a matter of       authorized to work for a specific             assessing the implementation of the
statutory authority, once, in the opinion     employer incident to status pursuant to       rule.
of DHS, the purpose of parole has been        8 CFR 274a.12(b), which the final rule           Comment: One commenter stated that
served, parole should be terminated. See      amends to include those paroled into          difficulties obtaining a work visa have
INA section 212(d)(5)(A), 8 U.S.C.            the United States as entrepreneurs            caused many entrepreneurs to move out
1182(d)(5)(A). DHS emphasizes that the        under this rule. See final 8 CFR              of the United States.
purpose of granting parole under this         274a.12(b)(37).                                  Response: DHS agrees with the
rule is to allow an entrepreneur to grow         However, in this final rule, and as        commenter’s statement. While this rule
a start-up entity in the United States        proposed, only the entrepreneur parolee       does not address all of the difficulties
with substantial potential for rapid          is accorded employment authorization          that entrepreneurs may face, or make
growth and job creation, by working in        incident to his or her parole. See final      legislative changes that only Congress
an active and central role for the entity.    8 CFR 274a.12(b). Given the basis for         can make, DHS believes it will
Accordingly, DHS will not continue            parole, it is essential to limit any delays   encourage international entrepreneurs

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to develop and grow their start-up           employment from a broader range of           who have already been admitted to the
entities—and provide the benefits of         employers can further the central            United States are ineligible to be
such growth—in the United States.            purpose of the rulemaking—                   considered for parole inside the United
Entrepreneurs paroled into the United        encouraging international entrepreneurs      States because only applicants for
States under this rule will be authorized    to develop and grow their start-up           admission are eligible to be considered
to work for the start-up entity for the      entities within the United States and        for parole. See INA section 212(d)(5)(A),
duration of the parole (and any re-          provide the benefits of such growth to       8 U.S.C. 1182(d)(5)(A); see also INA
parole) period.                              the United States. It may also encourage     section 235(a)(1), 8 U.S.C. 1225(a)(1)
                                             entrepreneurs to create more jobs            (describing ‘‘applicants for admission’’).
2. Spousal Employment
                                             outside the family through the start-up      Individuals who have been admitted in
   Comment: Several commenters,              entity, furthering the benefits provided     a nonimmigrant classification, and are
including a business incubator, asserted     to others in the United States. DHS          currently in the United States pursuant
that spouses should be granted               therefore declines to revise the rule as     to that admission, may not be paroled,
employment authorization and argued          suggested.                                   even if they have overstayed their
that spouse employment authorization                                                      admission, unless they first depart the
will entice more entrepreneurs to come       H. Comments on the Parole Process            United States.
to the United States. Several other          1. Ability of Individuals To Qualify for        DHS appreciates that international
commenters stated that, in order to          Parole Under This Rule                       entrepreneurs may face many challenges
attract the best entrepreneurial talent,                                                  in starting and growing a business in the
spouses of entrepreneur parolees should         Comment: Two individual                   United States, including attracting
automatically receive work                   commenters asked what kind of                investment capital or government grants
authorization incident to status without     immigration status or visa an                or awards. DHS disagrees with the
the need to apply separately.                international entrepreneur should            premise, however, that qualifying
   Response: DHS agrees with                 maintain in order to be eligible to apply    investors will be very reluctant to make
commenters that extending employment         for parole under this rule. The              a qualifying investment in a start-up
authorization to spouses of entrepreneur     commenters expressed concern about           entity that is wholly or partially owned
parolees is important to help attract        the types of activities that would need      by an individual that will be seeking a
entrepreneurs to establish and grow          to be conducted in the United States         grant of parole under this rule. DHS
start-up entities in the United States.      prior to a parole application in order to    believes that there are a myriad of
For reasons provided above, however,         establish a business, obtain funds from      factors that go into a decision to invest
DHS disagrees that these spouses must        investors, and otherwise qualify for the     significant funds in a start-up entity.
be provided with employment                  parole under this rule. These                While the underlying immigration
authorization incident to their parole.      commenters also expressed concern            status, or lack thereof, of the start-up
Instead, these spouses may seek              about requiring prior investment as a        entity’s owner(s) may be a factor
employment authorization under 8 CFR         condition for parole, and that investors     presenting a degree of additional risk,
274a.12(c)(34).                              would be hesitant to make such an            DHS believes that this rule will
   Comment: A few commenters stated          investment in a start-up entity if the       effectively mitigate some of that risk by
opposition to permitting employment          entrepreneur lacked an immigrant or          providing a known framework under
authorization for the spouses of             nonimmigrant visa. A professional            which certain significant public benefit
international entrepreneurs.                 association stated that, since parole does   parole requests will be reviewed and
   Response: DHS disagrees with the          not constitute formal admission to the       adjudicated. This final rule provides
commenters’ opposition to allowing an        United States, it will likely be very        investors and entrepreneurs with greater
entrepreneur’s spouse to apply for           difficult for international entrepreneurs    transparency into the evaluation process
employment authorization. Permitting         without formal immigration status to         and manner in which such requests will
spouses to seek employment                   enter into long-term contracts, raise        be reviewed, so that those individuals
authorization is an important aspect of      significant investment capital, and          and entities can weigh the various risks
the rule’s intent to attract international   employ people.                               and benefits that might apply to the
entrepreneurs who may provide a                 Response: This final rule aims to         particular investment decision being
significant public benefit by growing        encourage international entrepreneurs        considered. Given that this is a new and
their start-up entities in the United        to create and develop start-up entities      complex process, DHS has decided to
States.                                      with high growth potential in the            take an incremental approach and will
   Comment: One commenter objected to        United States, which are in turn             consider potential modifications in the
spousal employment authorization             expected to facilitate research and          future after assessing the
unless it is restricted to the same new      development in the country, create jobs      implementation of the rule.
high-potential start-up entity that served   for U.S. workers, and otherwise benefit
                                                                                          2. Waiver for Entrepreneurs Presently
as the basis for the parole.                 the U.S. economy. Under this final rule,
                                                                                          Failing To Maintain Status
   Response: DHS disagrees with the          an international entrepreneur may
suggestion that spousal employment           request parole in accordance with the           Comment: An individual commenter
should be authorized only for                form instructions. The final rule            stated that international entrepreneurs
employment with the start-up entity          provides that individuals seeking initial    already in the United States should be
that served as the basis of parole for the   parole under this program must present       able to receive a waiver in order to
entrepreneur. Nothing in this rule           themselves at a U.S. port of entry to be     establish eligibility for parole under this
prevents people married to each other        paroled into the United States; there is     rule if they do not have a valid prior
from applying for parole associated with     no requirement that an international         immigration status. Another commenter
the same start-up entity. But DHS            entrepreneur currently be in the United      suggested that immigration status
believes that it is not appropriate or       States or maintain any prior                 violations, such as unauthorized
necessary to limit the employment of an      immigration status. DHS notes,               employment, should not be grounds for
entrepreneur’s spouse to that entity.        however, that under the statute              denying parole under this rule and, if
Making those spouses eligible to seek        governing parole authority, individuals      parole is granted, any prior

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unauthorized employment that was                          Response: DHS appreciates that some            in a nonimmigrant status will not be
used to meet the requirements for parole               entrepreneurs who are present in the              able to change status or otherwise be
should be disregarded for purposes of                  United States and who might otherwise             granted parole without first departing
any future immigration applications.                   qualify for parole under this program             the United States and appearing at a
   Response: As discussed above,                       may be unable to engage in certain                U.S. port of entry for inspection and
eligibility for parole under INA section               activities given the limitations placed           parole. Under this final rule, however,
212(d)(5), 8 U.S.C. 1182(d)(5), is not                 on their nonimmigrant status, making it           an individual present in the United
wholly dependent upon an individual’s                  difficult, for example, for them to raise         States in a nonimmigrant status may
current immigration status.                            significant capital for a start-up entity.        apply for and obtain an approval of the
Unauthorized employment or a prior                     DHS, however, disagrees with the                  Application for Entrepreneur Parole
status violation will not necessarily                  commenters’ assertion that individuals            (Form I–941). Filing and obtaining
preclude an individual from qualifying                 present in the United States in F–1               approval of a Form I–941 application
for parole under this rule. However, the               nonimmigrant status will be unable to             under this rule will not, by itself,
fact that an entrepreneur has worked                   meet the requirements for parole under            constitute a violation of the individual’s
without authorization, is out of status,               this program, such as starting a business         nonimmigrant status. After approval of
or not legally present in the United                   and raising significant investment,               the Form I–941 application, if the
States would be considered in                          without violating their F–1                       individual decides to rely upon parole
determining whether DHS should grant                   nonimmigrant status. For example, an              to actively grow his or her business in
parole under its discretionary authority.              individual in F–1 status who has                  the United States, the individual will
All requests for a discretionary grant of              obtained OPT employment                           need to appear at a U.S. port of entry for
parole are adjudicated on a case-by-case               authorization may start and work for his          a final parole determination to allow
basis and ultimately determined by                     or her own business in the United                 him or her to come into the United
evaluating all positive and negative                   States. The OPT employment, and thus              States as a parolee.
factors.                                               the business, must relate to the F–1                 This final rule already provides
   DHS will not adopt the commenter’s                  nonimmigrant’s program of study and               appropriate criteria under which all
suggestion to disregard, for purposes of               can occur either before (pre-completion           applications will be reviewed, including
any future immigration applications,                   OPT) or after the completion of a                 those submitted by any F–1
any prior unauthorized employment                      program of study (post-completion                 nonimmigrants. As indicated in this
that was used to meet the requirements                 OPT).31 Additional requirements apply             final rule, one basis on which an
for parole. DHS believes that such a                   to F–1 nonimmigrants who are                      individual may be considered for parole
provision would require a statutory                    otherwise eligible for a STEM OPT                 under this rule is if he or she has raised
change, as eligibility for certain benefits            extension, such as establishing that their
                                                                                                         at least $250,000 in investment capital
is barred by statute if the applicant                  STEM OPT employer will have a valid
                                                                                                         from a qualifying investor (and meets
previously worked without                              employer-employee relationship with
                                                                                                         certain other criteria). Individuals who
authorization.30                                       the F–1 OPT nonimmigrant, but those
                                                                                                         raise a substantial amount of capital
                                                       additional requirements do not pertain
3. Relationship Between Parole and                                                                       from a qualifying investor, but less than
                                                       to the initial 12-month OPT period, and
Various Nonimmigrant Visa                                                                                $250,000, may still qualify for and be
                                                       in any event do not present an absolute
Classifications                                        bar against entrepreneurial activities.           granted parole under other criteria
                                                       DHS believes that it is certainly realistic       identified in the rule—including the
a. Pathway for Current Nonimmigrants                                                                     receipt of a qualifying government grant
To Use Entrepreneur Parole                             that an F–1 nonimmigrant in the United
                                                       States can start a business during his or         or award or other reliable and
   Comment: Some commenters                            her OPT period, and during that time              compelling evidence of the start-up
expressed concern that it would be                     can take steps to obtain significant              entity’s substantial potential for rapid
challenging for foreign students, recent               investment in the start-up entity, which          growth and job creation.
graduates of U.S. universities, and other              the individual may then rely upon if              b. Switching Between Nonimmigrant
nonimmigrants presently in the United                  applying for parole under this rule. DHS          Status and Parole
States to meet this rule’s requirements                declines to adopt the commenters’
for parole consideration under the                     suggestion to include in this rule a                Comment: Several commenters raised
constraints of their current visas. These              blanket provision stating that potential          questions or provided suggestions
commenters said that the rule should                   applicants currently in the United States         regarding switching from a
allow these individuals a realistic and                in nonimmigrant status will not be                nonimmigrant status to parole, or from
clear pathway to easily utilize parole,                violating their existing status when              parole to a nonimmigrant status.
and should clarify that potential                      taking steps to establish eligibility for         Specifically, one commenter asked what
applicants currently in the United States              parole. Such changes would pertain to             her status would be if she were in the
in nonimmigrant status will not be                     the statutory and regulatory limitations          United States as an H–4 nonimmigrant,
violating their existing visa status when              placed on various nonimmigrant                    authorized to work pursuant to an EAD,
taking the necessary steps to establish                classifications and are outside the scope         but nevertheless pursued parole under
eligibility for significant public benefit             of this rule.                                     this rule. Another commenter suggested
parole. One commenter requested that                      DHS believes that this final rule              that DHS should include a provision in
students in F–1 nonimmigrant status                    provides a realistic and clear option for         this rule that expressly allows someone
and eligible to work on Curricular                     certain entrepreneurs to actively grow            to switch from nonimmigrant status to
Practical Training (CPT) or Optional                   their qualifying start-up entity in the           parole, and from parole to
Practical Training (OPT) should become                 United States. As discussed below,                nonimmigrant status, similar to DHS’s
eligible for parole under the rule if they             parole is not a nonimmigrant status, and          policy to terminate and restore the H–
founded a start-up and raised $100,000                 individuals present in the United States          1B or L–1 status of certain individuals
in capital.                                                                                              who have temporarily departed the
                                                         31 https://studyinthestates.dhs.gov/training-
                                                                                                         United States but came back using an
 30 See, e.g., INA section 245(c), 8 U.S.C. 1255(c).   opportunities-in-the-united-states.               advance parole document that was

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issued based on a pending Form I–485          entrepreneur than the parole rule, so        prohibit the individual from obtaining a
application for adjustment of status.         adjudicators should continue to approve      grant of parole under this rule.
   Response: DHS declines to adopt a          petitions in that spirit. The commenter         DHS recognizes that international
provision in this rule allowing               asserted that the unique requirements        travel can be essential for the success of
individuals to change between                 under the parole rule, such as a             some start-up entities. Under existing
nonimmigrant status and parole while          threshold investment amount, should          law, an individual’s authorized period
in the United States. An individual who       not be allowed to ‘‘bleed into and taint’’   of parole ends each time he or she
is present in the United States as a          the adjudicatory process for securing        departs the United States. See 8 CFR
nonimmigrant based on an inspection           employment-based visas traditionally         212.5(e)(1)(i). DHS may, however,
and admission is not eligible for parole      used by entrepreneurs.                       authorize advance parole before
without first departing the United States       Response: DHS appreciates the              departure and can specify that such
and appearing at a U.S. port of entry to      commenter’s suggestions, but the             authorization is valid for multiple uses.
be paroled into United States. See INA        suggested changes to the H–1B                An entrepreneur granted advance parole
section 212(d)(5)(A), 8 U.S.C.                regulations are outside the scope of this    would be able to leave the country,
1182(d)(5)(A). Moreover, an individual        rulemaking. DHS agrees with the              present himself or herself at a port of
who has been paroled into the United          commenter that parole under this             entry upon return, and request a
States cannot change to nonimmigrant          program is intended to complement,           subsequent grant of parole for the
status without leaving the United States,     and not supplant, other options that         remaining period of his or her initially
as INA section 248, 8 U.S.C. 1258, only       may already exist for entrepreneurs          granted parole period. At such time,
permits individuals who are                                                                DHS must then inspect the individual
                                              under other immigrant and
maintaining nonimmigrant status to                                                         and determine whether or not to grant
                                              nonimmigrant visa classifications. This
change to another nonimmigrant status.                                                     parole into the United States.33 If the
                                              rule does not alter existing rules or
If an individual who has been paroled                                                      individual is granted parole, he or she
                                              policies regarding the ability of
into the United States under this rule                                                     may only be paroled for up to the time
                                              entrepreneurs to qualify for any
has a petition for nonimmigrant                                                            initially granted. Any time spent outside
                                              immigrant or nonimmigrant status. This
classification approved on his or her                                                      the United States after the parole period
                                              rule does, however, provide an
behalf, he or she would have to leave                                                      is initiated will count against the total
the United States and pursue consular         additional avenue for entrepreneurs to
                                                                                           period of parole, so that the total time
processing of a nonimmigrant visa             consider when exploring options that
                                                                                           period of the parole period remains
application before seeking to return to       may be available to them to grow a start-
                                                                                           consistent with the date of initial parole
the United States.                            up entity in the United States.              granted by CBP.
c. Entrepreneur Pathways and                  4. Travel Document Issuance
                                                                                           5. Parole in Place
Entrepreneur Parole                             Comment: A commenter urged DHS to             Comment: Several commenters
   Comment: One commenter stated that         grant multiple-entry parole to foreign       requested that DHS allow parole-in-
the international entrepreneur parole         nationals so that they may travel            place under this rule. Some of these
rule should complement and not                internationally and return to the United     commenters stated that parole-in-place
supplant prior USCIS policy pertaining        States, as this is not explicit in the       should be added so that individuals
to entrepreneurs, including those             regulation. The commenter stated that        already in the United States in a
reflected on the USCIS Entrepreneur           this ability is essential to ensure that     nonimmigrant status, such as H–1B or
Pathways Web site.32 The commenter,           entrepreneurs can raise additional funds     F–1 nonimmigrant status, can apply for
while expressing concerns with aspects        and market innovations worldwide. In         and be granted parole under this rule
of existing policies pertaining to            addition, this commenter stated that         without having to depart the United
entrepreneurs and this rule, suggested        some foreign nationals may begin their       States. Several other commenters noted
that if an entrepreneur cannot qualify        businesses and seek entrepreneur parole      that DHS has the jurisdiction to allow
for parole under this rule, USCIS should      while in nonimmigrant status in the          parole-in-place for spouses or
encourage the entrepreneur to seek a          United States, such as in F–1 or H–1B        dependents, as they do for military
visa associated with his or her start-up      nonimmigrant status (and thus seek to        family members, and that this could be
entity under the existing immigrant or        depart the United States with advance        applied to the International
nonimmigrant visa system. Specifically,       parole and then request parole from CBP      Entrepreneur Rule. Some commenters
the commenter suggested that the final        upon their return to a U.S. port of          argued that the requirement to be out of
rule should expressly include an              entry). The commenter suggested that         the country to apply for parole under
amendment to the H–1B regulations to          the regulation clarify how these foreign     this rule puts an unnecessary financial
allow approval of an H–1B petition            nationals will be able to return to the      burden on applicants who are already
under the policies articulated on the         United States.                               residing in the United States.
Entrepreneur Pathways Web site, and             Response: DHS notes that individuals          Response: DHS appreciates, but
that USCIS adjudicators should see an         who have been admitted to the United         declines to adopt, the commenters’
express statement in the final rule that,     States, such as those in nonimmigrant        suggestions that parole-in-place be
notwithstanding the existence of this         status, are not eligible to be granted       allowed under this rule for individuals
rule, the H–1B visa remains available for     parole unless they first depart the          already in the United States in H–1B or
working owners of start-up entities. The      United States. DHS clarifies that any        F–1 nonimmigrant status. Only
commenter noted that the USCIS                immigration status violations by any         applicants for admission are eligible to
Entrepreneur Pathways Web site also           applicant for parole, including those
provides guidance for entrepreneurs to        related to their entrepreneurial efforts,       33 This process is not appropriately described as

use other existing nonimmigrant visa          will be taken into account as negative       ‘‘multiple-entry parole.’’ Parole does not constitute
classifications (e.g., L–1, O, and E visas)   factors in the case-by-case                  an admission to the United States, INA sections
                                                                                           101(a)(13)(B), 212(d)(5)(A), 8 U.S.C. 1101(a)(13)(B),
that could be more advantageous to the        determination of whether the applicant       1182(d)(5)(A); and parole terminates upon the
                                              merits an exercise of discretion to grant    individual’s departure from the United States, 8
 32 See https://www.uscis.gov/eir.
                                              parole, though they will not necessarily     CFR 212.5(e)(1)(i).


                                                                                                                            IER00069
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be considered for parole, thus               retention of priority dates in the            DHS has concluded that granting a right
precluding individuals who have              immigrant petition context. The rule          of appeal following a decision to deny
already been admitted from being             does not, however, establish a direct         entrepreneur parole would be
considered for parole inside the United      path to lawful permanent residence by         inconsistent with the discretionary
States. See INA section 212(d)(5)(A), 8      creating a new immigrant visa                 nature of the adjudication and contrary
U.S.C. 1182(d)(5)(A); see also INA           classification for international              to how DHS treats other parole
section 235(a)(1), 8 U.S.C. 1225(a)(1)       entrepreneurs, which could only be            decisions. The final rule also precludes
(describing ‘‘applicants for admission’’).   done by Congress.                             applicants from filing motions to reopen
Such individuals are not eligible for           As discussed in the NPRM, the              or for reconsideration under 8 CFR
parole, regardless of whether they have      entrepreneur and any dependents               103.5(a)(1). DHS retains its authority
overstayed their admission, unless they      granted parole under this program will        and discretion, however, to reopen or
first depart the United States.              be required to depart the United States       reconsider a decision on its own motion
                                             when their parole periods have expired        as proposed. See final 8 CFR
6. Comments on Options After 5-Year          or have otherwise been terminated,
Total Parole Period Ends                                                                   212.19(d)(4). Applicants may alert DHS,
                                             unless such individuals are otherwise         through existing customer service
   Comment: Many commenters                  eligible to lawfully remain in the United     channels, that they believe that a
provided views on the options available      States. Such individuals may apply for        decision to deny parole was issued in
to entrepreneurs who have exhausted          any immigrant or nonimmigrant                 error and include factual statements and
their up to 5 years of eligibility for       classification for which they may be          arguments supporting such claims.
parole under this rule. Some                 eligible (such as classification as an O–        Because the determination to grant or
commenters were concerned that the           1 nonimmigrant or lawful permanent            deny a request for parole is
rule does not provide a direct path to       residence through employer                    discretionary, the parole process in this
lawful permanent residence, which            sponsorship). Individuals who are             final rule may not be relied upon to
could limit the investment prospects for     granted parole under this rule may            create any right or benefit, substantive
start-up entities. Other commenters          ultimately be able to qualify for an EB–      or procedural, enforceable at law or by
were concerned that including such a         2 immigrant visa with a National              any individual or other party in removal
path could exacerbate current                Interest Waiver. If an entrepreneur is        proceedings, in litigation with the
immigrant visa backlogs and thus             approved for a nonimmigrant or                United States, or in any other form or
disadvantage those already in the queue      employment-based immigrant visa               manner. Parole determinations would
for immigrant visa numbers.                  classification, he or she would generally     continue to be discretionary, case-by-
   A number of commenters were more          be required to depart the United States       case determinations made by DHS, and
broadly concerned that the overall           and apply for a visa at a U.S. embassy        parole may be revoked or terminated at
uncertainty inherent in parole may           or consulate abroad. As noted above,
discourage entrepreneurs from using                                                        any time in accordance with the
                                             because parole is not considered an           termination provisions established by
this rule to start and grow their            admission to the United States, parolees
businesses in the United States. One                                                       this rule at 8 CFR 212.19(k). Parolees
                                             will be unable to apply to adjust or          under this final rule would assume sole
particular commenter expressed               change their status in the United States
concerns about an entrepreneur’s ability                                                   risk for any and all costs, expenses,
                                             under many immigrant or nonimmigrant          opportunity costs, and any other
to demonstrate nonimmigrant intent for       visa classifications. DHS does not
purposes of a visa that does not permit                                                    potential liability resulting from a
                                             believe that merely being granted parole
dual intent. Others wanted DHS to                                                          revocation or termination of parole. A
                                             under this rule would prevent an
consider entrepreneurs who have                                                            grant of parole would in no way create
                                             individual from demonstrating
completed a 5-year parole period, and                                                      any reliance or due process interest in
                                             nonimmigrant intent for purposes of
whose start-ups continue to demonstrate                                                    obtaining or maintaining parole or being
                                             obtaining a subsequent nonimmigrant
growth, as eligible for an EB–2                                                            able to remain in the United States to
                                             visa for entry into United States. DHS
immigrant visa with a National Interest                                                    continue to operate a start-up entity or
                                             believes that this rule presents sufficient
Waiver based upon the economic               clarity and predictability for many           for other reasons.
benefit to the United States. Other          individuals who want to establish and         J. Termination of Parole
commenters urged DHS to establish            grow their businesses in the United
prima facie eligibility for lawful                                                         1. Discretionary Authority To Revoke/
                                             States, and will contribute significantly
permanent residence based on 3 years of      to economic growth and job creation           Terminate Parole
parole under this rule. Still others         here. Such positive outcomes may be              Comments: One commenter expressed
wanted assurance that an individual          relevant in the event that entrepreneurs      concern that the basis for terminating
who is the beneficiary of an approved        granted parole under this rule later seek     parole is subjective, particularly with
immigrant petition would keep his or         to apply for an existing nonimmigrant or      respect to reporting material changes.
her priority date for purposes of            immigrant visa.                               This commenter suggested that USCIS
receiving lawful permanent residence if                                                    should limit such reporting to adverse
he or she were granted parole under this     I. Appeals and Motions To Reopen              judgments, since entrepreneurs and
rule.                                           Comment: Several commenters                start-up entities are entitled to due
   Response: DHS appreciates the wide        requested that applicants be allowed to       process. Other commenters requested
range of comments about immigration          file appeals or motions to reconsider         that USCIS adjudicators be specifically
options for entrepreneurs after the end      adverse parole decisions. A business          trained on entrepreneurship issues so
of their authorized period or periods of     association requested that submissions        that they can make the most informed
parole under this rule. Nothing in this      of motions to reopen or motions for           decisions regarding parole.
rule forecloses otherwise available          reconsideration result in uninterrupted          Response: USCIS is committed to
options for international entrepreneurs      employment authorization for the              providing sufficient training on
who are granted parole. DHS further          parolee.                                      entrepreneurship issues for those
notes that this rule does not impact            Response: DHS appreciates but              adjudicators who will be assigned to
existing rules and policies pertaining to    declines to adopt these suggestions.          adjudicating entrepreneur parole

                                                                                                                      IER00070
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requests. DHS does not believe that           entity; and a cessation of the               decision to terminate parole may not be
further revisions to the rule are             entrepreneur’s qualifying ownership          appealed, that USCIS will not consider
necessary to protect against possible         interest in the start-up entity or the       a motion to reopen or reconsider a
unfair or inconsistent determinations         entrepreneur’s central and active role in    decision to terminate parole, and, upon
among adjudicators. By statute, parole        the operations of that entity. See final 8   its own motion, USCIS may reopen or
decisions are discretionary and must be       CFR 212.19(a)(10).                           reconsider a decision to terminate. See
made on a case-by-case basis. This rule                                                    final 8 CFR 212.19(k)(4).
                                              2. Notice and Decision
establishes transparent parameters for
                                                 Comments: A couple of commenters          3. Other Comments on Application
termination of parole, including
                                              suggested that DHS provide notice and        Adjudication and Parole Termination
automatic termination and termination
on notice. Automatic termination              opportunity to respond before                   Comments: Multiple commenters
applies at the expiration of parole, or       terminating parole.                          suggested an expedited or premium
upon written notification to DHS from            Response: DHS agrees with the             processing option for entrepreneur
the entrepreneur parolee that he or she       commenters that providing the                parole applicants. Some of these
is no longer employed by the start-up         entrepreneur parolee with notice and an      commenters suggested a maximum 30-
entity or no longer possesses the             opportunity to respond prior to              day adjudication time period.
required qualifying ownership stake in        termination is reasonable in certain            Response: While DHS appreciates the
the start-up entity. See final 8 CFR          scenarios, such as when grounds for          concern for timely adjudications, at this
212.19(k)(2). Termination on notice           termination require an assessment of the     time DHS declines to include premium
with an opportunity for the                   underlying case by the adjudicator.          or expedited processing as part of the
entrepreneur to respond is authorized         However, where no such assessment is         final rule. DHS may consider the
by 8 CFR 212.19(k)(3). These bases for        required, DHS believes that automatic        possibility of premium processing or
termination are tied to objective facts       termination is appropriate. The NPRM         expedited processing after assessing
regarding eligibility for parole, thereby     provided for termination at DHS’s            implementation of the rule and an
placing all parolees on the same footing.     discretion, including automatic              average adjudication time for processing
                                              termination in limited circumstances         requests for parole under this rule has
   The commenter expressed particular         and termination on notice under a range
concern regarding terminations based                                                       been determined.
                                              of circumstances deemed appropriate by
on material changes. DHS believes that        DHS. This rule finalizes that proposal       K.Opposition to the Overall Rule
this concern is sufficiently addressed by     without change. See final 8 CFR                 Comment: Multiple commenters
the parameters set by this rule’s             212.19(k)(2) and (3). Under this rule,       expressed overall opposition to the rule,
definition of material change. Under          therefore, DHS will generally provide        stating that there is no reason to add an
this rule, material change means any          notice of termination and an                 additional parole process for highly
change in facts that could reasonably         opportunity to respond where it              trained and talented entrepreneurs
affect the outcome of the determination       believes that:                               when visa and residency pathways
whether the entrepreneur provides, or            (1) The facts or information contained    already exist, such as the O
continues to provide, a significant           in the request for parole were not true      nonimmigrant visa, EB–5 immigrant
public benefit to the United States. See      and accurate;                                visa, or EB–2 immigrant visa based on
final 8 CFR 212.19(a)(10). This rule             (2) The alien failed to timely file or    a National Interest Waiver. Other
provides further guidance by listing          otherwise comply with the material           commenters asserted that the United
several examples illustrating material        change reporting requirements in this        States needs to limit immigration, not
changes, including: Any criminal              section;                                     create more immigration programs.
charge, conviction, plea of no contest, or       (3) The entrepreneur parolee is no        Several individual commenters argued
other judicial determination in a             longer employed in a central and active      that the U.S. Government should reform
criminal case concerning the                  role by the start-up entity or ceases to     other visa programs, such as the H–1B
entrepreneur or start-up entity; any          possess the required ownership stake in      nonimmigrant classification, and
complaint, settlement, judgment, or           the start-up entity;                         address the current immigrant visa
other judicial or administrative                 (4) The alien otherwise violated the      backlog before creating more programs.
determination concerning the                  terms and conditions of parole; or
                                                                                           Several individual commenters asserted
entrepreneur or start-up entity in a legal       (5) Parole was erroneously granted.
                                                                                           that taxpayer money should be used on
or administrative proceeding brought by          Automatic termination will apply
                                                                                           domestic issues, such as reviving the
a government entity; any settlement,          upon the expiration of parole or if DHS
                                                                                           American economy, rebuilding
judgment, or other legal determination        receives written notice from the parolee
                                                                                           infrastructure, promoting national
concerning the entrepreneur or start-up       informing DHS that he or she is no
                                                                                           security, and supporting veterans, rather
entity in a legal proceeding brought by       longer employed by the start-up entity
                                                                                           than on administering a parole process
a private individual or organization          or no longer possesses the required
                                                                                           for international entrepreneurs.
other than proceedings primarily              qualifying ownership stake in the start-
                                                                                              Response: DHS disagrees with the
involving claims for damages not              up entity. DHS believes that these bases
exceeding 10 percent of the current           for automatic termination clearly            commenters’ assertions that sufficient
assets of the entrepreneur or start-up                                                     avenues for international entrepreneurs
                                              evidence that the entrepreneur no
                                                                                           already exist. DHS believes that this
entity; a sale or other disposition of all    longer qualifies for parole under this
                                                                                           final rule will, by further implementing
or substantially all of the start-up          rule; therefore, notice and opportunity
                                                                                           authority provided by Congress, reduce
entity’s assets; the liquidation,             to respond are unnecessary.
                                                                                           barriers standing in the way of
dissolution or cessation of operations of     Additionally, parole of the spouse or
                                                                                           innovation and entrepreneurial activity
the start-up entity; the voluntary or         child of the entrepreneur will be
                                                                                           that will benefit the U.S. economy.34
involuntary filing of a bankruptcy            automatically terminated without notice
petition by or against the start-up entity;   if the parole of the entrepreneur has          34 Nina Roberts, For foreign tech entrepreneurs,

a significant change with respect to          been terminated. This rule also finalizes    getting a visa to work in the U.S. is a struggle, The
ownership and control of the start-up         the provision indicating that the                                                          Continued



                                                                                                                             IER00071
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This final rule provides an avenue for                 suggested providing tax incentives to         review is necessary. DHS intends to
innovative entrepreneurs to pursue their               established U.S. corporations that            review all aspects of this parole rule and
entrepreneurial endeavors in the United                would agree to mentor immigrant               process subsequent to its
States and contribute to the U.S.                      entrepreneurs, or establishing a system       implementation and consistent with the
economy. In the absence of this rule,                  of compensation for certain senior            direction of Executive Order 13563.
these innovative entrepreneurs might be                citizens in the United States to mentor       Given that this is a new and complex
delayed or discouraged altogether in                   immigrant entrepreneurs. Other                process, DHS will consider potential
contributing innovation, job creation,                 commenters recommended balancing              modifications in the future after
and other benefits to the United States.               parole for entrepreneurs with refugee         assessing the implementation of the rule
  DHS also disagrees with the                          admissions.                                   and its impact on operational resources.
commenters’ assertions that reforms                       Response: DHS thanks commenters               Comment: One commenter said these
should be made to the H–1B                             for these suggestions but declines to         rules should serve as a guide, but that
nonimmigrant classification and that the               make changes to the rule as these             companies and entrepreneurs should be
immigrant visa backlog should be                       comments are outside the scope of this        analyzed on case-by-case basis.
addressed before this rule is finalized.               rulemaking.                                      Response: DHS may grant parole on a
Parole is an entirely separate option                     Comment: A joint submission from an        case-by-case basis under this rule if the
within the Secretary’s authority to allow              advocacy group and professional               Department determines, based on the
individuals to come to the United States               association recommended that DHS              totality of the evidence, that an
on a case-by-case basis for urgent                     consider parole for individuals who           applicant’s presence in the United
humanitarian reasons or significant                    work in social services fields that do not    States will provide a significant public
public benefit. While DHS appreciates                  command a high income or who might            benefit and that he or she otherwise
the commenters’ sentiment that changes                 otherwise perform work in the national        merits a favorable exercise of discretion.
should be made in other contexts, the                  interest.                                        Comment: An individual commenter
exact changes contemplated by the                         Response: This final rule is aimed at      suggested that DHS should, as part of its
commenters are unclear, are outside the                international entrepreneurs who will          assessment of parole applications under
scope of this rulemaking, or would                     provide a significant public benefit to       this rule, evaluate the performance of
require congressional action.                          the United States—which could include         applicants’ prior start-ups in their home
  DHS also disagrees with the assertion                entrepreneurs whose startup entities          countries.
that taxpayer funds will be misallocated               operate in the field of social services, so      Response: DHS agrees with the
to process applications for parole under               long as they meet the criteria for parole     commenter and believes that the
this final rule. Applicants for parole                 in this final rule. Furthermore, this rule    performance of applicants’ prior start-
under this rule will be required to                    does not limit the Secretary’s broader        ups in their home countries is the type
submit a filing fee to fully cover the cost            authority to grant parole to other            of evidence already contemplated by the
of processing of applications.                         applicants for admission on a case-by-        final rule both under the alternative
                                                       case basis for urgent humanitarian            criteria provisions and as part of the
L. Miscellaneous Comments on the Rule
                                                       reasons or significant public benefit.        determination as to whether an
1. Additional Suggested Changes to the                                                               applicant merits a favorable exercise of
Rule                                                   2. Information/Guidance                       discretion. The alternative criteria allow
   Comments: A number of commenters                       Comment: One commenter                     an applicant who partially meets one or
suggested additional changes to the final              recommended that DHS make parole              more of the general criteria related to
rule that are beyond the scope of this                 data from the program publicly                capital investment or government
rulemaking. These comments proposed                    available.                                    funding to be considered for initial
changes to the regulations governing                      Response: While DHS did not propose        parole under this rule if he or she
certain nonimmigrant programs,                         to disclose parole data related to this       provides additional reliable and
namely: Employment of F–1                              rule, DHS appreciates the commenter’s         compelling evidence that his or her
nonimmigrant students through                          suggestion, and may consider making           parole would provide a significant
Optional Practical Training (OPT);                     such data publicly available after this       public benefit to the United States. Such
annual H–1B numerical limitations;                     rule is implemented.                          evidence would need to serve as a
‘‘period of stay’’ duration for L–1                       Comment: Other commenters                  compelling validation of the entity’s
nonimmigrants starting a new office in                 suggested that DHS provide additional         substantial potential for rapid growth
the United States; and merging                         guidance to those granted parole under        and job creation. DHS is not defining
significant public benefit parole with                 this rule and to provide resources for        the specific types of evidence that may
the O–1 visa program. A commenter                      small start-ups interested in applying        be deemed ‘‘reliable and compelling’’ at
suggested providing Employment                         for the rule.                                 this time, as DHS seeks to retain
Authorization Documents or lawful                         Response: DHS will evaluate whether        flexibility as to the kinds of supporting
permanent resident status to individuals               to provide additional guidance                evidence that may warrant DHS’s
who obtained their Master’s degrees in                 following publication of this final rule      exercise of discretion in granting parole
the United States. Other commenters                    and an assessment of its                      based on significant public benefit.
                                                       implementation.                               3. Comments Regarding the E–2
Guardian, Sept. 14, 2014, available at http://            Comment: One commenter suggested           Nonimmigrant Classification
www.theguardian.com/business/2014/sep/14/              that DHS add a provision to the rule for
foreign-tech-entrepreneurs-visa-us-struggle; Amy                                                        Comment: Several commenters
Grenier, Majority of U.S. Patents Granted to Foreign
                                                       retrospective review, in order to analyze
Individuals, April 11, 2014, available at http://      the effects of the rule’s implementation.     submitted comments regarding the E–2
immigrationimpact.com/2014/04/11/majority-of-u-           Response: DHS agrees with the              nonimmigrant classification. The
s-patents-granted-to-foreign-individuals/ (‘‘Because   commenter’s suggestion that the effects       majority supported the inclusion of E–
of the limitations of the H–1B visa program, and the                                                 2 businesses into the parole process
lack of a dedicated immigrant visa for entrepreneurs   of the rule, after its implementation,
or innovators, foreign inventors struggle with         should be reviewed; however, DHS does         under this rule. Several companies and
inadequate visa options that often prevent them        not believe adding a provision to the         an individual commenter further
from obtaining permanent residency.’’).
                                                       final regulatory text requiring such          recommended that the rule should

                                                                                                                               IER00072
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accommodate E–2 businesses already in                 consistent with the Secretary’s parole        requirements based on ownership
the United States.                                    authority, to allow entrepreneurs to          interest, type of investor, and amount of
   Response: The final rule lays out                  build and grow their businesses in the        money invested. The commenter
specific criteria for determining the kind            United States, providing significant          asserted that international entrepreneurs
of start-up enterprise that has                       public benefit here.                          that engage with campus-based
substantial potential for job growth and                                                            incubators cannot meet these
                                                      4. Usefulness of the Rule
job creation, and for assessing whether                                                             requirements because the structure and
an individual entrepreneur’s parole                      Comment: Multiple commenters               opportunities provided by a higher
would be justified by significant public              argued that this rule will not necessarily    education institution do not follow the
benefit. DHS believes it is unnecessary               help international entrepreneurs              traditional models. The commenter
to identify these enterprises even more               succeed, because there are too many
                                                                                                    urged DHS to create alternative criteria
specifically than in this final rule. DHS             restrictions in place for foreign residents
                                                                                                    to recognize the role higher education
notes that the rule does not prevent                  to qualify. One commenter asserted that
                                                      the rule as proposed is too complex and       plays in fostering international
individuals who might otherwise                                                                     entrepreneurs.
qualify for an existing immigrant or                  its goals will be impossible to achieve.
nonimmigrant classification from                         Response: DHS disagrees with these            Response: DHS appreciates the
applying for parole under this rule.                  assertions. DHS acknowledges that this        comment but will not adopt changes to
   Comment: One commenter stated that                 final rule will not benefit all               the rule in response. DHS recognizes
the proposed rule is much more                        international entrepreneurs seeking to        and values the important role that
complicated than the E–2 nonimmigrant                 enter or remain in the United States. As      incubators and accelerators located on a
classification, and that DHS should                   several commenters have stated, the           U.S. university or college campuses
incorporate elements of the E–2 program               final rule does not and cannot create a       perform in the entrepreneur community.
into this rule’s parole process.                      new visa classification specifically          DHS believes, however, that the
   Response: DHS disagrees with the                   designed for international                    framework provided by this rule does
commenter’s suggestion.35 A grant of                  entrepreneurs, which is something that        allow DHS to consider, in its
parole under this rule is based on a                  can only be done by Congress. This final      discretionary case-by-case
determination that the individual will                rule, however, provides an additional         determination, the fact that the start-up
provide a significant public benefit to               option that may be available to those         entity is participating in such an
the United States. Eligibility for E–2                entrepreneurs who will provide a              incubator or accelerator. DHS believes
nonimmigrant classification is based on               significant public benefit to the United      that evidence of such participation is
different standards, and DHS believes                 States. This parole option complements,       one factor to be weighed for those
that applying E–2 requirements would                  but does not supplant, current                individuals who do not fully meet the
not suffice to meet the statutory                     immigrant and nonimmigrant visa
                                                                                                    general capital investment or
requirements for parole and establish                 classifications for which some
                                                                                                    government funding criteria and are
that an individual merits a favorable                 international entrepreneurs might
                                                                                                    relying on additional reliable and
exercise of discretion. DHS therefore                 qualify to bring or keep their start-up
declines to adopt the commenter’s                                                                   compelling evidence that the start-up
                                                      entities in the United States.
suggestion.                                              The requirements governing eligibility     entity has the substantial potential for
   Comment: A commenter suggested                     for consideration for parole under this       rapid growth and job creation. DHS
that the proposed rule is unnecessary                 rule establish a high evidentiary bar that    believes that reliable and compelling
since the E–2 program already supports                must be met in order to assist DHS in         evidence may, depending on all the
international entrepreneurs.                          its determination that the individual         circumstances, include evidence that
   Response: DHS disagrees with the                   will provide a significant public benefit     the start-up entity is participating in a
commenter’s statement. The E–2                        to the United States. DHS, however,           reputable incubator or accelerator
program allows nationals of a treaty                  does not agree with the commenter’s           located on a U.S. university or college
country (a country with which the                     assertion that the requirements are           campus.
United States maintains a qualifying                  impossible for all entrepreneurs to meet.     6. Objection to Use of the Word
Treaty of Friendship, Commerce and                    Given that this is a new and complex          ‘‘Parole’’
Navigation or its equivalent) to be                   process, DHS will consider potential
admitted to the United States when                    modifications in the future after               Comment: Multiple commenters
investing a substantial amount of capital             assessing the implementation of the rule      objected to the use of the word ‘‘parole’’
in a U.S. business. Foreign                           and its impact on operational resources.      to describe the provisions in this rule.
entrepreneurs from nontreaty countries,                                                             Commenters are concerned that use of
                                                      5. Include On-Campus Business
such as Brazil, China, India, Israel, or                                                            the word in an immigration context will
Russia, are currently not eligible for an             Incubators in the Rule
                                                                                                    be confused with the use of the word in
E–2 nonimmigrant visa. Also, the E–2                     Comment: One commenter urged               the criminal context. A commentator
category requires the entrepreneur to                 USCIS to tie eligibility for parole to an     suggested using the term ‘‘conditional
invest his or her own funds, and is                   applicant’s participation in business         status’’ or ‘‘provisional status.’’
therefore not applicable to                           incubators and accelerators located on
                                                      U.S. university and college campuses            Response: DHS declines to accept the
entrepreneurs relying upon funds from
investors or government entities to build             that allow international entrepreneurs to     commenters’ suggestion. ‘‘Parole’’ is a
and grow their business. DHS believes                 grow start-up companies. The                  term established by statute at section
that this rule provides a viable option,              commenter stated that these programs          212(d)(5) of the INA, 8 U.S.C.
                                                      meet the goal of the rule while               1182(d)(5). The use of that term in the
  35 The E–2 nonimmigrant classification allows a
                                                      providing benefits on a local and             INA should not be confused with the
national of a treaty country (a country with which    national scale. The commenter                 word’s usage in non-immigration
the United States maintains a treaty of commerce                                                    contexts. Use of alternative terms as
and navigation) to be admitted to the United States   elaborated that the proposed rule only
when investing a substantial amount of his or her     contemplates a traditional start-up           suggested by the commenter would be
own capital in a U.S. business.                       arrangement, which creates                    misleading.

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7. Concern Over Possible Exploitation of    payments or upon return. Furthermore,         opportunities to invest in start-up
Entrepreneurs                               individuals may be interested in              entities that would not have otherwise
   Comment: Two commenters suggested        returning to their home countries in the      been able to locate in the United States,
that international entrepreneurs would      future for a variety of reasons, including    this is also true for a range of other
be vulnerable to exploitation by venture    the temporary nature of parole.               ‘‘qualified investors’’ as defined in the
capital investors under this rule. The                                                    rule. Moreover, many international
                                            M. Public Comments on Statutory and
commenters compare the influence of                                                       entrepreneurs may qualify for parole
                                            Regulatory Requirements
venture capitalists over entrepreneurs                                                    under this rule without having raised
                                               1. Regulatory Impact Analysis              private-sector capital investment at all,
granted parole to the influence of             Comment: Two commenters suggested
employers over H–1B employees. One                                                        since funding from government entities
                                            alternative estimates for the number of       is also an eligibility criterion.
commenter expressed concern that the        applicants that could apply to this rule.        Comment: Several commenters stated
rule could allow a venture capitalist       One commenter estimated that 5,000            that the rule would provide significant
almost total dominance over the             international entrepreneurs will apply        economic benefits.
international entrepreneur’s life,          for parole under this rule. This estimate        Response: DHS agrees with these
through the threat of withdrawing           was approximately 2,000 more                  commenters that the rule will provide
funding and thereby triggering              entrepreneurs than the estimate               significant economic benefits to the
termination of parole.                      provided by DHS. Another commenter            United States. As discussed in the
   Response: DHS disagrees with the         stated that the rule’s eligibility criteria   proposed rule and elsewhere in this
commenters’ assertions that the final       are narrow and therefore, the rule would      section, DHS believes that this rule will
rule will facilitate such exploitation of   cause fewer than 3,000 people to apply.       help the United States compete with
international entrepreneurs by venture         Response: DHS recognizes that              programs implemented by other
capital investors. As a general matter,     uncertainty in business and economic          countries to attract international
venture capitalists and other investors     conditions, as well as data limitations,      entrepreneurs. International
cannot easily withdraw funding from a       make it difficult to accurately predict       entrepreneurs will continue to make
start-up entity once this investment        how many entrepreneurs will apply for         outsized contributions to innovation
transaction  has been duly
Once an entrepreneur     has executed.
                             applied for    parole under  this‘‘Volume
                                                                rule. However,   as       and economic growth in the United
                                            discussed  in the             Projections’’
                                                                                          States.
parole on the basis of prior investment,    section of this rule, DHS utilized limited       Comment: Several commenters
and has been granted such parole, the       data available to estimate that               provided feedback on the costs of
investor will not be in a position to       approximately 2,940 entrepreneurs             applications. One commenter stated that
directly interfere with the                 could seek parole each year. This             the fees were reasonable. Another
entrepreneur’s continued eligibility        estimate was bolstered by an alternative      commenter suggested allowing market
during the parole period. The final rule    estimate based on accelerator                 prices to determine parole costs,
will not create significant new             investment round data that DHS                essentially allowing those entrepreneurs
conditions for exploitation that do not     analyzed. Given limits on DHS’s               with more likelihood of success to
already exist currently for international   information about such entrepreneurs          invest in parole opportunities. Still
entrepreneurs—or for that matter,           and that this is a new process, DHS does      other commenters stated that the
domestic entrepreneurs—in the United        not know how many people within the           application fee was too high, especially
States.                                     estimated eligible population will            compared to various visa applications.
  Comment: One commenter stated that        actually apply. Additionally,                    Response: DHS appreciates
the United States should be mindful of      fluctuations in business and economic         commenters’ feedback on the costs for
what may happen to poorer countries         conditions could cause the number of          applications. DHS determines the costs
when the United States attracts their       applications to vary across years.            of applications through a biennial fee
best entrepreneurs.                            While one commenter estimates that         study it conducts, which reviews
  Response: DHS stresses that               the eligible number of entrepreneurs          USCIS’ cost accounting process and
application for parole under this rule is   will be higher than the DHS estimate,         adjusts fees to recover the full costs of
voluntary and has the primary goal of       another commenter estimates it will be        services provided by USCIS. The
yielding significant public benefit for     lower. Neither of the commenters              established fees are necessary to fully
the United States. DHS believes that        provided a basis or data from which           recover costs and maintain adequate
applicants will assess economic and         their figures were derived. DHS               service by the agency, as required by
business conditions both in the United      reaffirms that the estimate provided in       INA section 286(m); 8 U.S.C. 1356(m).
States and in other countries and will      this rule is reasonable. The assessment          Comment: Several commenters
consider these conditions, along with       is based on analysis of data and publicly     generally stated support for the rule
numerous others, in the decision to         available information, and reflects,          because it will likely improve
apply for parole under this rule. DHS       where data and analysis allow,                innovation for local and regional
does not believe that the rule itself,      reasonable medians or averages.               economic areas. Another commenter
which authorizes parole only for a             Comment: One commenter argued              stated support for the rule because it
limited period of time and under            that the rule would only benefit certain      would increase intangible assets.
specific limited circumstances, will        special-interest venture capitalists.            Response: DHS concurs with this
create significant negative consequences       Response: DHS respectfully disagrees       expectation that the rule will foster
for poorer countries. Additionally,         with this commenter. Fundamentally,           innovation at the local and regional
positive spillovers from new                this rule is designed to yield significant    level. Studies on entrepreneurs reveal
innovations are not limited to the          public benefit to the United States—          that they are key drivers of innovation
specific country in which they were         including through economic growth,            throughout the United States, and that
developed. Parole under this rule in no     innovation, and job creation—and not to       such innovation benefits local, regional,
way prevents an entrepreneur                any particular private-sector interest        and the national economy through
contributing to the economy of his or       group. While some venture capital firms       technical progress and improvements in
her home, including through remittance      may benefit from the rule by having new       efficiency and productivity. The rule’s

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eligibility criteria focus on start-ups      through investment of native U.S.                          c. Impact on Innovation
with high growth potential, and DHS          entrepreneurs instead of foreign                              Comment: Several commenters
expects that new firms started by            entrepreneurs. Several commenters also                     provided feedback on the rule’s impact
entrepreneurs covered by the rule will       stated that the government should assist                   on innovation. Two commenters stated
conduct research and development,            U.S. entrepreneurs and workers before                      that this type of international
expand innovation, and bring new             helping international entrepreneurs.                       entrepreneurship supports innovation
technologies and products to market in       Commenters also mentioned that the                         in the United States. Another
addition to creating jobs in the United      need for international innovators was                      commenter stated that the rule would
States. These activities will produce        overstated and that the number of native                   not help foreign innovators because of
benefits that will spill over to other       U.S. innovators is already adequate.                       complications with patents and
firms and sectors.                           Finally, these commenters asserted that                    modeling designs.
   DHS also agrees with the commenter        foreign workers are often exploited for                       Response: DHS agrees with the
on impacts to intangible assets.             cheap labor and harm job prospects for                     commenters that stated that this rule
Intangible assets are generally integrated   native U.S. workers.                                       supports innovation in the United
into a firm’s or sector’s total assets and
                                                Response: DHS disagrees with these                      States. Entrepreneurs tend to engage in
have become important in broad
                                             commenters’ assertion that the rule will                   research and development in order to
analyses of productivity and efficiency.
                                             have negative impacts on native U.S.                       develop and commercialize new
Such assets can include proprietary
                                             entrepreneurs and native U.S. workers.                     products and technologies, and often
software, patents, and various forms of
                                             This rule focuses on identifying                           stimulate patents and other intellectual
research and development. This rule is
                                             entrepreneurs associated with start-up                     capital linked to these efforts. DHS does
intended to attract the types of ventures
                                             entities with significant potential for                    not agree with the commenter that
that will increase intangible assets.
                                             bringing growth, innovation, and job                       stated the rule is not helpful to foreign
a. Job Creation                              creation in the United States. Much                        innovators because of issues with
   Comment: Many commenters agreed           research supports the conclusion that                      patents and modeling designs, and DHS
that this rule would help create jobs and    high-growth firms drive job creation for                   sees no basis for this comment. Nothing
significantly benefit the U.S. economy.                                                                 in the rule poses specific burdens or
                                             workers in the United States, including
A commenter noted that immigrants                                                                       constraints on the ability of
                                             for native U.S. workers. As discussed in
have helped to found one quarter of U.S.                                                                entrepreneurs to seek and obtain patents
                                             further detail in the RIA, research also
firms and therefore allowing more                                                                       or other intellectual capital.
                                             shows that immigrants have been
international entrepreneurs would            outsized contributors to business                          2. Review Under the National
result in new job creation. Commenters       ownership and entrepreneurship in the                      Environmental Policy Act (NEPA)
also mentioned that immigrants have          United States and abroad. Self-
historically been successful in creating                                                                   Comment: An advocacy organization
                                             employment rates for immigrants are                        stated that all rules, including
and establishing new businesses, which       higher than for the native U.S.
in turn create jobs in the United States.                                                               immigration rules, are subject to review
                                             population. As discussed in the RIA,                       under the National Environmental
Commenters also more specifically            although one economic study has
endorsed the need to provide more                                                                       Policy Act. The commenter suggested
                                             suggested that a very small number of                      that, at minimum, an Environmental
investment opportunities for venture         native U.S. entrepreneurs may be
capitalists and angel investors who                                                                     Assessment be conducted to account for
                                             displaced by international                                 the growth-inducing impacts that would
indirectly create jobs. Finally,             entrepreneurs, other researchers have
commenters from the technology                                                                          occur with an influx in population
                                             noted that the finding simply raises the                   under this rule.
industry stated that attracting
                                             possibility that such displacement could                      Response: DHS agrees that NEPA
entrepreneurs to the Unites States to
                                             occur without providing evidence that it                   applies to this, as to every, final
operate in high unemployment areas
                                             actually does.36 DHS reiterates,                           rulemaking. As explained in section
could provide access to new jobs where
                                             moreover, that the numbers of                              IV.E of this preamble, the rule has been
they are most needed.
   Response: DHS appreciates the             entrepreneurs who may be eligible for                      reviewed for environmental effects and
                                             parole under this rule is limited and                      found to be within two categorical
commenters’ support of this rule with
regard to attracting international           that the aim of the rule is to increase                    exclusions from further review because
entrepreneurs, and emphasizes that job       overall entrepreneurial activity and                       experience has shown rules of this
creation for U.S. workers is one of the      significant economic benefit throughout                    nature have no significant impacts on
rule’s primary goals, as discussed in the    the United States. In any event, the                       the environment. DHS also notes that
Regulatory Impact Analysis (RIA).            purpose of the parole rule is to foster                    any entrepreneurial ventures
                                             innovation and entrepreneurial                             undertaken will be governed by local,
b. Impact on Native U.S. Entrepreneurs       activities in new or very young                            state and federal laws and regulations,
and Native U.S. Workers                      endeavors, where the literature much                       including those protecting human
   Comment: Several commenters               more decisively indicates a strong                         health and the environment. We
suggested the rule will have negative        potential of creating new net jobs for                     disagree with the commenter’s assertion
consequences for native U.S.                 U.S. workers.                                              that an Environmental Assessment is
entrepreneurs and native U.S. workers.                                                                  required.
                                                36 Compare Fairlie, R.W., and B.D. Meyer. ‘‘The
These commenters were concerned that                                                                    3. Proposed Information Collections
                                             effect of immigration on native self-employment.’’
the rule would be disadvantageous to         Journal of Labor Economics 21:3 (2003): 619–650,           Under the Paperwork Reduction Act
native U.S. entrepreneurs and would          available at: http://people.ucsc.edu/arfairlie/
create incentives for venture capital        papers/published/jole%202003%20-                           a. Employment Eligibility Verification,
firms to find international entrepreneurs    %20native%20se.pdf, with, e.g., Magnus Lofstrom,           Form I–9
                                             ‘‘Immigrants and Entrepreneurship,’’ Public Policy            Comment: An individual commenter
instead of investing in native U.S.          Institute of California, USA, and IZA, Germany
entrepreneurs. The commenters argued         (2014), p. 4, available at: http://wol.iza.org/articles/   suggested that List A documents should
that job creation could be accomplished      immigrants-and-entrepreneurship.pdf.                       be updated to include the verified

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driver’s licenses (sample attached and       entity, and that these restrictions could           considered all those comments and has
included in the file) that meet federal      impact start-up entities if the                     made policy changes in this final rule to
guidelines and require the presentation      entrepreneur were no longer eligible to             address the comments. Specifically, the
of the same documentation needed to          stay in the United States. For these                SBA commented that thresholds to
obtain a passport. The commenter stated      reasons, SBA concluded that this rule               qualify for parole are directly tied to the
that it is no longer reasonable for those    directly impacts start-up entities. The             ability of the international
who receive a verified license and who       SBA recommended that DHS submit a                   entrepreneur’s start-up to produce
paid the premium necessary for the           supplemental analysis on the impact of              significant public benefit for the United
processing of the extra documents, to        the final rule on small entities.                   States. DHS has considered this
have to locate their birth certificate and      Response: DHS has concluded that a               comment along with other public
social security card in order to complete    RFA certification statement for this final          comments on this issue and has made
the Form I–9 process.                        rule is appropriate. This final rule does           the decision to lower the eligible
   Response: DHS presumes that by            not regulate small entities nor does it             threshold investment amount for initial
‘‘verified driver’s licenses’’ the           impose any mandatory requirements on                parole from the proposed $345,000 in
commenter is referring to State driver’s     such entities. Instead, it provides an              the NPRM to $250,000 in the final rule.
licenses that comply with the REAL ID        option for certain individual                       Additionally, in the NPRM and in this
Act of 2005, Public Law 109–13, 119          entrepreneurs to seek parole on a                   final rule, DHS has provided some
Stat. 302. The specific suggestion about     voluntary basis. There are no                       flexibility and alternative criteria for
amending List A on Form I–9, which           compliance costs or direct costs for any
                                                                                                 those entrepreneurs meeting partial
would have wide-ranging effect and not       entity, small or otherwise, imposed by
                                                                                                 eligibility requirements, as described in
be limited to entrepreneurs under this       this rule since it does not impose any
                                                                                                 further detail in the preamble.
rule, is outside the scope of this           mandatory requirements on any entity.
rulemaking. This rule and                    Historically, when an employer                         SBA also commented that the rule
accompanying form revisions limit            petitions on behalf of an individual or             only allows the entrepreneur to work for
changes to List A of Form I–9 to the         employee, DHS has provided an RFA                   the business identified on the parole
modification of an existing document         analysis for the impact to small                    application without providing leniency
specified at 8 CFR 274a.2(b)(1)(v)(A)(5)     businesses. However, under this rule, a             in transferring the work authorization to
to include individuals authorized to         small entity or an employer does not                another entity. The SBA further
work incident to parole.                     apply for parole on behalf of an                    comments that the start-up entity may
                                             employee; instead, an entrepreneur                  be imperiled if the entrepreneur is no
b. Application for Entrepreneur Parole,
                                             applies for parole on a voluntary basis             longer eligible to stay in the United
Form I–941
                                             on his or her own behalf, and only those            States. The eligibility criteria for
   Comment: DHS received a public            eligible individuals seeking parole                 consideration for parole under this rule
comment that stated that the time            would be subject to the anticipated costs           require an entrepreneur to have recently
burden estimate of 1.33 hours for the        of application. Entrepreneurs with an               formed a new entity in the United States
respondent to complete the information       ownership stake in a start-up make the              with substantial potential for rapid
collection was too low.                      cost-benefit decision to voluntarily                growth and job creation. Before an
   Response: DHS appreciates and agrees      apply for parole.                                   application for parole under this rule is
with this comment. Based on further             In both the RFA and SBA’s Guide for              approved, USCIS must make a
review of the information collection and     Government Agencies on the RFA,                     discretionary determination that the
public comments on this specific issue,      government agencies are required to                 entrepreneur is well-positioned to
DHS is revising the estimated time           consider significant alternatives to the            provide a significant public benefit to
burden from 1.33 hours to 4.7 hours for      rule when providing a full RFA                      the United States. Therefore, these
Form I–941 respondents.                      analysis. Among the kinds of
                                                                                                 eligibility criteria are not limiting
                                             alternatives that SBA suggests
4. Comments and Responses to Impact                                                              entrepreneurs, but aimed at ensuring
                                             considering include ‘‘the exemption for
on Small Businesses                                                                              that only those entrepreneurs with high
                                             certain or all small entities from
   Comment: The U.S. Small Business                                                              growth potential are eligible for parole
                                             coverage of the rule, in whole or in
Administration, Office of Advocacy           part.’’ 38 Even if this rule directly               consideration under this rule. DHS has
(SBA) commented by supporting the            impacted small entities and DHS were                also provided avenues for an additional
goals of this rule, but expressed concern    required to engage in an analysis to                parole period specifically to prevent
that the rule could significantly impact     minimize negative impacts of the rule               instability of a start-up entity.
small entities. The SBA commented that       on small entities by exempting them                    DHS reiterates that RFA guidance
the proposed rule was erroneously            from the rule, that alternative would               allows an agency to certify a rule,
certified under the Regulatory               only harm small entities, which would               instead of preparing an analysis, if the
Flexibility Act (RFA). The SBA stated        no longer be able to benefit from the               rule is not expected to have a significant
that the only international                  rule’s allowing entrepreneurs to seek               economic impact on a substantial
entrepreneurs eligible for this parole       parole and work authorization.                      number of small entities.39 DHS
program are those with significant              The SBA also commented on various                reiterates that this rule does not regulate
ownership stakes in a start-up entity        policy issues on the eligibility of                 small entities. Any costs imposed on
formed in the previous three years. The      entrepreneurs in this rule.                         businesses will be driven by economic
SBA also stated that the thresholds to       Notwithstanding DHS’ belief that                    and business conditions and not by the
qualify for parole were directly tied to     entrepreneurs when filing for parole are
the ability of the entrepreneur’s start-up   not small entities, DHS has carefully                 39 See SBA, Office of Advocacy, ‘‘A Guide for

to produce significant public benefit to                                                         Government Agencies; ‘‘How to Comply with the
the United States. The SBA noted that           38 The Regulatory Flexibility Act, 5 U.S.C.      Regulatory Flexibility Act, Implementing the
                                             603(c)(4). The Small Business Administration’s      President’s Small Business Agenda and Executive
under the proposed rule, an                  RFA Guide for Government, p. 38, available at       Order 13272’’ (May 2012), available at: https://
entrepreneur is not permitted to transfer    https://www.sba.gov/sites/default/files/advocacy/   www.sba.gov/sites/default/files/advocacy/rfaguideB
work authorization to another start-up       rfaguideB0512B0.pdf.                                0512B0.pdf.


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voluntary participation for benefits from     Executive Order 12866. Accordingly,                    substantial investment from U.S.
this rule.                                    the rule has been reviewed by the Office               investors and otherwise qualify for
IV. Statutory and Regulatory                  of Management and Budget.                              entrepreneur parole, because changes in
Requirements                                                                                         the global market for entrepreneurs, or
                                              1. Summary                                             other exogenous factors, could affect the
A. Unfunded Mandates Reform Act of               This final rule is intended to add new              eligible population. Therefore, these
1995                                          regulatory provisions guiding the use of               volume projections should be
                                              parole with respect to individual                      interpreted as a reasonable estimate of
   The Unfunded Mandates Reform Act
                                              international entrepreneurs who operate                the eligible population based on past
of 1995 (UMRA) is intended, among
                                              start-up entities and who can                          conditions extrapolated forward.
other things, to curb the practice of
                                              demonstrate through evidence of                        Eligible foreign nationals who choose to
imposing unfunded Federal mandates
                                              substantial and demonstrated potential                 apply for parole as an entrepreneur will
on State, local, and tribal governments.
                                              for rapid business growth and job                      incur the following costs: A filing fee for
Title II of the Act requires each Federal
                                              creation that they would provide a                     the Application for Entrepreneur Parole
agency to prepare a written statement
                                              significant public benefit to the United               (Form I–941) in the amount of $1,200 to
assessing the effects of any Federal
                                              States. Such potential is indicated by,                cover the processing costs for the
mandate in a proposed or final agency
                                              among other things, the receipt of                     application; a fee of $85 for biometrics
rule that may result in a $100 million or
                                              significant capital financing from U.S.                submission; and the opportunity costs
more expenditure (adjusted annually for
                                              investors with established records of                  of time associated with completing the
inflation) in any one year by State, local,
                                              successful investments, or obtaining                   application and biometrics collection.
and tribal governments, in the aggregate,
                                              significant awards or grants from certain              After monetizing the expected
or by the private sector. The value
                                              Federal, State or local government                     opportunity costs and combining them
equivalent of $100 million in 1995
                                              entities. The regulatory amendments                    with the filing fees, an eligible foreign
adjusted for inflation to 2015 levels by
                                              will provide the general criteria for                  national applying for parole as an
the Consumer Price Index for All Urban
                                              considering requests for parole                        entrepreneur will face a total cost of
Consumers (CPI–U) is $155 million.
                                              submitted by such entrepreneurs.                       $1,591. Any subsequent renewals of the
   This rule does not exceed the $100
                                                 DHS assesses that this final rule will,             parole period will result in the same
million expenditure in any one year
                                              by further implementing authority                      previously discussed costs. Filings to
when adjusted for inflation ($155
                                              provided by Congress, reduce a barrier                 notify USCIS of material changes to the
million in 2015 dollars), and this
                                              to entry for new innovative research and               basis for the entrepreneur’s parole,
rulemaking does not contain such a
                                              entrepreneurial activity in the U.S.                   when required, will result in similar
mandate. The requirements of Title II of
                                              economy.40 Under this final rule, some                 costs; specifically, in certain instances
the Act, therefore, do not apply, and
                                              additional international entrepreneurs                 the entrepreneur will be required to
DHS has not prepared a statement under
                                              will be able to pursue their                           submit to USCIS a new Form I–941
the Act.
                                              entrepreneurial endeavors in the United                application to notify USCIS of such
B. Small Business Regulatory                  States and contribute to the U.S.                      material changes and will thus bear the
Enforcement Fairness Act of 1996              economy. In the absence of the rule,                   direct filing cost and concomitant
   This rule is not a major rule as           these innovative entrepreneurs might be                opportunity cost. However, because the
defined by section 804 of the Small           delayed or discouraged altogether in                   $85 biometrics fee will not be required
Business Regulatory Enforcement Act of        bringing innovation, job creation, and                 with such filings, these costs will be
1996. This rule will not result in an         other benefits to the United States.                   slightly lower than those associated
annual effect on the economy of $100             Based on review of data on startup                  with the initial parole request and any
million or more, a major increase in          entities, foreign ownership trends, and                request for re-parole.
costs or prices, or significant adverse       Federal research grants, DHS expects                      Dependent spouses and children who
effects on competition, employment,           that approximately 2,940 entrepreneurs,                seek parole to accompany or join the
investment, productivity, innovation, or      arising from 2,105 new firms with                      principal applicant by filing an
on the ability of United States               investment capital and about 835 new                   Application for Travel Document (Form
companies to compete with foreign-            firms with Federal research grants,                    I–131), will be required to submit
based companies in domestic and               could be eligible for this parole program              biographical information and biometrics
export markets.                               annually. This estimate assumes that                   as well. Based on a principal applicant
                                              each new firm is started by one person                 population of 2,940 entrepreneurs, DHS
C. Executive Orders 12866 and 13563           despite the possibility of up to three                 assumes a total of 3,234 spouses and
   Executive Orders 12866 and 13563           owners being associated with each start-               children will be eligible for parole
direct agencies to assess the costs and       up. DHS has not estimated the potential                under this rule. Each dependent will
benefits of available regulatory              for increased demand for parole among                  incur a filing fee of $575, a biometric
alternatives and, if regulation is            foreign nationals who may obtain                       processing fee of $85 (if 14 years of age
necessary, to select regulatory                                                                      and over) and the opportunity costs
approaches that maximize net benefits
                                                40 Nina Roberts, For foreign tech entrepreneurs,
                                                                                                     associated with completing the Form I–
                                              getting a visa to work in the US is a struggle, The    131 application and biometrics
(including potential economic,                Guardian, Sept. 14, 2014, available at http://
environmental, public health and safety       www.theguardian.com/business/2014/sep/14/              collection.41 After monetizing the
effects, distributive impacts, and            foreign-tech-entrepreneurs-visa-us-struggle; Amy       expected opportunity costs associated
equity). Executive Order 13563                Grenier, Majority of U.S. Patents Granted to Foreign   with providing biographical information
                                              Individuals, April 11, 2014, available at http://      to USCIS and submitting biometrics and
emphasizes the importance of                  immigrationimpact.com/2014/04/11/majority-of-u-
quantifying both costs and benefits, of       s-patents-granted-to-foreign-individuals/ (‘‘Because   combining it with the biometrics
reducing costs, of harmonizing rules,         of the limitations of the H–1B visa program, and the
                                              lack of a dedicated immigrant visa for entrepreneurs     41 The filing fees have been updated and reflect
and of promoting flexibility. This rule       or innovators, foreign inventors struggle with         those promulgated in the 2016 Fee Rule (1615–
has been designated a ‘‘significant           inadequate visa options that often prevent them        AC09, CIS No. 2577–15 DHS Docket No. USCIS–
regulatory action’’ under section 3(f) of     from obtaining permanent residency.’’).                2016–0001).


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processing fee, each dependent                attracted to this parole process may             The purpose of the rule is to attract
applicant will face a total cost of $765.     develop high-growth and high-impact           talented entrepreneurs to the United
DHS is also allowing the spouse of an         firms that can be expected to contribute      States who might otherwise choose to
entrepreneur paroled under this rule to       disproportionately to U.S. job creation.      pursue such innovative activities
apply for work authorization. Using a         In summary, DHS anticipates that this         abroad, or otherwise be significantly
one-to-one mapping of principal filers to     rule will produce positive effects that       delayed in growing their companies in
spouses, the total population of spouses      would greatly exceed any negative             the United States, given the barriers
eligible to apply for work authorization      consequences.                                 they presently face. In addition to the
is 2,940. To obtain work authorization,          Using an estimate of 2,940 annual          benefits associated with entrepreneurial
the entrepreneur’s spouse will be             applications for significant public           innovation, including new products,
required to file an Application for           benefit entrepreneur parole as                business networks, and production
Employment Authorization (Form I–             developed in the ensuing volume               efficiencies that such activities are
765), incurring a $410 filing fee and the     projections section of this analysis, DHS     likely to generate, entrepreneurs have
opportunity costs of time associated          anticipates the total cost of this rule for   been and remain vital to economic
with completing the application. After        principal filers who face a total per         growth and job creation in the United
monetizing the expected opportunity           applicant cost of $1,591 to be                States and have generated a cohort of
costs and combining it with the filing        $4,678,336 (undiscounted) annually for        high-growth firms that have driven a
fees, an eligible spouse will face a total    any given year. (These estimates focus        highly disproportionate share of net
additional cost of $446 (rounded). DHS        only on principal initial filers, not         new job creation.42
expects that applicants will face the                                                          A body of research documents both
                                              entrepreneurs who might be eligible for
above costs, but does not anticipate that                                                   the importance of entrepreneurial
                                              a re-parole period of up to 30 months,
this rule will generate significant                                                         activity to the U.S. economy and its link
                                              or their spouses.) Dependent spouses
additional costs and burdens to private                                                     to immigration. In this background
                                              and children who must submit the Form
entities, or that the rule will generate                                                    section, DHS does not attempt to
                                              I–131 application and biometrics will
additional processing costs to the                                                          comprehensively summarize this large
                                              face a per-applicant cost of $765, for a      body of work but instead focuses on
government to process applications.           total cost of $2,474,914 (undiscounted).
While applicants may face a number of                                                       specific aspects central to the purpose of
                                              Dependent spouses who apply for               the rule and to its potential impacts.43
costs linked to their business or research    employment authorization will face a
endeavors, these costs will be driven by                                                    In summary, DHS focuses on the role of
                                              per applicant cost of $446, which DHS         new entrepreneurial firms in job
the business and innovative activity that     projects will total $1,311,830
the entrepreneur is engaged in and                                                          creation in the United States, and the
                                              (undiscounted). Adding together the           role that immigrant entrepreneurs have
many other exogenous factors, not the         costs for the principal filers and family     played in innovation and the high
rule itself or any processes related to the   members—including filing costs, costs         technology sector.
rule. Thorough review of academic,            of submitting biometrics, and monetized          The labor market of the United States
business, and policy research does not        opportunity costs—yields a total cost of      is highly dynamic. DHS analysis of data
indicate that significant expected costs      this rule for the first year, 2017 and        published by the U.S. Department of
or negative consequences linked to            subsequently 2018, of $8,465,080              Labor’s Bureau of Labor Statistics (BLS)
attracting international entrepreneurs        (undiscounted). The total annual cost of      indicates that between 2004 and 2013,
are likely to occur. As such, DHS             the rule of $8,465,080 can be expected        on average about 847,000 firms were
expects that the negative consequences,       for each subsequent year in the ten-year      ‘‘born’’ each year and 784,000 ‘‘died.’’ 44
if any, will be greatly exceeded by the       period. The total ten-year undiscounted       To illustrate the extent of the labor
positive effects of this rule.                cost is $84,650,081.                          market churn, since 1980 the private
   In each case in which an entrepreneur                                                    sector has generated about 16.3 million
                                              2. Background and Purpose of the Rule
will be granted parole under this rule,                                                     gross jobs annually but an average of
DHS will have made a determination               Section 212(d)(5) of the Immigration       only about 1.4 million net jobs annually.
that parole will yield a significant          and Nationality Act (INA), 8 U.S.C.           In both general business cycle
public benefit and that the person            1182(d)(5), grants the Secretary of           expansions and contractions, large
requesting parole merits a favorable          Homeland Security the discretionary           numbers of jobs are created and
exercise of discretion. Consistent with       authority to parole applicants for            destroyed, comprising a key dynamic in
those decisions, the rule is expected to      admission into the United States              the forces of creative destruction.45
produce broad economic benefits               temporarily, on a case-by-case basis, for
through the creation of new business          urgent humanitarian reasons or                   42 See Richard L. Clayton, Akbar Sadeghi, David

ventures that otherwise would not be          significant public benefit. DHS is            M. Talan, and James R. Spletzer, High-employment-
formed in the United States. These            amending its regulations implementing         growth firms: Defining and counting them, Office of
                                                                                            Industry Employment Statistics, Bureau of Labor
businesses are likely to create               this authority to increase and enhance        Statistics (BLS), Monthly Labor Review (June 2013),
significant additional innovation,            entrepreneurship, research and                p. 1–2, available at: http://www.bls.gov/opub/mlr/
productivity, and job creation. It is         development and other forms of                2013/article/pdf/clayton.pdf.
                                                                                               43 DHS notes that the body of research concerning
reasonable to conclude that investment        innovation, and job creation in the           immigration in general and its impact on the labor
and research spending on new firms            United States. The rule will establish        market, most notably germane to earnings and
associated with this rule will directly       general criteria for the use of parole        employment of domestic workers, is not addressed
and indirectly benefit the U.S. economy       with respect to individual entrepreneurs      in the present analysis.
                                                                                               44 Figures were obtained from the BLS, Business
and create jobs for American workers. In      who operate start-up entities and who         employment Dynamics, Table 8, ‘‘Private sector
addition, innovation and research and         can demonstrate through evidence of           establishment births and deaths, seasonally
development spending are likely to            substantial and demonstrated potential        adjusted:’’ available at http://www.bls.gov/
generate new patents and new                  for rapid business growth and job             news.release/cewbd.t08.htm. Firm ‘‘births’’ in these
                                                                                            data only include new firms and thus exclude new
technologies, further enhancing               creation that they would provide a            franchises and expansions of existing firms.
innovation. Some portion of the               significant public benefit to the United         45 See Ryan Decker, John Haltiwanger, Ron

international entrepreneurs likely to be      States.                                       Jarmin, and Javier Miranda, The Role of


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Research into the highly dynamic and                     firms’’ are defined by the BLS and the                   same general result has been found
volatile labor market in the United                      Organization for Economic Cooperation                    internationally; the OECD reports that
States has evolved. Earlier focuses on                   (OECD) as those with at least ten                        between three percent and six percent of
small- and new-firm size as the primary                  employees that grow by at least 20                       all firms can be considered high-growth
co-determinants of job creation has been                 percent for each of 3 consecutive years                  firms but about one percent can be
reoriented to focus on the role of a                     based on employment. As of 2012, there                   considered the even more high-
relatively small subset of                               were 96,900 high-growth firms in the                     performing ‘‘gazelles.’’ 53
entrepreneurial firms.                                   United States that had created about 4.2                    Despite the finding across a large
   This rule focuses on identifying                      million jobs.49 A key finding by the BLS                 number of studies that small new firms
entrepreneurs associated with types of                   is that high-growth firms especially add                 tend to exhibit an ‘‘up or out’’ dynamic
start-up firms that are more likely to                   jobs in their first ten years, though they               in which a small number survive to age
experience high growth, contribute to                    generally continue to add a diminishing                  five to become high-growth firms or
innovation, and create jobs in the                       number of new jobs even after that                       ‘‘gazelles,’’ other key findings that have
United States. This deliberate focus is                  period of time to the extent they                        emerged in the literature suggest that
critical to ensuring that parole in                      survive. Job creation in the United                      the growth and performance of new
individual cases is justified by                         States for the last several decades has                  firms, even high-growth firms, vary
significant public benefit. Research has                 been driven primarily by high-growth                     substantially (as indicated by metrics
shown that the average start-up                          firms that tend to be young and new,                     that include labor productivity,
company does not survive long.46 Most                    and by a smaller number of surviving                     profitability, revenue, and research and
new firms do not add much net job                        high-growth firms that age for a decade                  development intensity).54 Models that
creation either, as they are not focused                 or more.50                                               can sort out various business
on achieving high growth. By some                           This highly disproportionate, ‘‘up or                 characteristics and economic conditions
estimates, the vast majority—as much as                  out’’ dynamism of high-growth firms                      to predict high-growth probabilities are
95 percent—of all new firms are not                      has been substantiated by many                           still in nascent stages. Nevertheless, this
substantial job creators or innovators.47                researchers. The SBA reported that                       rule includes threshold criteria for
About 95 percent of new firms start with                 about 350,000 ‘‘high impact firms’’—                     parole consideration meant to identify
fewer than 20 employees, and about the                   defined as enterprises whose sales have                  entrepreneurs associated with the kinds
same percentage ultimately close with                    at least doubled over a 4-year period                    of promising start-up entities that
fewer than 20 employees, indicating
                                                         and which have an employment growth                      appear more likely to contribute to
that business turnover is heavily
                                                         quantifier of 2 or more over the same                    American innovation, economic
influenced by small firms.48
  There is significant research,                         period—generated almost all net new                      development, and job creation. As
however, demonstrating that a small                      jobs in the United States between 1994                   described in more detail below,
subset of new firms tends to be highly                   and 2006.51 The Kauffman Foundation,                     businesses started and run by
dynamic and to contribute                                a leading institute on research, data                    immigrants have propelled these kinds
disproportionately to net job creation.                  collection, and advocacy for                             of broadly shared economic benefits for
The BLS has highlighted the role of the                  entrepreneurial activity, reports that the               many years.
small subset of high-growth firms that                   top-performing one percent of firms                         Broadly speaking, high-growth
comprise about 2 percent of all firms but                generates roughly 40 percent of new job                  entrepreneurs engage in research and
have accounted for 35 percent of gross                   creation, and, the fastest of them all—                  development (R&D) in order to develop
job gains in recent years. ‘‘High-growth                 the ‘‘gazelles’’—comprising less than                    and commercialize new products and
                                                         one percent of all companies, generated                  technologies. Several studies have
Entrepreneurship in U.S. Job Creation and                roughly ten percent of new jobs.52 The                   found that such entrepreneurs tend to
Economic Dynamism, Journal of Economic                                                                            engage in R&D spending in the first
Perspectives—Vol. 28, Number 3 (Summer 2014),               49 See R. Clayton et al. (June 2013), supra n. 50,
                                                                                                                  year, tend to attract patents and other
pp. 3–24, available at: http://pubs.aeaweb.org/doi/      p. 2–4. For a description of the methodology
pdfplus/10.1257/jep.28.3.3.                              utilized to measure high growth firms, see OECD,
                                                                                                                  forms of intellectual capital, and tend to
   46 According to BLS findings, ‘‘20 percent of
                                                         OECD-Eurostat Manual on Business Demography              attract venture capital financing.55
newly created establishments don’t survive their         Statistics (2007), pp. 59–65, available at: http://
first year in business, 32 percent don’t survive their   www.oecd.org/std/39974460.pdf.                           research%20reports%20and%20covers/2010/04/
first two years, and 50 percent don’t survive their         50 For specific detailed information on survival      highgrowthfirmsstudy.pdf.
first 5 years.’’ See Richard L. Clayton, Akbar           rates and employment creation at various intervals          53 David B. Audretsch, Determinants of High-

Sadeghi, David M. Talan, and James R. Spletzer,          along the HGF life span, see R. Decker et al. (2014),    Growth Entrepreneurship, report prepared for the
High-employment-growth firms: Defining and               supra n. 53, pp. 6–24. The BLS and others use the        OECD/DBA International Workshop on High-
counting them, Office of Industry Employment             term ‘‘gazelles’’ to differentiate the fastest growing   growth firms: local policies and local determinants,
Statistics, Bureau of Labor Statistics (BLS), Monthly    young HGFs.                                              OECD, p. 2–5, available at: http://www.oecd.org/cfe/
Labor Review (June 2013), p. 1, available at: http://       51 See Spencer Tracy, Jr., Accelerating Job           leed/AudretschBdeterminants%20of%20high-
www.bls.gov/opub/mlr/2013/article/pdf/                   Creation in America: The Promise of High-Impact          growth%20firms.pdf.
clayton.pdf.                                             Companies, SBA Office of Advocacy (2011), pp.               54 See R. Decker et al (2014), supra n. 53, pp. 5–
   47 See Jason Wiens and Chris Jackson, The             1–4, available at: https://www.sba.gov/sites/default/    7; see also Davis, Steven J., R. Jason Faberman, John
Importance of Young Firms for Economic Growth,           files/advocacy/HighImpactReport.pdf; see also Acs,       Haltiwanger, Ron Jarmin, and Javier Miranda,
Ewing Marion Kauffman Foundation (2014), pp. 1–          Zoltan, William Parsons, and Spencer L. Tracy, Jr,       Business Volatility, Job Destruction, and
2, available at: http://www.kauffman.org/a/media/        High-Impact Firms: Gazelles Revisited; Study             Unemployment. American Economic Journal:
kauffmanBorg/resources/2014/                             prepared for the SBA, Office of Advocacy (2008),         Macroeconomics 2(2) (2010): 259–87. Research and
entrepreneurship%20policy%20digest/                      p. 1, available at: http://www.sba.gov/advo/             development intensity is typically measured as the
september%202014/entrepreneurshipBpolicyB               research/rs328tot.pdf. The SBA high-impact cohort        ratio of research and development spending to
digestBseptember2014.pdf; see also Hurst, Erik, and      is about 6.3% of all firms, which is higher than the     revenue, net income, or overall costs.
Benjamin Wild Pugsley. 2011; What Do Small               2% high-growth category found in the BLS studies.           55 See Shah, Sonali K. and Winston Smith, Sheryl

Businesses Do? Brookings Paper on Economic               The SBA cohort is larger because the criteria are        and Reedy, E. J., Who are User Entrepreneurs?
Activity, no. 2 (2011), pp. 73–142.                      slightly less restrictive and it includes older firms.   Findings on Innovation, Founder Characteristics,
   48 See Headd, Brian, An Analysis of Small                52 See Dane Stangler, High-Growth Firms and the       and Firm Characteristics, The Kauffman Firm
Business and Jobs, SBA Office of Advocacy (2010),        Future of the American Economy, Kauffman                 Survey (Feb. 2012), pp. 2–5, available at: http://
p. 6, available at: https://www.sba.gov/sites/default/   Foundation Research Series: Firm Formation and           www.kauffman.org/a/media/kauffmanBorg/
files/files/an%20analysis%20of%20                        Economic Growth (2010), p. 2, available at: http://      research%20reports%20and%20covers/2012/02/
small%20business%20and%20jobs(1).pdf.                    www.kauffman.org/a/media/kauffmanBorg/                   whoareuserentrepreneurs.pdf.


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   Immigrants have been central                         of entrepreneurs in technology-oriented                 advocacy centers have also advocated in
contributors to business ownership and                  privately held companies with venture                   recent years for the United States to
entrepreneurship in the United States                   backing also showed about one-third                     enact a formalized pathway for
and abroad. According to OECD data,                     were foreign born, and 61 percent held                  immigrant entrepreneurs. DHS is aware
self-employment rates for immigrants                    at least one patent.60                                  of one estimate of the potential benefits
are higher than those of the native-born                   Further evidence points to similar                   of a theoretical start-up visa (which, as
populations in many counties,                           findings. Between 1995 and 2005, 25                     an entirely new visa classification, only
including in the United States.56 Based                 percent of science and technology                       Congress can create). A Kauffman
on the most recent data available from                  focused businesses founded in the                       Foundation study (2013) estimated that,
the U.S. Census Bureau, 12.9 percent of                 United States had a foreign-born chief                  under certain conditions, the
the United States population was                        executive or lead technologist. In 2005,                establishment of a start-up visa program
foreign-born. Their rate of self-                       those companies generated $52 billion                   could lead to the creation of between
employment is about 30 percent higher                   in sales revenue and employed 450,000                   500,000 and 1.6 million new jobs after
than that of the native-born population                 workers. In Silicon Valley, the share of                ten years.64 The potential benefits of
(7.7 percent vs. 5.9 percent; n=1.8                     immigrant-founded start-ups increased                   attracting immigrant entrepreneurs have
million). The Census Bureau’s 2012                      to 52 percent by 2005. In 2006, foreign                 not gone unnoticed internationally.
Survey of Business Owners showed that                   nationals residing in the United States                 Thirteen of the thirty-five nations that
14.4 percent of U.S. firms were owned                   were involved (as inventors or co-                      are part of the Organization of Economic
by at least one person not born a citizen               inventors) in about 26 percent of patent                Cooperation and Development (OECD)
of the United States.57 Two studies                     applications filed that year. Immigrant                 have enacted special immigration
based on samples of U.S firms found                     founders of Silicon Valley firms tend to                programs for entrepreneurs, although
slightly higher r foreign-born ownership                be highly educated, with 96 percent                     the eligibility criteria vary among them
rates.58                                                holding bachelor’s degrees and 74                       to a significant extent.65
   Many high-growth firms are involved                  percent holding advanced degrees, and
in activities classified in the STEM                                                                            3. Population of Entrepreneurs
                                                        with three-quarters of the latter in STEM
(science, technology, engineering, and                                                                          Potentially Eligible
                                                        fields. As of 2010, according to one
math) fields. The high concentration of                 study, more than 40 percent of the                         DHS cannot precisely predict the
immigrant entrepreneurs in these                        Fortune 500 companies had been                          volume of new businesses that will start
industries has garnered much attention.                 founded by an immigrant or the child of                 in the United States due to this rule.
Between 2006 and 2012, one-third of                     an immigrant.61                                         DHS has instead examined available
companies financed with venture                            To reiterate, high-growth firms tend to              data to provide a broad estimate of the
capital that made an initial public                     be new and young, and one of their                      population of individual entrepreneurs
offering had an immigrant founder, a                    primary contributions to the highly                     who may be eligible to request parole
sharp rise from seven percent in 1980.                  dynamic labor market of the United                      consideration under this rule. Given
These companies have generated 66,000                   States has been through job creation.                   limits on DHS’s information about such
jobs and $17 billion in sales.59 A survey               High-growth firms tend to innovate and                  entrepreneurs, DHS does not know how
                                                        focus on developing new products and                    many people within the estimated
   56 OECD, Migrant Entrepreneurship in OECD
                                                        services. The intense involvement of                    eligible population will actually seek
Countries, prepared by Maria Vincenza Desiderio         immigrant entrepreneurs in successful                   such consideration; the estimates
(OECD) and Josep Mestres-Domènech for the
Working Party on Migration (2011), pp. 141–144,
                                                        technology-driven activities suggests                   contained in this section represent an
available at: http://www.oecd.org/els/mig/              substantial economic contributions.                     approximation to the size of the eligible
Part%20IIBEntrepreneursBengl.pdf. This, and many        While measuring the precise value and                   population. DHS has estimated the
other similar studies and analyses are based on self-   impact of innovation is difficult and                   population of entrepreneurs potentially
employment rates, which are a proxy, but not a          still at a nascent stage in research, many              eligible for parole under this rule based
perfect measure, of business ownership, because
some ownership structures such as partnerships,         economists believe innovation creates                   on two sub-groups: (1) Foreign
that could involve a foreign-born owner, are            positive externalities and spillover                    individuals who seek to come to the
generally not considered to be proprietary.             effects that further drive economic                     United States to start a new business
   57 The categorization of ‘‘foreign-born’’ does not
                                                        growth.62                                               with financial backing from a qualified
differentiate between lawful permanent residents
and naturalized citizens. It also does not provide
                                                           Notwithstanding the research on the                  U.S. investor; and (2) foreign
details of the firm history, implying that some firms   positive effects of high-growth                         individuals who seek to come to the
owned by persons not born in the United States          entrepreneurship, there is some                         United States to start a new business as
could have been founded by U.S. citizens and sold       evidence of a long-term slowing in start-               recipients of U.S. funded and awarded
to foreign-born persons.                                up dynamism and entrepreneurial
   58 See David M. Hart, Zoltan J. Acs, and Spencer

L. Tracy, Jr., High-tech Immigrant Entrepreneurship
                                                        activity in the United States; this trend                  64 See Dane Stangler and Jared Konczal, Give Me

                                                        began several decades ago, driving many                 your Entrepreneurs, Your innovators; Estimating
in the United States.; report developed under a                                                                 the Employment Impact of a Startup Visa, Ewing
contract with the Small Business Administration,        economists to advocate for policies that                Marion Kauffman Foundation, (Feb. 2013), pp.
Office of Advocacy (2009), page 8, available at:        attract more entrepreneurs in general.63                1–3, available at: http://www.kauffman.org/a/
https://www.sba.gov/sites/default/files/advocacy/
                                                        Many business entrepreneurial                           media/kauffmanBorg/
rs349totB0.pdf; see also Robert W. Fairlie and                                                                  research%20reports%20and%20covers/2013/02/
Magnus Lofstrom, Immigration and                                                                                startupBvisaBimpactBfinalsada. The estimates are
                                                          60 Id. at pp. 2–5.
Entrepreneurship, Institute for the Study of Labor                                                              based on a fixed pool of 75,000 startup visas for a
                                                          61 Vivek Wadhwa, Foreign-Born Entrepreneurs:
(2013), p. 1, available at: http://ftp.iza.org/                                                                 10-year period, in which firm deaths each year
dp7669.pdf. The foreign born ownership rates for        An Underestimated American Resource, Ewing              cycle some of visa to new entrants.
U.S. firms reported in these papers is 16% and          Marion Kauffman Foundation (2008), pp. 2–6,                65 Most programs have been enacted after 2010. A
18.2%, in order.                                        available at: http://www.kauffman.org/a/media/
                                                                                                                country list and some descriptive data can be found
   59 This information is found from various sources    kauffmanBorg/zBarchive/article/2008/11/                 at Jean-Christophe Dumont, Investor Visas in OECD
and found in Stuart Anderson, American Made 2.0.        wadhwatbook09.pdf.                                      Countries, OECD Conference on Global High-
                                                          62 See SMEs, Entrepreneurship and Innovation,
How Immigrant Entrepreneurs Continue to                                                                         Skilled Immigration Policy, The National
Contribute to the United States Economy, National       OECD (2010), pp 26–28, available at: http://            Academies Board on Science, Technology and
Foundation for American Policy, sponsored by the        www.oecd.org/berlin/45493007.pdf.                       Economic Policy (2014), available at: http://
                                                          63 See R. Decker et al. (2014), supra n. 53, p. 16–
National Venture Capital Association (NVCA)                                                                     sites.nationalacademies.org/cs/groups/pgasite/
(2013), pp. 3–7.                                        22.                                                     documents/Web page/pgaB152202.pdf.


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research grants and who intend to                        that this number will hold steady for the                parole parameters.70 DHS also excluded
conduct the concomitant research in the                  second year as well. The next section                    grant amounts recorded as negative,
United States. DHS assumes that each                     provides key data and analytical                         zero, and trivial amounts of less than
member of the eligible population will                   approaches utilized to arrive at the                     $1,000—such values were recorded if
start a business and that the general                    estimates of eligible individuals. DHS                   grants were rescinded or for some other
criterion for investment from a qualified                first considers volume estimates of                      reason not ultimately funded. On
investor (e.g., venture capital firms,                   eligible individuals based on official                   average, 138,447 grants comprised the
angel investors, or accelerators or                      U.S. data. The resulting estimates based                 annual resulting analytical cohort
incubators) be set at $250,000, while for                on official data are those utilized for the              derived from the above filtering
government grants or awards the general                  cost projections of the rule. Due to                     procedures. Of that total, a small
criterion will be $100,000. Based on                     particular constraints in the data, DHS                  portion, 2,043 grants, or 1.5 percent,
these amounts, DHS analyzed various                      follows with an alternative method of                    were awarded to foreign-born
past endeavors for the potential sources                 volume estimation of eligible                            individuals. Having determined a
of funds. DHS estimates that                             individuals that adds robustness to the                  reasonable eligibility threshold of
approximately 2,940 foreign nationals                    official estimate.                                       $100,000, DHS proceeded to the next
annually could be eligible to apply for                                                                           step, to determine the potential annual
                                                         Volume Projections Data and
parole under this rule. Table 1                                                                                   eligible population of grant-sourced
                                                         Methodology
summarizes the analysis by source of                                                                              researchers. Over the period of analysis,
funds.                                                    A. Grants                                               41 percent of the Federal grants
                                                              Because U.S.-funded research grants                 awarded to foreign recipients equaled or
     TABLE 1—NUMBER OF ENTRE-                             may be a qualifying investment under                    surpassed the $100,000 benchmark, for
    PRENEURS POTENTIALLY ELIGIBLE                         this rule, DHS obtained publicly                        an average of 835 annually.
                                                          available data on federally funded                      B. Investment Capital
                                            Annual        grants for fiscal years 2013–2015.67
          Sub-group                        eligibility                                                              To estimate the number of potential
                                                          Although numerous agencies within the
                                                          Federal Government award grants to                      new entrepreneurial start-ups, DHS
New firms funded with in-                                                                                         obtained and analyzed data from the
  vestment capital ................                 2,105 foreign-born individuals, most are                      BLS and the Census Bureau. From the
New firms funded with U.S.                                humanitarian or development
                                                                                                                  BLS Business Employment Dynamics
  grants or awards ...............                    835 focused.68 For this reason DHS parsed
                                                          the very large data set comprising 1.7                  (BED) data suite, DHS obtained the
     Total ...............................         2,940 million records to obtain a viable                       number of private establishments aged 1
                                                          analytical cohort. First, the records were              year or less for nine broad sectors likely
   DHS has no way of predicting with                      filtered to capture Federal Government                  to be involved in innovative activity, in
certainty the actual number of foreign                    agencies that award grants to both                      order to focus on entrants.71 Although a
nationals who will seek parole under                      United States and foreign-born                          reasonable proxy, the number of
this rule over time, as the size of the                   recipients. Secondly, the records were                  establishments aged 1 year or less is not
eligible population could change                          sorted to only include the Federal                      a perfect measure of firm start-ups
significantly. DHS acknowledges that                      Government agencies that award grants                   (births). The chosen metric may
the estimate of eligible individuals                      focused on ‘‘projects,’’ thereby                           70 There is a particular way in which the data
annually is an approximation based on                     excluding block and assistance grants.69                germane to foreign grants were parsed and
past foreign ownership and start-up                       The foreign-born cohort used for the                    analyzed. There are two possible foreign indicators
capital amounts. The analysis utilized to                 eligibility projections excluded grants                 listed for each grant. One is the ‘‘principal place’’
estimate the potential eligible                                                                                   involving the research and the other is the
                                                          made to recipients in U.S. territories, as              ‘‘recipient country.’’ The incumbent volume
population is also based implicitly on                    such recipients may be subject to                       projections are based on the latter because this
assumptions that: (1) The rule will not                   special considerations outside the                      indicator generally implies that the grant was made
significantly change the frequency of                                                                             to a person or institution outside the United States.
U.S. funded grant applications from                       types of investments involved, such as venture          The former is not used because this indicator could
                                                                                                                  apply to grants awarded to U.S. or foreign persons
international researchers; and (2) that                   capital, are fluid and becoming more global in
                                                                                                                  in order to conduct the ensuing research outside the
                                                          scope. DHS has no means to determine how the
the rule will not significantly affect the                evolution of these investment markets will affect, or   United States. Implicit in this analysis is that
market for international entrepreneurs                    be affected by, the rule.                               persons awarded U.S.-funded grants that are
and the market for the types of                              67 The data were obtained from                       overseas could conduct their research and
                                                                                                                  innovation in the United States, and are not
investment structures the rule will                       USASpending.gov: https://www.usaspending.gov/
                                                                                                                  otherwise precluded from doing so, even if the
                                                          Pages/Default.aspx. From the homepage, the data
involve. Based on these assumptions                       can be accessed from the linked ‘‘data download’’       focus of such research is in a foreign country.
and the data limitations, DHS projects                    section. The files were obtained on April 20, 2015.        71 The BLS data is found at http://www.bls.gov/

that for the first full year that the rule                   68 It is certainly the case that U.S. State          bdm/bdmage.htm. DHS utilized the ‘‘Establishment
will be effective, annual eligibility will                governments and other governmental entities issue       age and survival BED data for nation by major
                                                          research grants that foreign recipients could           industry’’ set and figures from Table 5, ‘‘Number of
be approximately 2,940.66 DHS projects                    potentially utilize for parole eligibility. However,    private sector establishments by age,’’ for the nine
                                                         DHS is not aware of any database that collects and       major sectors shown in Table 2. The BLS does
  66 DHS emphasizes that the total is a broad
                                                         provides such data publicly.                             provide figures on firm births that could be used in
estimate, as the Department has no means to                69 The Federal entities that awarded scientific        the present analysis. However, DHS chose
determine the demand for entrepreneurial parole,         focused research to foreign recipients were:             establishment age data because it is broken down
changes in the eligible population that the rule may     Agricultural Resource Service, National Institutes of    in a way that corresponds precisely to the
cause, time-variant possibilities, and application       Health, Centers for Disease Control and Prevention,      innovating sectors, discussed below. The firm birth
preferences. These conditions could change, if, for      Food and Drug Administration, Department of              data is not categorized in the exact same manner.
example, some foreign researchers see parole as          Defense, National Aeronautics and Space                  The nine major sectors were chosen to envelope the
attractive and apply for federally funded grants that    Administration, National Oceanic and Atmospheric         approximately 430 individual activities that DHS
they otherwise might not have applied for in the         Administration, National Institute of Standards and      considers to involve ‘‘science, technology,
absence of the rule. In addition, volume estimates       Technology, and National Science Foundation. The         engineering, and math’’ (STEM). The full list based
should be interpreted to apply to only initial           U.S. Department of State and the Agency for              on the 2012 update can be found at: http://
applications, not considerations for re-parole at        International Development (USAID) were excluded          www.ice.gov/sites/default/files/documents/
some future point in time. Lastly, the market for the    from the analysis.                                       Document/2014/stem-list.pdf.


                                                                                                                                                   IER00081
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overstate births, by including                                              data set.For brevity, we utilize the                                   the data do not provide a category
expansions and new franchises of                                            term ‘‘foreign’’ here to describe such                                       bound by the threshold minimum. In
existing businesses. Conversely, it may                                     firms. The foreign share was obtained by                                     fact, the encompassing tranche is very
understate the actual number of start-                                      dividing the number of foreign-owned                                         large, from $249,500 to $1 million in
ups, because some fraction of firms does                                    private firms in a sector by the total                                       range. The SBO does not provide actual
not survive the first year (the data are                                    number of reporting firms in the same                                        cohort data or other information from
tabulated in March of the respective                                        sector. This share applies to firms that                                     which DHS could evaluate the
year such that the establishments aged                                      have a least one owner who was not                                           distribution and, therefore, DHS has no
1 year and less are those that opened                                       born in the United States but does not                                       way of ascertaining how many firms in
within the previous year but remained                                       differentiate between various types of                                       this large range will occupy the
in business as of March of the following                                    ownership structures. The figure for                                         $250,000 to $1 million segment. As a
year), and those that opened in the                                         new firms obtained from the BLS BED                                          result, DHS relied on the share of firms
previous year and were still in business                                    data was multiplied first by the foreign                                     in this tranche and the additional
but had not reached 2 years of age. DHS                                     share to generate an estimate of firms                                       tranches over $1,000,000 relative to the
utilized the relevant figure for March                                      per sector started by a person not born                                      share of all firms reporting for the
2015, because the latter is the most                                        in the United States.                                                        sector, and recognizes that the volume
recent figure reported in the BED                                              Next, DHS attempted to calculate how                                      projection is likely larger than is
dataset.                                                                    many of the firms were started with at                                       realistic. An additional assumption is
   For each sector, DHS obtained the                                        least $250,000, the minimum                                                  that the startup threshold is the same for
corresponding share of firms owned by                                       investment threshold that the rule sets.                                     businesses with native and foreign-born
a person ‘‘not born a citizen of the                                        The SBO data provides ranges of such                                         founders. The relevant data and
United States’’ from the Census                                             startup capital amounts but DHS could                                        estimates per sector are shown in Table
Bureau’s Survey of Business Owners                                          not conduct a precise estimate because                                       2.
                                                                TABLE 2—SUMMARY OF ENTREPRENEUR ESTIMATES
                                                                                                                                                                                     Start-up
                                                                                                                                                     Foreign share                  threshold
                                                      Sector                                                                 New firms                    (%)                                              Annual eligible
                                                                                                                                                                                       (%)

Agriculture ........................................................................................................                  10,182                           4.9                        2.5                  12
Utilities .............................................................................................................                1,204                          10.8                        5.5                   7
Manufacturing ..................................................................................................                      29,883                          11.0                        5.4                 178
Information .......................................................................................................                   22,855                          11.9                        2.0                  55
Professional Services * ....................................................................................                         165,425                          12.8                        1.2                 248
Management ....................................................................................................                        7,334                           7.3                       20.2                 108
Waste Services ................................................................................................                       66,161                          16.4                        0.9                  94
Education .........................................................................................................                   15,226                          11.9                        0.7                  13
Health Care ......................................................................................................                   210,977                          18.0                        3.7               1,391

       Total ..........................................................................................................   ........................   ........................   ........................            2,105
  * Abbreviation for ‘‘Professional, Scientific, and Technical Services’’.


   As is discussed in the preamble, DHS                                     size bin relevant to the level proposed                                      C. An Alternative Estimate of
has revised two substantive components                                      is the $249,500 to $1 million in range,                                      Entrepreneurs Based on Investment
of the eligibility criteria for this final                                  which includes both figures. Because                                         Structures
rule. Foremost, the general investment                                      DHS does not have data on the
amount requirement has been lowered                                         distribution of amounts within this                                             DHS recognizes the imperfections in
from $345,000 to $250,000. DHS                                              range, the entire bin was included in the                                    estimating the potential population of
believes that the volume estimate of                                        proposed estimates and is retained in                                        eligible entrepreneurs based on
entrepreneurs based on investment                                           the final estimates. However, as is                                          extrapolating past conditions of foreign
capital will be higher than the 2,105                                       described below, DHS has conducted an                                        ownership rates and capital thresholds.
presented above but cannot make a                                           alternative method of estimation—to                                          The main benefit of this method is that
determination of exactly how much                                           include updates from the initial                                             it is based on official data. A main
higher. The reason is that the lower                                        proposal based on new information and                                        limitation is that it assumes that the
investment amount will allow some                                           data—that compares very closely to the                                       annual crop of firms created are
firms to be created that otherwise would                                    estimated total volume of 2,940.                                             entrepreneurial and the types of firms
not at the higher amount proposed                                           Specifically, an alternative estimate of                                     covered by the parole process in the
initially, but the Census Bureau capital                                    total volume annually is 2,920.                                              rule. In practice, some, but not all, will
   72 The Census SBO data are found at: http://                             Firms by Total Amount of Capital Used to Start or                            differentiate between foreign owners who came to
www.census.gov/data/tables/2012/econ/sbo/2012-                              Acquire the Business by Industry, Gender,                                    the United States to open a business and those who
sbo-characteristics.html. The foreign ownership                             Ethnicity, Race, and Veteran Status for the United                           acquired one after being in the United States for
figures per sector are found under ‘‘Characteristics                        States: 2007.’’ The foreign ownership share of firms                         some period of time (e.g., lawful permanent
of Business owners,’’ Table SB1200CSBO11:                                   is provided in the table and thus did not need to                            residents or naturalized citizens). A general finding
‘‘Statistics for Owners of Respondent Firms by                              be calculated by DHS. The SBO data are part of the                           among the literature on this topic is that many
Whether the Owner Was Born in the United States                             2012 survey for which data was released publicly                             foreign-born business owners were driven to start
by Gender, Ethnicity, Race, and Veteran Status for                          between February and June 2016.                                              a business by ‘‘push’’ factors in the labor market
the U.S.’’ and the startup capital data are found                              73 A possible source of upward bias in the foreign                        after arrival in the United States. DHS does not have
under Characteristics of Businesses, Table                                  ownership share and hence the estimate of eligible                           a means to parse out the ownership rate in a more
SB1200CSB16: ‘‘Statistics for All United States                             entrepreneurs is that this share does not                                    granular way to account for such differences.


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be innovators, even though the present                  investors, and accelerators.75 From the                 average number of firms by 0.25 to
analysis focuses on the sectors of the                  Seed-DB Web site DHS utilized the link                  capture the foreign share and then by
economy linked to STEM activity (DHS                    to ‘‘firms that have exited’’ to collect the            0.5 to reflect the median and also the
is not aware of any methods or data that                cohort of firms that underwent                          investment level DHS has set yields an
can allocate a research-innovation share                accelerators and then exited via an                     annual estimate of 2,920.
of firms to each sector). A second                      acquisition or public offering. Next,                     This estimate compares well to the
limitation is that the DHS method of                    DHS parsed the data to capture firms                    official total volume estimate of 2,940.
measuring new firms in the context of                   that reported total funding, exit value,                The accelerator data captures seed
the rule is imprecise. The final rule                   and were not recorded as ‘‘dead’’ (last                 rounds that involve venture capital,
revised the definition of ‘‘start-up                    accessed on Nov. 7, 2016). The parsing                  angel, accelerator investments, and
entity’’ in 8 CFR 212.19(a)(2) to include               described above yielded a cohort of 89                  grants, which is why it is compared to
firms that were formed up to 5 years                    firms. DHS followed the Seed-DB links                   the total volume estimate.
prior to the filing of the application for              to Crunchbase for each firm and                         D. Potential Variability in the Volume
parole, compared to three years as                      extracted the seed round, recording its                 Projections
proposed in the NPRM. However, the                      value.76 Analysis of the investment
                                                        rounds reveals that the median is                          This section discusses several
BLS cohort of new firms utilized for the
                                                        $250,000. Having determined a median                    potential cohorts involving
volume projections are 1 year of age or
                                                        seed round size from the data, DHS next                 entrepreneurial activity that is difficult
less, not five or even three years, and is
                                                        attempted to estimate a foreign share of                to estimate.
thus a smaller estimate of the number of                                                                           In light of the potential benefits to the
new firms that could be eligible. This                  accelerated firms. The exit cohort from
                                                        which the median was calculated did                     U.S. economy and job creation, DHS is
limitation cannot be overcome because                                                                           proposing this rule to provide a
of the manner in which the survival                     not provide such information, hence
                                                        DHS turned to the Seed-DB data suite                    mechanism that, consistent with the
cohorts are presented.74 Because the                                                                            requirements of the INA, encourages
volume projections are derived from                     that lists the total number of companies
                                                        incubated for each accelerator and the                  international entrepreneurs described
information obtained from official                                                                              herein to form and create innovative
sources—the BLS and Census Bureau—                      countries that the companies were
                                                        located in. Since there is wide variation               firms in the United States. In 2011, DHS
DHS retains them for purposes of the                                                                            began outreach and stood up the
costs and volume estimates of the rule.                 in the number of companies per
                                                        incubator, ranging from 1 to over a                     Entrepreneurs in Residence initiative to
DHS believes, however, that an                                                                                  try to encourage entrepreneurship
alternative method of estimation will                   thousand, DHS grouped the incubators
                                                        by country and then weighted each one                   among foreign nationals.78 DHS began
inform readers and strengthen the                                                                               tracking the number of foreign nationals
regulatory analysis by providing a viable               for its share of total companies. The
                                                        resulting weighted average indicates                    who indicated interest in starting up an
comparison to the official projections. In                                                                      entrepreneurial endeavor at some point
this alternative approach, DHS focuses                  that one quarter of incubated companies
                                                        were foreign.77 Having determined a                     during their admission as an H–1B
on business accelerators and incubators                                                                         nonimmigrant. Over four fiscal years
                                                        median seed round and a foreign share
(described together as ‘‘accelerators’’ for                                                                     (FY 2010–2013), an average of 77
                                                        estimate, the final point required is the
brevity). By analyzing the foreign                                                                              foreign nationals indicated such
                                                        number of firms to apply these figures
component of these structures, data                                                                             interest. In light of the relatively small
                                                        to. Based on the most recent data from
permitting, an alternative estimate of                                                                          numbers of foreign nationals who
                                                        the Center for Venture Research, the
entrepreneurs can be obtained for                                                                               indicated their entrepreneurial
                                                        2013–2015 annual average for angel
comparison purposes.                                                                                            intentions, DHS believes that
                                                        financed firms in the seed and startup
  DHS obtained publicly available                       phase was 33 percent, which equals                      considering parole requests under this
information from Seed-DB, which                         23,336 firms annually. Multiplying this                 rule will promote further innovation
provides data on U.S. accelerators                                                                              and other economic benefits in addition
collected from industry associations and                   75 The Seed-DB information is found at               to those created by existing programs
fee-based data providers such as                        www.seed-db.com/.                                       and policies used by foreign nationals to
Crunchbase, which is a large data                          76 For most of the firms in the exit cohort, the
                                                                                                                pursue high-growth entrepreneurial
                                                        initial round of investment date-wise was also the      activity in the United States. When the
provider for venture capital, angel                     smallest round in terms of value and labeled as the
                                                        ‘‘seed’’ or ‘‘angel’’ round. For about 10 percent of    rule is effective, there could be some
   74 Specifically, the BLS BED provides the number     the firms however, determining which round to use       small substitution effects as some
of firms surviving to a specific age and below. For     for the analysis was not straightforward and DHS        portion of this cohort could switch to
example, the five year cohort includes all firms        had to utilize some discretion. For example, for        seeking parole instead of relying on
started within five years surviving up to that point,   some firms the seed round was listed after other
and so on for younger cohorts. However, the data        rounds, such as venture capital or Series A rounds.     other existing nonimmigrant programs
does not count the number of firms within each          For others, the seed round was not the smallest         and policies. DHS, however, does not
survival cohort by their true age. Hence, the five      round recorded. DHS does not know why these             believe such substitution will occur on
year survivals do not include firms that started up     anomalies are present but proceeded to choose the       a large scale because the ability to be
and may have died after three years that could have     ‘‘seed round’’ regardless of its dating or amount.
been eligible at one time. Therefore, the five year     The only exception was in the few cases in which        admitted to the United States as a
survival cohort significantly undercounts the           the seed round post-dated other rounds and was          nonimmigrant offers materially more
number of firms that will potentially have been         larger in amount. In these few cases the initial        benefits and protections than parole.
considered new in the context of the final rule.        round was chosen, regardless of what investment            In addition, the rule lists a number of
Conversely, adding up the survival cohorts to a         type it was.
point, say year five, will significantly over-count        77 This foreign share found by DHS in the analysis
                                                                                                                ancillary conditions for eligibility—and
the number of firms considered new in the context       corresponds strongly to a finding in a study of high    conversely a number of conditions that
of the final rule. The reason is that a firm that       technology firms that found that 24 percent of such
survived four years and went on to age five will be     firms were founded by a foreign born person. See           78 Source: ‘‘USCIS Announces ‘Entrepreneurs in

included in both the five and four year cohort, not     America’s New Immigrant Entrepreneurs, Vivek            Residence Initiative,’ ’’ available at: http://
to mention the younger ones. Thus, adding the two       Wadhwa, AnnaLee Saxenian, Ben Rissing, and Gary         www.uscis.gov/news/public-releases-topic/business-
(age four and five) cohorts together would double       Gereffi, available at: http://                          immigration/uscis-announces-entrepreneurs-
count the survivor. This problem is less onerous for    people.ischool.berkeley.edu/aanno/Papers/               residence-initiative; see also http://www.uscis.gov/
firms aged one or zero.                                 AmericasBnewBimmigrantBentrepreneursBI.pdf.             eir/visa-guide/entrepreneur-visa-guide.


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will leave individuals unlikely or                        In addition, DHS is proposing that                        $33.16 hourly time value for applicants
unable to be paroled into the United                      applicants for parole as an entrepreneur                  to the total biometrics-related time
States (or continue to be paroled in the                  submit biometrics and incur the $85                       burden, DHS finds that the opportunity
country). Because ancillary conditions                    biometric services fee. Because                           cost for a principal applicant to travel to
can be considered for eligibility, the                    entrepreneurs could start firms in any                    and from an ASC, and to submit
actual volume may be smaller than the                     number of occupations, DHS believes it                    biometrics, will total $121.68.82 In
estimates herein. Two examples are                        is appropriate to utilize the mean hourly                 addition to the opportunity cost of
that, under the rule, applicants must                     wage for all occupations, which is                        providing biometrics, applicants will
maintain household income greater than                    $22.71.80 In order to anticipate the full                 experience travel costs related to
400 percent of the poverty line and that                  opportunity cost to petitioners, DHS                      biometrics collection. The cost of such
the qualifying start-up capital cannot                    multiplied the average hourly U.S. wage                   travel will equal $28.75 per trip, based
come from family members. The volume                      rate by 1.46 to account for the full cost                 on the 50-mile roundtrip distance to an
estimates presented in this analysis                      of employee benefits such as paid leave,                  ASC and the General Services
assume all ancillary eligibility                          insurance, and retirement, for a total of                 Administration’s (GSA) travel rate of
conditions are met.                                       $33.16 per hour.                                          $0.575 per mile.83 DHS assumes that
   Finally, two potential elements of the                    DHS estimates that the application                     each individual will travel
eligible population are considered. First,                will take 4.7 hours to complete. After                    independently to an ASC to submit his
as alluded to in the summary, the                         DHS receives the application and fees,                    or her biometrics, meaning that this rule
volume estimates and ensuing cost                         if the applicant is physically present in                 will impose a time cost on each of these
estimates assume one individual owner                     the United States, USCIS will send the                    applicants.
for each new firm; under the rule, DHS                    applicant a notice scheduling him or her                    DHS estimates that each principal
will allow up to three individuals per                    to visit a USCIS Application Support                      parole applicant will incur the
firm to seek parole but does not attempt                  Center (ASC) for biometrics collection.                   following costs: $1,285 in filing fees to
to estimate how many of the startups                      Along with the $85 biometric services                     cover the processing costs for the
could have more than one owner.                           fee, the applicant will incur the                         application and biometrics; $306.27
Second, the volume estimate for grants                    following costs to comply with the                        after summing the monetized cost of
is based on Federal awards only. DHS                      biometrics submission requirement: the                    travel to submit biometrics, the total
will consider eligibility based on State                  opportunity cost of traveling to an ASC,                  opportunity costs of time of the initial
or local grants and awards, including                     the mileage cost of traveling to an ASC,                  applications, biometrics, and estimated
those from State or local Economic                        and the opportunity cost of time for                      travel costs, resulting in a total cost of
Development Corporations (EDCs).                          submitting his or her biometrics. While                   $1,591.27 per application, rounded to
However, unlike in the case of Federal                    travel times and distances vary, DHS                      $1,591.84 If DHS receives 2,940
awards, there is not a database capturing                 estimates that an applicant’s average                     applications from persons eligible to
State and local grants or the                             roundtrip distance to an ASC is 50
                                                                                                                    apply, DHS anticipates that such
transmission mechanisms through                           miles, and that the average time for that
                                                                                                                    applications will result in annual filing
which some Federal grants are                             trip is 2.5 hours. DHS estimates that an
                                                                                                                    fee transfers of $3,777,900
                                                          applicant waits an average of 1.17 hours
distributed to other entities, such as                                                                              (undiscounted), which comprise the
                                                          for service and to have his or her
EDCs, and as such DHS was unable to                                                                                 application fee and cost of submitting
                                                          biometrics collected at an ASC, adding
estimate the number of entrepreneurs                                                                                biometrics, and opportunity and other
                                                          up to a total biometrics-related time
potentially eligible for parole as a result                                                                         burden costs of $900,436 for a total
                                                          burden of 3.67 hours.81 By applying the
of receiving State and local grants.                                                                                annual cost of $4,678,366. Any
4. Costs                                                  adjudicated) to calculate a fee or fee adjustment for     subsequent renewal of the parole period
                                                          a benefit type. A completion rate reflects an average     will result in costs similar to those
   A. Principal Filer Costs                               time an adjudicator spends actually working on a          previously discussed, with the
   The rule will permit certain foreign                   case but does not include ‘‘queue’’ or wait times.
                                                                                                                    exceptions of travel costs, since the
nationals to apply for a 30-month (2.5-                   Because parole under this rule has not yet been
                                                          implemented, the completion rate used is based on         applicant will not be required to depart
year) initial period of parole into the                   a 4-hour estimate provided by USCIS’ subject              the United States and re-enter.
United States provided they meet the                      matter experts. At this time, USCIS has estimated         Similarly, the same costs will result for
eligibility criteria. Those who seek such                 that 30 additional staff will be required to satisfy
                                                                                                                    material changes requiring the filing of
                                                          the forecasted workload associated with this rule.
parole into the United States will face                   However, USCIS requires adjudicators to report            amended applications, with the
the costs associated with the                             actual adjudication hours and case completions by         exception of the travel costs noted above
application, which involve a $1,200                       benefit type. This reporting will occur after this rule   and costs associated with biometrics
application fee plus other costs, detailed                is implemented. Adjudication hours will be divided
                                                          by the number of completions for the same time            collections, including the time and
below. The costs will stem from filing                                                                              travel to an ASC.
fees and the opportunity costs of time                    period to determine the actual average completion
                                                          rate. This rate will be used in future fee adjustments
 associated with filing the Application                   and will help determine future staffing allocations       impacts of the rule, DHS has estimated costs of
for Entrepreneur Parole (Form I–941).                     necessary to handle the projected workload for            submitting biometrics under the assumption that all
    The filing fee for the Form I–941                     parole under this rule.                                   applicants are traveling to an ASC in the United
                                                             80 Please see U.S. Department of Labor, Bureau of      States.
 application is $1,200. The fee is set at                                                                             82 Calculation: $33.16 * 3.67 hours = $121.68.
                                                          Labor Statistics, Occupational Employment
a level intended to recover the                           Statistics program, National Occupational                   83 Calculation: 50 miles multiplied by $0.575 per
anticipated processing costs to DHS.79                    Employment and Wage Estimates, United States              mile equals $28.75. See 79 FR 78437 (Dec. 30, 2014)
                                                          (May 2014), available at: http://www.bls.gov/oes/         for GSA mileage rate.
  79 USCIS calculates its fees to recover the full cost   2014/may/oesBnat.htm.                                       84 Calculation: $1,285 + 306; $1,285 is the sum of
of USCIS operations, including meeting national              81 Foreign nationals who submit their                  the direct cost of the $1,200 filing fee and the $85
security, customer service, and adjudicative              applications from outside the United States will          cost of biometrics. The $306(rounded) figure is
processing goals. As with other fees, USCIS uses          still be required to pay the $85 biometric processing     obtained by adding the cost of travel ($28.75) plus
Activity Based Costing (ABC) to assign costs to           fee and travel to a USCIS office abroad, if available,    the total opportunity cost of $277, the latter of
specific benefit requests. This model uses                or a U.S. embassy or consulate office for biometric       which is the product of the total time burden (8.37
completion rates (actual or estimated depending on        processing at the time of travel document issuance.       hours) and the average burdened hourly wage
whether the benefit type is already being                 Due to data limitations, and to capture general           ($33.16).


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B. Dependent Spouses and Children                       traveling to an ASC, and the                              biometrics. The total time burden is 7.23
   The rule will require all dependent                  opportunity cost of submitting his or her                 hours. At the cost-burdened wage, the
family members (spouses and children)                   biometrics. While travel times and                        total opportunity cost is $76.53. Adding
accompanying or joining the                             distances vary, DHS estimates that an                     the $28.75 cost of travel, the total non-
entrepreneur to file an Application for                 applicant’s average roundtrip distance                    filing cost is estimated to be $105.28,
Travel Document (Form I–131), and will                  to an ASC is 50 miles, and that the                       and the total cost per applicant is
require all spouses and children 14                     average time for that trip is 2.5 hours.88                $765.28. At the projection of 3,234
years of age through age 79 to submit                   DHS estimates that an applicant waits                     applicants, the non-filing cost is
biometrics.85 Those spouses and                         an average of 1.17 hours for service and                  $340,474 (undiscounted), and combined
children will face the costs associated                 to have his or her biometrics collected                   with filing costs of $2,134,440, the total
with filing the application and                         at an ASC, adding up to a total                           estimated cost for dependents germane
submitting biometrics. DHS recognizes                   biometrics-related time burden of 3.67                    to the Form I–131 application is
that many dependent spouses and                         hours. In addition to the opportunity                     $2,474,914.
children do not currently participate in                cost of providing biometrics, applicants                     In addition, DHS is allowing
the U.S. labor market, and as a result,                 will experience travel costs related to                   independent employment authorization
are not represented in national average                 biometrics collection. The cost of such                   for spouses of entrepreneurs granted
wage calculations. In order to provide a                travel will equal $28.75 per trip, based                  parole under this rule. DHS will permit
reasonable proxy of time valuation, DHS                 on the 50-mile roundtrip distance to an                   these individuals to apply for
has to assume some value of time above                  ASC and the General Services                              employment authorization by filing a
zero and therefore uses an hourly cost                  Administration’s (GSA) travel rate of                     Form I–765 application. To estimate the
burdened minimum wage rate of $10.59                    $0.575 per mile.89 DHS has assumed                        number of potential persons applying
to estimate the opportunity cost of time                that each applicant will travel                           for employment authorization, DHS
for dependent spouses. The value of                     independently to an ASC to submit his                     used a simple one-to-one mapping of
$10.59 per hour represents the Federal                  or her biometrics, meaning that this rule                 entrepreneurs to spouses to obtain 2,940
minimum wage with an upward                             will impose a time cost on each of these                  spouses, the same number as
adjustment for benefits.86 The value of                 applicants. DHS also assumed all                          entrepreneur parolees.
                                                        children were over the age of 14 for the                     The current filing fee for the Form I–
$10.59 per hour is consistent with other
                                                        purposes of this analysis and, therefore,                 765 application is $410.00. The fee is set
DHS rulemakings when estimating time
                                                        this cost estimate may be slightly                        at a level to recover the processing costs
burden costs for those who are not
                                                        overestimated.                                            to DHS. Based on the projection of 2,940
authorized to work.87
   DHS will require dependents of                          DHS projects that approximately                        applicants, the total filing cost is
parole applicants (spouses and children                 3,234 dependents will be required to file                 $1,205,400 (undiscounted). DHS
of the parole applicant) to file an                     a Form I–131 application and submit                       estimates the time burden of completing
Application for Travel Document (Form                   biometrics, based on the estimate of                      the Form I–765 application is 3.42
I–131). There is a $575 filing fee                      2,940 principal applicants and using a                    hours.91 At the cost-burdened wage, the
associated with the Form I–131                          multiplier for expected family members                    total opportunity cost is $36.20. At the
application, and DHS estimates it will                  of 1.1.90 The total cost for those spouses                projection of 2,940 applicants, the non-
take 3.56 hours to complete each                        and children requesting parole under                      filing cost is $106,430 (undiscounted)
submission. In addition to filing the                   this program includes the filing fee,                     and combined with filing costs of
Form I–131 application, each dependent                  biometrics processing fee, travel costs                   $1,205,400 the total estimated cost for
spouse and child 14 years of age and                    associated with biometrics processing,                    spouses germane to the Form I–765
over will be required to submit                         and the opportunity cost of filing the                    application is $1,311,830.
                                                        Form I–131 application and submitting                        In addition to the filing costs,
biometric information (fingerprints,
                                                                                                                  applicants for parole may face other
photograph, and signature) by attending                    88 DHS has estimated travel distances and ensuing
                                                                                                                  costs associated with their
a biometrics services appointment at a                  travel times at 2.5 hours in prior rulemakings. See,      entrepreneurial activities. These could
designated USCIS Application Support                    e.g., ‘‘Employment Authorization for Certain H–4
                                                                                                                  include the administrative costs of
Center (ASC). The biometrics processing                 Dependent Spouses; Final rule,’’ 80 FR 10284 (Feb.
fee is $85.00 per applicant. In addition                25, 2015); and ‘‘Provisional and Unlawful Presence        starting up a business, applying for
to the $85 biometrics services fee, the
                                                        Waivers of Inadmissibility for Certain Immediate          grants, obtaining various types of
                                                        Relatives; Final Rule,’’ 78 FR 536, 572 (Jan. 3, 2013).
applicant will incur the following costs                   89 See U.S. General Services Administration Web
                                                                                                                  licenses and permits, and pursuing
to comply with the biometrics                           site for Privately Owned Vehicle (POV) Mileage            qualified investments. However, these
submission requirement: the                             Reimbursement Rates, http://www.gsa.gov/portal/           costs apply to the entrepreneurial
                                                        content/100715 (accessed Aug. 8, 2015).                   activity and the business activity that
opportunity and mileage costs of                           90 The multiplier of 1.1 was obtained from DHS
                                                                                                                  the applicant has chosen to be involved
                                                        estimates of the average historical ratio of principal
   85 Note: If a child under the age of 14 requires a
                                                        versus dependent recipients of lawful permanent           in and are not driven by the parole
travel document, he or she will need to appear for      resident status. DHS studies based on statistics          process or other governmental functions
biometrics by traveling to an ASC, but will not be      obtained from office of Immigration Statistics reveal     attributable to the rule itself. Hence,
required to pay a biometrics fee.                       that multipliers for the employment preference
   86 U.S. Department of Labor, Wage and Hour           categories EB–1, EB–2, and EB–3 range from 2.04
                                                                                                                  DHS does not attempt to estimate,
Division. The minimum wage in effect as of July 24,     to 2.27. DHS believes that 2.1. is a reasonable           quantify, or monetize such costs.
2009. Available at http://www.dol.gov/dol/topic/        multiplier for the estimates and utilized this               Lastly, DHS recognizes that some
wages/minimumwage.htm. The calculation for total        multiplier in regulatory assessments involved in          individuals who were lawfully admitted
employer costs for employee compensation for            American Competitiveness in the Twenty-First
dependent spouses and children of principals with
                                                                                                                  in the United States in certain
                                                        Century Act, (AC21) provisions, specifically:
an approved Form I–140: $7.25 per hour u1.46 =         ‘‘Retention of EB–1, EB–2, and EB–3 Immigrant             nonimmigrant classifications may seek
$10.59 per hour.                                        Workers and Program Improvements Affecting
   87 See ‘‘Employment Authorization for Certain H–                                                                 91 Source: Paperwork Reduction Act (PRA)
                                                        High-Skilled Nonimmigrant Workers’’ (RIN 1615–
4 Dependent Spouses; Final rule,’’ 80 FR 10284          AC05), rule. Because the Form I–131 filings relevant      Supporting Statement for Form I–765 (OMB control
(Feb. 25, 2015); and ‘‘Provisional and Unlawful         to this rule do not apply to principals, only spouses     number 1615–0040). The PRA Supporting
Presence Waivers of Inadmissibility for Certain         and dependent children, DHS believes it is valid to       Statement can be found at Question 13 on
Immediate Relatives; Final Rule,’’ 78 FR 536, 572       subtract 1 from the 2.1 multiplier to yield the final     Reginfo.gov at http://www.reginfo.gov/public/do/
(Jan. 3, 2013).                                         multiplier of 1.1.                                        PRAViewICR?refBnbr=201502-1615-004.


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parole. Individuals who are present in                entrepreneurship, other researchers                     to have a significant impact on the labor
the United States at the time their parole            have noted that this finding only raises                market.
application is approved, based on                     the possibility that displacement could                   While the figures above apply to the
admission as a nonimmigrant, will have                not be ruled out completely, but did not                general U.S. labor force, DHS recognizes
to depart the United States and appear                actually provide evidence that it had                   that concentration of new labor force
at a U.S. port of entry in order to be                actually occurred.93 Another study,                     entrants can impact specific labor
granted parole since USCIS is unable to               conducted by the Brookings Institution,                 markets. DHS believes that any such
grant parole to individuals who are not               did not find displacement but                           potential impacts linked to this rule will
applicants for admission. See INA                     acknowledged that more research and                     be insignificant. The NVCA and other
section 212(d)(5), 8 U.S.C. 1182(d)(5).               refined control techniques, along with                  sources of information that DHS
These individuals will be ineligible for              longitudinal data, will need to be                      reviewed indicates that while the area of
a change of status under section 248 of               studied before ruling out the possibility               California known as Silicon Valley has
the INA, 8 U.S.C. 1258. Such applicants               completely.94 In any event, the purpose                 traditionally been, and continues to be,
will therefore bear the travel costs of               of the parole rule is to foster innovation              the primary recipient geographically for
exit and returning to a port of entry.                and entrepreneurial activities in new or                technology startup capital, other large
However, because there are no similar                                                                         urban centers on the East Coast and,
                                                      very young endeavors, where the
programs for comparison, DHS cannot                                                                           even more recently, parts of the Mid-
                                                      literature much more decisively
determine the demand for parole or                                                                            and Mountain West have seen increased
                                                      indicates a strong potential of creating
substitution effects from other                                                                               technology startup activity. To provide
classifications and thus cannot estimate,             new net jobs for U.S. workers.
                                                                                                              just one example of a potential area-
quantify, or monetize such potential                     DHS recognizes that the potential                    specific impact, DHS considered the
travel costs. Finally, because the                    inclusion of spouses can incur labor                    San Jose-San Francisco-Oakland (CA)
program allows for re-parole under                    market implications and possibly                        Combined Statistical Area (CSA)
conditions that DHS has set,                          impact U.S. workers. As was noted in                    conjoining the seven Metropolitan
entrepreneurs and their spouse and                    previous sections of the regulatory                     Statistical Areas (MSAs) and nine
children, if applicable, will likely face             impact analysis, DHS did not attempt to                 encompassed counties constituting the
filing and opportunity costs associated               assess or measure the labor market                      economic linkages of Silicon Valley.
with applying for re-parole. However,                 impact of the estimated entrepreneurs                   Based on data from the BLS, the
DHS has no means of estimating the                    potentially eligible for parole because as              population of this CSA is about 8.6
share of the potential eligible                       founders of firms, these persons will not               million (as of May 2014) and the
population that will seek and be eligible             affect the labor market in the same way                 employed population (a narrower
for re-parole, hence re-parole conditions             as other workers. Although spouses                      measure of the labor market than the
are not included in this analysis. In                 could have labor market impacts as new                  labor force) about 3.75 million. If the
summary, DHS believes that it is                      labor market entrants, DHS believes                     share of new entrants is based on the
possible that there could be some                     such potential impacts will be                          proportion of venture capital to the area,
substitution into the parole program                  negligible. The main reason is that the                 which is 42 percent, then 2,746 spousal
from other programs and such                          size of the potential new cohort is very                entrants could impact the area.97
applicants and dependents will incur                  small. As of the end of 2015, there were                Assuming such entrants gain
travel and possible other costs related to            an estimated 157,130,000 people in the                  employment, this cohort represents just
exit and requesting a grant of parole at              U.S. civilian labor force.95                            0.02 percent of the employed
a U.S. port of entry.                                 Consequently, the estimated ‘‘new’’                     population of the specific CSA.
C. Potential for Negative U.S. Labor                  available workers in the first year will
                                                      represent approximately 0.001 percent                   D. Government Costs
Market Impacts
  DHS does not expect the rule to                     of the overall U.S. civilian labor force.96               The INA provides for the collection of
generate significant costs or negative                DHS believes this fraction is too small                 fees at a level that will ensure recovery
consequences. Extensive review of                                                                             of the full costs of providing services,
                                                         93 See Magnus Lofstrom, Immigrants and               including administrative costs and
information relevant to immigrant
                                                      Entrepreneurship, Public Policy Institute of            services provided without charge to
entrepreneurship indicates that while                 California, USA, and IZA, Germany (2014), p. 4,         certain applicants and petitioners. See
much about the impact of such                         available at: http://wol.iza.org/articles/immigrants-
entrepreneurship is not known, there is               and-entrepreneurship.pdf.
                                                                                                              INA section 286(m), 8 U.S.C. 1356(m).
no reason to expect that substantial                     94 See Zoltan J. Acs and David M. Hart,              DHS has established the fee for the
negative consequences, including                      Immigration and High-Impact, High-Tech                  adjudication of the Form I–941
adverse impact on domestic workers,
                                                      Entrepreneurship, Brookings, Issues in                  application based on notional
                                                      Technological innovation (Feb. 2011), available at      application filing volumes and
are likely. The possibility that                      http://www.brookings.edu/research/papers/2011/
immigrant entrepreneurs may displace                  02/immigration-hart-acs.                                estimated resource commitments.
(‘‘crowd-out’’) native entrepreneurs has                 95 See News Release, United States Department of     During the biennial fee review, DHS
been raised by a few researchers. One                 Labor, Bureau of Labor Statistics, Local Area
                                                      Unemployment Statistics, Regional and State                97 The employment figures are provided by the
study indicated that a very small                     Unemployment–2015 Annual Averages, Table 1              BLS, Occupational Employment Statistics (OES),
number of native entrepreneurs were                   ‘‘Employment status of the civilian non-                found at: http://www.bls.gov/oes/current/oesB
possibly displaced by immigrant                       institutional population 16 years of age and over by    42100.htm. The population data is provided by the
                                                      region, division, and state, 2014–15 annual
entrepreneurs.92 However, because of                  averages’’ (Mar. 24, 2016), available at http://
                                                                                                              Census Bureau, which tabulates CSAs: ‘‘Combined
                                                                                                              Statistical Area Totals Dataset: Population and
difficulties in controlling for a large               www.bls.gov/news.release/pdf/srgune.pdf.                Estimated Components of Change: April 1, 2010 to
amount of variables related to                           96 Source: United States Department of Labor,
                                                                                                              July 1, 2014’’ (CSV), 2014 Population Estimates.
                                                      Bureau of Labor Statistics, Local Area                  United States Census Bureau, Population Division.
   92 Fairlie, R.W., and B.D. Meyer, The effect of    Unemployment Statistic. Figure applies to               March 2015. The information on the venture capital
immigration on native self-employment, Journal of     seasonally adjusted level for December 2014,            share for the region is found in the NVCA 2015
Labor Economics 21:3 (2003): 619–650, available at:   available at: http://data.bls.gov/timeseries/           yearbook, and is found in figure 8, p. 14. The
http://people.ucsc.edu/arfairlie/papers/published/    LNS11000000. Calculation for new worker labor           calculation is as follows: (.42 u1813) = 761, which
jole%202003%20-%20native%20se.pdf.                    force share: 1813/157,130,000.                          is then divided by the CSA population of 3,750,000.


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will examine whether the fee is              significant impact on a substantial          not the entrepreneurial venture (firm).
sufficient to recover the full costs of      number of small entities. DHS made this      This rule will not alter or change the
adjudication, as required by the INA.        determination based on the following         normal procedure for fundraising or
                                             facts: This is not a mandatory rule; this    other start-up administrative costs that
5. Benefits
                                             rule only impacts those individual           occur in forming a business entity. Such
   As referenced previously, evidence        entrepreneurs who make the voluntary         costs are not direct costs of this rule and
suggests that innovation-focused start-      decision to apply for parole; and this       could include, but are not limited to,
ups contribute disproportionately to job     rule does not regulate the business          business application fees, legal fees, and
creation. The rule will reduce entry         entities in any way. After reviewing         licensing that precede significant
barriers, and thus support efforts by        public comments, including the formal        infusions of investment, the latter of
international entrepreneurs to generate      letter submitted on the record by the        which are primarily utilized for
entrepreneurial activity in the United       U.S. Small Business Administration’s         operational and capital expenses in
States.                                      Office of Advocacy (Advocacy), DHS           order to produce goods or services.
   The rule is expected to generate          maintains its certification that the rule       It is possible that some of the 2,940
important net benefits to the U.S.           does impose a significant impact on a        estimated entrepreneurs who could be
economy. For one, expenditures on            substantial number of small entities. For    eligible for parole annually could
research and development by the grant-       a full discussion of the DHS response to     involve business structures in which the
based researchers that DHS has               the letter submitted by Advocacy, please     filing fees are paid by a business entity.
identified that could qualify for            see Section III.M.4 of this preamble.        In the event that small business entities
entrepreneur parole will generate direct        Individuals are not defined as a          are impacted by this rule because they
and indirect jobs. In addition, this         ‘‘small entity’’ by the RFA. The rule will   choose to pay the filing fees on behalf
research-focused spending could              not mandate that all individuals apply       of an individual entrepreneur, DHS
potentially generate patents, intellectual   for parole. This rule provides               believes that the filing cost of $1,285 per
property, licensing, and other intangible    flexibilities and options that do not        application will be insignificant
assets that can be expected to contribute    currently exist for individuals who wish     compared to such entities’ annual gross
to innovation and technological              to establish or operate a start-up           revenues, potential for revenue, and
advances and spill over into other           business in the United States.               other economic activity.
sectors of the overall economy. DHS          Importantly, the rule does not require          For businesses that may pay the filing
acknowledges that it is extremely            any individuals or businesses, including     costs, the expected impact to such
difficult to gauge the precise economic      those created by foreign nationals, to       businesses will be small. For businesses
value of such assets and that peer-          seek parole—either generally or as a         that utilize either the minimum
reviewed research in this area is still      specific condition for establishing or       threshold of $100,000 for a qualifying
nascent. Despite the nascent stage of the    operating a business in the United           government grant or award or $250,000
research and the difficulty of measuring     States. Rather, as mentioned previously,     in capital investment to source the filing
quantitatively the benefit of innovation     this rule is intended to provide an          costs, such costs will constitute 1.3
driven by new high technology firms, a       additional flexibility for foreign           percent and 0.4 percent, respectively, of
large body of research indicates that the    individuals who are unable to obtain         the total capital amount. These
innovation driven by entrepreneurs           another appropriate nonimmigrant or          relatively low cost proportions apply to
contributes directly to economic growth,     immigrant classification, in order to        those firms that only obtain the
generates important efficiencies and         facilitate the applicant’s ability to        minimum investment amounts and have
cost reductions for firms that utilize       oversee and grow the start-up entity. If     no other source of funding or revenues.
such innovation, and increases               any individual believes this rule            In addition, DHS analyzed the cost
productivity and profitability for firms     imposes a significant economic impact,       impact relative to more typical RFA
that benefit indirectly through new          that individual could simply choose not      indices. DHS analysis of Census Bureau
products generated by such innovation.       to seek parole under the rule and thus       data on the smallest firms found that the
   Lastly, DHS believes that many of the     incur no economic impact. As discussed       average revenue based on sales receipts
start-up firms operated by international     previously, this rule imposes direct         for firms with no paid employees is
entrepreneurs during the parole period       filing costs of $1,285 (which includes       $309,000, while the average for firms
could eventually become high-growth          the $1,200 application fee and the $85       with one to four paid employees is
firms that generate exceptionally high       biometrics fee), plus $194 in time-          $411,000.98 The filing cost relative to
levels of economic activity and              related opportunity costs for those          these averages is 0.42 percent and 0.31
contribute disproportionately to job         individuals who do choose to apply for       percent, respectively.
creation in the United States.               parole as entrepreneurs under the rule.         DHS also analyzed the average
                                             This cost is relatively minor when           revenue for new firms. Since the rule
D. Regulatory Flexibility Act                considering the costs of starting up a       defines a new firm as one that is less
   In accordance with the Regulatory         new business and the capital necessary       than five years old at the time the initial
Flexibility Act (RFA), 5 U.S.C. 601(6),      to start a business.                         parole application is filed, DHS grouped
DHS examined the impact of this rule            Under the general term                    private sector firms for the 2012 survey
on small entities. A small entity may be     ‘‘entrepreneur,’’ DHS includes those         as those responding that the year of
a small business (defined as any             who desire to form firms with
independently owned and operated             investment funds from certain U.S.             98 The data utilized for the analysis are found in

business not dominant in its field that      investors. For purposes of the RFA, the      the SBO Table SB1200CSA09, ‘‘Statistics for All
                                                                                          U.S. Firms with Paid Employees by Industry,
qualifies as a small business per the        regulatory requirements place                Gender, and Employment Size of Firm for the U.S.
Small Business Act, 15 U.S.C. 632), a        compliance costs and establish               and States: 2012, 2012 Survey of Business Owners:
small not-for-profit organization, or a      eligibility criteria for the individual      http://census.gov/library/publications/2012/econ/
                                             requesting consideration for parole          2012-sbo.html. The file location is: http://
small governmental jurisdiction                                                           factfinder.census.gov/faces/tableservices/jsf/pages/
(locality with fewer than 50,000 people).    under this rule. DHS believes that the       productview.xhtml?pid=SBOB2012B
   In the proposed rule, DHS certified       costs of application for parole will         00CSA09&prodType=table. The figures are rounded
that this rule would not have a              burden the individual applicant, and         from $309,279 and $410,900, respectively.


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establishment was either 2012, 2011,                    E. National Environmental Policy Act          environment. Therefore, this rule is
2010, 2009, or 2008. DHS obtained the                      DHS Directive (Dir) 023–01 Rev. 01         categorically excluded from further
average revenue per firm and then                       establishes the procedures that DHS and       NEPA review.
weighted the average by the yearly                      its components use to comply with             F. Executive Order 13132
proportion of firms. Based on the                       NEPA and the Council on
resulting weighted average of $162,000,                                                                  This rule will not have substantial
                                                        Environmental Quality (CEQ)
such new firms will face a filing-cost                                                                direct effects on the States, on the
                                                        regulations for implementing NEPA. 40
burden of 0.8 percent.99 DHS notes that                                                               relationship between the National
                                                        CFR parts 1500 through 1508.
there is a large difference between the                    The CEQ regulations allow federal          Government and the States, or on the
revenue of new firms with paid                                                                        distribution of power and
                                                        agencies to establish, with CEQ review
employees and those without such                                                                      responsibilities among the various
                                                        and concurrence, categories of actions
employees (i.e., sole proprietors). For                                                               levels of government. Therefore, in
                                                        (‘‘categorical exclusions’’) which
the latter, average revenues are about                                                                accordance with section 6 of Executive
                                                        experience has shown do not
$34,000, and the cost burden will be 3.8                                                              Order 13132, it is determined that this
                                                        individually or cumulatively have a
percent. However, because a central                                                                   rule does not have sufficient federalism
                                                        significant effect on the human
component of this parole program                                                                      implications to warrant the preparation
                                                        environment and, therefore, do not
requires a demonstration of significant                                                               of a federalism summary impact
                                                        require an Environmental Assessment
public benefit in the form of economic                                                                statement.
                                                        (EA) or Environmental Impact
activity and job growth, DHS does not                   Statement (EIS). 40 CFR                       G. Executive Order 12988
anticipate that sole proprietors will be                1507.3(b)(1)(iii), 1508.4. DHS Directive
eligible to participate in this program.                                                                This rule meets the applicable
                                                        023–01 Rev. 01 establishes Categorical        standards set forth in sections 3(a) and
   In summary, DHS believes that per-                   Exclusions that DHS has found to have         3(b)(2) of Executive Order 12988.
applicant costs will be primarily                       no such effect. Dir. 023–01 Rev. 01
incurred by the individual (which is not                Appendix A Table 1. For an action to be       H. Paperwork Reduction Act
covered by the RFA), any direct cost due                categorically excluded, DHS Directive            Under the Paperwork Reduction Act
to this rule will be relatively minor, and              023–01 Rev. 01 requires the action to         of 1995 (PRA), Public Law 104–13, all
these costs will only be borne by those                 satisfy each of the following three           Departments are required to submit to
who voluntarily choose to apply for                     conditions: (1) The entire action clearly     the Office of Management and Budget
parole under this rule. While the                       fits within one or more of the                (OMB), for review and approval, any
applicant for parole may be the owner                   Categorical Exclusions; (2) the action is     reporting requirements inherent in a
of a firm that could be considered small                not a piece of a larger action; and (3) no    rule. See Public Law 104–13, 109 Stat.
within the definition of small entities                 extraordinary circumstances exist that        163 (May 22, 1995). This final rule
established by 5 U.S.C. 601(6), DHS                     create the potential for a significant        involves a new information collection
considers the applicants to be                          environmental effect. Dir. 023–01 Rev.        and makes revisions to the existing
individuals at the point in time they are               01 section V.B (1)–(3).                       information collections as follows:
applying for parole, particularly since it                 DHS analyzed this action and does
is the individual and not the entity that               not consider it to significantly affect the   Overview of Information Collection,
files the application and it is the                     quality of the human environment. This        Application for Entrepreneur Parole,
individual whose parole must provide a                  rule provides criteria and procedures for     Form I–941
significant public benefit under this                   applying the Secretary’s existing               This final rule requires that an
rule. Furthermore, even if firms do                     statutory parole authority to                 applicant requesting entrepreneur
voluntarily decide to incur the                         entrepreneurs in a manner to assure           parole complete an Application for
compliance costs on behalf of the                       consistency in case-by-case                   Entrepreneur Parole, Form I–941, and is
individual requesting consideration for                 adjudications. DHS has determined that        considered a new information collection
parole under this rule, the only                        this rule does not individually or            under the PRA. USCIS did receive one
compliance costs those businesses will                  cumulatively have a significant effect on     comment regarding the time burden of
be permitted to incur will be the filing                the human environment because it fits         this form and, upon review of the work
costs for the applications. As indicated                within two categorical exclusions under       involved to review the form, gather
previously, based on the comparison                     DHS Directive 023– 01 Rev. 01,                necessary information to support the
metric used, those costs are expected to                Appendix A, Table 1. Specifically, the        submission, and the time required to
be insignificant.                                       rule fits within Categorical Exclusion        complete and submit the form, USCIS
   Based on the evidence presented in                   number A3(a) for rules strictly of an         has revised the estimated hour burden
this RFA section and throughout this                    administrative or procedural nature and       per response to 4.7 hours.
preamble, DHS certifies that this rule                  A3(d) for rules that interpret or amend         a. Type of information collection:
will not have a significant economic                    an existing regulation without changing       New information collection.
impact on a substantial number of small                 its environmental effect.                       b. Abstract: This collection will be
entities.                                                  This rule is not part of a larger action   used by individuals who file an
                                                        and presents no extraordinary                 application for entrepreneur parole
   99 The data utilized for the analysis are found in   circumstances creating the potential for      under INA section 212(d)(5)(A) (8 U.S.C.
the SBO Table SB1200CSCB11, ‘‘Statistics for All        significant environmental effects. Fewer      1182(d)(5)(A)) and proposed new 8 CFR
U.S. Firms by Year the Business Was Originally          than 3,000 individuals, an insignificant      212.19. Such individuals, other than
Established or Self-Employment Activity Begun by
Industry, Gender, Ethnicity, Race, and Veteran          number in the context of the population       those filing an application on the basis
Status for the U.S.: 2012: 2012 Survey of Business      of the United States, are projected to        of a material change, are subject to
Owners: http://census.gov/library/publications/         receive parole through this program.          biometric collection in connection with
2012/econ/2012-sbo.html. The file location is:
http://factfinder.census.gov/faces/tableservices/jsf/
                                                        Furthermore, any ventures will be             the filing of the application.
pages/productview.xhtml?pid=SBOB2012B                  governed by local, state and federal laws       c. Title of Form/Collection:
00CSCB11&prodType=table. The average revenue            and regulations, including those              Application for Entrepreneur Parole,
figure is rounded from $162,293.                        protecting the human health and the           Form I–941.

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  d. Agency form number, if any, and          g. Hours per response: The estimated            e. Affected public who will be asked
the applicable component of the             hour per response for Form I–131                or required to respond: Business or
Department of Homeland Security             Supplement is 1.9 hours; the estimated          other for-profit; Individuals or
sponsoring the collection: Form I–941,      hour burden per response for the                households; State, local or Tribal
U.S. Citizenship and Immigration            biometric processing is 1.17 hours; the         Government.
Services.                                   estimated hour burden per response for            f. An estimate of the total annual
  e. Affected public who will be asked      the passport-style photographs is .5            numbers of respondents: 78 million
or required to respond: Businesses and      hours.                                          employers and 78 million individuals.
other for profit; Not-for-profit              h. Total Annual Reporting Burden:             (The total number of responses will be
Institutions.                               The total estimated annual hour burden          only 78 million responses. Each
  f. An estimate of the total annual        associated with this collection is              response involves an employer and an
numbers of respondents: 2,940.              1,372,928 hours.                                individual who is being hired.)
  g. Hours per response: The estimated                                                        g. Hours per response:
                                            Overview of Information Collection,
hour per response for Form I–941 is 4.7     Employment Eligibility Verification,              x Time Burden for Employees—20
hours; the estimated hour burden per                                                        minutes (.33 hours) total;
                                            Form I–9, OMB Control No. 1615–0047
response for the biometric processing is                                                      x Time Burden for Employers—10
1.17 hours.                                    In accordance with new 8 CFR                 minutes (.17 hours) total;
  h. Total Annual Reporting Burden:         274a.2(b)(1)(v)(A)(5), DHS is revising            x Time Burden for Recordkeeping—5
The total estimated annual hour burden      the Employment Eligibility Verification,        minutes (.08 hours) total
associated with this collection is 17,258   Form I–9, Lists of Acceptable                     h. Total Annual Reporting Burden:
hours.                                      Documents, List A item 5 to replace             Approximately 40,600,000 total annual
                                            ‘‘nonimmigrant alien’’ with                     burden hours.
Overview of Information Collection,         ‘‘individual,’’ to replace ‘‘alien’s
Application for Travel Document Form I–     nonimmigrant’’ with ‘‘individual,’’ and         Overview of Information Collection,
131, OMB Control No. 1615–0013              to add ‘‘or parole’’ after ‘‘status’’ in List   Application for Employment
   DHS is revising this collection by       A item 5.b.(2). With these changes the          Authorization, Form I–765, OMB
including spouses and children seeking      acceptable List A document is described         Control No. 1615–0040
parole on the basis of an entrepreneur      as the following: For an individual                DHS is making minor revisions to the
parolee.                                    authorized to work for a specific               form instructions to reflect changes
   In addition to revising the form and     employer because of his or her status or        made by this final rule that allow
form instructions, DHS is revising the      parole, a foreign passport and Form I–          spouses of an entrepreneur parolee to
estimate of total burden hours has          94 (or Form I–94A) that has the same            request employment authorization.
increased due to the addition of this       name as the passport and has an                    a. Type of information collection:
new population of Application for           endorsement by DHS indicating such              Revised information collection.
Travel Document, Form I–131, filers,        employment-authorized status or parole,            b. Abstract: This collection will be
and the increase of burden hours            as long as the period of endorsement has        used by individuals who file an
associated with the collection of           not yet expired and the employment is           application for entrepreneur parole
biometrics from these applicants.           not in conflict with the individual’s           under INA section 212(d)(5)(A) (8 U.S.C.
   a. Type of information collection:       employment-authorized status or parole.         1182(d)(5)(A)) and proposed new 8 CFR
Revised information collection.             DHS is also updating the Lists of               212.19. Such individuals are subject to
   b. Abstract: This collection will be     Acceptable Documents, List C so that            biometric collection in connection with
used by dependents of individuals who       the most current version of the                 the filing of the application.
file an application for entrepreneur        certification or report of birth issued by         This form was developed for
parole under INA section 212(d)(5)(A) (8    the Department of State is acceptable for       individual aliens to request employment
U.S.C. 1182(d)(5)(A)) and proposed new      Form I–9.                                       authorization and evidence of that
8 CFR 212.19. Such individuals are             a. Type of information collection:           employment authorization. The form is
subject to biometric collection in          Revised information collection.                 being amended to add a new class of
connection with the filing of the              b. Abstract: This form was developed         aliens eligible to apply for employment
application.                                to facilitate compliance with section           authorization, specifically a spouse of
   c. Title of Form/Collection:             274A of the Immigration and                     an entrepreneur parolee described as
Application for Travel Document, Form       Nationality Act, which prohibits the            eligible for employment authorization
I–131.                                      knowing employment of unauthorized              under this rule. Supporting
   d. Agency form number, if any, and       aliens. This information collection is          documentation demonstrating eligibility
the applicable component of the             necessary for employers, agricultural           must be filed with the application. The
Department of Homeland Security             recruiters and referrers for a fee, and         form lists examples of relevant
sponsoring the collection: Application      state employment agencies to verify the         documentation.
for Travel Document, Form I–131, U.S.       identity and employment authorization              c. Title of Form/Collection:
Citizenship and Immigration Services.       of individuals hired (or recruited or           Application for Employment
   e. Affected public who will be asked     referred for a fee, if applicable) for          Authorization, Form I–765.
or required to respond: Individuals or      employment in the United States.                   d. Agency form number, if any, and
households.                                    c. Title of Form/Collection:                 the applicable component of the
   f. An estimate of the total annual       Employment Eligibility Verification.            Department of Homeland Security
numbers of respondents: 594,324.               d. Agency form number, if any, and           sponsoring the collection: Form I–765,
   The total number of respondents          the applicable component of the                 U.S. Citizenship and Immigration
includes the additional population of       Department of Homeland Security                 Services.
3,234 individuals as estimated              sponsoring the collection: Form I–9,               e. Affected public who will be asked
previously in the analysis in Section       U.S. Citizenship and Immigration                or required to respond: Individuals or
IV.C.                                       Services.                                       households.

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    f. An estimate of the total annual             (KKK) Application for Entrepreneur            purposes of paragraphs (a)(3) and (5) of
 numbers of respondents: 2,139,523.              Parole (Form I–941). For filing an              this section, an entity may be
   This total represents the aggregate           application for parole for entrepreneurs:       considered recently formed if it was
estimate for this information collection,        $1200.                                          created within the 5 years immediately
to include the additional estimate of            *     *    *     *      *                       preceding the receipt of the relevant
2,940 respondents under this rule.                                                               grant(s), award(s), or investment(s).
   g. Hours per response: The estimated          PART 212—DOCUMENTARY                               (3) Qualified government award or
hour per response for Form I–765 is 3.42         REQUIREMENTS: NONIMMIGRANTS;                    grant means an award or grant for
hours; the estimated hour burden per             WAIVERS; ADMISSION OF CERTAIN                   economic development, research and
response for biometric processing is             INADMISSIBLE ALIENS; PAROLE                     development, or job creation (or other
1.17 hours; the estimated hour burden                                                            similar monetary award typically given
per response for Form I–765 WS is .5             伪 3. The authority citation for part 212        to start-up entities) made by a federal,
hours; the estimated hour burden per             is revised to read as follows:                  state, or local government entity (not
response for passport-style photographs             Authority: 6 U.S.C. 111, 202(4) and 271; 8   including foreign government entities)
is .5 hours.                                     U.S.C. 1101 and note, 1102, 1103, 1182 and      that regularly provides such awards or
   h. Total Annual Reporting Burden:             note, 1184, 1185 note (section 7209 of Pub.     grants to start-up entities. This
                                                 L. 108–458), 1187, 1223, 1225, 1226, 1227,      definition excludes any contractual
The total estimated annual hour burden
                                                 1255, 1359; 8 CFR part 2.                       commitment for goods or services.
associated with this collection is
8,985,859 hours.                                   Section 212.1(q) also issued under section       (4) Qualified investment means an
                                                 702, Pub. L. 110–229, 122 Stat. 754, 854.       investment made in good faith, and that
Regulatory Amendments                            伪 4. Add § 212.19 to read as follows:           is not an attempt to circumvent any
  DHS adopted most of the proposed                                                               limitations imposed on investments
                                                 § 212.19 Parole for entrepreneurs.
regulatory amendments without change.                                                            under this section, of lawfully derived
                                                    (a) Definitions. For purposes of this        capital in a start-up entity that is a
List of Subjects                                 section, the following definitions apply:       purchase from such entity of its equity,
8 CFR Part 103                                      (1) Entrepreneur means an alien who          convertible debt, or other security
                                                 possesses a substantial ownership               convertible into its equity commonly
  Administrative practice and                    interest in a start-up entity and has a
procedure, Authority delegations                                                                 used in financing transactions within
                                                 central and active role in the operations       such entity’s industry. Such an
(Government agencies), Freedom of                of that entity, such that the alien is well-
information, Immigration, Privacy,                                                               investment shall not include an
                                                 positioned, due to his or her knowledge,        investment, directly or indirectly, from
Reporting and recordkeeping                      skills, or experience, to substantially         the entrepreneur; the parents, spouse,
requirements.                                    assist the entity with the growth and           brother, sister, son, or daughter of such
8 CFR Part 212                                   success of its business. For purposes of        entrepreneur; or any corporation,
                                                 this section, an alien may be considered        limited liability company, partnership,
  Administrative practice and                    to possess a substantial ownership
procedure, Aliens, Immigration,                                                                  or other entity in which such
                                                 interest if he or she possesses at least a      entrepreneur or the parents, spouse,
Passports and visas, Reporting and               10 percent ownership interest in the
recordkeeping requirements.                                                                      brother, sister, son, or daughter of such
                                                 start-up entity at the time of                  entrepreneur directly or indirectly has
8 CFR Part 274a                                  adjudication of the initial grant of parole     any ownership interest.
   Administrative practice and                   and possesses at least a 5 percent                 (5) Qualified investor means an
procedure, Aliens, Employment,                   ownership interest in the start-up entity       individual who is a U.S. citizen or
Penalties, Reporting and recordkeeping           at the time of adjudication of a                lawful permanent resident of the United
requirements.                                    subsequent period of re-parole. During          States, or an organization that is located
                                                 the period of initial parole, the               in the United States and operates
   Accordingly, DHS amends chapter I of
                                                 entrepreneur may continue to reduce             through a legal entity organized under
title 8 of the Code of Federal                                                                   the laws of the United States or any
                                                 his or her ownership interest in the
Regulations as follows:                                                                          state, that is majority owned and
                                                 start-up entity, but must, at all times
PART 103—IMMIGRATION BENEFITS;                   during the period of initial parole,            controlled, directly and indirectly, by
BIOMETRIC REQUIREMENTS;                          maintain at least a 5 percent ownership         U.S. citizens or lawful permanent
AVAILABILITY OF RECORDS                          interest in the entity. During the period       residents of the United States, provided
                                                 of re-parole, the entrepreneur may              such individual or organization
伪 1. The authority citation for part 103         continue to reduce his or her ownership         regularly makes substantial investments
continues to read as follows:                    interest in the start-up entity, but must,      in start-up entities that subsequently
                                                 at all times during the period of parole,       exhibit substantial growth in terms of
  Authority: 5 U.S.C. 301, 552, 552a; 8 U.S.C.
1101, 1103, 1304, 1356, 1365b; 31 U.S.C.         maintain an ownership interest in the           revenue generation or job creation. The
9701; Pub. L. 107–296, 116 Stat. 2135 (6         entity.                                         term ‘‘qualified investor’’ shall not
U.S.C. 1 et seq.); E.O. 12356, 47 FR 14874,         (2) Start-up entity means a U.S.             include an individual or organization
15557, 3 CFR, 1982 Comp., p.166; 8 CFR part      business entity that was recently               that has been permanently or
2; Pub. L. 112–54.                               formed, has lawfully done business              temporarily enjoined from participating
伪 2. Section 103.7 is amended by adding          during any period of operation since its        in the offer or sale of a security or in the
paragraph (b)(1)(i)(KKK) to read as              date of formation, and has substantial          provision of services as an investment
follows:                                         potential for rapid growth and job              adviser, broker, dealer, municipal
                                                 creation. An entity that is the basis for       securities dealer, government securities
§ 103.7 Fees.                                    a request for parole under this section         broker, government securities dealer,
*       *     *    *     *                       may be considered recently formed if it         bank, transfer agent or credit rating
    (b) * * *                                    was created within the 5 years                  agency, barred from association with
    (1) * * *                                    immediately preceding the filing date of        any entity involved in the offer or sale
    (i) * * *                                    the alien’s initial parole request. For         of securities or provision of such

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services, or otherwise found to have         concerning the entrepreneur or start-up          (iii) Alternative criteria. An alien who
participated in the offer or sale of         entity in a legal or administrative           satisfies the criteria in paragraph
securities or provision of such services     proceeding brought by a government            (b)(2)(ii)(A) of this section and partially
in violation of law. For purposes of this    entity; any settlement, judgment, or          meets one or both of the criteria in
section, such an individual or               other legal determination concerning          paragraph (b)(2)(ii)(B) of this section
organization may be considered a             the entrepreneur or start-up entity in a      may alternatively meet the standard
qualified investor if, during the            legal proceeding brought by a private         described in paragraph (b)(2)(i) of this
preceding 5 years:                           individual or organization other than         section by providing other reliable and
   (i) The individual or organization        proceedings primarily involving claims        compelling evidence of the start-up
made investments in start-up entities in     for damages not exceeding 10 percent of       entity’s substantial potential for rapid
exchange for equity, convertible debt or     the current assets of the entrepreneur or     growth and job creation.
other security convertible into equity       start-up entity; a sale or other                 (c) Additional periods of parole—(1)
commonly used in financing                   disposition of all or substantially all of    Filing of re-parole request form. Prior to
transactions within their respective         the start-up entity’s assets; the             the expiration of the initial period of
industries comprising a total in such 5-     liquidation, dissolution or cessation of      parole, an entrepreneur parolee may
year period of no less than $600,000;        operations of the start-up entity; the        request an additional period of parole
and                                          voluntary or involuntary filing of a          based on the same start-up entity that
   (ii) Subsequent to such investment by     bankruptcy petition by or against the         formed the basis for his or her initial
such individual or organization, at least    start-up entity; a significant change with    period of parole granted under this
2 such entities each created at least 5      respect to ownership and control of the       section. To request such parole, an
qualified jobs or generated at least         start-up entity; and a cessation of the       entrepreneur parolee must timely file
$500,000 in revenue with average             entrepreneur’s qualifying ownership           the Application for Entrepreneur Parole
annualized revenue growth of at least 20                                                   (Form I–941) with USCIS, with the
                                             interest in the start-up entity or the
percent.                                                                                   required fees (including biometric
                                             entrepreneur’s central and active role in
   (6) Qualified job means full-time                                                       services fees), and supporting
employment located in the United             the operations of that entity.
                                                (b) Initial parole—(1) Filing of initial   documentation in accordance with the
States that has been filled for at least 1                                                 form instructions, demonstrating
year by one or more qualifying               parole request form. An alien seeking an
                                             initial grant of parole as an entrepreneur    eligibility as provided in paragraph
employees.                                                                                 (c)(2) of this section.
   (7) Qualifying employee means a U.S.      of a start-up entity must file an
                                             Application for Entrepreneur Parole              (2) Criteria for consideration—(i) In
citizen, a lawful permanent resident, or                                                   general. An alien may be considered for
other immigrant lawfully authorized to       (Form I–941) with USCIS, with the
                                             required fees (including biometric            re-parole under this section if the alien
be employed in the United States, who                                                      demonstrates that a grant of parole will
is not an entrepreneur of the relevant       services fees), and supporting
                                             documentary evidence in accordance            continue to provide a significant public
start-up entity or the parent, spouse,                                                     benefit to the United States based on his
brother, sister, son, or daughter of such    with this section and the form
                                             instructions, demonstrating eligibility as    or her role as an entrepreneur of a start-
an entrepreneur. This definition shall                                                     up entity.
not include independent contractors.         provided in paragraph (b)(2) of this
                                             section.                                         (ii) General criteria. An alien may
   (8) Full-time employment means paid                                                     meet the standard described in
employment in a position that requires          (2) Criteria for consideration—(i) In
                                             general. An alien may be considered for       paragraph (c)(2)(i) of this section by
a minimum of 35 working hours per                                                          providing a detailed description, along
week. This definition does not include       parole under this section if the alien
                                             demonstrates that a grant of parole will      with supporting evidence:
combinations of part-time positions                                                           (A) Demonstrating that the alien
even if, when combined, such positions       provide a significant public benefit to
                                                                                           continues to be an entrepreneur as
meet the hourly requirement per week.        the United States based on his or her
                                                                                           defined in paragraph (a)(1) of this
   (9) U.S. business entity means any        role as an entrepreneur of a start-up
                                                                                           section and that his or her entity
corporation, limited liability company,      entity.
                                                                                           continues to be a start-up entity as
partnership, or other entity that is            (ii) General criteria. An alien may
                                                                                           defined in paragraph (a)(2) of this
organized under federal law or the laws      meet the standard described in
                                                                                           section; and
of any state, and that conducts business     paragraph (b)(2)(i) of this section by           (B) Establishing that the alien’s entity
in the United States, that is not an         providing a detailed description, along       has:
investment vehicle primarily engaged in      with supporting evidence:                        (1) Received at least $500,000 in
the offer, purchase, sale or trading of         (A) Demonstrating that the alien is an     qualifying investments, qualified
securities, futures contracts, derivatives   entrepreneur as defined in paragraph          government grants or awards, or a
or similar instruments.                      (a)(1) of this section and that his or her    combination of such funding, during the
   (10) Material change means any            entity is a start-up entity as defined in     initial parole period;
change in facts that could reasonably        paragraph (a)(2) of this section; and            (2) Created at least 5 qualified jobs
affect the outcome of the determination         (B) Establishing that the alien’s entity   with the start-up entity during the
whether the entrepreneur provides, or        has:                                          initial parole period; or
continues to provide, a significant             (1) Received, within 18 months                (3) Reached at least $500,000 in
public benefit to the United States. Such    immediately preceding the filing of an        annual revenue in the United States and
changes include, but are not limited to,     application for initial parole, a qualified   averaged 20 percent in annual revenue
the following: Any criminal charge,          investment amount of at least $250,000        growth during the initial parole period.
conviction, plea of no contest, or other     from one or more qualified investors; or         (iii) Alternative criteria. An alien who
judicial determination in a criminal case       (2) Received, within 18 months             satisfies the criteria in paragraph
concerning the entrepreneur or start-up      immediately preceding the filing of an        (c)(2)(ii)(A) of this section and partially
entity; any complaint, settlement,           application for initial parole, an amount     meets one or more of the criteria in
judgment, or other judicial or               of at least $100,000 through one or more      paragraph (c)(2)(ii)(B) of this section
administrative determination                 qualified government awards or grants.        may alternatively meet the standard

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described in paragraph (c)(2)(i) of this      re-parole may be required to submit          reasonable conditions in its sole
section by providing other reliable and       biometric information.                       discretion with respect to any alien
compelling evidence of the start-up              (f) Limitations. No more than three       approved for parole under this section,
entity’s substantial potential for rapid      entrepreneurs may be granted parole          and it may request verification of the
growth and job creation.                      under this section based on the same         parolee’s compliance with any such
   (d) Discretionary authority; decision;     start-up entity. An alien shall not          condition at any time. Violation of any
appeals and motions to reopen—(1)             receive more than one initial grant of       condition of parole may lead to
Discretionary authority. DHS may grant        entrepreneur parole or more than one         termination of the parole in accordance
parole under this section in its sole         additional grant of entrepreneur re-         with paragraph (k) of this section or
discretion on a case-by-case basis if the     parole based on the same start-up entity,    denial of re-parole.
Department determines, based on the           for a maximum period of parole of five          (j) Reporting of material changes. An
totality of the evidence, that an             years.                                       alien granted parole under this section
applicant’s presence in the United               (g) Employment authorization. An          must immediately report any material
States will provide a significant public      entrepreneur who is paroled into the         change(s) to USCIS. If the entrepreneur
benefit and that he or she otherwise          United States pursuant to this section is    will continue to be employed by the
merits a favorable exercise of discretion.    authorized for employment with the           start-up entity and maintain a qualifying
In determining whether an alien’s             start-up entity incident to the conditions   ownership interest in the start-up entity,
presence in the United States will            of his or her parole.                        the entrepreneur must submit a form
provide a significant public benefit and         (h) Spouse and children. (1) The          prescribed by USCIS, with any
whether the alien warrants a favorable        entrepreneur’s spouse and children who       applicable fee (not including any
exercise of discretion, USCIS will            are seeking parole as derivatives of such    biometric fees), in accordance with the
consider and weigh all evidence,              entrepreneur must individually file an       form instructions to notify USCIS of the
including any derogatory evidence or          Application for Travel Document (Form        material change(s). The entrepreneur
information, such as but not limited to,      I–131). Such application must also           parolee must immediately notify USCIS
evidence of criminal activity or national     include evidence that the derivative has     in writing if he or she will no longer be
security concerns.                            a qualifying relationship to the             employed by the start-up entity or
                                              entrepreneur and otherwise merits a          ceases to possess a qualifying ownership
   (2) Initial parole. DHS may grant an
                                              grant of parole in the exercise of           stake in the start-up entity.
initial period of parole based on the
                                              discretion. A biometric services fee is
start-up entity listed in the request for                                                     (k) Termination of parole—(1) In
                                              required to be filed with the application.
parole for a period of up to 30 months                                                     general. DHS, in its discretion, may
                                              Such spouse or child will be required to
from the date the individual is initially                                                  terminate parole granted under this
                                              appear for collection of biometrics in
paroled into the United States. Approval                                                   section at any time and without prior
                                              accordance with the form instructions
by USCIS of such a request must be                                                         notice or opportunity to respond if it
                                              or upon request.
obtained before the alien may appear at                                                    determines that the alien’s continued
                                                 (2) The spouse and children of an
a port of entry to be granted parole, in                                                   parole in the United States no longer
                                              entrepreneur granted parole under this
lieu of admission.                                                                         provides a significant public benefit.
                                              section may be granted parole under
   (3) Re-parole. DHS may re-parole an        this section for no longer than the          Alternatively, DHS, in its discretion,
entrepreneur for one additional period        period of parole granted to such             may provide the alien notice and an
of up to 30 months from the date of the       entrepreneur.                                opportunity to respond prior to
expiration of the initial parole period. If      (3) The spouse of the entrepreneur        terminating the alien’s parole under this
the entrepreneur is in the United States      parolee, after being paroled into the        section.
at the time that USCIS approves the           United States, may be eligible for              (2) Automatic termination. Parole
request for re-parole, such approval          employment authorization on the basis        granted under this section will be
shall be considered a grant of re-parole.     of parole under this section. To request     automatically terminated without notice
If the alien is outside the United States     employment authorization, an eligible        upon the expiration of the time for
at the time that USCIS approves the           spouse paroled into the United States        which parole was authorized, unless the
request for re-parole, the alien must         must file an Application for                 alien timely files a non-frivolous
appear at a port of entry to be granted       Employment Authorization (Form I–            application for re-parole. Parole granted
parole, in lieu of admission.                 765), in accordance with 8 CFR 274a.13       under this section may be automatically
   (4) Appeals and motions to reopen.         and form instructions. An Application        terminated when USCIS receives
There is no appeal from a denial of           for Employment Authorization must be         written notice from the entrepreneur
parole under this section. USCIS will         accompanied by documentary evidence          parolee that he or she will no longer be
not consider a motion to reopen or            establishing eligibility, including          employed by the start-up entity or
reconsider a denial of parole under this      evidence of the spousal relationship.        ceases to possess a qualifying ownership
section. On its own motion, USCIS may            (4) Notwithstanding 8 CFR                 stake in the start-up entity in
reopen or reconsider a decision to deny       274a.12(c)(11), a child of the               accordance with paragraph (j) of this
the Application for Entrepreneur Parole       entrepreneur parolee may not be              section. Additionally, parole of the
(Form I–941), in accordance with 8 CFR        authorized for and may not accept            spouse or child of the entrepreneur will
103.5(a)(5).                                  employment on the basis of parole            be automatically terminated without
   (e) Payment of biometric services fee      under this section.                          notice if the parole of the entrepreneur
and collection of biometric information.         (i) Conditions on parole. As a            has been terminated. If parole is
An alien seeking parole or re-parole          condition of parole under this section,      terminated, any employment
under this section will be required to        a parolee must maintain household            authorization based on that parole is
pay the biometric services fee as             income that is greater than 400 percent      automatically revoked.
prescribed by 8 CFR 103.7(b)(1)(i)(C).        of the federal poverty line for his or her      (3) Termination on notice. USCIS may
An alien seeking an initial grant of          household size as defined by the             terminate on notice or provide the
parole will be required to submit             Department of Health and Human               entrepreneur or his or her spouse or
biometric information. An alien seeking       Services. USCIS may impose other such        children, as applicable, written notice of

                                                                                                                     IER00092
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its intent to terminate parole if USCIS         Authority: 8 U.S.C. 1101, 1103, 1324a; 48   status or parole. The following classes
believes that:                                U.S.C. 1806; 8 CFR part 2; Pub. L. 101–410,   of aliens are authorized to be employed
   (i) The facts or information contained     104 Stat. 890, as amended by Pub. L. 114–
                                                                                            in the United States by the specific
in the request for parole were not true       74, 129 Stat. 599.
                                                                                            employer and subject to any restrictions
and accurate;                                 伪 6. Section 274a.2 is amended by:
                                                                                            described in the section(s) of this
   (ii) The alien failed to timely file or    伪 a. Revising paragraphs (b)(1)(v)(A)(5)
                                              and (b)(1)(v)(C)(2);                          chapter indicated as a condition of their
otherwise comply with the material
                                              伪 b. Removing paragraph (b)(1)(v)(C)(3);
                                                                                            parole or of their admission in, or
change reporting requirements in this
                                              and                                           subsequent change to, the designated
section;
   (iii) The entrepreneur parolee is no       伪 c. Redesignating paragraphs                 nonimmigrant classification. An alien in
longer employed in a central and active       (b)(1)(v)(C)(4) through (8) as paragraphs     one of these classes is not issued an
role by the start-up entity or ceases to      (b)(1)(v)(C)(3) through (7).                  employment authorization document by
possess a qualifying ownership stake in         The revisions read as follows:              DHS:
the start-up entity;                          § 274a.2 Verification of identity and         *      *     *    *     *
   (iv) The alien otherwise violated the      employment authorization.                        (37) An alien paroled into the United
terms and conditions of parole; or
   (v) Parole was erroneously granted.        *      *     *     *      *                   States as an entrepreneur pursuant to 8
   (4) Notice and decision. A notice of          (b) * * *                                  CFR 212.19 for the period of authorized
intent to terminate issued under this            (1) * * *                                  parole. An entrepreneur who has timely
                                                 (v) * * *                                  filed a non-frivolous application
paragraph should generally identify the
                                                 (A) * * *                                  requesting re-parole with respect to the
grounds for termination of the parole            (5) In the case of an individual who
and provide a period of up to 30 days                                                       same start-up entity in accordance with
                                              is employment-authorized incident to
for the alien’s written rebuttal. The alien                                                 8 CFR 212.19 prior to the expiration of
                                              status or parole with a specific
may submit additional evidence in             employer, a foreign passport with an          his or her parole, but whose authorized
support of his or her rebuttal, when          Arrival/Departure Record, Form I–94 (as       parole period expires during the
applicable, and USCIS will consider all                                                     pendency of such application, is
                                              defined in 8 CFR 1.4) or Form I–94A,
relevant evidence presented in deciding                                                     authorized to continue employment
                                              bearing the same name as the passport
whether to terminate the alien’s parole.                                                    with the same start-up entity for a
                                              and containing an endorsement by DHS
Failure to timely respond to a notice of                                                    period not to exceed 240 days beginning
                                              indicating such employment-authorized
intent to terminate will result in                                                          on the date of expiration of parole. Such
                                              status or parole, as long as the period of
termination of the parole. When a                                                           authorization shall be subject to any
                                              endorsement has not yet expired and
charging document is served on the                                                          conditions and limitations on such
                                              the employment is not in conflict with
alien, the charging document will
                                              the individual’s employment-authorized        expired parole. If DHS adjudicates the
constitute written notice of termination
                                              status or parole;                             application prior to the expiration of
of parole (if parole has not already been
terminated), unless otherwise specified.      *      *     *     *      *                   this 240-day period and denies the
Any further immigration and removal              (C) * * *                                  application for re-parole, the
actions will be conducted in accordance          (2) Certification or report of birth       employment authorization under this
with the Act and this chapter. The            issued by the Department of State,            paragraph shall automatically terminate
decision to terminate parole may not be       including Forms FS–545, DS–1350, FS–          upon notification to the alien of the
appealed. USCIS will not consider a           240;                                          denial decision.
motion to reopen or reconsider a              *      *     *     *      *                      (c) * * *
decision to terminate parole under this       伪 7. Section 274a.12 is amended by:
                                                                                               (11) Except as provided in paragraphs
section. On its own motion, USCIS may         伪 a. Revising paragraph (b) introductory
                                                                                            (b)(37) and (c)(34) of this section and
reopen or reconsider a decision to            text;
                                                                                            § 212.19(h)(4) of this chapter, an alien
terminate.                                    伪 b. Removing the word ‘‘or’’ at the end
   (l) Increase of investment and revenue     of paragraph (b)(24);                         paroled into the United States
amount requirements. The investment           伪 c. Removing the period at the end of        temporarily for urgent humanitarian
and revenue amounts in this section           paragraph (b)(25) and adding ‘‘; or’’ in      reasons or significant public benefit
will be automatically adjusted every 3        its place;                                    pursuant to section 212(d)(5) of the Act.
years by the Consumer Price Index and         伪 d. Adding and reserving paragraphs          *      *     *    *     *
posted on the USCIS Web site at               (b)(26) through (36);                            (34) A spouse of an entrepreneur
www.uscis.gov. Investment and revenue         伪 e. Adding paragraph (b)(37);
                                              伪 f. Revising paragraph (c)(11); and
                                                                                            parolee described as eligible for
amounts adjusted under this paragraph
will apply to all applications filed on or    伪 g. Adding paragraph (c)(34).                employment authorization in
after the beginning of the fiscal year for       The revisions and additions read as        § 212.19(h)(3) of this chapter.
which the adjustment is made.                 follows:                                      *      *     *    *     *

PART 274a—CONTROL OF                          § 274a.12 Classes of aliens authorized to     Jeh Charles Johnson,
EMPLOYMENT OF ALIENS                          accept employment.                            Secretary of Homeland Security.
                                              *    *     *     *    *                       [FR Doc. 2017–00481 Filed 1–13–17; 8:45 am]
伪 5. The authority citation for part 274a       (b) Aliens authorized for employment        BILLING CODE 9111–97–P
continues to read as follows:                 with a specific employer incident to




                                                                                                                           IER00093
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                                                                                                            ii. AC21 Provisions Seeking To Improve                  Legal and Undocumented Workers,
                                                 SUMMARY: The Department of Homeland                           the H–1B Nonimmigrant Worker                         Including Individuals Granted Deferred
                                                 Security (DHS) is amending its                                Classification
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                                                 employment-based immigrant and                                Cap
                                                                                                                                                                 1. Description of Final Rule and Changes
                                                                                                            b. Application of the H–1B Numerical Cap
                                                 nonimmigrant visa programs.                                                                                        From NPRM
                                                                                                               to Persons Previously Counted
                                                 Specifically, the final rule provides                                                                           2. Public Comments and Responses
                                                                                                            c. H–1B Portability
                                                 various benefits to participants in those                                                                       i. Length of the 10-Day Grace Periods
                                                                                                            B. Processing Applications for
                                                 programs, including the following:                                                                              ii. Eligibility for 10-Day Grace Periods
                                                                                                               Employment Authorization Documents
                                                 improved processes and increased                                                                                iii. Miscellaneous Comments on 10-day
                                                                                                            C. The Increasing Challenges Caused by
                                                                                                                                                                    Grace Periods
                                                 certainty for U.S. employers seeking to                       Immigrant Visa Backlogs
                                                                                                                                                                 iv. Length of the 60-Day Grace Period
                                                 sponsor and retain immigrant and                        IV. Discussion of Comments
                                                                                                                                                                 v. Frequency of the 60-Day Grace Period
                                                 nonimmigrant workers; greater stability                    A. Overview of the Comments
                                                                                                            B. Authority of DHS To Administer and                vi. Classifications Eligible for the 60-Day
                                                 and job flexibility for those workers; and                                                                         Grace Period
                                                                                                               Enforce Immigration Laws
                                                 increased transparency and consistency                                                                          vii. Clarifying the Meaning of ‘‘up to’’ in
                                                                                                            1. Description of DHS’s Legal Authority
                                                 in the application of DHS policy related                   2. Public Comments and Responses                        the 60-Day Grace Period
                                                 to affected classifications. Many of these                 C. Immigration Fraud and National                    viii. Employment Authorization During the
                                                 changes are primarily aimed at                                Security Concerns                                    Grace Periods
                                                 improving the ability of U.S. employers                    1. Description of Final Rule and Changes             H. Job Portability for H–1B Nonimmigrant
                                                 to hire and retain high-skilled workers                       From the NPRM                                        Workers
                                                                                                            2. Public Comments and Responses                     1. Description of Final Rule and Changes
                                                 who are beneficiaries of approved
                                                                                                            D. Petitions for Employment-Based                       From NPRM
                                                 employment-based immigrant visa                                                                                 2. Public Comments and Responses
                                                 petitions and are waiting to become                           Immigrants and Priority Date Retention
                                                                                                            1. Description of Final Rule and Changes             i. H–1B Status Requirement
                                                 lawful permanent residents, while                                                                               ii. International Travel and Successive
                                                                                                               From the NPRM
                                                 increasing the ability of those workers to                 2. Public Comments and Responses                        Portability Petitions (‘‘Bridge Petitions’’)
                                                 seek promotions, accept lateral                            i. Establishing a Priority Date                      iii. Portability to New Employment Subject
                                                 positions with current employers,                          ii. Retaining a Priority Date                           to the Cap
                                                 change employers, or pursue other                          iii. Priority Date Not Retained if Approval          I. H–1B Licensing Requirements
                                                 employment options.                                           Revoked for Fraud, Willful                        1. Description of Final Rule and Changes
                                                                                                               Misrepresentation, DOL Revocation,                   From NPRM
                                                 DATES: This final rule is effective
                                                                                                               Invalidation by USCIS or DOS, Material            2. Public Comments and Responses
                                                 January 17, 2017.                                                                                               i. Duties Without Licensure—Expand
                                                                                                               Error, or Denied Petition
                                                 ADDRESSES: Comments and related                            iv. Beneficiary Standing To Challenge the               Circumstances
                                                 materials received from the public, as                        Revocation of an Employment-Based                 ii. Unlicensed Employment Under
                                                 well as background documents                                  Immigrant Visa Petition’s Approval                   Supervision
                                                 mentioned in this preamble as being                        E. Continuing and Bona Fide Job Offer and            iii. Duration of H–1B Petition Approval
                                                 available in the docket, are part of                          Supplement J Form                                 iv. Unrestricted Extendable Licenses
                                                 docket USCIS–2015–0008. For access to                      1. Description of Final Rule and Changes             J. Employers Exempt from H–1B Numerical
                                                 the online docket, go to http://                              From NPRM                                            Limitations and Qualifying for Fee
                                                                                                            2. Public Comments and Responses                        Exemptions
                                                 www.regulations.gov and enter this                                                                              1. Description of Final Rule and Changes
                                                                                                            i. Portability Under INA 204(j)
                                                 rulemaking’s eDocket number: USCIS–                        ii. Concerns Raised Regarding Supplement                From NPRM
                                                 2015–0008 in the ‘‘Search’’ box.                              J                                                 2. Public Comments and Responses
                                                 FOR FURTHER INFORMATION CONTACT:                           iii. Miscellaneous Comments on                       i. Include Government Entities in the
                                                 Kathleen Angustia or Nikki Lomax-                             Supplement J                                         Definition of ‘‘Related or Affiliated’’
                                                 Larson, Adjudications Officers (Policy),                   F. Compelling Circumstances Employment               ii. Clarify that a Nonprofit Entity Only
mstockstill on DSK3G9T082PROD with RULES6




                                                 Office of Policy and Strategy, U.S.                           Authorization                                        Needs To Meet One of the Criteria in 8
                                                 Citizenship and Immigration Services,                      1. Description of Final Rule and Changes                CFR 214.2(h)(8)(ii)(F)(2) and 8 CFR
                                                                                                               From NPRM                                            214.2(h)(19)(iii)(B)
                                                 Department of Homeland Security, 20
                                                                                                            2. Public Comments and Responses                     iii. The ‘‘Primary Purpose’’ Requirement
                                                 Massachusetts Avenue NW.,                                  i. Support for Compelling Circumstances                 for Nonprofit Entities Seeking
                                                 Washington, DC 20529. The contact                             Employment Authorization                             Exemptions Based on Formal Written
                                                 telephone number is (202) 272–8377.                        ii. Status of Individuals Who Are Granted               Affiliation Agreements
                                                 SUPPLEMENTARY INFORMATION:                                    a Compelling Circumstances EAD                    iv. Formal Written Affiliation Agreement


                                                                                                                                                                                              AC00142
                                            VerDate Sep<11>2014   22:22 Nov 17, 2016   Jkt 241001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\18NOR6.SGM   18NOR6
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                                                    v. Impose Additional Requirements To                   iii. Comments Suggesting Additional                 FY Fiscal Year
                                                       Qualify as an Institution of Higher                    Revisions                                        HSA Homeland Security Act of 2002
                                                       Education                                           P. Other Comments                                   IIRIRA Illegal Immigration Reform and
                                                    vi. Impose Additional Requirements on the              1. Procedural Aspects of the Rulemaking                Immigrant Responsibility Act of 1996
                                                       Nature of Employment at a Qualifying                2. Assertions That the Employment-Based             ICE U.S. Immigration and Customs
                                                       Nonprofit Entity or Nonprofit Research                 Immigration System Enables Slavery and
                                                                                                                                                                  Enforcement
                                                       Organization                                           Servitude to Employers
                                                    vii. Expand Interpretation of Research                 3. Limits on Employment-Based                       INA Immigration and Nationality Act
                                                       Organization                                           Immigration by Country                           LCA Labor Condition Application
                                                    viii. Requirement that the H–1B Worker                 4. Guidance on National Interest Waivers            LPR Lawful Permanent Resident
                                                       Perform a Majority of Duties ‘‘at’’ the Cap         5. The Revised Visa Bulletin System                 NOID Notice of Intent to Deny
                                                       Exempt Entity                                       Q. Public Comments and Responses on                 NPRM Notice of Proposed Rulemaking
                                                    ix. Codify Existing USCIS Deference Policy                Statutory and Regulatory Requirements            RFE Request for Evidence
                                                    x. Create a Mechanism To Obtain a Pre-                 1. Regulatory Impact Analysis                       RIA Regulatory Impact Analysis
                                                       Determination of Cap Exemption                      2. General Economy                                  SOC Standard Occupational Classification
                                                    xi. Allot H–1B Visas Subject to the Cap on             3. Labor Market and Labor Force Impact,             STEM Science, Technology, Engineering,
                                                       a Quarterly Basis                                      Including Jobs, Wages, and Job
                                                                                                                                                                  and Mathematics
                                                    xii. Request for Continuation of Cap-                     Portability
                                                       Subject Employment When Concurrent                  i. Effect of the Rule on the Availability of        TPS Temporary Protected Status
                                                       Cap-Exempt H–1B Employment Ends                        Jobs in the United States                        U.S.C. United States Code
                                                    xiii. Prohibit Cap-Exempt H–1B Worker                  ii. Effect of the Rule on Job Portability for       USCIS U.S. Citizenship and Immigration
                                                       From Concurrent Employment                             Foreign Workers                                     Services
                                                    K. Exemptions to the Maximum Admission                 iii. Effect of the Rule on Wages
                                                       Period of H–1B Nonimmigrants                        iv. Effect of Employment-Based                      II. Executive Summary
                                                    1. Description of Final Rule and Changes                  Immigration on Falling Income                    A. Purpose and Summary of the
                                                       From NPRM                                           v. Effect of the Rule on Costs Incurred by
                                                                                                              Employers                                        Regulatory Action
                                                    2. Public Comments and Responses
                                                    i. Recapture of H–1B Time                              4. DHS Estimate of 155,000 Compelling
                                                                                                              Circumstances Employment
                                                                                                                                                                  DHS is amending its regulations
                                                    ii. AC21 106(a) and (b)—Lengthy
                                                       Adjudication Delay Exemptions                          Authorization Applicants                         related to certain employment-based
                                                    iii. AC21 104(c)—Per Country Limitations               5. Unfunded Mandates Reform Act                     immigrant and nonimmigrant visa
                                                    iv. Spousal Eligibility for H–1B Extensions               Violation                                        programs. The final rule is intended to
                                                       Beyond Six Years under AC21                         6. Review under the National                        benefit U.S. employers and foreign
                                                    L. Whistleblower Protections in the H–1B                  Environmental Policy Act (NEPA)                  workers participating in these programs
                                                       Nonimmigrant Program                              V. Statutory and Regulatory Requirements              by streamlining the processes for
                                                    1. Description of Final Rule and Changes               A. Executive Orders 12866 and 13563                 employer sponsorship of nonimmigrant
                                                       From NPRM                                              (Regulatory Planning and Review)
                                                                                                           B. Regulatory Flexibility Act
                                                                                                                                                               workers for lawful permanent resident
                                                    2. Public Comments and Responses                                                                           (LPR) status, increasing job portability
                                                    M. Haitian Refugee Immigrant Fairness Act              C. Unfunded Mandates Reform Act of 1995
                                                       of 1998                                             D. Small Business Regulatory Enforcement            and otherwise providing stability and
                                                    1. Changes to DHS HRIFA regulations                       Fairness Act of 1996                             flexibility for such workers, and
                                                    N. Application for Employment                          E. Executive Order 13132 (Federalism)               providing additional transparency and
                                                       Authorization                                       F. Executive Order 12988 (Civil Justice             consistency in the application of DHS
                                                    1. Description of Final Rule and Changes                  Reform)                                          policies and practices related to these
                                                       From NPRM                                           G. Paperwork Reduction Act                          programs. These changes are primarily
                                                    2. Public Comments and Responses                                                                           intended to better enable U.S.
                                                                                                         I. Abbreviations
                                                    i. Adjudication Timeframes for Initial and                                                                 employers to employ and retain high-
                                                       Renewal Applications of Employment                AC21 American Competitiveness Act of the              skilled workers who are beneficiaries of
                                                       Authorization                                       21st Century
                                                    ii. Earlier Filing for EAD Renewals                  ACWIA American Competitiveness and
                                                                                                                                                               employment-based immigrant visa
                                                    iii. Concurrent Filings                                Workforce Improvement Act of 1998                   (Form I–140) petitions, while increasing
                                                    iv. Potential Gaps in Employment                     APA Administrative Procedure Act                      the ability of these workers to further
                                                       Authorization                                     CBP U.S. Customs and Border Protection                their careers by accepting promotions,
                                                    v. Interim EADs                                      CFR Code of Federal Regulations                       changing positions with current
                                                    vi. Automatic Extensions of EADs and                 DACA Deferred Action for Childhood                    employers, changing employers, and
                                                       Advance Parole                                      Arrivals                                            pursuing other employment
                                                    vii. H–4 Nonimmigrant Spouses                        DHS Department of Homeland Security                   opportunities.
                                                    viii. F–1 Nonimmigrant Students                      DOL Department of Labor
                                                    ix. Expanding Automatic Extensions to                DOJ Department of Justice                                1. Clarifications and Policy
                                                       Additional Categories                             DOS Department of State                               Improvements
                                                    x. State Driver’s License Issues                     EAD Employment Authorization Document                    First, the final rule largely conforms
                                                    xi. Form I–9 and Automatic Extensions of             EB Employment-based immigrant visa                    DHS regulations to longstanding DHS
                                                       EADs                                                category
                                                    xii. National Security and Fraud Concerns            EB–1 Employment-based first preference
                                                                                                                                                               policies and practices established in
                                                    xiii. Separate Rulemaking for the                      immigrant visa petition                             response to certain sections of the
                                                       Elimination of the EAD 90-Day                     EB–2 Employment-based second preference               American Competitiveness and
                                                       Processing Timeframe                                immigrant visa petition                             Workforce Improvement Act of 1998
                                                    xiv. Requests for Premium Processing                 EB–3 Employment-based third preference                (ACWIA), Public Law 105–277, div. C,
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                                                    O. Employment Authorization and                        immigrant visa petition                             tit. IV, 112 Stat. 2681, and the American
                                                       Reverification on Form I–9                        EB–4 Employment-based fourth preference               Competitiveness in the Twenty-first
                                                    1. Description of Final Rule and Changes               immigrant visa petition                             Century Act of 2000 (AC21), Public Law
                                                       From NPRM                                         EB–5 Employment-based fifth preference                106–313, 114 Stat. 1251, as amended by
                                                    2. Public Comments and Responses                       immigrant visa petition
                                                    i. Reverification                                    FDNS Fraud Detection and National
                                                                                                                                                               the 21st Century Department of Justice
                                                    ii. Use of Form I–9 To Change Employment               Security                                            Appropriations Authorization Act,
                                                       Authorization Categories                          FR Federal Register                                   Public Law 107–273, 116 Stat. 1758

                                                                                                                                                                                         AC00143
                                            VerDate Sep<11>2014   22:22 Nov 17, 2016   Jkt 241001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\18NOR6.SGM   18NOR6
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                                                 (2002).1 Those sections were intended,                  numerical cap, including: (1) The                     ability to fulfill its responsibilities
                                                 among other things, to provide greater                  method for calculating when these                     related to U.S. employers and certain
                                                 flexibility and job portability to certain              workers may access so-called remainder                foreign workers. Specifically, the final
                                                 nonimmigrant workers, particularly                      time (i.e., time when they were                       rule provides the following:
                                                 those who have been sponsored for LPR                   physically outside the United States),                  x Establishment of priority dates. To
                                                 status as employment-based immigrants,                  thus allowing them to use their full                  enhance clarity for the regulated
                                                 while enhancing opportunities for                       period of H–1B admission; and (2) the                 community, the final rule provides that
                                                 innovation and expansion, maintaining                   method for determining which H–1B                     a priority date is generally established
                                                 U.S. competitiveness, and protecting                    nonimmigrant workers are ‘‘cap-                       based upon the filing of certain
                                                 U.S. workers. The final rule further                    exempt’’ as a result of previously being              applications or petitions. The new
                                                 clarifies and improves DHS policies and                 counted against the cap.                              regulatory language is consistent with
                                                 practices in this area—policies and                        x H–1B cap exemptions. The final                   existing DHS practice in establishing
                                                 practices that have long been specified                 rule clarifies and improves the method                priority dates for other Form I–140
                                                 through a series of policy memoranda                    for determining which H–1B                            petitions that do not require permanent
                                                 and precedent decisions of the U.S.                     nonimmigrant workers are exempt from                  labor certifications (labor
                                                 Citizenship and Immigration Services                    the H–1B numerical cap due to their                   certifications)—such as petitions filed
                                                 (USCIS) Administrative Appeals Office.                  employment at an institution of higher                under the employment-based first
                                                 By clarifying such policies in regulation,              education, a nonprofit entity related to              preference immigrant visa (EB–1)
                                                 DHS provides greater transparency and                   or affiliated with such an institution, or            category.2 See final 8 CFR 204.5(d).3
                                                 certainty to affected employers and                     a governmental or nonprofit research
                                                                                                                                                                 x Retention of priority dates. To
                                                 workers, while increasing consistency                   organization, including a revision to the
                                                                                                         definition of the term ‘‘related or                   enhance job portability for workers with
                                                 among DHS adjudications. In addition,                                                                         approved Form I–140 petitions, the final
                                                 this final rule clarifies several                       affiliated nonprofit entity.’’
                                                                                                            x Protections for H–1B                             rule explains the circumstances under
                                                 interpretive questions raised by AC21                                                                         which workers may retain priority dates
                                                 and ACWIA.                                              whistleblowers. The final rule addresses
                                                                                                         the ability of H–1B nonimmigrant                      and effectively transfer those dates to
                                                    Specifically, the final rule clarifies                                                                     new and subsequently approved Form
                                                 and improves policies and practices                     workers who are disclosing information
                                                                                                         in aid of, or otherwise participating in,             I–140 petitions. Priority date retention
                                                 related to:                                                                                                   will generally be available as long as the
                                                    x H–1B extensions of stay under                      investigations regarding alleged
                                                                                                         violations of Labor Condition                         approval of the initial Form I–140
                                                 AC21. The final rule addresses the                                                                            petition was not revoked for fraud,
                                                 ability of H–1B nonimmigrant workers                    Application (LCA) obligations in the H–
                                                                                                         1B program to provide documentary                     willful misrepresentation of a material
                                                 who are being sponsored for LPR status                                                                        fact, the invalidation or revocation of a
                                                 (and their dependents in H–4                            evidence to USCIS to demonstrate that
                                                                                                         their resulting failure to maintain H–1B              labor certification, or material error.
                                                 nonimmigrant status) to extend their                                                                          This provision improves the ability of
                                                 nonimmigrant stay beyond the                            status was due to ‘‘extraordinary
                                                                                                         circumstances.’’                                      certain workers to accept promotions,
                                                 otherwise applicable 6-year limit
                                                 pursuant to AC21.                                          x Form I–140 petition validity. The                change employers, or pursue other
                                                                                                         final rule clarifies the circumstances                employment opportunities without fear
                                                    x INA 204(j) portability. The final rule
                                                                                                         under which an approved Immigrant                     of losing their place in line for
                                                 addresses the ability of certain workers
                                                                                                         Petition for Alien Worker (Form I–140                 immigrant visas. See final 8 CFR
                                                 who have pending applications for
                                                                                                         petition) remains valid, even after the               204.5(e).
                                                 adjustment of status to change
                                                 employers or jobs without endangering                   petitioner withdraws the petition or the                x Retention of employment-based
                                                 the approved Form I–140 petitions filed                 petitioner’s business terminates,                     immigrant visa petitions. To enhance
                                                 on their behalf.                                        including for purposes of status                      job portability for certain workers with
                                                    x H–1B portability. The final rule                   extension applications filed on behalf of             approved Form I–140 petitions in the
                                                 addresses the ability of H–1B                           the beneficiary, job portability of H–1B              EB–1, second preference (EB–2), and
                                                 nonimmigrant workers to change jobs or                  nonimmigrants, and job portability                    third preference (EB–3) categories, but
                                                 employers, including: (1) Beginning                     under section 204(j) of the Immigration               who are unable to obtain LPR status due
                                                 employment with new H–1B employers                      and Nationality Act (INA), 8 U.S.C.                   to immigrant visa backlogs, the final
                                                 upon the filing of non-frivolous                        1154(j).                                              rule provides that Form I–140 petitions
                                                                                                            Second, this rule builds on the                    that have been approved for 180 days or
                                                 petitions for new H–1B employment
                                                                                                         provisions listed above by making                     more would no longer be subject to
                                                 (‘‘H–1B portability petition’’); and (2)
                                                                                                         changes consistent with the goals of                  automatic revocation based solely on
                                                 allowing H–1B employers to file
                                                                                                         AC21 and ACWIA to further provide                     withdrawal by the petitioner or the
                                                 successive H–1B portability petitions
                                                                                                         stability and flexibility in certain                  termination of the petitioner’s business.
                                                 (often referred to as ‘‘bridge petitions’’)
                                                                                                         immigrant and nonimmigrant visa                       See final 8 CFR 205.1(a)(3)(iii)(C) and
                                                 and clarifying how these petitions affect
                                                                                                         categories. The amended provisions                    (D).
                                                 lawful status and work authorization.
                                                                                                         improve the ability of certain foreign
                                                    x Counting against the H–1B annual
                                                                                                         workers, particularly those who are                      2 The EB–1 preference category is for individuals
                                                 cap. The final rule clarifies the way in
                                                                                                         successfully sponsored for LPR status by              with extraordinary ability, outstanding professors
                                                 which H–1B nonimmigrant workers are
                                                                                                         their employers, to accept new                        and researchers, and multinational executives and
                                                 counted against the annual H–1B                                                                               managers.
                                                                                                         employment opportunities, pursue
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                                                                                                                                                                  3 In this final rule, the word ‘‘final’’ before a
                                                   1 Except where changes to current policies and        normal career progression, better                     reference to 8 CFR is used to refer to a provision
                                                 practices are noted in the preamble of this final       establish their lives in the United States,           promulgated through this final rule and the word
                                                 rule, these amendments capture the longstanding         and contribute more fully to the U.S.                 ‘‘proposed’’ before 8 CFR is used to refer to a
                                                 policies and practices that have developed since        economy. These changes also provide                   provision of the proposed rule. See Retention of EB–
                                                 AC21 and ACWIA were enacted. DHS also notes                                                                   1, EB–2, and EB–3 Immigrant Workers and Program
                                                 that policies implementing AC21 and ACWIA
                                                                                                         certainty for the regulated community                 Improvements Affecting High-Skilled
                                                 provisions, if not referenced, discussed, or changed    and improve consistency across DHS                    Nonimmigrant Workers; Proposed Rule, 80 FR
                                                 through this rulemaking, remain in place.               adjudications, thereby enhancing DHS’s                81899 (Dec. 31, 2015).


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                                                    x Eligibility for employment                         community, the final regulations codify               accordance with an applicable Federal
                                                 authorization in compelling                             current DHS policy regarding                          Register notice regarding procedures for
                                                 circumstances. To enhance stability and                 exceptions to the requirement that                    renewing TPS-related employment
                                                 job flexibility for certain high-skilled                makes the approval of an H–1B petition                documentation) and remains pending;
                                                 nonimmigrant workers in the United                      contingent upon the beneficiary’s                     and (3) the individual’s eligibility for
                                                 States with approved Form I–140                         licensure where licensure is required to              employment authorization continues
                                                 petitions who cannot obtain an                          fully perform the duties of the relevant              beyond the expiration of the EAD and
                                                 immigrant visa due to statutory limits                  specialty occupation. The final rule                  an independent adjudication of the
                                                 on the number of immigrant visas that                   generally allows for the temporary                    underlying eligibility is not a
                                                 may be issued, the final rule allows                    approval of an H–1B petition for an                   prerequisite to the extension of
                                                 certain beneficiaries in the United States              otherwise eligible unlicensed worker, if              employment authorization.
                                                 in E–3, H–1B, H–1B1, L–1, or O–1                        the petitioner can demonstrate that the               Concurrently, DHS eliminates the
                                                 nonimmigrant status to apply for                        worker is unable for certain technical                regulatory provisions that require
                                                 separate employment authorization for a                 reasons to obtain the required license                adjudication of the Application for
                                                 limited period if there are compelling                  before obtaining H–1B status. The final               Employment Authorization (Form I–765
                                                 circumstances that, in the discretion of                rule also clarifies the types of evidence             or EAD application) within 90 days of
                                                 DHS, justify the issuance of                            that would need to be submitted to                    filing and that authorize interim EADs
                                                 employment authorization. See final 8                   support approval of an H–1B petition on               in cases where such adjudications are
                                                 CFR 204.5(p).                                           behalf of an unlicensed worker who will               not conducted within the 90-day
                                                    x 10-day nonimmigrant grace                          work in a state that allows the                       timeframe. These changes provide
                                                 periods. To promote stability and                       individual to be employed in the                      enhanced stability and certainty to
                                                 flexibility for certain high-skilled                    relevant occupation under the                         employment-authorized individuals and
                                                 nonimmigrant workers, the final rule                    supervision of licensed senior or                     their employers while reducing
                                                 provides two grace periods of up to 10                  supervisory personnel. See final 8 CFR                opportunities for fraud and protecting
                                                 days, consistent with those already                     214.2(h)(4)(v)(C).                                    the security related processes
                                                 available to individuals in some                           As noted above, these changes codify               undertaken for each EAD application.
                                                 nonimmigrant classifications, to                        and improve USCIS policies concerning                 See final 8 CFR 247a.13(d).
                                                 individuals in the E–1, E–2, E–3, L–1,                  various employment-based immigrant
                                                 and TN classifications. The rule allows                 and nonimmigrant visa classifications,                2. Summary of Changes From the Notice
                                                 an initial grace period of up to 10 days                including by making it easier to hire and             of Proposed Rulemaking
                                                 prior to the start of an authorized                     retain nonimmigrant workers who have                     Following careful consideration of
                                                 validity period, which provides                         approved Form I–140 petitions and                     public comments received, DHS has
                                                 nonimmigrants in the above                              giving such workers additional career                 made several modifications to the
                                                 classifications a reasonable amount of                  options as they wait for immigrant visas              regulatory text proposed in the Notice of
                                                 time to enter the United States and                     to become available. These                            Proposed Rulemaking (NPRM)
                                                 prepare to begin employment in the                      improvements are increasingly                         published in the Federal Register on
                                                 country. The rule also allows a second                  important considering the lengthy waits               December 31, 2015. See Retention of
                                                 grace period of up to 10 days after the                 and consistently growing demand for                   EB–1, EB–2, and EB–3 Immigrant
                                                 end of an authorized validity period,                   immigrant visas.                                      Workers and Program Improvements
                                                 which provides a reasonable amount of                      Finally, to provide additional stability           Affecting High-Skilled Nonimmigrant
                                                 time for such nonimmigrants to depart                   and certainty to U.S. employers and                   Workers; Proposed Rule, 80 FR 81899.
                                                 the United States or take other actions                 individuals eligible for employment                   Those changes include the following:
                                                 to extend, change, or otherwise                         authorization in the United States, this                 x Retaining a Priority Date. In the
                                                 maintain lawful status. See final 8 CFR                 final rule changes several DHS                        final rule, DHS is responding to public
                                                 214.1(l)(1).                                            regulations governing the processing of               comment by revising proposed 8 CFR
                                                    x 60-day nonimmigrant grace                          applications for employment                           204.5(e)(2)(iv), a provision that
                                                 periods. To further enhance job                         authorization. First, to minimize the risk            identifies when error related to the
                                                 portability, the final rule establishes a               of any gaps in employment                             approval of an employment-based
                                                 grace period of up to 60 consecutive                    authorization, this final rule                        immigrant visa petition can lead to loss
                                                 days during each authorized validity                    automatically extends the validity of                 of a priority date. The term ‘‘error’’ is
                                                 period for individuals in the E–1, E–2,                 Employment Authorization Documents                    clarified to mean ‘‘material error’’ in
                                                 E–3, H–1B, H–1B1, L–1, O–1 or TN                        (EADs or Forms I–766) in certain                      final 8 CFR 204.5(e)(2)(iv), which now
                                                 classifications. This grace period allows               circumstances based on the timely filing              states that a priority date may not be
                                                 high-skilled workers in these                           of EAD renewal applications.                          retained if USCIS revokes the approval
                                                 classifications, including those whose                  Specifically, the rule automatically                  of the Form I–140 petition because it
                                                 employment ceases prior to the end of                   extends the employment authorization                  determined that there was a material
                                                 the petition validity period, to more                   and validity of existing EADs issued to               error with regard to the petition’s
                                                 readily pursue new employment should                    certain employment-eligible individuals               approval.
                                                 they be eligible for other employer-                    for up to 180 days from the date of                      x Eligibility for employment
                                                 sponsored nonimmigrant classifications                  expiration, as long as: (1) A renewal                 authorization in compelling
                                                 or employment in the same                               application is filed based on the same                circumstances. In the final rule, DHS is
                                                 classification with a new employer. The                 employment authorization category as                  responding to public comment by
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                                                 grace period also allows U.S. employers                 the previously issued EAD (or the                     revising several aspects of proposed 8
                                                 to more easily facilitate changes in                    renewal application is for an individual              CFR 204.5(p) governing requests for
                                                 employment for existing or newly                        approved for Temporary Protected                      EADs in compelling circumstances.
                                                 recruited nonimmigrant workers. See                     Status (TPS) whose EAD was issued                        First, DHS is revising proposed 8 CFR
                                                 final 8 CFR 214.1(l)(2).                                under 8 CFR 274a.12(c)(19)); (2) the                  204.5(p)(1)(i), which discusses the
                                                    x H–1B licensing. To provide clarity                 renewal application is timely filed prior             eligibility of principal beneficiaries of
                                                 and certainty to the regulated                          to the expiration of the EAD (or, in                  immigrant visa petitions to obtain EADs

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                                                 in compelling circumstances. In the                     beneficiaries’ applications are granted                  Moreover, in § 214.1(l)(2), DHS is
                                                 final rule, DHS provides clarification                  under paragraph (p)(3)(i) and remain                  adding the O–1 classification to the list
                                                 that principal beneficiaries may be                     valid.                                                of visa classifications for which USCIS
                                                 eligible to file applications for such                     Finally, DHS is making several                     will not consider an individual to have
                                                 EADs during the authorized periods of                   technical revisions for readability and               failed to maintain nonimmigrant status
                                                 admission that immediately precede or                   clarity.                                              for a period of up to 60 days or until the
                                                 follow the validity periods of their                       x Automatic revocation. In the final               end of the authorized validity period,
                                                 nonimmigrant classifications (i.e.,                     rule, DHS is responding to public                     whichever is shorter, solely because of
                                                 ‘‘grace periods’’).                                     comment by editing proposed 8 CFR                     the cessation of the employment on
                                                    Second, DHS also is making several                   205.1(a)(3)(iii)(C) and (D), which                    which the visa classification was based.
                                                 revisions to proposed 8 CFR 204.5(p)(3),                provide the grounds for automatically                 In addition, DHS is clarifying that the
                                                 which addresses certain eligibility                     revoking Form I–140 petitions. DHS is                 60-day grace period must be used in a
                                                 requirements for principal beneficiaries                revising these provisions to clarify that             single period of consecutive days during
                                                 and family members seeking to renew                     a Form I–140 petition will remain                     the relevant authorized validity period.
                                                 EADs issued in compelling                               approved if a request to withdraw it is               DHS also is changing the phrase ‘‘for a
                                                 circumstances. DHS clarifies in final                   received or the petitioner terminates its             one-time period during any authorized
                                                 § 204.5(p)(3) that applicants seeking to                business 180 days or more after either                validity period,’’ to read ‘‘once during
                                                 extend such employment authorization                    the date of the petition’s approval or the            each authorized validity period’’ to
                                                 must file a renewal Form I–765 before                   date of filing of an associated                       clarify that the 60-day grace period may
                                                 the expiration of their current                                                                               be provided to an individual only once
                                                                                                         application for adjustment of status.4 In
                                                 employment authorization. DHS also                                                                            per authorized validity period.
                                                                                                         addition, DHS is removing the phrase,
                                                 streamlines and clarifies the regulatory                                                                      However, an individual may be
                                                                                                         ‘‘provided that the revocation of a
                                                 text covering the two instances in which                                                                      provided other such grace periods if he
                                                                                                         petition’s approval under this clause
                                                 applicants may be eligible to apply for                                                                       or she receives a new authorized
                                                                                                         will not, by itself, impact a beneficiary’s
                                                 renewal. DHS clarifies that under final                                                                       validity period in one of the eligible
                                                                                                         ability to retain his or her priority date
                                                 § 204.5(p)(3)(i)(A), applicants may apply                                                                     nonimmigrant classifications. In
                                                                                                         under 8 CFR 204.5(e)’’ in
                                                 for renewal if the principal beneficiary                                                                      addition, DHS is making other technical
                                                                                                         § 205.1(a)(3)(iii)(C) and (D) because that
                                                 continues to demonstrate compelling                                                                           revisions to proposed § 214.1(l)(1), (2)
                                                                                                         phrase was redundant of text in 8 CFR
                                                 circumstances and an immigrant visa is                                                                        and (3).
                                                 not authorized for issuance to the                      204.5(e), which, as proposed and                         x Duties without licensure. In the
                                                 principal beneficiary based on his or her               retained in this final rule, already                  final rule, DHS is responding to public
                                                 priority date. DHS also clarifies that                  establishes the ability of the beneficiary            comment by modifying proposed 8 CFR
                                                 under final § 204.5(p)(3)(i)(B), a                      to retain his or her priority date if his             214.2(h)(4)(v)(C), which sets standards
                                                 principal beneficiary may apply for                     or her immigrant visa petition is                     for H–1B adjudication absent the
                                                 renewal if his or her priority date is one              revoked on any ground other than those                beneficiary’s full licensure. First, DHS is
                                                 year or less either before or after the                 enumerated in final 8 CFR                             revising proposed 8 CFR
                                                 relevant date in the Department of State                204.5(e)(2)(i)–(iv). The deletion of the              214.2(h)(4)(v)(C)(1) to expand the
                                                 Visa Bulletin. In determining whether                   redundant text does not change the                    evidence USCIS will examine in cases
                                                 the difference between the principal                    substance of the provisions.                          where a state allows an individual
                                                 beneficiary’s priority date and the date                   x Period of stay. In the final rule, DHS           without licensure to fully practice the
                                                 upon which immigrant visas are                          is responding to public comment by                    occupation under the supervision of
                                                 authorized for issuance is one year or                  revising proposed 8 CFR 214.1(l), which               licensed senior or supervisory personnel
                                                 less, DHS will use the applicable Final                 concerns authorized grace periods that                to include ‘‘evidence that the petitioner
                                                 Action Date in the Visa Bulletin that                   may immediately precede and follow                    is complying with state requirements.’’
                                                 was in effect on the date the application               periods of nonimmigrant petition                         Second, DHS is expanding the
                                                 for employment authorization is filed.                  validity and other authorized periods of              language in § 214.2(h)(4)(v)(C)(2) to
                                                    Third, DHS is removing a ground of                   stay. DHS is removing from proposed 8                 account for other technical requirements
                                                 ineligibility that was proposed in                      CFR 214.1(l)(1) the phrase ‘‘to prepare               in state or local rules or procedures that
                                                 § 204.5(p)(5), as it was duplicative of                 for departure from the United States or               may, like the lack of a Social Security
                                                 requirements for renewal under                          to seek an extension or change of status              number or employment authorization,
                                                 § 204.5(p)(3)(i)(B), which authorizes                   based on a subsequent offer of                        pose obstacles to obtaining a license.
                                                 eligibility for renewals when the                       employment’’ because it is                            Specifically, in § 214.2(h)(4)(v)(C)(2)(i),
                                                 difference between the principal                        unnecessarily limiting and did not fully              DHS is adding the phrase ‘‘or met a
                                                 beneficiary’s priority date and the date                comport with how the existing 10-day                  technical requirement’’ following the
                                                 upon which immigrant visas are                          grace period may be used by individuals               references to the Social Security number
                                                 authorized for issuance to the principal                in the H, O and P nonimmigrant visa                   and employment authorization. DHS is
                                                 beneficiary is 1 year or less according to              classifications. DHS is adding the                    making similar conforming changes in
                                                 the Visa Bulletin in effect on the date                 phrase ‘‘or otherwise provided status’’               two places in § 214.2(h)(4)(v)(C)(2)(ii).
                                                 the application for employment                          after ‘‘an alien admissible in E–1, E–2,                 Third, in § 214.2(h)(4)(v)(C)(2)(ii),
                                                 authorization is filed.                                 E–3, H–1B, L–1, or TN classification and              which discusses the petitioner’s
                                                    Fourth, DHS is revising proposed                     his or her dependents may be admitted                 qualifications for a license, DHS is
                                                 § 204.5(p)(3)(ii) to clarify that family                to the United States’’ to clarify that the            adding ‘‘substantive’’ in front of the
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                                                 members may submit applications to                      10-day grace period may be granted to                 word ‘‘requirements,’’ to allow
                                                 renew employment authorization                          these nonimmigrants at time of                        flexibility to account for various state
                                                 concurrently with renewal applications                  admission or upon approval of an                      specific requirements. DHS is adding
                                                 filed by the principal beneficiaries, or                extension of stay or change of status.                these clarifications to address other
                                                 while such applications are pending,                                                                          analogous obstacles of which DHS is not
                                                 but family renewal applications cannot                    4 Such petitions will remain approved unless        specifically aware, which present
                                                 be approved unless the principal                        revoked on other grounds.                             similar situations where the beneficiary

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                                                 is qualified for licensure, but may not                 that a nonprofit entity is related to or              approvals after the 7th year; and
                                                 obtain the licensure because of a                       affiliated with an institution of higher              § 214.2(h)(13)(iii)(D)(10), which
                                                 technical requirement.                                  education.                                            describes limits on future exemptions
                                                    In addition, DHS is making technical                    In addition, DHS is defining the                   from the lengthy adjudication delay.
                                                 edits by replacing the use of the word                  phrase ‘‘governmental research                           x Per country and worldwide limits.
                                                 ‘‘or’’ with ‘‘and’’ in the first clause of 8            organization’’ in § 214.2(h)(19)(iii)(C) to           In the final rule, DHS is responding to
                                                 CFR 214.2(h)(4)(v)(C)(2)(ii) to reflect that            include state and local government                    public comment by revising proposed 8
                                                 the beneficiary must have filed an                      research entities, and not just federal               CFR 214.2(h)(13)(iii)(E), which governs
                                                 application for the license in accordance               government research entities, whose                   when a nonimmigrant may be eligible
                                                 with State and local rules and                          primary mission is the performance or                 for H–1B status in 3-year increments
                                                 procedures. This does not change the                    promotion of basic research and/or                    beyond the 6-year limitation that
                                                 intended meaning of the proposed rule.                  applied research. This definition is                  otherwise applies. This provision
                                                 Finally, DHS is making a technical edit                 adopted for cap exemption purposes at                 addresses eligibility for an extension of
                                                 in the second clause by replacing the                   8 CFR 214.2(h)(8)(ii)(F)(3).                          H–1B status under section 104(c) of
                                                 use of ‘‘and/or’’ with ‘‘or’’ preceding                    x Calculating the maximum H–1B                     AC21. DHS is striking the phrase, ‘‘the
                                                 ‘‘procedures.’’                                         admission period. In the final rule, DHS              unavailability must exist at time of the
                                                    x Definitions of non-profit entities                 is responding to public comment by                    petition’s adjudication’’ to reflect
                                                 related to or affiliated with an                        revising proposed 8 CFR                               longstanding DHS policy. By striking
                                                 institution of higher education and                     214.2(h)(13)(iii)(C), which discusses                 this phrase, DHS is clarifying that if the
                                                 governmental research organizations. In                 how to calculate the time spent                       Visa Bulletin that was in effect on the
                                                 the final rule, DHS is responding to                    physically outside the United States                  date the H–1B petition is filed shows
                                                 public comment by editing proposed 8                    during the validity of an H–1B petition               that the individual was subject to a per
                                                 CFR 214.2(h)(8)(ii)(F) and (h)(19), which               that will not count against an                        country or worldwide visa limitation,
                                                 define which entities are (1) nonprofit                 individual’s maximum authorized                       DHS may grant the extension under
                                                 entities that are related to or affiliated              period of stay in H–1B status. DHS is                 section 104(c) of AC21, even if the
                                                 with institutions of higher education,                  amending the regulatory text to clarify               immigrant visa is available when the
                                                 and (2) governmental research                           that there is no temporal limit on                    petition is adjudicated, so long as the
                                                 organizations for purposes of the H–1B                  recapturing time. The amendment                       beneficiary is otherwise eligible.
                                                 visa program. H–1B nonimmigrant                         makes clear that such time may be                        x Retaliatory action claims. In the
                                                 workers who are employed at such                        recaptured in a subsequent H–1B                       final rule, DHS is responding to public
                                                 entities are exempt from the annual                     petition on behalf of the foreign worker,             comment by amending proposed 8 CFR
                                                 limitations on H–1B visas. Such entities                ‘‘at any time before the alien uses the               214.2(h)(20), which discusses eligibility
                                                 are also exempt from paying certain fees                full period of authorized H–1B                        for extensions of stay in H–1B status or
                                                 in the H–1B program.                                    admission described in section 214(g)(4)              change of status to other nonimmigrant
                                                    At § 214.2(h)(8)(ii)(F)(2), DHS is                   of the Act.’’ DHS also is making a                    classifications by beneficiaries who
                                                 adding the phrase ‘‘if it satisfies any one             technical edit to § 214.2(h)(13)(iii)(C)(1)           faced retaliatory action from their
                                                 of the following conditions,’’ to clarify               to clarify which form may be used for                 employers. Additionally, DHS is making
                                                 that a petitioner only has to meet one of               this provision.                                       a minor technical change to this section,
                                                 the listed requirements. DHS is adding                     x Lengthy adjudication delay                       correcting ‘‘labor certification
                                                 the same clarifying language to 8 CFR                   exemption from section 214(g)(4) of the               application’’ to ‘‘labor condition
                                                 214.2(h)(19)(iii)(B). In                                Act. In the final rule, DHS is responding             application.’’
                                                 § 214.2(h)(8)(ii)(F)(2)(iv) and                         to public comment by revising several                    x Validity of petition for continued
                                                 (h)(19)(iii)(B)(4), which address cap                   subsections of proposed 8 CFR                         eligibility for adjustment of status. In the
                                                 exemption and ACWIA fee exemption,                      214.2(h)(13)(iii)(D), which governs                   final rule, DHS is responding to public
                                                 respectively, for a nonprofit entity that               when a nonimmigrant may be eligible                   comment by amending proposed 8 CFR
                                                 is related to or affiliated with an                     for H–1B status in 1-year increments                  245.25(a), which governs the
                                                 institution of higher education based on                beyond the 6-year limitation that                     circumstances in which an individual
                                                 a formal written affiliation agreement,                 otherwise applies. DHS is amending the                with a pending application for
                                                 DHS is replacing the term ‘‘primary                     text of proposed 8 CFR                                adjustment of status can move to a job
                                                 purpose’’ with ‘‘fundamental activity’’                 214.2(h)(13)(iii)(D)(1) by striking the               in the same or a similar occupational
                                                 in response to public comments                          phrase, ‘‘prior to the 6-year limitation              classification. In particular, revisions
                                                 suggesting the term ‘‘primary purpose’’                 being reached.’’ This change clarifies                are being made to implement DHS’s
                                                 was too restrictive. As a result, when a                that a qualifying labor certification or              current section 204(j) portability policy
                                                 nonprofit entity claims exemption from                  Form I–140 petition is not required to be             and longstanding practice related to the
                                                 the cap and ACWIA fee based on a                        filed 365 days before the 6-year                      adjudication of qualifying Form I–140
                                                 formal written affiliation agreement                    limitation is reached in order for the                petitions that are not approved at the
                                                 with an institution of higher education,                individual to be eligible for an                      time the beneficiary’s application for
                                                 the final rule requires that ‘‘a                        exemption under section 106(a) of                     adjustment of status has been pending
                                                 fundamental activity’’ of the nonprofit                 AC21; instead, the labor certification or             for 180 days or more.
                                                 entity is to directly contribute to the                 Form I–140 petition would need to be                     First, in § 245.25(a), DHS is replacing
                                                 research or education mission of the                    filed at least 365 days before the day the            a general reference in the NPRM to a
                                                 institution of higher education. DHS is                 exemption would take effect. DHS is                   ‘‘USCIS designated form’’ with a
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                                                 also removing the phrase ‘‘absent shared                also making several revisions to                      specific reference to ‘‘Form I–485
                                                 ownership or control’’ from § 214.2                     simplify and clarify                                  Supplement J’’ as the form DHS intends
                                                 (h)(8)(ii)(F)(2)(iv) and (h)(19)(iii)(B)(4) to          § 214.2(h)(13)(iii)(D)(5), which concerns             to be used for an individual to
                                                 clarify that an entity need not prove the               advance filing; § 214.2(h)(13)(iii)(D)(6),            demonstrate continuing eligibility for
                                                 absence of shared ownership or control                  which defines petitioners who may seek                adjustment of status based on an
                                                 when relying on the existence of a                      the exemption; § 214.2(h)(13)(iii)(D)(7),             existing or new job offer under INA
                                                 formal affiliation agreement to establish               which describes subsequent exemption                  204(j).

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                                                    Second, DHS also is clarifying that the              comment, DHS is making several                        B. Legal Authority
                                                 Supplement J may be accompanied by                      technical changes to the regulatory text                 The authority of the Secretary of
                                                 ‘‘material and credible documentary                     in this final rule so that DHS regulations            Homeland Security (Secretary) for these
                                                 evidence, in accordance with form                       better reflect current ACWIA fee                      regulatory amendments is found in
                                                 instructions.’’ This revision expands the               amounts and filing procedures:                        various sections of the Immigration and
                                                 types of evidence that can be submitted                    x ACWIA fee amount and filing                      Nationality Act (INA), 8 U.S.C. 1101 et
                                                 in support of Supplement J beyond                       procedures. DHS is making technical                   seq., ACWIA, AC21, and the Homeland
                                                 ‘‘material and credible information                     changes to 8 CFR 214.2(h)(19)(i), (ii), (v),          Security Act of 2002 (HSA), Public Law
                                                 provided by another Federal agency,                     (vi) and (vii) to update the amount of                107–296, 116 Stat. 2135, 6 U.S.C. 101 et
                                                 such as information from the Standard                   the ACWIA fee applicable to certain H–                seq. General authority for issuing the
                                                 Occupational Classification (SOC)                       1B petitions in accordance with                       final rule is found in section 103(a) of
                                                 system,’’ as had been proposed. As a                    statutory amendments, as well as                      the INA, 8 U.S.C. 1103(a), which
                                                 result, DHS is deleting the evidentiary                 procedures for submitting the fee to                  authorizes the Secretary to administer
                                                 list included in proposed § 245.25(b).                  USCIS, or claiming an exemption from
                                                    Third, DHS is revising proposed                                                                            and enforce the immigration and
                                                                                                         the fee, to conform with current                      nationality laws, as well as section 102
                                                 § 245.25(a)(2)(ii) to reaffirm that a                   procedures.5 The statutory fee amount
                                                 qualifying Form I–140 petition must be                                                                        of the HSA, 6 U.S.C. 112, which vests
                                                                                                         in INA 214(c)(9), 8 U.S.C. 1184(c)(9),                all of the functions of DHS in the
                                                 approved before DHS examines a                          was amended by section 1 of Pub. L.
                                                 portability request under INA 204(j).                                                                         Secretary and authorizes the Secretary
                                                                                                         106–311 (Oct. 17, 2000) (changing the                 to issue regulations. Further authority
                                                 Moreover, DHS is adding                                 fee amount from $500 to $1,000), and
                                                 § 245.25(a)(2)(ii)(B) to confirm that,                                                                        for the regulatory amendments in the
                                                                                                         the Consolidated Appropriations Act,                  final rule is found in the following
                                                 unless approval of the petition would be                2005, Pub. L. 108–447, Division J, Title
                                                 inconsistent with a statutory                                                                                 sections:
                                                                                                         IV, sec. 422 (L–1 Visa and H–1B Visa                     x Section 205 of the INA, 8 U.S.C.
                                                 requirement, a pending qualifying Form                  Reform Act) (Dec. 8, 2004) (permanently
                                                 I–140 petition may be approved if (1)                                                                         1155, which grants the Secretary broad
                                                                                                         extending the fee and changing the fee                discretion in determining whether and
                                                 the petitioner established the ability to               amount from $1,000 to a bifurcated
                                                 pay at the time of filing the petition and                                                                    how to revoke the approval of any Form
                                                                                                         amount of $1,500 for employers with                   I–140 petition approved under section
                                                 (2) all other eligibility criteria are met at           more than 25 employees, and half that
                                                 the time of filing and until the                                                                              204 of the INA, 8 U.S.C. 1154;
                                                                                                         amount for those with up to 25                           x Section 214 of the INA, 8 U.S.C.
                                                 beneficiary’s application for adjustment                employees). DHS is updating its
                                                 of status has been pending for 180 days.                                                                      1184, including section 214(a)(1), 8
                                                                                                         regulations to conform the fee amount to              U.S.C. 1184(a)(1), which authorizes the
                                                    Finally, DHS is reorganizing and                     the figure in current INA 214(c)(9). DHS
                                                 renumbering § 245.25(a), and making                                                                           Secretary to prescribe by regulation the
                                                                                                         regulations at 8 CFR 103.7(b)(1)(i)(CCC)              terms and conditions of the admission
                                                 other technical and conforming edits.
                                                                                                         and form instructions for the Petition for
                                                    x Concurrently filed EAD                                                                                   of nonimmigrants;
                                                 applications. In the final rule, DHS is                 a Nonimmigrant Worker, Form I–129,                       x Section 274A(h)(3)(B) of the INA, 8
                                                 responding to public comment by                         already reflect these updated fee                     U.S.C. 1324a(h)(3)(B), which recognizes
                                                 amending proposed 8 CFR 274a.13(a) to                   amounts. The technical changes also                   the Secretary’s authority to extend
                                                 facilitate USCIS’s ability to notify the                reflect the elimination of references to              employment authorization to
                                                 public of changes in concurrent filing                  the now obsolete Form I–129W, which                   noncitizens in the United States;
                                                 procedures for EAD applications. DHS                    has been replaced by the Form I–129 H–                   x Section 413(a) of ACWIA, which
                                                 is adding text indicating that USCIS                    1B and H–1B1 Data Collection and                      amended section 212(n)(2)(C) of the
                                                 may announce on its Web site                            Filing Fee Exemption Supplement and                   INA, 8 U.S.C. 1182(n)(2)(C), to authorize
                                                 circumstances in which an EAD                           which is already being used to make                   the Secretary to provide certain
                                                 application may be filed concurrently                   determinations for ACWIA fee                          whistleblower protections to H–1B
                                                 with a related benefit request that, if                 exemptions.                                           nonimmigrant workers;
                                                 granted, would form the basis for                          x Additional entities exempt from the                 x Section 414 of ACWIA, which
                                                 eligibility for employment                              ACWIA fee. DHS is making a technical                  added section 214(c)(9) of the INA, 8
                                                 authorization. Under the proposed rule,                 change to 8 CFR 214.2(h)(19)(iii) to                  U.S.C. 1184(c)(9), to authorize the
                                                 such announcement was limited to form                   include other entities that are statutorily           Secretary to impose a fee on certain H–
                                                 instructions.                                           exempt from the ACWIA fee, and thus                   1B petitioners to fund the training and
                                                    x Automatic extensions of                            to conform the regulation to INA                      education of U.S. workers;
                                                 employment authorization for renewal                    214(c)(9)(A), 8 U.S.C. 1184(c)(9)(A), as                 x Section 103 of AC21, which
                                                 applicants. In the final rule, DHS is                   amended by section 1 of Pub. L. 106–                  amended section 214(g) of the INA, 8
                                                 responding to public comment by                         311. DHS added a new paragraph (D) to                 U.S.C. 1184(g), to provide: (1) An
                                                 amending proposed 8 CFR 274a.13(d) to                   include primary or secondary                          exemption from the H–1B numerical
                                                 clarify timeliness and termination rules                educational institutions, and a new                   cap for certain H–1B nonimmigrant
                                                 for the automatic extension of certain                  paragraph (E) to include nonprofit                    workers employed at institutions of
                                                 EAD renewal applicants. DHS is                          entities that engage in an established                higher education, nonprofit entities
                                                 clarifying that a renewal EAD                           curriculum-related clinical training of               related to or affiliated with such
                                                 application filed on the basis of a grant               students registered at an institution of              institutions, and nonprofit research
                                                 of TPS is timely if filed during the                    higher education. The Form I–129 and                  organizations or governmental research
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                                                 period described in the applicable                      its form instructions already list these              organizations; (2) that an H–1B
                                                 Federal Register notice regarding                       entities as fee exempt.                               nonimmigrant who ceases to be
                                                 procedures for renewing TPS. DHS is                                                                           employed by a cap-exempt employer,
                                                                                                           5 DHS finds that prior notice and comment for
                                                 also making clarifying edits to the                                                                           and who was not previously counted
                                                                                                         these technical changes is unnecessary, as DHS is
                                                 termination provision at § 274a.13(d)(3).               merely conforming its regulations to the self-
                                                                                                                                                               against the cap, will be subject to the H–
                                                    In addition to the above changes that                implementing statutory amendments. See 5 U.S.C.       1B numerical limitations; and (3) that a
                                                 were made in response to public                         553(b)(B).                                            worker who has been counted against

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                                                 the H–1B numerical cap within the 6                     economic growth and job creation.7 For                 adjustment of status; (3) the
                                                 years prior to petition approval will not               more information, the public may                       circumstances under which H–1B
                                                 again be counted against the cap unless                 consult the Regulatory Impact Analysis                 nonimmigrant workers may begin
                                                 the individual would be eligible for a                  (RIA), which addresses the short-term                  employment with a new employer; (4)
                                                 new 6-year period of authorized H–1B                    and long-term effects of these                         the method for counting time in status
                                                 admission.                                              regulations. The RIA is available in the               as an H–1B nonimmigrant worker
                                                    x Section 104(c) of AC21, which                      docket for this rulemaking.                            toward maximum periods of stay; (5) the
                                                 authorizes the extension of authorized                     DHS has analyzed potential costs of                 entities that are properly considered
                                                 H–1B admission beyond the general 6-                    these regulations and has determined                   related to or affiliated with institutions
                                                 year maximum for H–1B nonimmigrant                      that the changes have direct impacts to                of higher education for purposes of the
                                                 workers who have approved EB–1, EB–                     individual beneficiaries of employment-                H–1B program; and (6) the
                                                 2, or EB–3 Form I–140 petitions but are                 based nonimmigrant and immigrant visa                  circumstances under which H–1B
                                                 subject to backlogs due to application of               petitions in the form of filing costs,                 nonimmigrant workers can claim
                                                 certain per-country limitations on                      consular processing costs, and potential               whistleblower protections. The
                                                 immigrant visas;                                        for longer processing times for EAD                    increased clarity provided by these rules
                                                    x Section 105 of AC21, which added                   applications during filing surges, among               enhances the ability of certain high-
                                                 what is now section 214(n) of the INA,                  other costs. Because some of these                     skilled workers to take advantage of the
                                                 8 U.S.C. 1184(n),6 to allow an H–1B                     petitions are filed by sponsoring                      job portability and related provisions in
                                                 nonimmigrant worker to begin                            employers, this rule also has indirect                 AC21 and ACWIA.
                                                 concurrent or new H–1B employment                       effects on employers in the form of                       The final rule also amends the current
                                                 upon the filing of a timely, non-                       employee replacement costs.                            regulatory scheme governing certain
                                                 frivolous H–1B petition;                                   The amendments clarify and amend                    immigrant and nonimmigrant visa
                                                    x Sections 106(a) and (b) of AC21,                   policies and practices in various                      programs to further enhance job
                                                 which, as amended, authorize the                        employment-based immigrant and                         portability for certain workers and
                                                 extension of authorized H–1B admission                  nonimmigrant visa programs, with the                   improve the ability of U.S. businesses to
                                                 beyond the general 6-year maximum for                   primary aim of providing additional                    retain highly valued individuals. These
                                                 H–1B nonimmigrant workers who have                      stability and flexibility to foreign                   benefits are achieved by: (1) Revising
                                                 been sponsored for permanent residence                  workers and U.S. employers                             the provisions affecting the continued
                                                 by their employers and who are subject                  participating in those programs. In part,              validity of approved Form I–140
                                                 to certain lengthy adjudication or                      the final rule clarifies and improves                  petitions, and retention of priority dates
                                                 processing delays;                                      upon longstanding policies adopted in                  of those petitions, for purposes of
                                                    x Section 106(c) of AC21, which                      response to the enactment of ACWIA                     processing immigrant visas or
                                                                                                         and AC21 to ensure greater consistency                 applications for adjustment of status; (2)
                                                 added section 204(j) of the INA to
                                                                                                         across DHS adjudications and provide                   establishing a means for certain
                                                 authorize certain beneficiaries of
                                                                                                         greater certainty to regulated employers               nonimmigrant workers with approved
                                                 approved EB–1, EB–2, and EB–3 Form
                                                                                                         and workers. These changes provide                     Form I–140 petitions to directly request
                                                 I–140 petitions who have filed
                                                                                                         various benefits to U.S. employers and                 separate employment authorization for a
                                                 applications for adjustment of status to
                                                                                                         certain foreign workers, including the                 limited time when facing compelling
                                                 change jobs or employers without
                                                                                                         enhanced ability of such workers to                    circumstances; (3) providing grace
                                                 invalidating their approved petitions;
                                                                                                         accept promotions or change positions                  periods to certain nonimmigrants to
                                                 and
                                                                                                         with their employers, as well as change                enhance their ability to seek an
                                                    x Section 101(b)(1)(F) of the HSA, 6
                                                                                                         employers or pursue other employment                   authorized change of employment; and
                                                 U.S.C. 111(b)(1)(F), which establishes as               opportunities. These changes also                      (4) identifying exceptions to licensing
                                                 a primary mission of DHS the duty to                    benefit the regulated community by                     requirements applicable to certain H–1B
                                                 ‘‘ensure that the overall economic                      providing instructive rules governing:                 nonimmigrant workers.
                                                 security of the United States is not                    (1) Extensions of stay for certain H–1B                   The final rule also amends current
                                                 diminished by efforts, activities, and                  nonimmigrant workers facing long                       regulations governing the processing of
                                                 programs aimed at securing the                          delays in the immigrant visa process; (2)              applications for employment
                                                 homeland.’’                                             the ability of workers who have been                   authorization to provide additional
                                                 C. Costs and Benefits                                   sponsored by their employers for LPR                   stability to certain employment-
                                                                                                         status to change jobs or employers 180                 authorized individuals in the United
                                                   Taken together, the amendments in
                                                                                                         days after they file applications for                  States while addressing fraud, national
                                                 this final rule are intended to reduce                                                                         security, and operational concerns. To
                                                 unnecessary disruption to businesses                      7 Hart, David, et al., ‘‘High-tech Immigrant         prevent gaps in employment for such
                                                 and workers caused by immigrant visa                    Entrepreneurship in the United States,’’ Small         individuals and their employers, the
                                                 backlogs, as described in Section III.C of              Business Administration Office of Advocacy (July
                                                                                                                                                                final rule provides for the automatic
                                                 this preamble. The benefits from these                  2009), available at: https://www.sba.gov/sites/
                                                                                                         default/files/rs349totB0.pdf. See also Fairlie,        extension of EADs (and, where
                                                 amendments add value to the U.S.                        Robert., ‘‘Open for Business: How Immigrants are       necessary, employment authorization)
                                                 economy by retaining high-skilled                       Driving Small Business Creation in the United          upon the timely filing of a renewal
                                                 workers who make important                              States,’’ The Partnership for a New American
                                                                                                                                                                application. To protect against fraud
                                                                                                         Economy (August 2012), available at: http://
                                                 contributions to the U.S. economy,                      www.renewoureconomy.org/sites/all/themes/pnae/         and other abuses, the final rule also
                                                 including technological advances and                    openforbusiness.pdf; ‘‘Immigrant Small Business        eliminates current regulatory provisions
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                                                 research and development endeavors,                     Owners a Significant and Growing Part of the
                                                                                                                                                                that require adjudication of applications
                                                 which are highly correlated with overall                Economy,’’ Fiscal Policy Institute (June 2012),
                                                                                                         available at: http://www.fiscalpolicy.org/immigrant-   for employment authorization in 90
                                                                                                         small-business-owners-FPI–20120614.pdf;                days and that authorize interim EADs
                                                   6 Section 8(a)(3) of the Trafficking Victims          Anderson, Stuart, ‘‘American Made 2.0 How              when that timeframe is not met.
                                                 Protection Reauthorization Act of 2003, Public Law      Immigrant Entrepreneurs Continue to Contribute to
                                                 108–193, (Dec. 19, 2003), redesignated section          the U.S. Economy,’’ National Venture Capital
                                                                                                                                                                   DHS has prepared a full costs and
                                                 214(m) of the INA, 8 U.S.C. 1184(m), as section         Association (June 2013), available at: http://         benefits analysis of the final rule, which
                                                 214(n) of the INA, 8 U.S.C. 1184(n).                    nvca.org/research/stats-studies/.                      can be found in the docket for this

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                                                 rulemaking on regulations.gov. The                           table below provides a summary of the
                                                                                                              provisions and impacts of this rule.

                                                                                                         TABLE 1—SUMMARY OF PROVISIONS AND IMPACTS
                                                             Provisions                                              Purpose                                           Expected impact of the final rule

                                                 Priority Date .........................   Clarifies when a priority date is established for employ-       Quantitative:
                                                                                             ment-based immigrant visa petitions that do not re-           x Not estimated.
                                                                                             quire a labor certification under INA 203(b).                 Qualitative:
                                                                                                                                                           x Removes ambiguity and sets consistent priority dates
                                                                                                                                                             for affected petitioners and beneficiaries.
                                                 Priority Date Retention .........         Explains that workers may retain priority dates and             Quantitative:
                                                                                             transfer those dates to new and subsequently ap-              x Not estimated.
                                                                                             proved Form I–140 petitions, except when USCIS re-            Qualitative:
                                                                                             vokes approval of the petition for: Material error,           x Results in administrative efficiency and predictability
                                                                                             fraud or willful misrepresentation of a material fact, or       by explicitly listing when priority dates are lost as the
                                                                                             revocation or invalidation of the labor certification ac-       approval of the petitions that are revoked under
                                                                                             companying the petition.                                        these specific grounds cannot be used as a basis for
                                                                                                                                                             an immigrant visa.
                                                                                                                                                           x Improves the ability of certain workers to accept pro-
                                                                                                                                                             motions, change employers, or pursue other employ-
                                                                                                                                                             ment opportunities.
                                                 Employment-Based Immi-                    Incorporates statutory portability provisions into regula-      Quantitative:
                                                  grant Visa Petition Port-                  tion.                                                         Petitioners –
                                                  ability Under 204(j).                                                                                    x Opportunity costs of time to petitioners for 1-year
                                                                                                                                                             range from $126,598 to $4,636,448.
                                                                                                                                                           DHS/USCIS—
                                                                                                                                                           x Neutral because the new supplementary form to the
                                                                                                                                                             application for adjustment of status to permanent res-
                                                                                                                                                             idence will formalize the process for USCIS requests
                                                                                                                                                             for evidence of compliance with INA 204(j) porting.
                                                                                                                                                           Qualitative:
                                                                                                                                                           Applicants/Petitioners—
                                                                                                                                                           x Replaces, through the Supplement J standardized
                                                                                                                                                             form, the need for individuals to submit job offer and
                                                                                                                                                             employment confirmation letters.
                                                                                                                                                           x Provides stability and job flexibility to certain individ-
                                                                                                                                                             uals with approved employment-based immigrant
                                                                                                                                                             visa petitions.
                                                                                                                                                           x Implements the clarifications regarding ‘‘same or
                                                                                                                                                             similar occupational classifications’’ through the new
                                                                                                                                                             Supplement J.
                                                                                                                                                           x Allows certain foreign workers to advance and
                                                                                                                                                             progress in their careers.
                                                                                                                                                           x Potential increased employee replacement costs for
                                                                                                                                                             employers.
                                                                                                                                                           DHS/USCIS—
                                                                                                                                                           x Administrative efficiency.
                                                                                                                                                           x Standardized and streamlined process.
                                                 Employment Authorization                  Provisions allowing certain nonimmigrant principal              Quantitative: Total costs over 10-year period to appli-
                                                  for Certain Nonimmigrants                  beneficiaries, and their dependent spouses and chil-            cants are:
                                                  Based on Compelling Cir-                   dren, to apply for employment authorization if the            x $731.1 million for undiscounted costs.
                                                  cumstances.                                principal is a beneficiary of an approved EB–1, EB–2,         x $649.9 million at a 3% discounted rate.
                                                                                             or EB–3 immigrant visa petition while waiting for his         x $565.2 million at a 7% discounted rate.
                                                                                             or her immigrant visa to become available. Applicants         Qualitative:
                                                                                             must demonstrate compelling circumstances justi-              Applicants—
                                                                                             fying an independent grant of employment authoriza-           x Provides ability for nonimmigrants who have been
                                                                                             tion.                                                           sponsored for LPR status to change jobs or employ-
                                                                                                                                                             ers when compelling circumstances arise.
                                                                                                                                                           x Incentivizes such skilled nonimmigrant workers con-
                                                                                                                                                             tributing to the economy to continue seeking LPR
                                                                                                                                                             status.
                                                                                                                                                           x Nonimmigrant principal workers who take advantage
                                                                                                                                                             of the compelling circumstances EAD will lose their
                                                                                                                                                             current nonimmigrant status and may not be able to
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                                                                                                                                                             adjust to LPR status in the United States.
                                                                                                                                                           x Consular processing imposes potentially significant
                                                                                                                                                             costs, risk and uncertainty for individuals and their
                                                                                                                                                             families as well.
                                                                                                                                                           Dependents—
                                                                                                                                                           x Allows dependents to enter labor market earlier and
                                                                                                                                                             contribute to household income.


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                                                                                          TABLE 1—SUMMARY OF PROVISIONS AND IMPACTS—Continued
                                                           Provisions                                            Purpose                                           Expected impact of the final rule

                                                 90-Day Processing Time for            Eliminates regulatory requirement for 90-day adjudica-          Quantitative:
                                                   Employment Authorization              tion timeframe and issuance of interim-EADs. Adds             x Not estimated.
                                                   Applications.                         provisions allowing for the automatic extension of            Qualitative:
                                                                                         EADs for up to 180 days for certain workers filing re-        Applicants—
                                                                                         newal requests.                                               x Removing a regulatory timeframe and moving to one
                                                                                                                                                         governed by processing goals could potentially lead
                                                                                                                                                         to longer processing times whenever USCIS is faced
                                                                                                                                                         with higher than expected filing volumes. If such a
                                                                                                                                                         situation were to occur, this could lead to potential
                                                                                                                                                         delays in work employment start dates for first-time
                                                                                                                                                         EAD applicants until approval is obtained. However,
                                                                                                                                                         USCIS believes such scenarios will be rare and miti-
                                                                                                                                                         gated by the automatic extension provision for re-
                                                                                                                                                         newal applications which will allow the movement of
                                                                                                                                                         resources in such situations.
                                                                                                                                                       x Providing the automatic continuing authorization for
                                                                                                                                                         up to 180 days for certain renewal applicants could
                                                                                                                                                         lead to less turnover costs for U.S. employers. In ad-
                                                                                                                                                         dition, the automatic extension provision minimizes
                                                                                                                                                         the applicants’ risk of any gaps in employment au-
                                                                                                                                                         thorization.
                                                                                                                                                       DHS/USCIS—
                                                                                                                                                       x Streamlines the application and card issuance proc-
                                                                                                                                                         esses.
                                                                                                                                                       x Enhances the ability to ensure all national security
                                                                                                                                                         verification checks are completed.
                                                                                                                                                       x Reduces duplication efforts.
                                                                                                                                                       x Reduces opportunities for fraud and better accommo-
                                                                                                                                                         dates increased security measures.
                                                 Automatic Revocation With             Revises regulations so that a petition may remain valid         Quantitative:
                                                   Respect to Approved Em-               despite withdrawal by the employer or termination of          x Not estimated.
                                                   ployment-Based Immigrant              the employer’s business after 180 days or more of             Qualitative:
                                                   Visa Petitions.                       approval, or 180 days or more after the associated            x Beneficiary retains priority date unless the petition is
                                                                                         application for adjustment of status has been filed.            revoked for one of the reasons specified in final 8
                                                                                                                                                         CFR 204.5(e)(2).
                                                                                                                                                       x Affords porting ability under INA 204(j) and extension
                                                                                                                                                         of H–1B status pursuant to AC21 sections 104(c) and
                                                                                                                                                         106(a) and (b), as well as potential eligibility for the
                                                                                                                                                         new compelling circumstances EAD.
                                                 Period of Admission for Cer-          Nonimmigrants in certain high-skilled, nonimmigrant             Quantitative:
                                                   tain Nonimmigrant Classi-             classifications may be granted grace periods of up to         x Not estimated.
                                                   fications.                            10 days before and after their validity period, and a         Qualitative: Nonimmigrant Visa Holders—.
                                                                                         grace period upon cessation of employment on which            x Assists the beneficiary in getting sufficiently settled
                                                                                         the foreign national’s classification was based, for up         such that he or she is immediately able to begin
                                                                                         to 60 days or until the end of their authorized validity        working upon the start of the petition validity period.
                                                                                         period, whichever is shorter, during each authorized          x Provides time necessary to wrap up affairs to depart
                                                                                         validity period.                                                the country.
                                                                                                                                                       x Allows the beneficiary to maintain nonimmigrant sta-
                                                                                                                                                         tus when faced with a termination of employment to
                                                                                                                                                         wrap up affairs, find new employment, or change to a
                                                                                                                                                         different nonimmigrant classification.
                                                 Portability of H–1B Status            Updates, improves, and clarifies DHS regulations con-           Quantitative:
                                                   Calculating the H–1B Ad-              sistent with policy guidance.                                 x Not estimated.
                                                   mission Period Exemp-                                                                               Qualitative:
                                                   tions Due to Lengthy Adju-                                                                          x Formalizes existing DHS policy in the regulations,
                                                   dication Delays Per Coun-                                                                             which will give the public access to existing policy in
                                                   try Limitation Exemptions                                                                             one location.
                                                   Employer Debarment and                                                                              x Clarifies current DHS policy that there is no temporal
                                                   H–1B Whistleblower Provi-                                                                             limit on recapturing time.
                                                   sions.
                                                 H–1B Licensing Require-               Expands the evidence USCIS will examine in cases                Quantitative:
                                                   ments.                                where a state allows an individual without licensure          x Not estimated.
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                                                                                         to fully practice the relevant occupation under the su-       Qualitative:
                                                                                         pervision of licensed senior or supervisory personnel         x Provides additional flexibilities in obtaining necessary
                                                                                         in that occupation to include evidence of compliance            licensure while still permitting H–1B employment dur-
                                                                                         with state requirements. Additionally, USCIS is ex-             ing the pendency of state or local license applica-
                                                                                         panding the possible situations in which it may ap-             tions.
                                                                                         prove an H–1B petition even though the beneficiary            x Helps to relieve the circular predicament an H–1B
                                                                                         cannot obtain a license for certain technical reasons.          beneficiary may encounter.



                                                                                                                                                                                               AC00151
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                                                                                          TABLE 1—SUMMARY OF PROVISIONS AND IMPACTS—Continued
                                                           Provisions                                            Purpose                                            Expected impact of the final rule

                                                                                                                                                       x May minimally increase time burden for the petitioner
                                                                                                                                                         to gather information and send it to USCIS. However,
                                                                                                                                                         DHS anticipates that the benefits to the petitioner
                                                                                                                                                         and beneficiary exceed the opportunity costs of time.
                                                                                                                                                       x May increase opportunity costs of time for USCIS ad-
                                                                                                                                                         judicators to evaluate additional evidence in such
                                                                                                                                                         types of cases. However, DHS does not anticipate
                                                                                                                                                         that the opportunity costs of time will be so substan-
                                                                                                                                                         tial as to warrant additional hiring of staff or cause
                                                                                                                                                         significant adjudication delays.
                                                 Exemptions to the H–1B Nu-            Codifies definition of ‘‘institution of higher education’’      Quantitative:
                                                   merical Cap, Revised Def-             and adds a broader definition of ‘‘related or affiliated      x Not estimated.
                                                   inition of ‘‘Related or Affili-       nonprofit entity.’’ Also, revises the definition of ‘‘re-     Qualitative:
                                                   ated Nonprofit Entity’’ in            lated or affiliated nonprofit entity’’ for purposes of the    x Clarifies the requirements for a nonprofit entity to es-
                                                   the ACWIA Fee Context,                ACWIA fee to conform it to the new definition of the            tablish that it is related to or affiliated with an institu-
                                                   and Expanded Interpreta-              same term for H–1B numerical cap exemption. Ex-                 tion of higher education.
                                                   tion of ‘‘Governmental Re-            pands the interpretation of ‘‘governmental research           x Better reflects current operational realities for institu-
                                                   search Organizations.’’.              organizations’’ for purposes of the ACWIA fee and               tions of higher education and how they interact with,
                                                                                         aligns definitions for H–1B cap and fee exemptions.             and sometimes rely on, nonprofit entities.
                                                                                                                                                       x Clarifies the interpretation of governmental research
                                                                                                                                                         organizations to include federal, state, and local gov-
                                                                                                                                                         ernmental organizations.
                                                                                                                                                       x May expand the numbers of petitioners that are cap
                                                                                                                                                         exempt and thus allow certain employers greater ac-
                                                                                                                                                         cess to H–1B workers.



                                                 III. Background                                          will always benefit our nation by                      LCA attestation requirements, or for
                                                                                                          creating more jobs for everyone.’’) 9                  cooperating, or attempting to cooperate,
                                                 A. ACWIA and AC21                                          ACWIA also included several                          in an investigation or proceeding
                                                 1. The American Competitiveness and                      measures intended to improve                           pertaining to the employer’s LCA
                                                 Workforce Improvement Act of 1998                        protections for U.S. and H–1B                          compliance.’’ See INA 212(n)(2)(C)(iv), 8
                                                                                                          nonimmigrant workers. Section 413 of                   U.S.C. 1182(n)(2)(C)(iv). Section 413
                                                   ACWIA was enacted on October 21,                       the ACWIA provided enhanced                            further required the development of a
                                                 1998. Among other things, ACWIA was                      penalties for employer violations of                   process to enable H–1B nonimmigrant
                                                 intended to address shortages of                         Labor Condition Application (LCA)                      workers who file complaints with DOL
                                                 workers in the U.S. high-technology                      obligations as well as willful                         regarding illegal retaliation, and are
                                                 sector. To increase the number of such                   misrepresentations by employers in                     otherwise eligible to remain and work in
                                                 workers in the United States, section                    LCAs. See ACWIA 413 (creating INA                      the United States, to seek other
                                                 411 of ACWIA increased the annual                        212(n)(2)(C), codified at 8 U.S.C.                     appropriate employment in the United
                                                 numerical cap on H–1B visas from                         1182(n)(2)(C)). Section 413 of ACWIA                   States. See INA 212(n)(2)(C)(v), 8 U.S.C.
                                                                                                          also made it a violation for an H–1B                   1182(n)(2)(C)(v).
                                                 65,000 to 115,000 in each of fiscal years
                                                                                                          employer to retaliate against an                          Section 414 of ACWIA imposed a
                                                 (FY) 1999 and 2000, and to 107,500 in
                                                                                                          employee for providing information to                  temporary fee on certain H–1B
                                                 FY 2001.8 See section 411 of ACWIA                       the employer or other persons, or for                  employers to fund, among other things,
                                                 (amending INA 214(g)(1), codified at 8                   cooperating in an investigation, related               job training of U.S. workers and
                                                 U.S.C. 1184(g)(1)). The congressional                    to an employer’s violation of its LCA                  scholarships in the science, technology,
                                                 statements accompanying ACWIA                            attestations and obligations. Employers                engineering, and mathematics (STEM)
                                                 recognized that the continued                            are prohibited from taking retaliatory                 fields. See ACWIA 414 (creating INA
                                                 competitiveness of the U.S. high-                        action in such situations, including any               214(c)(9), codified at 8 U.S.C.
                                                 technology sector is ‘‘crucial for [U.S.]                action ‘‘to intimidate, threaten, restrain,            1184(c)(9)). Although initially
                                                 economic well-being as a nation, and for                 coerce, blacklist, discharge, or in any                scheduled to sunset, the ACWIA fee was
                                                 increased economic opportunity for                       other manner discriminate’’ against an                 eventually made permanent by the H–
                                                 American workers.’’ See 144 Cong. Rec.                   employee for ‘‘disclos[ing] information                1B Visa Reform Act of 2004, enacted as
                                                 S12,741, S12,749 (daily ed. Oct. 21,                     to the employer, or to any other person,               part of the Consolidated Appropriations
                                                 1998) (statement of Sen. Spencer                         that the employee reasonably believes                  Act, 2005, Public Law 108–447, div. J,
                                                 Abraham); see also id. (‘‘This issue is                  evidences [an LCA] violation, any rule                 tit. IV. That later enactment also
                                                 not only about shortages, it is about                    or regulation pertaining to the statutory              established the current fee amounts of
                                                 opportunities for innovation and                                                                                $1,500 per qualifying petition, or $750
                                                 expansion, since people with valuable
                                                                                                            9 Senator Abraham drafted and sponsored the
                                                                                                                                                                 for employers with no more than 25
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                                                                                                          original Senate bill for ACWIA, then titled the        full-time equivalent employees
                                                 skills, whatever their national origin,                  American Competitiveness Act, S. 1723, 105th
                                                                                                          Cong. (1998), which passed the full Senate by a 78–    employed in the United States
                                                   8 Section 102(a) of AC21 further amended INA           20 margin on May 18, 1998. 144 Cong. Rec. as           (including employees employed by any
                                                 214(g)(1) by increasing the annual numerical cap on
                                                                                                          S12,748–49 (daily ed. Oct. 21, 1998). He negotiated    affiliate or subsidiary of such employer).
                                                                                                          with the House of Representatives on a compromise
                                                 H–1B visas to 195,000 for each of the fiscal years       ACWIA bill and was deputized to negotiate in talks
                                                                                                                                                                 Congress in the interim had amended
                                                 2001, 2002, 2003. In fiscal year 2004 the annual H–      between Congress and the White House to finalize       section 214(c)(9)(A) of the INA, 8 U.S.C.
                                                 1B numerical cap reverted to 65,000.                     the bill.                                              1184(c)(9)(A), by specifying additional

                                                                                                                                                                                                  AC00152
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                                                 employers that are exempt from the                      fiscal year. See AC21 104(a) and (b)                  intended to allow such high-skilled
                                                 ACWIA fee. See Act of Oct. 17, 2010,                    (amending INA 202(a)(5), codified at 8                individuals to remain in the United
                                                 Public Law 106–311. Exempt employers                    U.S.C. 1152(a)(5)); see also S. Rep. No.              States as H–1B nonimmigrant workers,
                                                 include primary and secondary                           260, 106th Cong., 2nd Sess. at 2. This                rather than being forced to leave the
                                                 education institutions, certain                         provision recognized ‘‘the                            country and disrupt their employers due
                                                 institutions of higher education and                    discriminatory effects of [the per-                   to a long-pending labor certification
                                                 related or affiliated nonprofit entities,               country limitations] on nationals from                application or Form I–140 petition. See
                                                 nonprofit entities engaged in                           certain Asian Pacific nations,’’                      S. Rep. No. 260, at 23.
                                                 curriculum-related clinical training, and               specifically Chinese and Indian                          Finally, to provide stability and
                                                 nonprofit research organizations or                     nationals, which ‘‘prevent[ed] an                     flexibility to beneficiaries of approved
                                                 governmental research organizations.                    employer from hiring or sponsoring                    Form I–140 petitions subject to
                                                 See INA 214(c)(9)(A), 8 U.S.C.                          someone permanently simply because                    immigrant visa backlogs and processing
                                                 1184(c)(9)(A).                                          he or she is Chinese or Indian, even                  delays, AC21 also provided certain
                                                                                                         though the individual meets all other                 workers the improved ability to change
                                                 2. The American Competitiveness in the                                                                        jobs or employers without losing their
                                                                                                         legal criteria.’’ See S. Rep. No. 260, at
                                                 Twenty-First Century Act of 2000                                                                              positions in the immigrant visa queue.
                                                                                                         22.
                                                    AC21 was enacted on October 17,                         Section 104(c) of AC21 was designed                Specifically, section 106(c) of AC21
                                                 2000. It made numerous changes to the                   to further ameliorate the impact of the               provides that certain Form I–140
                                                 INA designed to improve the U.S.                        per-country limitations on H–1B                       petitions filed under the EB–1, EB–2,
                                                 economy in the short and long term.                     nonimmigrant workers who are the                      and EB–3 preference categories will
                                                 First, AC21 sought to improve economic                  beneficiaries of approved EB–1, EB–2,                 remain valid with respect to a new
                                                 growth and job creation by immediately                  or EB–3 Form I–140 petitions.                         qualifying job offer if the beneficiary
                                                 increasing U.S. access to high-skilled                  Specifically, section 104(c) of AC21                  changes jobs or employers, provided an
                                                 workers. See S. Rep. No. 260, at 10                     authorized the extension of H–1B status               application for adjustment of status has
                                                 (‘‘[A]rtificially limiting companies’                   beyond the statutory 6-year maximum                   been filed and such application has
                                                 ability to hire skilled foreign                         for such individuals if immigrant visas               been pending for 180 days or more. See
                                                 professionals will stymie our country’s                 are not immediately available to them                 AC21 106(c) (creating INA 204(j)). The
                                                 economic growth and thereby partially                   because the relevant preference category              new job offer must be in the same or a
                                                 atrophy its creation of new jobs . . .                  is already over-subscribed for that                   similar occupational classification as
                                                 American workers’ interests are                         foreign national’s country of birth. See              the job for which the original Form I–
                                                 advanced, rather than impeded, by                       AC21 104(c). In support of this                       140 petition was filed. Id.
                                                 raising the H–1B cap’’). Second, AC21                   provision, Congress noted that ‘‘these
                                                 sought to improve the education and                                                                           ii. AC21 Provisions Seeking To Improve
                                                                                                         immigrants would otherwise be forced
                                                 training of U.S. workers in high-skilled                                                                      the H–1B Nonimmigrant Worker
                                                                                                         to return home at the conclusion of their
                                                 sectors, and thereby produce a U.S.                                                                           Classification
                                                                                                         allotted time in H–1B status, disrupting
                                                 workforce better equipped to fill the                   projects and American workers.’’ See S.                  As noted above, one of the principal
                                                 need in such sectors, through the                       Rep. No. 260, at 22. Section 104(c)                   purposes for the enactment of AC21 was
                                                 funding of scholarships and high-skilled                ‘‘enables these foreign nationals to                  to improve the country’s access to high-
                                                 training programs. See section 111 of                   remain in H–1B status until they are                  skilled workers. AC21 therefore
                                                 AC21. As noted by the accompanying                      able to receive an immigrant visa and                 contains several additional provisions
                                                 Senate Report, foreign-born high-skilled                adjust their status within the United                 intended to expand and strengthen the
                                                 individuals have played an important                    States, thus limiting the disruption to               H–1B program.
                                                 role in U.S. economic prosperity and the                American businesses.’’ Id.                            a. Exemptions From the H–1B
                                                 competitiveness of U.S. companies in                       AC21 also sought to more generally                 Numerical Cap
                                                 numerous fields. Id. AC21 sought to                     ameliorate the impact of the lack of
                                                 provide such benefits by improving both                 employment-based immigrant visas on                      Section 103 of AC21 amended the
                                                 the employment-based immigrant visa                     the high-skilled beneficiaries of                     INA to create an exemption from the H–
                                                 process and the H–1B specialty                          approved Form I–140 petitions. Sections               1B numerical cap for those H–1B
                                                 occupation worker program.                              106(a) and (b) of AC21, as amended by                 nonimmigrant workers who are
                                                                                                         section 11030A of the 21st Century                    employed or offered employment at an
                                                 i. AC21 Provisions Relating to                                                                                institution of higher education, a
                                                                                                         Department of Justice Appropriations
                                                 Employment-Based Immigrant Visas                                                                              nonprofit entity related or affiliated to
                                                                                                         Authorization Act, Public Law 107–273
                                                    AC21 contained several provisions                    (2002), authorized the extension of H–                such an institution, or a nonprofit
                                                 designed to improve access to                           1B status beyond the statutory 6-year                 research organization or governmental
                                                 employment-based immigrant visas for                    maximum for H–1B nonimmigrant                         research organization. See INA
                                                 certain workers. Section 104 of AC21,                   workers who are being sponsored for                   214(g)(5)(A) and (B); 8 U.S.C.
                                                 for example, sought to ameliorate the                   LPR status by U.S. employers and are                  1184(g)(5)(A) and (B). Congress deemed
                                                 impact of the ‘‘per-country limitations,’’              subject to lengthy adjudication or                    such employment advantageous to the
                                                 which generally limit the number of                     processing delays. Specifically, these                United States, based on the belief that
                                                 immigrant visas that may be issued to                   provisions exempted H–1B                              increasing the number of high-skilled
                                                 the nationals of any one country to no                  nonimmigrant workers from the 6-year                  foreign nationals working at U.S.
                                                 more than 7 percent of the total number                 limitation on H–1B status contained in                institutions of higher education would
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                                                 of immigrant visas. See INA 202(a)(2), 8                INA 214(g)(4), if 365 days or more have               increase the number of Americans who
                                                 U.S.C. 1152(a)(2). Sections 104(a) and                  elapsed since the filing of a labor                   will be ready to fill specialty occupation
                                                 (b) of AC21 amended the INA to                          certification application (if such                    positions upon completion of their
                                                 effectively waive application of the per-               certification is required under INA                   education. See S. Rep. No. 260, at 21–
                                                 country limitations when such                           212(a)(5), 8 U.S.C. 1182(a)(5)), or a Form            22. Congress reasoned that ‘‘by virtue of
                                                 application would result in immigrant                   I–140 petition under INA 203(b), 8                    what they are doing, people working in
                                                 visas going unused in any quarter of the                U.S.C. 1153(b). These provisions were                 universities are necessarily immediately

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                                                 contributing to educating Americans.’’                   against the H–1B numerical cap within                    B. Processing Applications for
                                                 Id. at 21. Congress also recognized that                 the 6 years prior to petition approval                   Employment Authorization Documents
                                                 U.S. institutions of higher education are                shall not be counted against the cap                        The Secretary of Homeland Security
                                                 on a different hiring cycle from other                   unless that individual would be eligible                 has broad authority to extend
                                                 U.S. employers, and in years of high H–                  for a new 6-year period of authorized H–                 employment authorization to
                                                 1B demand, these institutions would be                   1B admission. See INA 214(g)(7), 8                       noncitizens in the United States. See,
                                                 unable to hire cap-subject H–1B                          U.S.C. 1184(g)(7). In addition, an                       e.g., INA sections 103(a) and
                                                 nonimmigrant workers. Id. at 22.                         individual previously in the United                      274A(h)(3)(B), 8 U.S.C. 1103(a) and
                                                   For purposes of this H–1B numerical                    States in H–1B nonimmigrant status is                    1324a(h)(3)(B). DHS regulations at 8
                                                 cap exemption, the term ‘‘institution of                 eligible for a full 6 years of authorized                CFR 274a.12(a), (b), and (c) describe
                                                 higher education’’ is given the same                     admission as an H–1B nonimmigrant                        three broad categories of foreign
                                                 meaning as that set forth in section                     after residing and being physically                      nationals authorized to work in the
                                                 101(a) of the Higher Education Act of                    present outside the United States for the                United States. Individuals in the first
                                                 1965, Public Law 89–329, 79 Stat. 1224                   immediate prior year. Id.
                                                 (1965), as amended (codified at 20                                                                                class, described at 8 CFR 274a.12(a), are
                                                                                                             Section 103 of AC21 also amended                      authorized to work in the United States
                                                 U.S.C. 1001(a) (‘‘Higher Education                       the INA to address cases in which an H–
                                                 Act’’)).10 See INA 214(g)(5)(A), 8 U.S.C.                                                                         incident to their immigration status,
                                                                                                          1B nonimmigrant worker seeks to                          without restriction as to the location of
                                                 1184(g)(5)(A). Due to the lack of                        change employment from a cap-exempt
                                                 statutory definitions, DHS defined the                                                                            their employment or the type of
                                                                                                          entity to a ‘‘cap-subject’’ entity. Section              employment they may accept. In many
                                                 terms ‘‘related or affiliated nonprofit                  103 provides that once employment
                                                 entity,’’ and ‘‘nonprofit research                                                                                cases, their immigration status and
                                                                                                          ceases with respect to a cap-exempt                      attendant employment authorization is
                                                 organization or governmental research                    entity, the H–1B nonimmigrant worker
                                                 organization’’ at 8 CFR                                                                                           evidenced by the Arrival-Departure
                                                                                                          will be subject to the cap if not                        Record (Form I–94). Those individuals
                                                 214.2(h)(19)(iii)(B) and (C), respectively,              previously counted and no other
                                                 and adopted these definitions as a                                                                                seeking to obtain an EAD that contains
                                                                                                          exemptions from the cap apply. See INA                   not only evidence of employment
                                                 matter of interpretation in the cap                      214(g)(6), 8 U.S.C. 1184(g)(6).
                                                 exemption context.11                                                                                              authorization, but also a photograph,
                                                                                                          c. H–1B Portability                                      typically must file a separate
                                                 b. Application of the H–1B Numerical                                                                              application with USCIS. See 8 CFR
                                                 Cap to Persons Previously Counted                           Section 105 of AC21 further improved                  274a.13(a).
                                                                                                          the H–1B program by increasing job                          Individuals in the second class,
                                                    Section 103 of AC21 also amended                      portability for H–1B nonimmigrant
                                                 the INA to ensure that H–1B                                                                                       described at 8 CFR 274a.12(b), are
                                                                                                          workers. Specifically, section 105                       employment authorized incident to
                                                 nonimmigrant workers can change jobs
                                                                                                          allows an H–1B nonimmigrant worker                       their nonimmigrant status, but each
                                                 or employers without again being
                                                                                                          to begin concurrent or new H–1B                          individual’s employment authorization
                                                 counted against the H–1B cap.
                                                                                                          employment upon the filing of a timely,                  is valid only with a specific employer.
                                                 Specifically, section 103 provides that
                                                                                                          nonfrivolous H–1B petition. See INA                      Individuals in this second group do not
                                                 an individual who has been counted
                                                                                                          214(n), 8 U.S.C. 1184(n). The H–1B                       file separate requests for evidence of
                                                    10 Section 101(a) of the Higher Education Act of
                                                                                                          nonimmigrant worker must have been                       employment authorization and are not
                                                 1965, as amended, defines ‘‘institution of higher        lawfully admitted to the United States,                  generally issued EADs. These
                                                 education’’ as an educational institution in any         must not have worked without                             individuals instead obtain a Form I–94
                                                 state that:                                              authorization after the lawful
                                                    (1) admits as regular students only persons                                                                    indicating their nonimmigrant status
                                                                                                          admission, and must be in a period of                    and attendant employment
                                                 having a certificate of graduation from a school
                                                 providing secondary education, or the recognized         stay authorized by the Secretary.12                      authorization.
                                                 equivalent of such a certificate, or persons who         Employment authorization based on the                       Individuals in the third class,
                                                 meet the requirements of [20 U.S.C. 1091(d)];            pending petition continues until                         described at 8 CFR 274a.12(c), are
                                                    (2) is legally authorized within such state to        adjudication. See INA 214(n)(1), 8
                                                 provide a program of education beyond secondary                                                                   required to apply for employment
                                                 education;                                               U.S.C. 1184(n)(1). If the H–1B petition is               authorization and may begin working
                                                    (3) provides an educational program for which         denied, the employment authorization                     only if USCIS approves their
                                                 the institution awards a bachelor’s degree or            provided under this provision ceases.                    application. This employment
                                                 provides not less than a 2-year program that is          Id. Congress created H–1B portability to
                                                 acceptable for full credit toward such a degree, or                                                               authorization is subject to the
                                                 awards a degree that is acceptable for admission to
                                                                                                          ‘‘allow an H–1B visa holder to change                    restrictions described in the regulations
                                                 a graduate or professional degree program, subject       employers at the time a new employer                     for the specific employment eligibility
                                                 to review and approval by the Secretary [of              files the initial paperwork, rather than                 category. Generally, the approval of an
                                                 Education];                                              having to wait for the new H–1B
                                                    (4) is a public or other nonprofit institution; and                                                            EAD application by an individual
                                                                                                          petition to be approved. This responds                   described in 8 CFR 274a.12(c) is within
                                                    (5) is accredited by a nationally recognized
                                                 accrediting agency or association, or if not so          to concerns raised about the potential                   the discretion of USCIS. There is no
                                                 accredited, is an institution that has been granted      for exploitation of H–1B visa holders as                 right to appeal the denial of an EAD
                                                 preaccreditation status by such an agency or             a result of a specific U.S. employer’s                   application. See 8 CFR 274a.13(c).
                                                 association that has been recognized by the              control over the employee’s legal
                                                 Secretary [of Education] for the granting of                                                                         Individuals requesting an EAD must
                                                 preaccreditation status, and the Secretary [of           status.’’ See S. Rep. No. 260, at 22–23.                 file Form I–765 with USCIS in
                                                 Education] has determined that there is satisfactory                                                              accordance with the form instructions.
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                                                 assurance that the institution will meet the                12 See USCIS Memorandum from Donald Neufeld,

                                                 accreditation standards of such an agency or             ‘‘Consolidation of Guidance Concerning Unlawful
                                                                                                                                                                   See 8 CFR 274a.13. Under current
                                                 association within a reasonable time.                    Presence for Purposes of Sections 212(a)(9)(B)(i)        regulations, if USCIS does not
                                                    11 See USCIS Memorandum from Michael Aytes,           and 212(a)(9)(C)(i)(I) of the Act’’ (May 6, 2009)        adjudicate the Form I–765 within 90
                                                 ‘‘Guidance Regarding Eligibility for Exemption from      (‘‘Neufeld May 2009 Memo’’) (describing various          days from the date USCIS receives the
                                                 the H–1B Cap Based on § 103 of the American              ‘‘periods of authorized stay’’), available at https://
                                                 Competitiveness in the Twenty-First Century Act of       www.uscis.gov/sites/default/files/USCIS/Laws/
                                                                                                                                                                   application, the applicant will be
                                                 2000 (AC21) (Public Law 106–313)’’ (June 6, 2006)        Memoranda/StaticBFilesBMemoranda/2009/                   granted an interim document
                                                 (‘‘Aytes Memo June 2006’’) at 2–4.                       revisionBredesignBAFM.PDF.                               evidencing employment authorization

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                                                 with a validity period not to exceed 240                LPR status for many workers, especially                  become permanent residents. Their
                                                 days. See 8 CFR 274a.13(d).                             for workers from oversubscribed                          employment opportunities may be
                                                                                                         countries who can face delays that                       limited to their original job duties with
                                                 C. The Increasing Challenges Caused by
                                                                                                         extend for more than a decade.16                         the U.S. employer that sponsored their
                                                 Immigrant Visa Backlogs                                   AC21 was enacted as a response to the                  temporary admission to the United
                                                    The final rule addresses in part some                long and growing delays for many                         States, despite the fact that they may
                                                 of the challenges that flow from the                    beneficiaries of Form I–140 petitions, to                have gained professional experience
                                                 statutory limits on immigrant visas,                    ameliorate the detrimental impact of                     that would otherwise allow them to
                                                 consistent with existing DHS                            such delays on the U.S. economy, U.S.
                                                 authorities. The number of employment-                                                                           progress substantially in their careers.
                                                                                                         businesses, and affected workers
                                                 based immigrant visas statutorily                       themselves. Those delays, however,                          Many individuals subject to the
                                                 allocated per year has remained                         have grown substantially longer than                     immigrant visa backlogs confront the
                                                 unchanged since the passage of the                      those that existed at the time AC21 was                  choice between remaining employed in
                                                 Immigration Act of 1990. In the                         passed. Although DHS has worked                          a specific job under the same terms and
                                                 intervening 25 years, the country’s                     diligently to improve processing times                   conditions originally offered to them, or
                                                 economy has expanded dramatically.                      during the intervening period, visa                      abandoning the pursuit of an immigrant
                                                 The size of the U.S. economy, as                        backlogs due to statutory numerical                      visa altogether if they do not have
                                                 measured by U.S. gross domestic                         limits for many individuals seeking EB–                  another Form I–140 petition filed on
                                                 product (GDP), increased by about 83                    2 and EB–3 classification have grown                     their behalf. When such a worker
                                                 percent since 1990, rising from $8.955                  significantly for certain individuals.17                 changes employers or jobs—including a
                                                 trillion in 1990 to $16.397 trillion in                 DHS recognizes the resulting realities                   change to an identical job with a
                                                 2015.13 Over the same period, GDP per                   confronting individuals seeking                          different employer or to a new but
                                                 capita increased by just over 42 percent,               employment-based permanent residence                     related job for the same employer—the
                                                 rising from $35,794 in 1990 to $50,970                  who, due to immigrant visa
                                                 in 2015.14 The number of entities doing                                                                          worker is typically subject to
                                                                                                         unavailability, are required to wait
                                                 business in the United States increased                                                                          uncertainty as to whether USCIS will
                                                                                                         many years for visas to become available
                                                 by at least 24 percent during the same                  before they can file applications for                    approve his or her application for LPR
                                                 period.15 Over the same period,                         adjustment of status or seek immigrant                   status based on the change. Moreover,
                                                 employer demand for immigrant visas                     visas abroad and become LPRs. In many                    these individuals must consider
                                                 has increasingly outpaced supply in                     instances, these individuals are in the                  whether such changes would involve
                                                 some categories and for some                            United States in a nonimmigrant,                         expensive additional immigration
                                                 nationalities, resulting in growing waits               employer-specific temporary worker                       processes, greatly discouraging them.
                                                 for some sponsored employees to obtain                  category (e.g., H–1B or L–1 visa                         Indeed, under current regulations, some
                                                 their LPR status. Such delays have                      classification) and may be unable to                     changes in employment could result in
                                                 resulted in substantial inequalities and                accept promotions or otherwise change                    the loss of nonimmigrant status, loss of
                                                 other hardships flowing from limits on                  jobs or employers without abandoning                     the ability to change to another
                                                 the ability of sponsored workers to                     their existing efforts—including great                   nonimmigrant status, loss of an
                                                 change employment to enhance their                      investments of time and money—to                         approved immigrant visa, loss of the
                                                 skills, to accept promotions, or to                                                                              ability to obtain an immigrant visa or
                                                 otherwise change their positions. Since                    16 According to the Visa Bulletin for November
                                                                                                                                                                  adjust to LPR status, or the need for the
                                                 AC21 was enacted in October of 2000,                    2016, immigrant visas are currently issuable to all
                                                                                                                                                                  affected worker and his or her family to
                                                 certain workers seeking LPR status in                   persons qualifying under the EB–1 preference
                                                                                                         category. The EB–2 category Application Final            immediately depart the United States.
                                                 the United States have faced increasing                 Action date cutoff is current for all countries except   As a result, these employees often suffer
                                                 challenges as a consequence of the                      for China and India; the cutoff date for China is July
                                                                                                                                                                  through many years of effective career
                                                 escalating wait times for immigrant                     15, 2012 and the cutoff date for India is November
                                                 visas. Numerical limitations in the                     1, 2007, meaning nationals of these countries may        stagnation, as they are largely
                                                                                                         have to wait 4 to 9 years for a visa to be authorized    dependent on current employers for
                                                 various employment-based preference                     for issuance. The Application Final Action cut-off
                                                 categories, combined with the per-                      dates for nationals of most countries under the EB–
                                                                                                                                                                  immigration status and are substantially
                                                 country limitations that further reduce                 3 preference category are set at July 1, 2016 (a wait    restricted in their ability to change
                                                 visa availability to certain workers, has               of less than five months). But for EB–3 Indian           employers or even accept promotions
                                                                                                         nationals, the Application Final Action cutoff dates
                                                 produced significant oversubscription                   are set at March 8, 2005 (a wait of more than 10
                                                                                                                                                                  from, or make lateral movements
                                                 in the EB–2 and EB–3 categories,                        years) and EB–3 cutoff dates for Chinese nationals       within, their current employers.
                                                 particularly for individuals born in                    are set at April 15, 2013 (a wait of more than 3
                                                                                                         years). See Visa Bulletin for November 2016,
                                                                                                                                                                     Simply put, many workers in the
                                                 India and China. This oversubscription                  https://travel.state.gov/content/visas/en/law-and-       immigrant visa process are not free to
                                                 results in substantial delays in obtaining              policy/bulletin/2017/visa-bulletin-for-november-         consider all available employment and
                                                                                                         2016.html.                                               career development opportunities. This
                                                   13 U.S. Department of Commerce, Bureau of                17 According to the Visa Bulletin for October 2000

                                                 Economic Analysis, Table 1.1.6 Real Gross               (the month AC21 was enacted), visa availability was      effectively prevents U.S. employers
                                                 Domestic Product, Chained (2009) Dollars, https://      current for all persons qualifying under the EB–1        from treating them like the high-
                                                 www.bea.gov/iTable/indexBnipa.cfm.                      preference category. The EB–2 category was current       potential individuals the employer
                                                   14 U.S. Department of Commerce, Bureau of             for all countries except for China and India. The
                                                 Economic Analysis, Table 7.1 Selected Per Capita        EB–2 cut-off dates were March 8, 1999 for persons
                                                                                                                                                                  hired them to be, thus restricting
                                                 Product and Income Series and Chained (2009)            chargeable to China (a wait of 19 months) and            productivity and the promise they offer
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                                                 Dollars, https://www.bea.gov/iTable/indexB              November 1, 1999 for persons chargeable to India         to our nation’s economy. The lack of
                                                 nipa.cfm.                                               (a wait of 11 months). The EB–3 category likewise        predictability and flexibility for such
                                                   15 Compare U.S. Census data collected in 1992         was current for all countries except for China and
                                                 identifying over 4.61 million firms doing business      India, with a cut-off date of March 15, 1998 for         workers may also prevent them from
                                                 in the United States, available at http://              individuals charged to China (a wait of 31 months)       otherwise investing in and contributing
                                                 www.census.gov/prod/www/economicBcensus.html,           and February 8, 1997 for individuals charged to          to the local, regional, and national
                                                 with U.S. Census data collected in 2012 identifying     India (a wait of 44 months). See http://
                                                 over 5.72 million firms doing business, available at    dosfan.lib.uic.edu/ERC/visaBbulletin/2000–               economy or fully integrating into
                                                 http://www.census.gov/econ/susb/.                       10bulletin.html.                                         American society.

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                                                 IV. Discussion of Comments                              could have gone further under existing                B. Authority of DHS To Administer and
                                                                                                         statutory authorities.                                Enforce Immigration Laws
                                                 A. Overview of the Comments
                                                                                                            A number of other comments were                    1. Description of DHS’s Legal Authority
                                                    During the 60-day public comment
                                                 period, DHS received 27,979 comments                    opposed to the proposed rule based on                    As discussed at length in section II.B.
                                                 offering a wide variety of opinions and                 generalized concerns about its impact                 above, the authority of the Secretary for
                                                 recommendations on the NPRM and                         on the U.S. economy. Some commenters                  these regulatory amendments is found
                                                 related forms. A range of entities and                  were concerned that this rule may                     in various sections of the INA, ACWIA,
                                                 individuals submitted comments,                         facilitate the displacement of American               AC21, and the HSA. General authority
                                                 including nonimmigrants seeking to                      workers in certain sectors of the U.S.                for issuing the final rule is found in
                                                 become LPRs, U.S. workers, schools and                  economy, such as in the information                   section 103(a) of the INA, 8 U.S.C.
                                                 universities, employers, labor                          technology sector. Other commenters                   1103(a), which authorizes the Secretary
                                                 organizations, professional                             were concerned that the rule could                    to administer and enforce the
                                                 organizations, advocacy groups, law                     facilitate the displacement of U.S.                   immigration and nationality laws, as
                                                 firms and attorneys, and nonprofit                      workers and a decrease in wages for                   well as section 102 of the HSA, 6 U.S.C.
                                                 organizations.                                          U.S. citizen workers. One commenter                   112, which vests all of the functions of
                                                    Many commenters expressed support                    opposing the proposed rule advocated                  DHS in the Secretary and authorizes the
                                                 for the rulemaking, in whole or in part.                for developing U.S. citizens’                         Secretary to issue regulations. Other
                                                 Supporters of the proposed rule agreed                  employment skills to enable them to                   sections of the INA, together with
                                                 that it would help the United States                    have more employment opportunities.                   ACWIA and AC21, provide specific
                                                 attract and retain high-skilled foreign                    Others submitted comments related to               statutory authority for multiple
                                                 workers and would provide some relief                   the potential for fraud or to perceived               provisions of the final rule as detailed
                                                 to nonimmigrants and their families                                                                           in section III.A of this preamble. DHS
                                                                                                         irregularities in the rulemaking process.
                                                 during their transition to LPR status. In                                                                     notes that, to the extent some of the
                                                                                                         Commenters, for example, expressed
                                                 particular, these commenters approved                                                                         commenters’ requests for changes
                                                                                                         concern that this rule could increase the
                                                 of the proposals to retain priority dates                                                                     require action from Congress or other
                                                 for the beneficiaries of immigrant visa                 potential for fraud and abuse,
                                                                                                                                                               Departments, the Department lacks the
                                                 petitions; provide grace periods of up to               particularly by employers seeking to
                                                                                                                                                               authority to adopt these changes. DHS
                                                 60 days for certain high-skilled                        take advantage of the immigration                     believes that this final rule improves
                                                 nonimmigrant workers to enhance job                     system. Commenters also expressed                     upon existing policies and provides
                                                 portability; extend grace periods of up                 concern that the substance of the                     additional flexibilities consistent with
                                                 to 10 days for certain high-skilled                     rulemaking was unduly affected by a                   DHS’s existing authority to administer
                                                 nonimmigrant workers so that they may                   former lobbyist. Other commenters were                the U.S. immigration system under the
                                                 more easily change or extend their                      concerned that provisions in the                      relevant statutes passed by Congress.
                                                 nonimmigrant status; and codify                         proposed rule would provide greater
                                                 guidance on counting previously                         financial benefits to immigration                     2. Public Comments and Responses
                                                 exempt workers under nonimmigrant                       attorneys and to USCIS than to the                       Comment. Many commenters opposed
                                                 visa caps, as well as policies                          foreign workers who are the subject of                the rule based on what they perceived
                                                 determining admission periods for such                  the rule.                                             to be insufficient legal authority
                                                 workers. Some commenters who                               Finally, DHS received a number of                  supporting the proposed changes. Many
                                                 generally supported the proposals also                  comments that were beyond the scope                   of these commenters asserted that the
                                                 suggested changes to certain provisions.                of this rulemaking. For example, several              provisions in this rule were tantamount
                                                    Other commenters opposed the                         commenters asked DHS to include                       to new immigration legislation and that
                                                 proposed rule for different reasons.                    provisions creating new immigration                   the rule thus effected an
                                                 Some commenters who opposed the                                                                               ‘‘unconstitutional’’ circumvention of
                                                                                                         benefits for inventors, researchers, and
                                                 proposed rule questioned DHS’s legal                                                                          Congress’ role to establish the
                                                                                                         founders of start-up enterprises, a
                                                 authority to promulgate some of the                                                                           immigration laws. A few commenters
                                                                                                         proposal that was not raised in the
                                                 regulatory changes contained therein. A                                                                       claimed that only certain discrete
                                                 substantial number of other                             NPRM and some of which is the subject
                                                                                                                                                               proposals included in this rule are
                                                 commenters, however, objected to the                    of a different rulemaking.18 Other
                                                                                                                                                               beyond DHS’s legal authority.
                                                 proposed rule because they believed                     commenters focused on the U.S.                           Response. DHS maintains that each
                                                 many proposed changes should and                        political climate without addressing the              proposed revision in this rule is fully
                                                 could be more expansive. Such                           proposed rule. Similarly, some                        within DHS’s statutory authority.
                                                 commenters, for example, believed that                  submitted comments on the merits of                   Section 103(a) of the INA, 8 U.S.C.
                                                 the rule should have substantially                      other commenters’ views without                       1103(a), expressly vests the Secretary
                                                 broadened the criteria for obtaining                    providing their own views on the                      with broad authority to administer and
                                                 independent employment authorization                    proposal itself.                                      enforce the immigration laws, including
                                                 for beneficiaries of immigrant visa                        DHS has reviewed all of the public                 by establishing regulations or
                                                 petitions, rather than limiting such a                  comments received in response to the                  prescribing such forms as necessary to
                                                 benefit to cases involving compelling                   proposed rule and thanks the public for               carry out this authority. Additionally,
                                                 circumstances. Many commenters who                      its extensive input during this process.              section 102 of the HSA 6 U.S.C. 112,
                                                 opposed the rule were intending                         In the discussion below, DHS                          vests all of the functions of DHS in the
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                                                 immigrants who described their                          summarizes and responds to all relevant               Secretary and authorizes the Secretary
                                                 personal experiences to illustrate how                  comments that were timely submitted                   to issue regulations.
                                                 they would have been helped by the                      on the NPRM, which are grouped by                        This rulemaking reflects the lawful
                                                 additional changes they requested.                      subject area.                                         exercise of statutory authority delegated
                                                 Some commenters argued that the                                                                               by Congress. In the preamble to this
                                                 proposed rule did nothing more than                       18 See International Entrepreneur Rule, 81 FR       final rule, DHS has identified the
                                                 codify existing policies and that DHS                   60129 (Aug. 31, 2016).                                statutory authorities for all of the

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                                                 revisions being made, including various                 children) employment authorization                    petitioners that are cap-exempt, DHS
                                                 provisions of the INA, the HSA, ACWIA                   while they wait for their immigrant                   believes that the changes improve
                                                 and AC21. Through this rulemaking,                      visas to become available. For example,               current policy by better reflecting
                                                 DHS is exercising its authority to                      one commenter stated that the rule                    current operational realities for
                                                 promulgate regulations as necessary to                  would ‘‘nullify[ ] Americans’ statutory               institutions of higher education and
                                                 properly implement and administer                       protections against job-threatening flows             governmental research organizations,
                                                 existing immigration laws. As such, this                of excess foreign labor.’’ Other                      and are consistent with the exemption
                                                 final rule will improve processes for                   commenters believed that the perceived                enacted by Congress. In addition, DHS
                                                 U.S. employers seeking to sponsor and                   increase in the number of visas that                  added a provision that will protect
                                                 retain immigrant and nonimmigrant                       would be issued under this rule reflects              against indefinite H–1B extensions
                                                 workers; provide greater stability and                  the Administration’s favoring of skilled              under section 106(a) of AC21. See 8 CFR
                                                 job flexibility for such workers; and                   immigrant workers over natural-born                   214.2(h)(13)(iii)(D)(10).
                                                 increase transparency and consistency                   U.S. citizens. One commenter claimed                     Additionally, DHS is not providing
                                                 in the application of DHS policy related                that the proposal to allow an H–1B                    compelling circumstances employment
                                                 to affected classifications.                            worker whose employer has applied for                 authorization to an unlimited number of
                                                    Comment. Several commenters                          LPR status on the worker’s behalf to stay             foreign workers and their dependents
                                                 questioned the general basis for various                and work in the United States beyond                  while they wait for immigrant visas to
                                                 immigration actions taken by the                        the 6-year limit violates the                         become available. Rather, DHS is
                                                 Executive Branch related to businesses                  Constitution, including by ‘‘waiv[ing]                allowing certain high-skilled
                                                 and high-skilled workers. These                         federal law without action of the                     nonimmigrant workers and their
                                                 commenters believed that the Executive                  Congress of the United States.’’                      dependents, who are all on the path to
                                                 Branch has exceeded its role by taking                  Additionally, one commenter expressed                 LPR status, to apply for independent
                                                 it upon itself to ‘‘achieve something that              concern that the proposed changes                     and temporary employment
                                                 [C]ongress has failed to do.’’                          would allow foreign workers in the                    authorization if they meet certain
                                                    Response. As noted above, DHS has                    United States on expired H–1B visas to                criteria, including demonstrating that
                                                 the requisite legal authority to issue this             extend their stay indefinitely by                     the workers need such employment
                                                 final rule. In enacting the INA, ACWIA,                 applying for employment-based LPR                     authorization due to compelling
                                                 AC21, and the HSA, Congress accorded                    status. The commenter stated that this                circumstances. While some of the
                                                 DHS the responsibility for                              was an impermissible change because                   dependents of these individuals may
                                                 implementing and administering these                    Congress is responsible for setting the               not have been part of the workforce at
                                                 laws. Consistent with that authority,                   annual limits on H–1B visas.                          the time they receive such employment
                                                 DHS is promulgating this final rule to                     Response. DHS is not modifying                     authorization, they would eventually
                                                 further define and clarify existing                     immigrant or nonimmigrant numerical                   become part of the workforce even
                                                 statutory requirements. With this final                 limits set forth in the INA and is not                without this separate employment
                                                 rule, DHS is also responding to a                       changing the classes of foreign workers               authorization as they are already on the
                                                 specific directive from the Secretary to                who qualify for employment-based                      path to permanent residence. See
                                                 strengthen and improve various                          immigrant or nonimmigrant visas.                      Section IV, part F of this preamble for
                                                 employment-based visa programs                          Contrary to commenters’ statements, the               a discussion of compelling
                                                 within the Department’s existing legal                  provisions contained in this rule reflect             circumstances employment
                                                 authority,19 including to ‘‘consider                    a clear congressional mandate with
                                                                                                                                                               authorization.
                                                 amending its regulations to ensure that                 respect to H–1B beneficiaries who are
                                                 approved, longstanding visa petitions                   pursuing LPR status, but face long waits              C. Immigration Fraud and National
                                                 remain valid in certain cases where the                 due to backlogs resulting from the                    Security Concerns
                                                 beneficiaries seek to change jobs or                    statutory limits on immigrant visas or
                                                 employers.’’ 20 These executive actions                                                                       1. Description of Final Rule and
                                                                                                         certain other adjudication or processing
                                                 do not impinge on Congress’s legislative                                                                      Changes From the NPRM
                                                                                                         delays. Through the enactment of AC21,
                                                 role.                                                   Congress authorized these individuals                   DHS’s core responsibilities include
                                                    Comment. Commenters stated that                      to remain in the United States beyond                 enhancing homeland security and
                                                 this rule would effectively increase the                their initial 6-year period of authorized             preventing terrorism, enforcing and
                                                 number of immigrant visas issued in                     admission. See AC21 104(c) and 106(a)                 administering the immigration laws,
                                                 excess of their respective annual caps.                 and (b).                                              and ensuring the integrity of the
                                                 These commenters also expressed                            Finally, with regard to the concerns               immigration system.21 When drafting
                                                 concern that the rule would increase the                about this rule increasing the number of              this rule, DHS carefully considered the
                                                 number of H–1B workers who would be                     H–1B visas that are exempt from the                   impact of the proposed regulatory
                                                 cap-exempt. Specifically, commenters                    annual limit, DHS notes that, for the                 provisions on the safety and security of
                                                 stated that this rule circumvents overall               most part, this regulation codifies                   our nation and the integrity of the
                                                 caps on authorized visas through a two-                 longstanding policy and practice                      immigration system. DHS believes that
                                                 step process: (1) Authorizing an                        implementing the relevant provisions of               the regulations as proposed
                                                 unlimited number of individuals to seek                 AC21. This rule generally codifies                    appropriately address these concerns
                                                 permanent residence in excess of the                    already existing policy interpretations               and further believes that this final rule
                                                 cap on immigrant visas; and (2) giving                  identifying which employers are cap-                  will not compromise its vigilance.
                                                 these individuals (and their spouses and                exempt under the H–1B program and
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                                                                                                         DHS also includes revised definitions of              2. Public Comments and Responses
                                                   19 See Memo from Jeh Charles Johnson, Secretary       ‘‘related or affiliated nonprofit entity’’              Comment. Several commenters raised
                                                 of Homeland Security, ‘‘Policies Supporting U.S.        and ‘‘governmental research                           concerns about terrorism stemming from
                                                 High-Skilled Business and Workers’’ (Nov. 20,           organizations’’ to clarify certain terms
                                                 2014)(Secretary Johnson Nov. 20, 2014 memo),
                                                                                                                                                               foreign nationals in various immigration
                                                 available at http://www.dhs.gov/sites/default/files/    and to avoid confusion. See IV, part J.               statuses, and the adequacy of
                                                 publications/14B1120BmemoBbusinessBactions.pdf.         In particular, although the revised
                                                   20 Id.                                                definitions may expand the number of                    21 See https://www.dhs.gov/our-mission.




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                                                 background checks for those seeking to                  (a)(6), 236(c), 237(a)(1)(A) and (G), (a)(2)          investigations into major fraud
                                                 acquire immigration status.                             and (a)(3), 316(a), 318, 8 U.S.C. 1101(f),            conspiracies. Individuals with
                                                    Response. DHS takes its core mission                 1154(c), 1182(a)(2) and (a)(6), 1226(c),              information regarding fraud and abuse
                                                 to safeguard the homeland extremely                     1227(a)(1)(A) and (G), (a)(2) and (a)(3),             in the immigration benefits system are
                                                 seriously, and it has a number of                       1427(a), 1429. USCIS adjudicators                     encouraged to contact FDNS at
                                                 mechanisms in place to detect fraud and                 receive training to recognize potential               reportfraudtips@uscis.dhs.gov, by mail
                                                 security threats. Individuals requesting                fraud indicators across all benefit types             at 111 Massachusetts Ave. NW., Ste.
                                                 immigration benefits from USCIS are                     and the guidelines for referring cases of             7002, Mail Stop 2280, Washington, DC
                                                 subject to a variety of background and                  suspected fraud for further                           20529–2280, or call (202) 529–2280.
                                                 security checks, which vary depending                   investigation.                                           DHS believes that existing rules and
                                                 on the benefit. USCIS created the Fraud                    Additionally, as provided under                    measures collectively provide adequate
                                                 Detection and National Security                         section 214(c)(12) of the INA, 8 U.S.C.               tools to detect and combat fraud and
                                                 Directorate (FDNS) in part to investigate               1184(c)(12), a Fraud Prevention and                   abuse, and that this rulemaking does not
                                                 whether individuals or organizations                    Detection Fee must be paid by an                      require new or additional protections.
                                                 filing for immigration benefits pose a                  employer petitioning for a beneficiary’s              Accordingly, DHS has not made any
                                                 threat to national security, public safety,             initial grant of H–1B or L nonimmigrant               changes in response to these comments.
                                                 or the integrity of the immigration                     classification, as well as for a
                                                                                                                                                               D. Petitions for Employment-Based
                                                 system. FDNS officers resolve                           beneficiary who is changing employers
                                                                                                                                                               Immigrants and Priority Date Retention
                                                 background check information and                        within these classifications. The INA
                                                 other concerns that surface during the                  requires fees deposited into the Fraud                1. Description of Final Rule and
                                                 processing of immigration benefit                       Prevention and Detection Account to be                Changes From the NPRM
                                                 applications and petitions. Resolution of               divided into thirds, and allocated to                    The final rule clarifies when priority
                                                 specific questions related to an                        DHS, DOL, and DOS. See INA 286(v); 8                  dates are established for employment-
                                                 application or petition often requires                  U.S.C. 1356(v). DHS uses its portion of               based immigrants and expands the
                                                 communication with law enforcement                      the fees to support activities related to             ability of beneficiaries of approved
                                                 or intelligence agencies to make sure                   preventing and detecting fraud in the                 Form I–140 petitions in the EB–1, EB–
                                                 that the information pertains to the                    delivery of all immigration benefit                   2, and EB–3 categories to retain their
                                                 applicant or petitioner and to determine                types.23                                              priority dates for use with subsequently
                                                 whether the information would have an                      Additionally, FDNS currently                       filed Form I–140 petitions. First, the
                                                 impact on his or her eligibility for the                combats fraud and abuse across all                    final rule fills a hole in current
                                                 benefit. FDNS officers also check                       benefit types—including the EB–1, EB–                 regulations. Existing regulations
                                                 various databases and public                            2, EB–3, H–1B, and L–1 programs—by                    establish that the priority date of an
                                                 information, as well as conduct other                   developing and maintaining efficient                  employment-based immigrant visa
                                                 administrative inquiries, including pre-                and effective anti-fraud and screening                petition accompanied by a labor
                                                 and post-adjudication site visits, to                   programs, leading information sharing                 certification is established when the
                                                 verify information provided on, and in                  and collaboration activities, and                     labor certification is accepted for
                                                 support of, applications and petitions.                 supporting the law enforcement and                    processing by DOL. Those regulations,
                                                 FDNS uses the Fraud Detection and                       intelligence communities. As mentioned                however, do not indicate when the
                                                 National Security Data System (FDNS–                    above, FDNS’s primary mission is to                   priority date is established for an
                                                 DS) to identify fraud and track potential               determine whether individuals or                      employment-based petition that is not
                                                 patterns. In addition, FDNS routinely                   organizations requesting immigration                  accompanied by a labor certification. To
                                                 works with U.S. Immigration and                         benefits pose a threat to national                    provide further clarity, this final rule
                                                 Customs Enforcement (ICE), U.S.                         security, public safety, or the integrity of          provides, generally, that the priority
                                                 Customs and Border Protection (CBP),                    the nation’s immigration system. USCIS                date of a Form I–140 petition that does
                                                 and other law enforcement and                           verifies information and combats                      not require a labor certification is the
                                                 intelligence agencies, consistent with all              immigration fraud using various tools,                date such petition is properly filed with
                                                 relevant policies on information sharing                including the Administrative Site Visit               USCIS. See final 8 CFR 204.5(d).
                                                 and referrals.22                                        and Verification Program (ASVVP),                        Second, the final rule disallows
                                                    Comment. DHS received several                        under which FDNS conducts                             retention of the priority date of an
                                                 comments concerning alleged fraud in                    compliance review site visits for                     approved Form I–140 petition if the
                                                 the EB–1, H–1B, and L–1 visa programs,                  petitions in the H–1B, L–1, and religious             approval of the petition is revoked
                                                 including falsification of worker                       worker programs. USCIS also conducts                  because of fraud, willful
                                                 qualifications and other misuses. These                 checks of various USCIS and other                     misrepresentation of a material fact, the
                                                 commenters requested that additional                    databases, including the FDNS–DS and                  invalidation or revocation of a labor
                                                 measures be taken to combat fraud.                      the Validation Instrument for Business                certification, or material error. See final
                                                    Response. DHS continually seeks to                   Enterprises (VIBE). USCIS has formed a                8 CFR 204.5(e). Third, the final rule
                                                 strengthen its abilities to detect and                  partnership with ICE, under which                     amends existing automatic revocation
                                                 combat immigration-related fraud.                       FDNS pursues administrative inquiries                 regulations to prevent Form I–140
                                                 Possible consequences for fraud already                 into most application and petition fraud              petitions that have been approved for
                                                 include detention and removal,                          and ICE conducts criminal                             180 days or more from being
                                                 inadmissibility to the United States,                                                                         automatically revoked based solely on
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                                                 ineligibility for naturalization and other                23 Further information about USCIS use and
                                                                                                                                                               the withdrawal of the petition by the
                                                 benefits, and criminal prosecution. See,                collection of fees can be found in March 2015
                                                                                                         Congressional testimony available at https://         petitioner or the termination of the
                                                 e.g., INA 101(f), 204(c), 212(a)(2) and                 www.uscis.gov/tools/resources-congress/               petitioner’s business. See final 8 CFR
                                                                                                         presentations-and-reports/oversight-us-citizenship-   205.1(a)(3)(iii)(C) and (D). In response to
                                                   22 Individuals may report suspicious activity to      and-immigration-services-ensuring-agency-
                                                 ICE Homeland Security Investigations at                 priorities-comply-law-senate-committee-judiciary-
                                                                                                                                                               comments, the final rule also prevents
                                                 www.ice.gov/webform/hsi-tip-form or at (866) 347–       subcommittee-immigration-and-national-interest-       automatic revocation of approved
                                                 2423.                                                   march-2015.                                           petitions that are withdrawn or where

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                                                 the business terminates 180 days after                  this provision, DHS adopts this                       not believe it was fair to have an
                                                 an associated adjustment of status                      provision as proposed, including the                  individual who is recently entering a
                                                 application is filed. See id. These                     proposed technical edits to delete                    specific queue to receive a better
                                                 approved petitions will continue to be                  obsolete references and otherwise                     position than an individual who has
                                                 valid for priority date retention                       improve the readability of the rule. Id.              been waiting in that queue for some
                                                 purposes, unless approval is revoked on                                                                       time, even if the former individual has
                                                                                                         ii. Retaining a Priority Date
                                                 other grounds specified in final 8 CFR                                                                        been waiting in a different queue for a
                                                 204.5(e)(2).24 They also generally will                    Comment. Some commenters stated                    longer period of time.
                                                 remain valid for various other purposes                 that the policy that provides for the                    Response. The ability to retain
                                                 under immigration laws including: (1)                   retention of priority dates in cases in               priority dates in cases in which a
                                                 Job portability under INA section 204(j);               which an employer withdraws an                        worker is changing EB preference
                                                 (2) extensions of status for certain H–1B               approved petition already existed before              categories has long been permitted
                                                 nonimmigrant workers under sections                     this rulemaking. Those commenters                     under existing regulations at 8 CFR
                                                 104(c) and 106(a) and (b) of AC21; and                  suggested that the rule thus provides no              204.5(e); it is not a policy newly
                                                 (3) eligibility for employment                          additional benefits to such beneficiaries             afforded by this rulemaking. DHS
                                                 authorization in compelling                             as they await adjustment of status.                   believes that allowing certain
                                                 circumstances under final 8 CFR                            Response. DHS believes the final rule              beneficiaries of multiple approved Form
                                                 204.5(p).                                               clarifies and expands the ability of                  I–140 petitions to continue to retain the
                                                    In addition, the final rule clarifies that           beneficiaries of approved EB–1, EB–2,                 earliest established priority date for use
                                                 an approved Form I–140 petition that is                 and EB–3 Form I–140 petitions to retain               with subsequently approved Form I–140
                                                 subject to withdrawal or business                       their priority dates for use with                     petitions, including cases of transfers
                                                 termination cannot on its own serve as                  subsequently filed EB–1, EB–2, and EB–                between EB preference categories,
                                                 a bona fide employment offer related to                 3 Form I–140 petitions. See final 8 CFR               provides needed stability, job flexibility,
                                                 the petition. See final 8 CFR                           204.5(e). The prior regulations                       and certainty for workers while they
                                                 205.1(a)(3)(iii)(C) and (D). To obtain an               disallowed priority date retention in all             await adjustment of status. The policy
                                                 immigrant visa or adjust status,                        instances in which approval of a Form                 also facilitates the ability of individuals
                                                 beneficiaries of these petitions must                   I–140 petition was revoked. Thus, under               to progress in their careers while they
                                                 have either new Form I–140 petitions                    the prior regulations, revocation of a                wait for visa availability. DHS believes
                                                 filed on their behalf, or, if eligible for              Form I–140 petition based on                          the policy is consistent with the goals of
                                                 job portability under section 204(j) of                 withdrawal by the petitioner would                    the AC21 statute and has accordingly
                                                 the INA, new offers of employment in                    have prevented the beneficiary of the                 chosen to maintain it.
                                                 the same or a similar occupational                      petition from retaining his or her                       Comment. A number of commenters
                                                 classification. See id.; final 8 CFR                    priority date. The NPRM proposed to                   supported the provisions in proposed 8
                                                 245.25(a)(2).                                           change the prior regulations so that the              CFR 205.1(a)(3)(iii)(C) and (D), which
                                                    DHS believes these regulatory changes                beneficiary of a Form I–140 petition can              provide that approval of a Form I–140
                                                 are critical to fully implementing the job              retain the priority date of that petition             petition will not be automatically
                                                 portability provisions of AC21.                         unless USCIS denies the petition or                   revoked based solely on withdrawal by
                                                 Therefore, the final rule retains these                 revokes the petition’s approval due to:               the petitioner or termination of the
                                                 proposals with minor modifications to                   (1) Fraud or a willful misrepresentation              petitioner’s business if 180 days or more
                                                 reflect public comment summarized                       of a material fact; (2) revocation or                 have passed since petition approval.
                                                 below.                                                  invalidation of the labor certification               The commenters said these provisions
                                                                                                         associated with the petition or (3) a                 provide needed clarity and assurance to
                                                 2. Public Comments and Responses                        determination that there was a material               workers about the retention of priority
                                                 i. Establishing a Priority Date                         error with regards to USCIS’s approval                dates in cases involving withdrawal or
                                                                                                         of the petition. See final 8 CFR                      business termination. Several other
                                                    Comment. Several commenters                          204.5(e)(2).                                          commenters requested that DHS allow
                                                 supported the proposed clarification of                    This change expands the ability of                 Form I–140 petitions to remain valid
                                                 the methods for establishing priority                   beneficiaries to retain the priority dates            and approved despite petitioner
                                                 dates.                                                  of approved Form I–140 petitions,                     withdrawal or business termination
                                                    Response. DHS agrees with                            including but not limited to when a                   regardless of the amount of time that has
                                                 commenters and believes such                            petition’s approval is revoked based                  passed since petition approval (i.e.,
                                                 clarification will provide increased                    solely on withdrawal of the petition.                 even for petitions that have not been
                                                 transparency and certainty for                          This provision improves the ability of                approved for 180 days or more).
                                                 stakeholders. As noted above, the final                 certain workers to accept promotions,                    Response. DHS agrees that retaining
                                                 rule generally establishes that the                     change employers, or pursue other                     the NPRM proposal related to validity of
                                                 priority date of an employment-based                    employment opportunities without fear                 Form I–140 petitions in the event of
                                                 immigrant visa petition that does not                   of losing their place in line for certain             withdrawal or business termination will
                                                 require a labor certification is the date               employment-based immigrant visas.                     bring clarity and assurance to workers
                                                 on which such petition is appropriately                    Comment. Although many                             that a petition’s approval is not
                                                 filed with USCIS. See final 8 CFR                       commenters supported the retention of                 automatically revoked based solely on
                                                 204.5(d). Given commenters’ support of                  priority dates, one commenter objected                an employer’s withdrawal of the
                                                                                                         to the retention of the earliest priority             petition or termination of the
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                                                   24 The four grounds are (i) fraud, or a willful

                                                 misrepresentation of a material fact; (ii) revocation
                                                                                                         date in cases in which a worker is                    employer’s business 180 days or more
                                                 by the Department of Labor of the approved              shifting between employment-based                     after the petition is approved or the
                                                 permanent labor certification that accompanied the      immigrant visa (EB) preference                        associated application for adjustment of
                                                 petition; (iii) invalidation by USCIS or the            categories. The commenter believed the                status is filed. This provision is
                                                 Department of State of the permanent labor
                                                 certification that accompanied the petition; and (iv)
                                                                                                         provision was unfair to individuals who               intended to provide greater stability and
                                                 a determination by USCIS that petition approval         have been waiting in those EB                         flexibility to certain workers who are
                                                 was based on a material error.                          preference queues. The commenter did                  the beneficiaries of approved Form I–

                                                                                                                                                                                          AC00159
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                                                 140 petitions and are well on the path                  Additionally, DHS believes the 180-day                those individuals who are not yet
                                                 to obtaining LPR status in the United                   threshold protects against fraud and                  eligible for INA 204(j) portability from
                                                 States.                                                 misuse while providing important                      the automatic revocation of the approval
                                                    DHS notes, however, that commenters                  stability and flexibility to workers who              of a Form I–140 petition that had been
                                                 may have confused provisions that                       have been sponsored for permanent                     approved for 180 days or more.
                                                 govern the retention of priority dates                  residence. In addition to the period that             Consistent with the intent of AC21 and
                                                 with provisions that govern the                         it typically takes for a petitioning                  DHS policy, DHS is revising the
                                                 retention of petition approval. As                      employer to obtain a labor certification              regulatory language at 8 CFR
                                                 proposed and in this final rule, 8 CFR                  from DOL and approval of a Form I–140                 205.1(a)(3)(iii)(C) and (D) to make clear
                                                 204.5(e)(2) allows for the retention of                 petition from DHS, the 180-day                        that an approved Form I–140 petition
                                                 the priority date of an approved EB–1,                  requirement provides additional                       involving withdrawal or business
                                                 EB–2, or EB–3 Form I–140 petition                       assurance that the petition was bona                  termination occurring 180 days or more
                                                 regardless of the amount of time that has               fide when filed. The final rule,                      after either petition approval or the
                                                 passed since petition approval. As                      therefore, maintains Form I–140 petition              filing of an associated application for
                                                 discussed, once such a petition has been                approval despite petitioner withdrawal                adjustment of status remains approved,
                                                 approved, the beneficiary may retain                    or business termination when such                     unless its approval is revoked on other
                                                 that priority date for use with another                 petitions have been approved for 180                  grounds. See final 8 CFR 205.1(a)(3)(iii).
                                                 EB–1, EB–2, or EB–3 Form I–140                          days or more, or its associated                          Comment. One commenter
                                                 petition, so long as the approval of the                adjustment of status application has                  recommended that the final rule require
                                                 former petition was not revoked due to:                 been pending for 180 days or more. See                that the beneficiary of an employment-
                                                 (1) Fraud or a willful misrepresentation                final 8 CFR 205.1(a)(3)(iii)(C) and (D).              based Form I–140 petition remain with
                                                 of a material fact; (2) revocation or                      Comment. One commenter suggested                   the petitioning employer for at least 3
                                                 invalidation of the labor certification                 changes to the regulatory text                        years before the employee is able to
                                                 associated with the petition; or (3) a                  concerning the requirement that the                   retain the priority date of that petition.
                                                 determination that there was a material                 Form I–140 petition be approved for 180               The commenter stated that a 3-year
                                                 error with regards to USCIS’s approval                  days or more. Specifically, the                       ‘‘mandatory stay’’ would provide some
                                                 of the petition. See final 8 CFR                        commenter recommended amending the                    stability and security to petitioning
                                                 204.5(e)(2). In contrast, final 8 CFR                   text to make clear that the 180-day                   employers.
                                                 205.1(a)(3)(iii)(C) and (D) allow for                   threshold would not apply in cases in                    Response. DHS declines to adopt the
                                                 retention of a petition’s approval,                     which an applicant has a pending                      commenter’s suggested ‘‘mandatory
                                                 despite withdrawal or business                          Application to Register Permanent                     stay’’ requirement as it is contrary to the
                                                 termination, but only if such                           Residence or Adjust Status (Form I–485)               principles and policy goals of this final
                                                 withdrawal or termination occurs 180                    that may provide job portability under                rule. Furthermore, DHS notes that Form
                                                 days or more after the approval or 180                  INA 204(j). The commenter stated that,                I–140 petitions are for prospective
                                                 days or more after the associated                       as proposed, the regulation would create              employment, and there is no guarantee
                                                 application for adjustment of status is                 a ‘‘double’’ waiting period in the                    that the beneficiary of an approved
                                                 filed. Thus, under this rule, the                       portability context, requiring the foreign            Form I–140 petition has or would be
                                                 beneficiary of a Form I–140 petition                    national to wait 180 days from approval               able to obtain work authorization to
                                                 may be able to retain his or her priority               of the Form I–140 petition and an                     commence employment with the
                                                 date even if approval of the petition is                additional 180 days from filing of the                petitioner prior to obtaining lawful
                                                 revoked due to withdrawal or business                   application of adjustment of status in                permanent residence. In addition,
                                                 termination.                                            order to be able to move to a new                     allowing priority date retention furthers
                                                    To further provide clarity in this area,             position. The commenter believed this                 the goals of AC21 to grant stability,
                                                 DHS removed the phrase ‘‘provided that                  outcome would be inconsistent with                    flexibility, and mobility to workers who
                                                 the revocation of a petition’s approval                 congressional intent under AC21.                      are facing long waits for LPR status.
                                                 under this clause will not, by itself,                     Response. DHS thanks the commenter                    Comment. Several commenters
                                                 impact a beneficiary’s ability to retain                for identifying the potential for                     requested that the rule’s provision
                                                 his or her priority date under 8 CFR                    confusion given the text of proposed                  restricting revocation of a petition’s
                                                 204.5(e)’’ from proposed 8 CFR                          § 205.1(a)(3)(iii)(C) and (D) and DHS’s               approval based on withdrawal or
                                                 205.1(a)(3)(iii)(C) and (D). DHS intended               stated goal to codify and expand upon                 business termination apply retroactively
                                                 this phrase to simply restate that under                its existing policy implementing INA                  to petitions whose approvals were
                                                 § 204.5(e), a priority date may be                      204(j). DHS proposed to allow a Form I–               revoked prior to the rule’s publication.
                                                 retained, despite withdrawal or business                140 petition to remain valid for certain                 Response. DHS appreciates the
                                                 termination that occurs less than 180                   purposes if such a petition was                       commenters’ suggestion; however, DHS
                                                 days after the petition’s approval. DHS                 withdrawn or the petitioner’s business                has determined that retroactive
                                                 is removing the phrase from the                         terminated 180 days or more after the                 application of this provision would be
                                                 proposed text because it could be                       Form I–140 petition had been approved.                problematic. Generally, there is a
                                                 construed as creating an unintended                        This provision was intended to build               presumption against retroactive
                                                 exception to the priority date retention                upon existing DHS policies that have                  application of new regulations. Cf.
                                                 provision.                                              governed the validity of Form I–140                   Bowen v. Georgetown Univ. Hosp., 488
                                                    DHS declines to adopt commenters’                    petitions in the event of withdrawal or               U.S. 204 (1988). Moreover, in this case,
                                                 proposal that a Form I–140 petition                     business termination before and after                 retroactive application of the revised
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                                                 remains approved if the withdrawal or                   beneficiaries are eligible to change jobs             automatic revocation provision would
                                                 business termination occurs at any time                 or employers under INA 204(j). DHS did                impose a disproportionate operational
                                                 before the Form I–140 has been                          not intend that its regulatory proposal               burden on USCIS, as it would require
                                                 approved for at least 180 days. DHS                     would modify the existing timeframe                   significant manual work. USCIS systems
                                                 believes that the 180-day threshold is                  before an individual would become                     cannot be queried based on the specific
                                                 consistent with and furthers the goals of               eligible to port under INA 204(j); rather,            reason(s) for revocation, and USCIS
                                                 job portability under INA 204(j).                       this provision was intended to protect                would be required to manually identify

                                                                                                                                                                                          AC00160
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                                                 and review these cases in order to verify               situations in which an adjudicator                       Comment. Some commenters
                                                 the reason(s) for revocation, thus                      relied on an inaccurate employer                      requested that beneficiaries of approved
                                                 creating a highly labor-intensive process               identification number and associated                  Form I–140 petitions who are not yet
                                                 that would significantly strain USCIS                   financial information that did not                    eligible for 204(j) portability be
                                                 resources. Therefore, the final 8 CFR                   pertain to the petitioner for purposes of             permitted to change jobs and adjust
                                                 205.1(a)(3)(iii)(C) and (D) provisions                  establishing its continuing ability to pay            status to lawful permanent residence
                                                 will apply prospectively from the                       the proffered wage; information later                 without the requirement of obtaining a
                                                 effective date of this final rule.                      comes to light indicating that the                    new application for labor certification
                                                                                                         petitioner did not establish the ability to           and a new approved Form I–140
                                                 iii. Priority Date Not Retained if
                                                                                                         pay under the applicable regulatory                   petition. Some who advocated for this
                                                 Approval Revoked for Fraud, Willful
                                                                                                         criteria; or an adjudicator finds evidence            change noted that the ability to reuse or
                                                 Misrepresentation, DOL Revocation,
                                                                                                         in a subsequent related matter that the               ‘‘port’’ an approved Form I–140 petition
                                                 Invalidation by USCIS or DOS, Material
                                                                                                         beneficiary did not have the education                should be available after the initial
                                                 Error, or Petition Denial
                                                                                                         or experience required for the position               petition has been approved for 180 days
                                                    Comment. Some commenters                             offered. DHS declines to accept                       or more, and others requested that
                                                 supported the rule’s requirement that                   commenters’ recommendations that the                  portability be allowed immediately after
                                                 priority dates will not be retained in                  final regulation remove the error                     the petition’s approval. Similar to job
                                                 cases of fraud, willful                                 standard in its entirety because of the               portability under INA 204(j) in certain
                                                 misrepresentation, revocation or                        need to take appropriate action in cases              regards, these and other commenters
                                                 invalidation of the labor certification, a              in which the petition was not                         suggested that beneficiaries of approved
                                                 determination that petition approval                    approvable in the first instance.                     Form I–140 petitions should be allowed
                                                 was the result of an error, or the denial               Furthermore, it should be noted that the              to change jobs, file a Form I–485
                                                 of the petition. Other commenters                       scope of the ‘‘material error’’ standard              application and adjust status to lawful
                                                 opposed the inability to retain priority                pertains only to whether the priority                 permanent residence on the basis of the
                                                 dates where a Form I–140 petition’s                     date is retained based on a USCIS                     original Form I–140 petition as long as
                                                 approval has been revoked based on a                    revocation of the petition approval.                  the new job is in the same or a similar
                                                 determination that USCIS erroneously                                                                          occupation as the job described in the
                                                                                                            Comment. One commenter suggested
                                                 approved the petition. One commenter                                                                          approved Form I–140 petition. Some
                                                                                                         that USCIS allow the retention of Form
                                                 requested that DHS change the standard                                                                        commenters stated that there is an
                                                 for revoking petition approval in error to              I–140 priority dates even in cases in
                                                                                                         which it is later discovered that the                 increase in time and monetary costs
                                                 ‘‘material’’ error to remain consistent                                                                       associated with multiple labor
                                                 with other USCIS policies in cases                      petitioner made material
                                                                                                         misrepresentations on the original                    certification filings. Most of the
                                                 where DHS’s error in a prior                                                                                  commenters agreed that very few
                                                 adjudication requires review of that                    petition and the petition’s approval is
                                                                                                         revoked, as well as cases in which the                benefits were provided by requiring a
                                                 adjudicatory outcome.                                                                                         new labor certification. Commenters
                                                    Response. DHS agrees that it is                      petition’s approval is revoked based on
                                                                                                                                                               also expressed that ‘‘recertification’’
                                                 important for the integrity of the                      USCIS error—so long as it can be
                                                                                                                                                               additionally deters employers from
                                                 immigration system not to retain a                      reasonably verified that the beneficiary
                                                                                                                                                               sponsoring current foreign worker
                                                 priority date in cases in which the                     had no involvement in the
                                                                                                                                                               employees who are beneficiaries of
                                                 approval of a Form I–140 petition is                    misrepresentation or the error later
                                                                                                                                                               Form I–140 petitions based on new jobs.
                                                 revoked for fraud, willful                              discovered by USCIS.
                                                                                                                                                               One commenter urged DHS to allow a
                                                 misrepresentation of a material fact, the                  Response. DHS understands that                     withdrawn or revoked Form I–140
                                                 invalidation or revocation of a labor                   revocation of long approved Form I–140                petition to remain valid for the purposes
                                                 certification, or USCIS error. Based on                 petitions due to the later discovery of               of obtaining an immigrant visa, in order
                                                 feedback from commenters, however,                      willful misrepresentation(s) committed                to fully implement Congress’s intent in
                                                 DHS has determined that the text of the                 by the petitioner, but that are                       passing AC21.
                                                 proposed rule at § 204.5(e)(2)(iv) that                 unbeknownst to the beneficiary, can                      Response. A foreign worker may
                                                 reads, ‘‘[a] determination by USCIS that                negatively impact the beneficiary by                  obtain an employment-based immigrant
                                                 petition approval was in error,’’ needs to              causing the loss of his or her priority               visa only if he or she is the beneficiary
                                                 be clarified. In the final rule, that text              date and, therefore, the beneficiary’s                of an approved employment-based
                                                 is amended to read, ‘‘[a] determination                 place in line for an immigrant visa. The              immigrant visa petition. See INA 204(b),
                                                 by USCIS that petition approval was                     revocation of the approval of a long                  8 U.S.C. 1154(b). In this final rule, DHS
                                                 based on a material error’’ in order to                 approved Form I–140 petition due to                   is allowing certain approved Form I–140
                                                 clarify that a priority date will only be               material errors that are not the fault of             petitions to remain approved for various
                                                 lost in those cases in which the error                  the beneficiary can also negatively                   purposes despite withdrawal or
                                                 leading to revocation involves the                      impact the beneficiary. DHS, however,                 business termination. However, such a
                                                 misapplication of a statutory or                        believes it would be inappropriate to                 petition may not be used to obtain
                                                 regulatory requirement to the facts at                  allow a Form I–140 petition that had its              lawful permanent residence, unless it
                                                 hand. See final 8 CFR 204.5(e)(2)(iv).                  approval revoked for fraud or willful                 meets the requirements of INA 204(j).
                                                 The change to the ‘‘material error’’                    misrepresentation of a material fact, or                 With respect to obtaining lawful
                                                 standard is consistent with other USCIS                 because the Form I–140 petition was not               permanent residence under the EB–2
                                                 policy that addresses agency deference                  eligible for approval in the first place, to          and EB–3 classifications, the INA
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                                                 to prior adjudicatory decisions.25                      confer a priority date. Allowing the                  requires that the worker be the
                                                 Examples of material errors include                     beneficiary of such petition to remain in             beneficiary of a valid Form I–140
                                                                                                         line ahead of other individuals who are               petition, which generally must be
                                                    25 See USCIS Memorandum from William Yates,
                                                                                                         the beneficiaries of properly approved                supported by a valid labor certification
                                                 ‘‘The Significance of a Prior CIS Approval of a         Form I–140 petitions would be contrary                at the time of adjustment of status. See
                                                 Nonimmigrant Petition in the Context of a
                                                 Subsequent Determination Regarding Eligibility for      to DHS’s goal of upholding the integrity              INA 203(b)(2), (3); 204(a)(1)(F); and
                                                 Extension of Petition Validity’’ (Apr. 24, 2004).       of the immigration system.                            212(a)(5)(A) and (D), 8 U.S.C. 1153(b)(2),

                                                                                                                                                                                         AC00161
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                                                 (3); 1154(a)(1)(F); 1182(a)(5)(A) and (D).              approved Form I–140 petitions to retain                    extend H–1B status beyond the 6-year
                                                 Outside of the 204(j) context, an                       their priority dates in certain situations                 maximum period and to port to a ‘‘same
                                                 approved Form I–140 petition filed by                   and allowing certain Form I–140                            or similar’’ occupation under INA
                                                 an employer that no longer intends to                   petitions to remain valid, including for                   section 204(j). Commenters also cited to
                                                 employ the worker upon approval of the                  purposes of section 204(j) portability,                    various recent federal cases that have
                                                 Form I–485 application, whether                         notwithstanding withdrawal of the                          supported the commenters’
                                                 presently or at any time in the future,                 petition or termination of the                             interpretation of AC21.
                                                 does not represent a bona fide job offer                petitioner’s business, as described                           Response. DHS appreciates the
                                                 and, therefore, is not sufficient to                    above.26                                                   concerns raised by these comments.
                                                 support an application for adjustment of                                                                           While DHS is unable to address these
                                                                                                         iv. Beneficiary Standing To Challenge
                                                 status.                                                                                                            concerns in this final rule because they
                                                    INA section 212(a)(5)(A) and (D)                     the Revocation of an Employment-Based
                                                                                                                                                                    are outside the scope of this rulemaking,
                                                 generally prohibits any foreign worker                  Immigrant Visa Petition’s Approval
                                                                                                                                                                    DHS is considering separate
                                                 seeking to perform skilled or unskilled                    Comment. Several commenters                             administrative action outside of this
                                                 labor from being admitted to the United                 expressed concern that individual                          final rule to address these concerns.
                                                 States under the EB–2 and EB–3                          beneficiaries of Form I–140 petitions are
                                                 immigrant visa classifications unless the               not provided notice when USCIS seeks                       E. Continuing and Bona Fide Job Offer
                                                 Secretary of Labor has determined and                   to revoke the approval of those                            and Supplement J Form
                                                 certified that there are not sufficient                 petitions. The commenters stated that                      1. Description of Final Rule and
                                                 workers who are able, willing, qualified,               this policy prevented beneficiaries from                   Changes From NPRM
                                                 and available to perform that work at                   checking the status of their pending
                                                                                                         Form I–140 petitions and providing the                        The final rule at 8 CFR 245.25 codifies
                                                 the location the foreign worker will
                                                                                                         evidence needed to avail themselves of                     DHS policy and practice requiring that
                                                 perform the work and that the
                                                 employment of that foreign worker will                  AC21 portability. The commenters                           a foreign worker seeking to adjust his or
                                                 not adversely affect the wages and                      stated that under USCIS’s current                          her status to that of an LPR must have
                                                 working conditions of similarly situated                practice, a beneficiary may be unaware                     a valid offer of employment at the time
                                                 U.S. workers. Under current DOL                         that approval of his or her Form I–140                     the Form I–485 application is filed and
                                                 regulations, a permanent labor                          petition has been revoked until his or                     adjudicated. DHS at final 8 CFR
                                                 certification remains valid only for the                her application for adjustment of status                   245.25(a)(2) codifies the existing policy
                                                 particular job opportunity, for the                     is denied. The commenters stated that                      and practice to determine eligibility to
                                                 individual named on the labor                           not providing beneficiaries with notice                    adjust status based on a request to port
                                                 certification, and for the area of                      and an opportunity to respond in such                      under section 204(j) of the INA. In the
                                                 intended employment stated on the                       cases raises serious issues of                             final rule at 8 CFR 245.25(a)(2)(ii)(A)
                                                 application for permanent labor                         fundamental fairness that could be                         and (B), DHS reaffirms that a qualifying
                                                 certification. See 20 CFR 656.30(c)(2).                 remedied by permitting beneficiaries of                    immigrant visa petition has to be
                                                 However, section 106(c)(2) of AC21                      petitions that may afford portability                      approved before DHS examines a
                                                 created an exception to this                            under section 204(j) to participate in                     portability request under INA 204(j) and
                                                 admissibility requirement, by allowing                  visa petition proceedings, consistent                      determines an individual’s eligibility or
                                                 an approved Form I–140 petition                         with Congress’s intent when it enacted                     continued eligibility to adjust status
                                                 supported by the associated labor                       AC21. The commenters urged DHS to                          based on the underlying visa petition.
                                                 certification to remain valid for certain               undertake rulemaking to bring notice                       DHS also codifies current practice
                                                 long-delayed adjustment applicants                      regulations in line with the realities of                  regarding the adjudication of portability
                                                 ‘‘with respect to a new job accepted by                 today’s AC21 statutory scheme. Finally,                    requests when the Form I–140 petition
                                                 the individual after the individual                     a commenter stated that beneficiaries of                   is still pending at the time the
                                                 changes jobs or employers if the new job                Form I–140 petitions have interests                        application for adjustment of status has
                                                 is in the same or a similar occupational                equal to or greater than those of                          been pending for 180 days or more in
                                                 classification as the job for which the                 petitioners, including because                             final 8 CFR 245.25(a)(2)(ii)(B).
                                                 certification was issued.’’ INA                         revocation impacts beneficiaries’ ability                     Based on its program experience in
                                                 212(a)(5)(A)(iv), 8 U.S.C.                              to retain priority dates, their                            adjudicating adjustment of status
                                                 1182(a)(5)(A)(iv). DHS does not have                    admissibility, their eligibility to have                   applications, USCIS determined that
                                                 authority to regulate the terms and                     immigrant visa petitions approved on                       certain threshold evidence regarding the
                                                 requirements of these labor                             their behalf, and their eligibility for                    job offer is required in all cases to
                                                 certifications and therefore cannot                     adjustment of status under section                         successfully determine eligibility for
                                                 prescribe what is necessary for the labor               245(i) of the INA, 8 U.S.C. 1255(i). The                   adjustment of status based on an
                                                 certification to remain valid even for                  commenter added that the enactment of                      employment-based immigrant visa
                                                 long-delayed applicants for adjustment                  AC21 had altered the analysis of which                     petition and facilitate the administrative
                                                 of status, although DHS does have                       individuals should be considered                           processing of INA 204(j) porting
                                                 authority to invalidate labor                           ‘‘interested parties’’ before USCIS on                     requests. USCIS has consequently
                                                 certifications for fraud or willful                     various issues, including the ability to                   developed a new form—Supplement J to
                                                 misrepresentation. The INA designates                                                                              Form I–485, Confirmation of Bona Fide
                                                 DOL as the federal department                              26 The priority date of the earliest petition will be   Job Offer or Request for Job Portability
                                                 responsible for making permanent labor                  preserved in cases where the Form I–140 petition           Under INA Section 204(j) (‘‘Supplement
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                                                                                                         has been approved, no matter the amount of time
                                                 certification determinations.                           that has passed since the approval, subject to the
                                                                                                                                                                    J’’)—to standardize the collection of
                                                    While DHS cannot expand portability                  restrictions in 8 CFR 204.5(e)(2). See final 8 CFR         such information. The offer of
                                                 beyond the INA 204(j) context, the final                204.5(e)(1). The priority date can be retained even        employment may either be the original
                                                 rule does provide some additional                       if approval is subsequently revoked, unless it is          job offer or, pursuant to INA 204(j), a
                                                                                                         revoked for fraud, willful misrepresentation of a
                                                 flexibility and stability for individuals               material fact, the invalidation or revocation of a
                                                                                                                                                                    new offer of employment, including
                                                 who may not be eligible for INA 204(j)                  labor certification, or USCIS material error as            qualifying self-employment, that is in
                                                 portability, by allowing beneficiaries of               required by 8 CFR 204.5(e)(2).                             the same or similar occupational

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                                                 classification as the original job                       consider implementing a fee in the                    8 CFR 245.25(a)(2)(ii)(A) and (B), DHS
                                                 offer.27 See final 8 CFR 245.25(a)(1)–(2).               future.                                               reaffirms that a qualifying immigrant
                                                 In the final rule at 8 CFR 245.25(a) and                                                                       visa petition must be approved before
                                                                                                          2. Public Comments and Responses
                                                 (b), DHS clarifies that it may require                                                                         DHS examines a portability request
                                                 individuals to use Supplement J, or                      i. Portability Under INA 204(j)                       under INA 204(j) and determines an
                                                 successor form, to confirm existing or                      Comment. One commenter requested                   individual’s eligibility or continued
                                                 new job offers prior to adjudication of                  that DHS clarify regulatory language to               eligibility to adjust status on the basis of
                                                 an application to adjust status. DHS also                reflect current practice that permits a               the underlying visa petition. DHS also
                                                 eliminates duplicative evidentiary                       foreign national whose application for                sets forth in this final rule how USCIS
                                                 provisions that were proposed in 8 CFR                   adjustment of status has been pending                 will assess specific Form I–140 petition
                                                 245.25(b). As amended, the final 8 CFR                   for 180 days or more to request                       eligibility requirements, including the
                                                 245.25(a) makes clear that any                           portability under INA 204(j) in cases in              petitioner’s ability to pay, when a
                                                 supporting material and credible                         which the Form I–140 petition                         porting request has been made on a
                                                 documentary evidence may be                              underlying the application for                        pending Form I–140 petition.
                                                 submitted along with Supplement J,                       adjustment of status is not yet approved.                First, in accordance with existing
                                                 according to the form instructions. The                  The commenter noted that current                      practice, USCIS will only adjudicate a
                                                 definition of ‘‘same or similar                          policy allows for such portability                    qualifying Form I–140 petition in
                                                 occupational classification’’ that was                   requests to be made provided the Form                 accordance with the standards
                                                 proposed in 8 CFR 245.25(c) is being                     I–140 petition was approvable based on                described in final 8 CFR 245.25(a)(2)(ii)
                                                 retained without change in the                           the facts in existence at the time of                 when USCIS has been notified that the
                                                 redesignated final 8 CFR 245.25(b).                      filing, with the exception of the                     beneficiary intends to port to a new job
                                                    The use of Supplement J will ensure                   petitioner’s ability to pay the offered               pursuant to INA 204(j). As indicated in
                                                 uniformity in the collection of                          wage. The commenter stated that this                  the precedent decision, Matter of Al
                                                 information and submission of initial                    has been USCIS’s policy since 2005,                   Wazzan, 25 I&N Dec. 359, 367 (BIA
                                                 evidence. Supplement J will be used to                   when DHS confirmed through policy                     2010), the qualifying immigrant visa
                                                 assist USCIS, as appropriate, in                         guidance that the 180-day portability                 petition—
                                                 confirming that the job offer described                  clock under INA 204(j) begins to run                  must have been filed for an alien who is
                                                 in a Form I–140 petition is still available              when the Form I–485 application is                    ‘‘entitled’’ to the requested classification and
                                                 at the time an individual files an                       filed, not when the Form I–140 petition               that petition must have been ‘‘approved’’ by
                                                                                                          is approved. This commenter cited to                  a USCIS officer pursuant to his or her
                                                 application for adjustment of status, or                                                                       authority under the Act . . . [A] petition is
                                                 a qualifying job offer otherwise                         the Aytes Memo, ‘‘Interim guidance for
                                                                                                                                                                not made ‘‘valid’’ merely through the act of
                                                 continues to be available to the                         processing I–140 employment-based                     filing the petition with USCIS or through the
                                                 individual before final processing of his                immigrant petitions and I–485 and H–                  passage of 180 days.
                                                 or her application for adjustment of                     1B petitions affected by the American
                                                                                                          Competitiveness in the Twenty-First                     The burden is on the applicant to
                                                 status. Supplement J also will be used                                                                         demonstrate eligibility or otherwise
                                                 by applicants for adjustment of status to                Century Act (AC21) (Public Law 106–
                                                                                                          313)’’ (May 12, 2005, revised Dec. 27,                maintain eligibility for adjustment of
                                                 request job portability, and by USCIS to                                                                       status to lawful permanent
                                                 determine, among other things, whether                   2005) (Aytes 2005 memo) at 2, 4–5.
                                                                                                             Response. DHS agrees that                          residence.29 See INA sections 204(e) and
                                                 a new offer of employment is in the                                                                            291, 8 U.S.C. 1154(e) and 1361; see also
                                                 same or a similar occupational                           clarification is needed in the final rule
                                                                                                          regarding DHS’s practice for qualifying               Tongatapu Woodcraft of Hawaii, Ltd. v.
                                                 classification as the job offer listed in
                                                 the Form I–140 petition.                                 Form I–140 petitions that remain
                                                                                                          pending when the beneficiary’s                        governing adjustment of status consistent with
                                                    Supplement J collects necessary                                                                             longstanding agency policy.’’ Id. at 81915.
                                                                                                          application for adjustment of status has
                                                 information about the job offer and                                                                               29 USCIS may inquire at any time whether an
                                                                                                          been pending for 180 days or more. As                 applicant for adjustment of status has, or continues
                                                 includes attestations from the foreign
                                                                                                          noted by the commenter, there may be                  to have, a qualifying job offer until the applicant
                                                 national and employer regarding                                                                                ultimately obtains lawful permanent residence. See
                                                                                                          instances in which an individual can
                                                 essential elements of the portability                                                                          INA sections 204(a)(1)(F), (b), (e), (j) and 212(a)(5),
                                                                                                          request job portability pursuant to INA
                                                 request. In a number of ways,                                                                                  8 U.S.C. 1154(a)(1)(F), (b), (e), (j), and 1182(a)(5); cf.
                                                                                                          204(j) because the worker’s Form I–485                Yui Sing Tse v. INS, 596 F.2d 831, 835 (9th Cir.
                                                 Supplement J will improve the
                                                                                                          application has been pending for 180                  1979) (finding that an alien need not intend to
                                                 processing of porting requests submitted                                                                       remain at the certified job forever, but at the time
                                                                                                          days or more, but the Form I–140
                                                 under INA 204(j). As further described                                                                         of obtaining lawful permanent resident status, both
                                                                                                          petition has not yet been adjudicated. In
                                                 in the responses to comments below,                                                                            the employer and the alien must intend that the
                                                                                                          such cases, however, the qualifying                   alien be employed in the certified job); Matter of
                                                 DHS is making a revision to the
                                                                                                          Form I–140 petition must be approved                  Danquah, 16 I&N Dec. 191 (BIA 1975) (adjustment
                                                 Supplement J instructions to clarify that                                                                      of status denied based on the ground that the labor
                                                                                                          before a portability request under INA
                                                 individuals applying for adjustment of                                                                         certification was no longer valid because the foreign
                                                                                                          204(j) may be approved.
                                                 status on the basis of a national interest                  In response to this comment, DHS
                                                                                                                                                                national was unable to assume the position
                                                 waiver (NIW), as well as aliens of                                                                             specified in the labor certification prior to obtaining
                                                                                                          amended proposed 8 CFR 245.25(a)(2)                   adjustment of status). USCIS may become aware of
                                                 extraordinary ability, are not required to               to reflect DHS’s current policy and                   certain information that raises questions about
                                                 use Supplement J. Currently, USCIS is                    longstanding practice related to such                 whether an applicant for adjustment of status
                                                 not adding an extra fee for submission                   pending Form I–140 petitions.28 In final
                                                                                                                                                                continues to have a qualifying job offer (e.g., a letter
                                                 of this new supplement, but may                                                                                from the petitioner requesting the withdrawal of the
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                                                                                                                                                                petition). In this and similar instances when the
                                                                                                             28 As indicated in the proposed rule, regulatory   Form I–140 petition has already been approved,
                                                   27 For additional information on USCIS policy          provisions would ‘‘largely conform DHS regulations    USCIS may issue a Notice of Intent to Deny (NOID)
                                                 regarding the parameters of porting to self-             to longstanding agency policies and procedures        or Request for Evidence (RFE) to the applicant to
                                                 employment, please see USCIS memorandum,                 established in response to certain sections of        make sure that the applicant has a new job offer that
                                                 ‘‘Determining Whether a New Job is in ‘‘the Same         [ACWIA] and [AC21].’’ See 80 FR 81899, 81901          preserves his or her eligibility to become a lawful
                                                 or a Similar Occupational Classification’’ for           (Dec. 31, 2015). The new regulatory provision under   permanent resident in connection with the same
                                                 Purposes of Section 204(j) Job Portability’’ (Mar. 18,   8 CFR 245.25(a)(2)(ii) is one such provision that     Form I–485 application and based on the same
                                                 2016) (‘‘Same or Similar Memo March 2016’’).             ‘‘update[s] and conform[s] [DHS’s] regulations        qualifying petition pursuant to INA 204(j).


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                                                 Feldman, 736 F.2d 1305, 1308 (9th Cir.                  of filing and until the foreign national’s             workers who cannot immediately adjust
                                                 1984) (stating that the applicant ‘‘bears               application for adjustment of status has               status based on backlogs to move to new
                                                 the ultimate burden of proving                          been pending for 180 days. See final 8                 employment while their applications for
                                                 eligibility’’ and that this burden ‘‘is not             CFR 245.25(a)(2)(ii)(B)(2). Consistent                 adjustment of status remain pending.
                                                 discharged until’’ lawful permanent                     with current policy and practice, DHS                     Accordingly, for petitioners to satisfy
                                                 residence is granted); 8 CFR 103.2(b)(1).               will review the pending petition to                    the ability to pay requirement in this
                                                    Second, in determining whether a                     determine whether the preponderance                    limited context, eligibility will be
                                                 Form I–140 petitioner meets the ‘‘ability               of the evidence establishes that the                   deemed established through
                                                 to pay’’ requirements under 8 CFR                       petition is approvable or would have                   adjudication for purposes of 8 CFR
                                                 204.5(g)(2) for a pending petition that a               been approvable had it been adjudicated                103.2(b)(1) if the ability to pay existed
                                                 beneficiary seeks to rely upon for 204(j)               before the associated application for                  at the time the priority date is
                                                 portability, DHS reviews the facts in                   adjustment of status has been pending                  established through time of the
                                                 existence at the time of filing. See final              for 180 days or more.31 For example, if                petition’s filing. See 8 CFR 204.5(g)(2).
                                                 8 CFR 245.25(a)(2)(ii)(B)(1).30 Thus,                   DHS receives a written withdrawal                      Similarly, again in this limited INA
                                                 during the adjudication of the petition,                request from the petitioner, or the                    204(j) context, DHS is defining
                                                 DHS reviews any initial evidence and                    petitioner’s business terminates, after                eligibility for all other Form I–140
                                                 responses to requests for evidence                      the associated application for                         eligibility requirements for purposes of
                                                 (RFEs), notices of intent to deny                       adjustment of status has been pending                  8 CFR 103.2(b)(1) (i.e., separate and
                                                 (NOIDs), or any other requests for more                 for 180 days or more, DHS will not deny                apart from the ability to pay
                                                 information that may have been issued,                  the petition based solely on those                     requirement) as being established if
                                                 to determine whether the petitioner met                 reasons.32 DHS, however, will deny a                   such eligibility can be demonstrated at
                                                 the ability to pay requirement as of the                Form I–140 petition if DHS receives the                time of filing through the date the
                                                 date of the filing of the petition. To                  written withdrawal request, or a                       associated application for adjustment of
                                                 effectuate the intent of INA 204(j) to                  business termination occurs, before the                status has been pending for 180 days,
                                                 enable workers to change employment,                    associated application for adjustment of               instead of the date the final decision is
                                                 DHS looks only at the facts existing at                 status has been pending for 180 days,                  issued.
                                                 the time of filing to determine whether                 even when DHS adjudicates the petition                    DHS believes that this specific
                                                 the original petitioner has the ability to              after the associated application for                   adjudicatory practice is consistent with
                                                 pay, notwithstanding the language in 8                  adjustment of status has been pending                  the requirements in 8 CFR 103.2(b)(1),33
                                                 CFR 204.5(g)(2), which otherwise                        for 180 days or more.                                  accommodates the circumstances
                                                 requires that a petitioner has continuing                  Section 8 CFR 245.25(a)(2), as                      contemplated in final 8 CFR
                                                 ability to pay after filing the petition                amended in this final rule, is consistent              245.25(a)(2)(ii), and is important to
                                                 and until the beneficiary obtains lawful                with AC21, existing regulations, USCIS                 ensure that the goals of AC21 are met.
                                                 permanent residence. To require that                    policies implementing AC21, and                        As a practical matter, petitioners have
                                                 the original Form I–140 petitioner                      current practice. Specifically, DHS reads              diminished incentives to address
                                                 demonstrate a continuing ability to pay                 8 CFR 245.25(a)(2), as amended in this                 inquiries regarding qualifying Form I–
                                                 when the beneficiary no longer intends                  final rule, in harmony with 8 CFR                      140 petitions once the beneficiaries
                                                 to work for that petitioner is illogical                103.2(b)(1), which requires an applicant               have a new job offer that may qualify for
                                                 and would create an incongruous                         or petitioner to ‘‘establish that he or she            INA 204(j) portability and the relevant
                                                 obstacle for the beneficiary to change                  is eligible for the requested benefit at               focus has shifted to whether the new job
                                                 jobs, thus unnecessarily undermining                    the time of filing the benefit request and             offer meets the requirements of INA
                                                 the purpose of INA 204(j). USCIS will                   must continue to be eligible through                   204(j). Accordingly, denying a
                                                 not review the original petitioner’s                    adjudication.’’ In cases involving a                   qualifying Form I–140 petition for either
                                                 continuing ability to pay after the filing              request for INA 204(j) portability that is             ability to pay issues that occur after the
                                                 date of the qualifying petition before it               filed before USCIS adjudicates the Form                time of filing, or for other petition
                                                 may approve such petition and then                      I–140 petition, DHS will assess a                      eligibility issues that transpire after the
                                                 review a portability request. Under this                petitioner’s ability to pay as of the date             associated application for adjustment of
                                                 final rule, USCIS will continue to                      the Form I–140 petition was filed and
                                                 determine whether the subsequent offer                  all other issues as of the date on which                  33 The current language in 8 CFR 103.2(b)(1)

                                                 of employment by an employer that is                    the application for adjustment of status               requires in pertinent part that a petitioner
                                                                                                                                                                ‘‘establish that he or she is eligible for the requested
                                                 different from, or even the same as, the                was pending 180 days, regardless of the                benefit at the time of filing the benefit request and
                                                 employer in the original Form I–140                     date on which the petition is actually                 must continue to be eligible through adjudication.’’
                                                 petition is bona fide.                                  adjudicated. DHS believes this policy                  This policy was codified through a final rule (with
                                                    Third, DHS is clarifying for INA 204(j)              meaningfully implements congressional                  request for comments) in 2011 in which DHS noted
                                                                                                                                                                the ‘‘longstanding policy and practice, as well as a
                                                 portability purposes that a qualifying                  intent in enacting INA 204(j) to allow                 basic tenet of administrative law, [ ] that the
                                                 Form I–140 petition will be approved if                                                                        decision in a particular case is based on the
                                                 eligibility requirements (separate and                     31 See Aytes 2005 Memo, at 1 (stating in the        administrative record that exists at the time the
                                                 apart from the ability to pay                           response to Section I, Question 1 that if it is        decision is rendered.’’ 76 FR 53764, 53770 (Aug. 29,
                                                                                                         discovered that a beneficiary has ported under an      2011) (citing Citizens to Preserve Overton Park v.
                                                 requirement) have been met at the time                  unapproved Form I–140 petition and Form I–485          Volpe, 401 U.S. 402 (1972)). The practice that DHS
                                                                                                         application that has been pending for 180 days or      currently outlines in 8 CFR 245.25(a)(2)(ii), in
                                                   30 See Aytes 2005 Memo, at 2; Donald Neufeld          more, the adjudicator should, among other things,      which DHS interprets eligibility through
                                                 Memorandum ‘‘Supplemental Guidance Relating to          ‘‘review the pending I–140 petition to determine if    ‘‘adjudication’’ in 8 CFR 103.2(b)(1) as eligibility at
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                                                 Processing Forms I–140 Employment-Based                 the preponderance of the evidence establishes that     the time of filing (for the ability to pay requirement)
                                                 Immigrant Petitions and I–129 H–1B Petitions, and       the case is approvable or would have been              or eligibility at the time of filing and up to the day
                                                 Form I–485 Adjustment Applications Affected by          approvable had it been adjudicated within 180          before the associated application for adjustment of
                                                 the American Competitiveness in the Twenty-First        days’’).                                               status has been pending for 180 days (for other
                                                 Century Act of 2000 (AC21) (Pub. L. 106–313), as           32 Under current INA 204(j) portability practice,   requirements separate and apart from the ability to
                                                 amended, and the American Competitiveness and           DHS considers the date it receives a withdrawal        pay requirement), were in place since at least 2005,
                                                 Workforce Improvement Act of 1998 (ACWIA), Title        request from the petitioner as the date of             are consistent with the AC21 statute, and were not
                                                 IV of Div. C. of Public Law 105–277’’ at 9, (May 30,    withdrawal regardless of the date on which DHS         superseded by the amendments to 8 CFR 103.2(b)(1)
                                                 2008) (‘‘Neufeld May 2008 Memo’’).                      adjudicates the Form I–140 petition.                   in 2011.


                                                                                                                                                                                                   AC00164
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                                                 status has been pending for 180 days or                 updated only once every 8 years, a                    the statutory requirements related to
                                                 more, would be contrary to a primary                    schedule that is often outpaced by the                labor certification approval.
                                                 goal of AC21. Such a policy would in                    speed of innovation, particularly with                  Response. DHS disagrees with these
                                                 significant part defeat the aim to allow                STEM occupations. Another commenter                   comments. Congress did not define the
                                                 individuals the ability to change jobs                  described concern that adjudicators will              term ‘‘same or similar,’’ thus delegating
                                                 and benefit from INA 204(j) so long as                  rely exclusively on the SOC codes when                that responsibility and authority to
                                                 their associated application for                        determining whether two jobs are in the               DHS. Through this final rule, DHS
                                                 adjustment of status has been pending                   same or similar occupational                          adopts a definition that is consistent
                                                 for 180 days or more. DHS notes that                    classification(s) (‘‘same or similar                  with the statutory purpose underlying
                                                 this does not prevent DHS from                          determinations’’).                                    INA 204(j), and that reflects both
                                                 requiring a response from the Form I–                      Response. DHS agrees with the                      common dictionary definitions and
                                                 140 petitioner and taking appropriate                   commenters and, in this final rule,                   longstanding DHS practice and
                                                 action on a request for evidence or                     removes the specific reference to SOC                 experience in this area. As has long
                                                 notice of intent to deny issued before                  codes in the final rule. See final 8 CFR              been the case, to determine whether two
                                                 the associated application for                          245.25. This change from the proposed                 jobs are in the same occupational
                                                 adjustment of status has been pending                   rule is consistent with DHS policy                    classification, USCIS looks to whether
                                                 for 180 days or more or, if appropriate                 under which SOC codes are just one                    the jobs are ‘‘identical’’ or ‘‘resembling
                                                 for reasons described below, after that                 factor that may be considered, in                     in every relevant respect.’’ 34 To
                                                 period.                                                 conjunction with other material                       determine whether two jobs are in
                                                    Finally, DHS maintains through this                  evidence, when making the portability                 similar occupational classifications,
                                                 final rule its existing policy and practice             determination. To demonstrate that two                USCIS looks to whether the jobs share
                                                 to deny a pending Form I–140 petition                   jobs are in the same or similar                       essential qualities or have a ‘‘marked
                                                 at any time, and even after the                         occupational classification(s) for                    resemblance or likeness.’’ 35
                                                 associated application for adjustment of                purposes of INA 204(j) portability,                     DHS recognizes that individuals earn
                                                 status has been pending for 180 days or                 applicants and/or their employers                     opportunities for career advancement as
                                                 more, if the approval of such petition is               should submit all relevant evidence.                  they gain experience over time. Cases
                                                 inconsistent with a statutory                           Such evidence includes, but is not                    involving career progression must be
                                                 requirement in the INA or other law.                    limited to, a description of the job                  considered under the totality of the
                                                 See final 8 CFR 245.25(a)(2)(ii)(B)(2).                 duties for the new position; the                      circumstances to determine whether the
                                                 For example, DHS will deny an                           necessary skills, experience, education,              applicant has established by a
                                                 otherwise qualifying Form I–140                         training, licenses or certifications                  preponderance of the evidence that the
                                                 petition at any time if the beneficiary                 required for the new job; the wages                   relevant positions are in similar
                                                 seeks or has sought LPR status through                  offered for the new job; and any other                occupational classifications for INA
                                                 a marriage that has been determined by                  material and credible evidence                        204(j) portability purposes. For further
                                                 DHS to have been entered into for the                   submitted by the applicant. Applicants                guidance on the DHS analysis of cases
                                                 purpose of evading the immigration                      or their employers may also reference                 involving career progression,
                                                 laws. See INA 204(c), 8 U.S.C. 1154(c).                 DOL’s labor market expertise as                       commenters are encouraged to read the
                                                 DHS also will deny, at any time, a                      reflected in its SOC system, which is                 March 16, 2016, USCIS policy
                                                 pending Form I–140 petition that                        used to organize occupational data and                memorandum, ‘‘Determining Whether a
                                                 involves a petitioner or an employer                    classify workers into distinct                        New Job is in ‘the Same or a Similar
                                                 that has been debarred, under INA                       occupational categories, as well as other             Occupational Classification’ for
                                                 212(n)(2)(C)(i) and (ii), 8 U.S.C.                      relevant and credible information, when               Purposes of Section 204(j) Job
                                                 1182(n)(2)(C)(i) and (ii), even when the                making portability determinations.                    Portability.’’ 36
                                                 debarment occurs after the filing of the                   DHS recognizes that variations in job
                                                                                                                                                               ii. Concerns Raised Regarding
                                                 petition. Similarly, DHS will deny a                    duties are natural and may occur
                                                                                                                                                               Supplement J
                                                 Form I–140 petition, at any time, if the                because they involve employers in
                                                 beneficiary is required by statute to be                different economic sectors. This does                    Comment. DHS received a number of
                                                 licensed to perform his or her job and                  not necessarily preclude two positions                comments on the new Supplement J to
                                                 the beneficiary loses such licensure                    from being in similar occupational                    Form I–485, many of which came from
                                                 before the petition is adjudicated. See                 classifications for purposes of 204(j)                individuals who are currently in the
                                                 e.g., INA 212(a)(5)(B) and (C), 8 U.S.C.                portability. SOC codes provide a                      process of pursuing lawful permanent
                                                 1182(a)(5)(B) and (C). DHS notes that                   measure of objectivity in such                        residence as beneficiaries of Form I–140
                                                 these examples do not encompass all                     assessments and thus can help address                 petitions. Many commenters stated that
                                                 scenarios when a statute requires DHS                   uncertainty in the portability                        the Supplement J requirement is an
                                                 to deny a pending Form I–140 petition.                  determination process.                                unnecessary burden that will make
                                                 DHS will review such petitions on a                        Comment. Several commenters stated                 portability requests under INA 204(j)
                                                 case-by-case basis.                                     that the definition of ‘‘same or similar’’            more complex and cumbersome.
                                                    Comment. Some commenters                             in proposed 8 CFR 245.25(c) is overly                 Commenters also stated that the
                                                 requested that DHS eliminate references                 restrictive and will particularly cause               requirement would create uncertainty
                                                 to the Department of Labor’s Standard                   difficulty for workers seeking                        and confusion among employers and
                                                 Occupational Classification (SOC)                       promotions because the definition may                 applicants. Commenters noted that
                                                 system in the regulatory text governing                 not cover moves to certain higher level               employers may understand the
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                                                 the adjudication of porting requests.                   positions. In contrast, another                       Supplement J requirement as a
                                                 One commenter noted that occupations                    commenter stated that the proposed
                                                                                                                                                                  34 For additional information on USCIS policy
                                                 that rely on similar skills, experience,                definition is arbitrary and capricious,
                                                                                                                                                               regarding the parameters of porting to ‘‘same’’ or
                                                 and education are often classified in                   and that the definition effectively                   ‘‘similar’’ employment, please see Same or Similar
                                                 disparate major groups within the SOC                   lowers the standard set in prior DHS                  Memo March 2016.
                                                 structure. This commenter was also                      guidance. That commenter believed the                    35 Id.

                                                 concerned that the SOC system is                        new definition would effectively nullify                 36 Id.




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                                                 disincentive to retaining or hiring new                    correspondence. Among other things,                 cases to submit job offer or employment
                                                 foreign nationals, as the requirement                      Supplement J provides a consistent                  confirmation letters supporting INA
                                                 would increase administrative burdens                      format and uniform content, which                   204(j) portability. For this same reason,
                                                 and legal risks for employers in an                        allows DHS to more easily find and                  DHS believes the Supplement J
                                                 already time-consuming and expensive                       capture necessary information as well as            requirement will also not impose
                                                 process. Commenters stated that                            match the form with the corresponding               significant new legal costs, including by
                                                 employers unfamiliar with the INA                          Form I–485 application. Because there               increasing the likelihood that
                                                 204(j) process may be unwilling to                         is no standardized form currently                   individuals or employers will need to
                                                 cooperate in the completion of                             associated with porting requests, DHS               consult with lawyers.38
                                                 Supplement J. They also noted that the                     contract and records staff cannot                      While DHS presents a sensitivity
                                                 Supplement J requirement may require                       efficiently enter data associated with              analysis for the potential annual costs of
                                                 employers to draft new company                             those requests. With the Supplement J,              Supplement J in the RIA as ranging from
                                                 policies concerning the supplement,                        standardized data can more readily be               $126,598 to $4,636,448, DHS believes
                                                 thus further increasing administrative                     entered and tracked in agency electronic            that the submission of Supplement J
                                                 burdens. Some commenters stated that                       systems. This, in turn, will greatly                does not impose significant additional
                                                 the Supplement J requirement would                         enhance USCIS’s ability to monitor the              burdens on USCIS or employers because
                                                 disrupt employers’ existing procedures                     status of portability requests, track file          applicants are already required to
                                                 covering individuals seeking portability                   movement, and otherwise improve                     submit letters from employers when
                                                 under INA 204(j).                                          accountability and transparency                     requesting INA 204(j) portability. DHS
                                                   Response. The majority of                                regarding USCIS’s processing of                     does not have information on how long
                                                 commenters that opposed the                                portability requests.                               it currently takes to complete
                                                 Supplement J requirement argued that it                       DHS does not agree with several                  employment confirmation or job offer
                                                 would be burdensome and complex, but                       commenters’ statements that the                     letters, so DHS cannot conduct side-by-
                                                 they did not provide detailed                              Supplement J requirement will increase              side comparisons. However, anecdotal
                                                 explanations, analysis, or evidence                        uncertainty with respect to job                     input suggests that, notwithstanding
                                                 supporting these assertions. Individuals                   portability requests. Rather, DHS                   concern to the contrary, the Supplement
                                                 requesting job portability under INA                       believes that Supplement J will reduce              J requirement in fact is roughly
                                                 204(j) have typically complied with that                   past uncertainties by facilitating (1) the          equivalent to the letter-writing process,
                                                 provision by submitting job offer letters                  tracking of portability requests through            as employment confirmation and job
                                                 describing the new job offer and how                       the adjudication process, (2) the                   offer letters currently provide
                                                 that new job is in the same or a similar                   provision of timely acknowledgements                information similar to that requested in
                                                 occupational classification as the job                     and notices, and (3) the ability of                 Supplement J.
                                                 offer listed in the underlying Form I–                     individuals to know if their new job is                Additionally, USCIS recognizes in the
                                                 140 petition. The Supplement J                             in a same or a similar occupational                 RIA that the simplified and
                                                 requirement is intended to replace the                     classification before the Form I–485                standardized process provided by the
                                                 need to submit job offer and                               application is adjudicated.                         Supplement J requirement may facilitate
                                                 employment confirmation letters by                            Additionally, an individual who seeks            the ability of employees to change
                                                 providing a standardized form, which                       to port in the future may affirmatively             employers. This process, along with the
                                                 will benefit both individuals and the                      file Supplement J to seek a                         potential for an increased awareness of
                                                 Department. Under this rule,                               determination as to whether a new job               INA 204(j) portability as a result of this
                                                 individuals will now have a uniform                        offer is in the same or a similar                   regulation, could potentially increase
                                                 method of requesting job portability and                   occupational classification. A DHS                  the number of Supplement J forms
                                                 USCIS will have a standardized means                       decision will inform the individual
                                                                                                                                                                submitted. While beneficial to
                                                 for capturing all of the relevant                          whether the new job offer can support
                                                                                                                                                                applicants, such an increase has the
                                                 information necessary for processing.37                    the pending Form I–485 application and
                                                                                                                                                                potential to result in higher turnover for
                                                 DHS believes that a single standardized                    continued eligibility to obtain lawful
                                                                                                                                                                some employers, along with additional
                                                 form, with accompanying instructions,                      permanent residence without the need
                                                                                                                                                                costs that may be incurred due to
                                                 provides greater clarity to the public                     for a new employer to file a new Form
                                                                                                                                                                employee replacement. However, DHS
                                                 regarding the types of information and                     I–140 petition. This process will
                                                                                                                                                                does not currently have data on the
                                                 evidence needed to support job                             provide transparency into USCIS’s
                                                                                                                                                                percentage of employees who port to
                                                 portability requests. The form also                        ‘‘same or similar’’ determinations,
                                                                                                                                                                other employers vis-à-vis those who
                                                 ensures continued compliance with                          providing individuals with increased
                                                                                                            certainty and better allowing them to               port to other positions with their same
                                                 Paperwork Reduction Act (PRA)                                                                                  employers. In the RIA, DHS
                                                 requirements.                                              make informed career decisions, such as
                                                                                                            whether to change jobs prior to final               qualitatively discusses the potential
                                                   Given the large overall number and                                                                           costs to employers resulting from
                                                 variety of benefit requests and                            adjudication of the pending Form I–485
                                                                                                            application.                                        employee turnover.
                                                 applications that USCIS adjudicates                                                                               DHS reiterates that the Supplement J
                                                 each year, DHS can more efficiently                           While an applicant may be required to
                                                                                                            submit Supplement J when requesting                 requirement will streamline
                                                 intake and process INA 204(j)                                                                                  adjudication by providing clear
                                                                                                            job portability, or in response to an RFE
                                                 portability requests on Supplement J                                                                           instructions on the types of information
                                                                                                            or NOID, DHS does not believe that this
                                                 than those submitted through letter
                                                                                                            new requirement will create significant
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                                                                                                                                                                   38 DHS notes that the RIA in this rulemaking
                                                   37 Along with Supplement J, individuals will still       new burdens or legal risks for employers            provides potential filing costs of Supplement J as
                                                 be able to provide additional information and              and employees. As discussed in more                 prepared by human resources specialists, in-house
                                                 documentary evidence supporting any aspect of the          detail in the Regulatory Impact Analysis            attorneys, and other attorneys. DHS included such
                                                 porting request. Individuals, if they so choose, may       (RIA), the submission of Supplement J               legal costs not because it believes that legal
                                                 also include a letter further explaining how the new                                                           assistance will be required to fill out Supplement
                                                 job offer is in the same or a similar occupational
                                                                                                            will not impose significant additional              J, but because many individuals and employers
                                                 classification as the job offer listed in the qualifying   burdens of time on employers, because               already use attorneys to submit portability requests
                                                 Form I–140 petition.                                       employers are already required in such              under INA 204(j).


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                                                 required to be submitted to USCIS.                         Comment. Many commenters also                      visa preference categories, which may
                                                 Additionally, DHS does not believe that                 expressed concern that the Supplement                 lead to visas becoming unavailable after
                                                 employers will need to create any new                   J requirement will cause additional                   Form I–485 applications are filed.
                                                 administrative processes for filling out                processing delays or fail to alleviate                Congress established the numerical
                                                 Supplement J, as employers are already                  current employment-based immigrant                    limitations on employment-based
                                                 required to submit job offer or                         visa wait times. Many commenters who                  immigrant visa numbers. The
                                                 employment confirmation letters. DHS                    were on the path to obtaining lawful                  Department of State allocates
                                                 believes that Supplement J places                       permanent residence expressed their                   employment-based immigrant visas
                                                 similar burden on employers from what                   belief that the Supplement J                          based on the applicant’s preference
                                                 is required through the current process.                requirement will exacerbate the already               category, priority date, and country of
                                                 Similarly, because Supplement J                         backlogged process for adjusting status.              chargeability. Supplement J does not
                                                 requests substantially the same                         Commenters also suggested the                         affect the statutory availability of
                                                 information that is currently provided                  requirement will lead to even more                    employment-based immigrant visas or
                                                 by employers through letter                             procedural requests for evidence,                     the allocation of such numbers by DOS.
                                                 correspondence, DHS does not believe                    further delaying completion of                        USCIS cannot approve an individual’s
                                                 the Supplement J creates any new legal                  processing efforts. Another commenter                 application for adjustment of status
                                                 risks for those employers. For a more                   requested elimination of the                          until a visa has again become available
                                                 detailed analysis of the economic                       Supplement J requirement from the rule,               to that individual.
                                                 impact of this rule, please refer to the                stating that the requirement would deter                 Supplement J improves
                                                 full RIA published on regulations.gov.                  employers from hiring porting workers                 administration of the portability
                                                    Comment. Several commenters                          and thus set back efforts to increase                 provisions that Congress created so that
                                                 expressed concern that Supplement J                     portability among workers.                            individuals experiencing lengthy delays
                                                 will allow employers to take advantage                     Response. DHS does not believe the                 in the adjudication of their Form I–485
                                                 of and assert more control over foreign                 Supplement J requirement will                         applications can change jobs while
                                                 workers. Some commenters specifically                   exacerbate or otherwise increase Form                 retaining their eligibility to adjust status
                                                 focused on the requirement that                         I–485 application processing times, nor               on the basis of an approved Form I–140
                                                 employers review and sign Supplement                    will it deter employers from hiring                   petition. Supplement J will result in the
                                                 J before it is submitted to USCIS. Those                porting workers, because it is simply                 more efficient adjudication of Form I–
                                                 commenters believed that this                           replacing the existing requirement to                 485 applications once visas become
                                                 requirement could create a power                        provide letters from employers. To the                available, which DHS believes will
                                                 dynamic in which employers could                        contrary, DHS believes Supplement J                   encourage, not deter employers from
                                                 further control and exploit workers,                    will streamline the processing of Form                hiring workers eligible to port under
                                                 including by forcing them to accept                     I–485 applications, minimizing any                    section 204(j).
                                                 depressed wages.                                        processing delays caused by a potential                  Comment. Several commenters
                                                    Response. DHS does not believe that                  increase in porting resulting from this               indicated that Supplement J will require
                                                 Supplement J will give employers more                   rule. USCIS currently reviews                         the use of attorneys, which may
                                                 power over, or the ability to take                      employment letters, often in response to              diminish employers’ desires to extend
                                                 advantage of, foreign workers. When the                 inquiries issued by USCIS, when                       new job offers pursuant to INA 204(j)
                                                 use of Supplement J becomes effective,                  adjudicating Form I–485 applications.                 and therefore limit job portability. One
                                                 an applicant for adjustment of status                   Now USCIS will review and process                     commenter expressed the belief that
                                                 will continue to have the same                          Supplement J submissions instead.                     corporate human resources
                                                 flexibility to accept other job offers, if              Supplement J aims to reduce exchanges                 representatives will not feel comfortable
                                                 eligible for INA 204(j) portability, as                 between applicants and adjudicators,                  filling out Supplement J and will
                                                 they currently have.                                    including by eliminating the need for                 therefore seek the involvement of
                                                    Applicants requesting portability                    USCIS to issue RFEs and NOIDs to                      immigration attorneys.
                                                 under INA 204(j) must provide evidence                  obtain employment confirmation letters,                  Response. An attorney is not required
                                                 that the employer is a viable employer                  thereby reducing the adjudication time                to complete or file Supplement J,
                                                 extending a bona fide offer of full-time                involved in such cases. It allows DHS to              although individuals and employers
                                                 employment to the applicant, and that                   standardize data entry and tracking                   may choose to be represented by
                                                 the employer will employ the applicant                  pertaining to permanent job offers that               attorneys. As indicated previously,
                                                 in the job proffered upon the applicant’s               are required in order for the principal               Supplement J will standardize
                                                 grant of lawful permanent resident                      beneficiaries of Form I–140 petitions to              information collection for job portability
                                                 status. The current practice is to have                 be eligible for adjustment of status.                 requests under INA 204(j) and request
                                                 applicants submit this evidence in the                  Moreover, the electronic capture of data              information and evidence that many
                                                 form of job offer letters from employers.               pertaining to job offers will help DHS                individuals and employers already
                                                 These letters must contain the                          monitor the status of certain Form I–485              submit to demonstrate eligibility under
                                                 employer’s signature, as well as a                      applications awaiting visa allocation                 INA 204(j). While DHS is aware that
                                                 certification that everything in the letter             and will enable DHS to better determine               many individuals and employers have
                                                 is true and correct. Supplement J does                  which Form I–485 applications have the                in the past been represented by or
                                                 not depart from this past practice in any               required evidence prior to final                      received assistance from attorneys in
                                                 meaningful way. Because Supplement J                    processing.                                           relation to portability requests under
                                                 requests the same information as is                        DHS agrees with commenters,                        INA 204(j), DHS disagrees that requiring
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                                                 currently provided in letters that are                  however, that Supplement J will not                   the use of Supplement J will
                                                 currently provided by employers, and                    alleviate current employment-based                    substantially increase the likelihood
                                                 that contain the employer’s signature,                  immigrant visa wait times. Many Form                  that individuals or employers will need
                                                 DHS does not see how the Supplement                     I–485 applications may remain pending                 to consult with attorneys on future
                                                 J requirement increases the ability to                  for lengthy periods of time due to the                submissions, given that the information
                                                 take advantage of, or otherwise assert                  retrogression of visa numbers for                     collected by the form largely overlaps
                                                 control over, employees.                                particular employment-based immigrant                 with the information that individuals

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                                                 and employers already provide through                    available and bona fide. Specifically,               F. Compelling Circumstances
                                                 less formalized channels.39 As noted                     commenters referred to sections in                   Employment Authorization
                                                 above, Supplement J does not impose                      Supplement J that require employers to               1. Description of Final Rule and
                                                 any new requirements and will assist                     provide information such as type of                  Changes From NPRM
                                                 DHS in determining an individual’s                       business, gross annual income, net
                                                 eligibility to adjust status to lawful                   annual income, and number of                            The final rule provides a stopgap
                                                 permanent residence in certain                                                                                measure, in the form of temporary
                                                                                                          employees. Commenters suggested
                                                 employment-based immigrant visa                                                                               employment authorization, to certain
                                                                                                          revising the form to only require that
                                                 categories, as well as to modernize and                                                                       nonimmigrants who are the
                                                                                                          kinds of information normally                        beneficiaries of approved employment-
                                                 improve the process for requesting job                   contained in employment confirmation
                                                 portability under INA 204(j).                                                                                 based immigrant visa petitions, are
                                                                                                          letters.                                             caught in the continually expanding
                                                 iii. Miscellaneous Comments on                              Response. DHS agrees that certain                 backlogs for immigrant visas, and face
                                                 Supplement J                                             information requested by Supplement J,               compelling circumstances. This stopgap
                                                    Comment. Several commenters asked                     such as the size of the employer’s                   measure is intended to address certain
                                                 for clarification on whether individuals                 workforce, by itself, may not be                     particularly difficult situations,
                                                 granted EB–2 national interest waivers                   determinative in the assessment of                   including those that previously may
                                                 would be required to file Supplement J.                  whether two jobs are in the same or                  have forced individuals on the path to
                                                    Response. Grantees of national                        similar occupational classification(s), or           lawful permanent residence to abruptly
                                                 interest waivers will not be required to                 whether the job offered in the                       stop working and leave the United
                                                 file Supplement J. Individuals seeking                                                                        States. When sponsored workers and
                                                                                                          underlying Form I–140 petition is still
                                                 immigrant visas under certain                                                                                 their employers are in particularly
                                                                                                          available. However, such information
                                                 employment-based immigrant visa                                                                               difficult situations due to employment-
                                                 categories do not require job offers from                can be relevant in the ‘‘same or similar’’
                                                                                                                                                               based immigrant visa backlogs, the
                                                 employers, including those filing EB–1                   determination under the totality of the              compelling circumstances employment
                                                 petitions as an alien of extraordinary                   circumstances, as well as when USCIS                 authorization provision may provide a
                                                 ability and those filing EB–2 petitions                  is assessing whether a job offer is bona             measure of relief, where currently there
                                                 based on a national interest waiver,                     fide. DHS believes the information                   is none.
                                                 which waives the normal EB–2 job offer                   requested on Supplement J will assist                   Specifically, the final rule provides
                                                 requirement when DHS determines that                     USCIS in validating employers and in                 that, to obtain a temporary grant of
                                                 doing so is in the national interest. See                assessing whether a prospective                      compelling circumstances employment
                                                 8 CFR 204.5(h)(5) and (k)(4)(ii). An                     employer is viable and making a bona                 authorization, an individual must (1) be
                                                 individual classified as an alien of                     fide job offer to the applicant. And in              in the United States in E–3, H–1B, H–
                                                 extraordinary ability or granted a                       cases involving the same employer                    1B1, O–1, or L–1 nonimmigrant status,
                                                 national interest waiver is not required                 named in the underlying Form I–140                   including in any applicable grace
                                                 to demonstrate a job offer at the time of                petition, Supplement J will assist USCIS             period, on the date the application for
                                                 adjudication of the Form I–485                           in determining whether the employer is               employment authorization is filed; (2)
                                                 application and therefore would not                      still viable and is still extending a bona           be the principal beneficiary of an
                                                 need to submit Supplement J (although                    fide job offer to the applicant.                     approved Form I–140 petition; (3)
                                                 they are not precluded from doing so).                                                                        establish that an immigrant visa is not
                                                                                                             Comment. Some commenters                          authorized for issuance based on his or
                                                 However, USCIS may inquire whether
                                                                                                          expressed concern that Supplement J                  her priority date, preference category,
                                                 such applicants are continuing to work
                                                 in the area or field that forms the basis                would prevent economic growth and                    and country of chargeability according
                                                 of their immigrant visa eligibility.                     reduce labor mobility among workers                  to the Final Action Date in effect on the
                                                 USCIS may also assess inadmissibility                    who have various talents, especially in              date the application is filed; and (4)
                                                 by determining whether an individual                     the technology sector. They argued that              demonstrate compelling circumstances
                                                 would likely become a public charge                      the ability of high-skilled talent to move           that justify the exercise of USCIS
                                                 under INA 212(a)(4). USCIS revised the                   between various organizations, or                    discretion to issue an independent grant
                                                 Supplement J instructions to clarify that                between different industries of the U.S.             of employment authorization. See final
                                                 the form need not be filed by aliens of                  economy, would spur economic growth.                 8 CFR 204.5(p)(1). The final rule limits
                                                 extraordinary ability or individuals                                                                          the grant of employment authorization
                                                                                                             Response. DHS disagrees that the
                                                 applying for adjustment of status on the                                                                      in compelling circumstances to a period
                                                                                                          Supplement J requirement would
                                                 basis of a national interest waiver.                                                                          of 1 year. See final 8 CFR 204.5(p)(4).
                                                                                                          prevent economic growth and hinder                   Additionally, the principal beneficiary
                                                    Comment. Several commenters stated                    labor mobility. As noted previously,
                                                 that Supplement J requires certain                                                                            may seek renewals of this employment
                                                                                                          Supplement J simply allows DHS to                    authorization in 1-year increments if: (1)
                                                 information that is not relevant to either
                                                                                                          collect and process information that                 He or she continues to face compelling
                                                 a portability determination under INA
                                                                                                          employers already provide using a                    circumstances and establishes that an
                                                 204(j) or to confirm that a job offer is
                                                                                                          standardized information collection                  immigrant visa is not authorized for
                                                   39 As noted previously, the RIA in this                instrument, but it does not change the               issuance based on his or her priority
                                                 rulemaking provides potential filing costs of            applicable standards of review. Contrary             date, preference category, and country
                                                 Supplement J as prepared by human resources              to assertions that Supplement J will                 of chargeability according to the Final
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                                                 specialists, in-house attorneys, and other attorneys.
                                                 DHS recognizes that not all entities have human
                                                                                                          limit worker mobility, DHS believes that             Action Date in effect on the date the
                                                 resources specialists or low-cost access to attorneys.   Supplement J will facilitate the ability             renewal application is filed; or (2) the
                                                 DHS reaffirms, however, that aid of an attorney or       for eligible individuals to change                   difference between his or her priority
                                                 a human resources specialist is not required to fill     between jobs while increasing the                    date and the relevant Final Action Date
                                                 out Supplement J. DHS included these costs
                                                 because many larger entities already rely on such        awareness of the availability of job                 is 1 year or less (without having to show
                                                 individuals when preparing documents for use in          portability under INA 204(j).                        compelling circumstances). See final 8
                                                 portability requests under INA 204(j).                                                                        CFR 204.5(p)(3)(i). The final rule allows

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                                                 family members of these individuals to                  themselves in particularly difficult                  employed under a compelling
                                                 also apply for employment                               situations generally outside of their                 circumstances EAD leaves the United
                                                 authorization, and provides that the                    control while they wait for their                     States to apply for a nonimmigrant or
                                                 validity period for their EADs may not                  immigrant visas to become available.                  immigrant visa at a consular post
                                                 extend beyond that authorized for the                      Comment. One commenter supported                   abroad, the departure will not trigger the
                                                 principal beneficiary. See final 8 CFR                  the provision making individuals with a               unlawful presence grounds of
                                                 204.5(p)(2) and (p)(3)(ii). The large                   felony conviction ineligible for                      inadmissibility, as long as he or she is
                                                 majority of these individuals, after                    compelling circumstances employment                   not subject to those grounds by virtue of
                                                 availing themselves of this temporary                   authorization and recommended that                    having otherwise accrued periods of
                                                 relief, are likely to continue on their                 such felons be ‘‘deported without asking              unlawful presence. USCIS intends to
                                                 path to permanent residence.                            questions.’’                                          adjust its policy guidance to confirm
                                                    DHS is finalizing the compelling                        Response. DHS confirms that,                       that holders of compelling
                                                 circumstances employment                                consistent with other processes,                      circumstances EADs will be considered
                                                 authorization provision with several                    applicants who have been convicted of                 to be in a period of stay authorized by
                                                 changes to the proposed regulatory text                 any felony or two or more                             the Secretary for that purpose. Because
                                                 to clarify the eligibility requirements for             misdemeanors are ineligible for                       such individuals will be considered as
                                                 initial and renewal applications filed by               employment authorization under the                    being in a period of authorized stay for
                                                 principals and dependents. An                           compelling circumstances provision.                   purposes of calculating unlawful
                                                 individual requesting an EAD must file                  See final 8 CFR 204.5(p)(5). DHS,                     presence, DHS does not believe it
                                                 an application on Form I–765 with                       however, will not deport individuals                  generally would be necessary to provide
                                                 USCIS in accordance with the form                       without due process or in a manner                    them with deferred action, which is an
                                                 instructions. Under final 8 CFR                         inconsistent with controlling statutory               act of prosecutorial discretion that may
                                                 204.5(p)(3), some individuals may be                    and regulatory authority.                             be granted to individuals who generally
                                                 eligible for a renewal of their                         ii. Status of Individuals Who Are                     have no other legal basis for being in the
                                                 compelling circumstances EAD on                         Granted a Compelling Circumstances                    United States.
                                                 either or both bases of eligibility,                    EAD                                                     Comment. Commenters suggested that
                                                 depending on their circumstances. DHS                                                                         individuals who use compelling
                                                                                                            Comment. A few commenters asked                    circumstances EADs should be
                                                 also recognizes that an applicant may                   DHS to clarify the ‘‘status’’ of an
                                                 seek to renew his or her compelling                                                                           permitted to adjust their status to lawful
                                                                                                         individual who receives employment                    permanent residence once a visa
                                                 circumstances EAD on a different basis                  authorization based on compelling
                                                 than that on the initial application. In                                                                      becomes available, regardless of
                                                                                                         circumstances. One commenter asked                    whether they are maintaining
                                                 the responses to comments below, DHS                    DHS to clarify whether such individuals
                                                 further explains the provisions in the                                                                        nonimmigrant status.
                                                                                                         will be given a period of ‘‘deferred                    Response. With limited exception,40
                                                 final rule, including the manner in                     action’’ so as to provide them with a
                                                 which DHS determined the specific                                                                             the INA does not permit the relief these
                                                                                                         temporary reprieve from removal or                    commenters are requesting. Workers
                                                 population of beneficiaries who would                   other enforcement action. Similarly, the              who initially apply for compelling
                                                 be eligible for this type of employment                 commenter asked DHS to confirm that                   circumstances EADs must be in a lawful
                                                 authorization and its rationale for                     individuals who receive employment                    nonimmigrant status. When a high-
                                                 providing employment authorization                      authorization under compelling                        skilled worker engages in employment
                                                 only to those individuals who are facing                circumstances will not accrue unlawful                under a compelling circumstances EAD,
                                                 compelling circumstances.                               presence. Another commenter asked                     he or she will no longer be working
                                                 2. Public Comments and Responses                        DHS to provide an underlying status for               under the terms and conditions
                                                                                                         beneficiaries of compelling                           contained in the underlying
                                                 i. Support for Compelling                               circumstances EADs or to consider such
                                                 Circumstances Employment                                                                                      nonimmigrant petition. Although the
                                                                                                         beneficiaries to be in lawful status for              foreign national may remain in the
                                                 Authorization                                           purposes of INA 245(k)(2)(A), 8 U.S.C.                United States and work under a
                                                   Comment. Some commenters                              1255(k)(2)(A), so that these beneficiaries            compelling circumstances EAD, and
                                                 supported the rule completely as                        would be eligible to file applications for            generally will not accrue unlawful
                                                 written and therefore supported                         adjustment of status from within the                  presence while the EAD is valid, he or
                                                 employment authorization based on                       United States, rather than having to                  she may be unable to adjust status to
                                                 compelling circumstances as proposed.                   consular process.                                     lawful permanent residence in the
                                                 Many of these commenters expressed                         Response. Congress sets the categories             United States when his or her priority
                                                 general support and did not provide a                   or ‘‘statuses’’ under which foreign                   date becomes current. An individual
                                                 detailed explanation for their position.                nationals may be admitted to the United               who is seeking lawful permanent
                                                 Other commenters highlighted the                        States. While individuals eligible for                residence based on classification as an
                                                 benefits of compelling circumstances                    compelling circumstances EADs must                    employment-based immigrant is
                                                 employment authorization, such as                       have lawful nonimmigrant status at the                generally barred by statute from
                                                 facilitating the ability of certain                     time they apply, such individuals will                applying to adjust status in the United
                                                 nonimmigrants to work for other                         generally lose that status once they                  States if he or she is not in lawful
                                                 employers (i.e., not just the sponsoring                engage in employment pursuant to such                 nonimmigrant status. See INA 245(c)(2)
                                                 employer).                                              an EAD. Such a foreign national will no               and (7), 8 U.S.C. 1254(c)(2) and (7). If an
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                                                   Response. DHS appreciates these                       longer be maintaining his or her                      individual working on a compelling
                                                 comments. The compelling                                nonimmigrant status, but he or she will               circumstances EAD finds an employer
                                                 circumstances provision fills a gap in                  generally not accrue unlawful presence                who is willing to sponsor him or her for
                                                 the regulations and provides short-term                 during the validity period of the EAD or              a nonimmigrant classification (such as
                                                 relief to high-skilled individuals who                  during the pendency of a timely filed
                                                 are already on the path to lawful                       and non-frivolous application. This                     40 See, e.g., INA 245(i) and (k), 8 U.S.C. 1255(i)

                                                 permanent residence, but who find                       means that if an individual who was                   and (k).


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                                                 the H–1B nonimmigrant classification),                  imposing the compelling circumstances                 grants of employment authorization in
                                                 he or she would have to leave the                       condition.                                            1-year increments to certain high-skilled
                                                 United States and may need to obtain a                     Response. The Department believes                  individuals facing difficult situations,
                                                 nonimmigrant visa from a consulate or                   the compelling circumstances                          DHS intends to provide something
                                                 embassy overseas before being able to                   employment authorization provision                    different—a stopgap relief measure for
                                                 return to the United States to work in                  strikes a reasonable balance between                  intending immigrants, well on their way
                                                 that status. See INA 248, 8 U.S.C. 1258;                competing priorities. By providing                    to achieving lawful permanent resident
                                                 8 CFR 248.1(b). Once the individual has                 greater flexibility to certain high-skilled           status, in the event certain
                                                 been admitted in nonimmigrant status,                   foreign workers who are on the path to                circumstances arise outside their
                                                 he or she may be eligible to adjust status              permanent residence but are facing                    control, and that the existing framework
                                                 to lawful permanent residence, if                       particularly difficult situations, the                fails to meaningfully address. Where no
                                                 otherwise eligible.                                     provision incentivizes such workers to                such circumstances are present, these
                                                                                                         continue contributing to our economy;                 individuals can avail themselves of
                                                 iii. Changing the Scope of Proposed                     affords greater fairness to such                      other opportunities already permitted
                                                 Employment Authorization                                individuals who have already cleared                  them under the INA and DHS
                                                    Comment. A majority of commenters                    significant legal hurdles to becoming                 regulations, including the improved
                                                 supported the ability of high-skilled                   LPRs; and complements the flexibilities               flexibilities provided by this final rule.
                                                 workers to obtain independent                           otherwise introduced by this                          Among other things, this final rule
                                                 employment authorization but stated                     rulemaking in a way that harmonizes                   provides high-skilled workers with
                                                 that the proposal in the NPRM was too                   with the broader immigration system.                  nonimmigrant grace periods and
                                                 restrictive, particularly because of the                DHS therefore declines to expand the                  includes provisions that help such
                                                 inclusion of the compelling                             group of people who may be eligible for               workers retain approval of their
                                                 circumstances requirement.                              employment authorization under 8 CFR                  employment-based immigrant visa
                                                 Commenters instead supported                            204.5(p).                                             petitions and related priority dates.
                                                 employment authorization for foreign                       DHS believes the expansions                        These provisions enhance flexibility for
                                                 workers in the United States who are                    suggested by commenters have the                      employers and nonimmigrant workers
                                                 beneficiaries of approved Form I–140                    potential to create uncertainty among                 and will decrease instances where the
                                                 petitions, who are maintaining                          employers and foreign nationals with                  compelling circumstances EAD might
                                                 nonimmigrant status, and who are                        consequences for predictability and                   otherwise be needed. Relatedly, DHS
                                                 waiting for their immigrant visa priority               reliability in the employment-based                   believes that providing compelling
                                                 dates to become current, regardless of                  immigration system. Among other                       circumstances EADs only to the subset
                                                 whether they face compelling                            things, the suggestions could lead to                 of the employment-sponsored
                                                 circumstances.                                          unlimited numbers of beneficiaries of                 population in need of this relief will
                                                    A common concern expressed by                        approved immigrant visa petitions                     limit disincentives for employers to
                                                 commenters opposing the compelling                      choosing to fall out of nonimmigrant                  sponsor foreign workers for permanent
                                                 circumstances requirement was that the                  status, as described in greater detail                residence. DHS thus disagrees that the
                                                 number of individuals who would be                      below. The resulting unpredictability in              proposed eligibility factors for
                                                 eligible for such EADs would be too                     the employment-based immigrant visa                   employment authorization in
                                                 narrow. Some commenters suggested                       process must be carefully weighed in                  compelling circumstances are too
                                                 that it would be better to never finalize               light of the Secretary’s directive to                 restrictive and negate the value of the
                                                 the rule if the compelling circumstance                 ‘‘provide stability’’ to these                        entire regulation. Further, DHS
                                                 provision were to remain intact. Certain                beneficiaries, while modernizing and
                                                 commenters opposed DHS’s                                                                                      disagrees with the commenters’
                                                                                                         improving the high-skilled visa                       characterizations that the limitations on
                                                 introduction of a compelling                            system.41 DHS is cognizant of these
                                                 circumstances requirement because no                                                                          the compelling circumstances EAD are
                                                                                                         consequences for foreign nationals who                unfairly or improperly ‘‘targeting’’
                                                 other employment authorization                          may apply for compelling circumstances
                                                 category is conditioned upon a showing                                                                        certain high-skilled workers. DHS
                                                                                                         EADs, and carefully weighed these                     believes that the compelling
                                                 of compelling circumstances. One                        consequences when assessing the
                                                 commenter, for example, reasoned that                                                                         circumstances EAD provides a useful
                                                                                                         classes of individuals who should be                  benefit for all eligible high-skilled
                                                 the ‘‘compelling circumstances’’                        eligible for such EADs. Moreover, the
                                                 requirement should be eliminated                                                                              workers by allowing them to continue to
                                                                                                         INA affords numerous mechanisms for                   progress in their careers and remain in
                                                 because applicants for adjustment of                    high-skilled workers to obtain
                                                 status, who similarly are on the path to                                                                      the United States while they await
                                                                                                         employment in the United States under                 immigrant visas, despite compelling
                                                 lawful permanent residence, need not                    a variety of applicable nonimmigrant
                                                 demonstrate compelling circumstances                                                                          circumstances that might otherwise
                                                                                                         classifications and, as necessary, change             force them to leave the United States.
                                                 to obtain an EAD. Other commenters                      from one nonimmigrant status to
                                                 noted that recipients of deferred action                                                                      Retaining these high-skilled
                                                                                                         another.42 DHS regulations accordingly                nonimmigrant workers who are well on
                                                 under the Deferred Action for
                                                                                                         provide the processes and criteria for                their way to becoming LPRs is
                                                 Childhood Arrivals (DACA) policy are
                                                                                                         obtaining such statuses on behalf of                  important when considering the
                                                 not required to establish compelling
                                                                                                         high-skilled workers.43 By authorizing                contributions of these individuals to the
                                                 circumstances to qualify for
                                                 employment authorization and stated                                                                           U.S. economy, including through
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                                                                                                           41 See Memo from Jeh Charles Johnson, Secretary
                                                 that it is only fair that nonimmigrants                                                                       contributions to entrepreneurial
                                                                                                         of Homeland Security, Policies Supporting U.S.
                                                 with approved Form I–140 petitions                      High-Skilled Business and Workers 2 (Nov. 20,         endeavors and advances in research and
                                                 who are contributing to society by                      2014), available at http://www.dhs.gov/sites/         development.44
                                                                                                         default/files/publications/14B1120BmemoB
                                                 working and paying taxes be treated                     businessBactions.pdf.                                    44 See Hart, David, et al., ‘‘High-tech Immigrant
                                                 equivalently. Some commenters                             42 See INA 101(a)(15), 214(e), and 248, 8 U.S.C.
                                                                                                                                                               Entrepreneurship in the United States,’’ Small
                                                 concluded that the Department is                        1101(a)(15), 1184(e), and 1258.                       Business Administration Office of Advocacy, at 60
                                                 ‘‘targeting’’ certain foreign workers by                  43 See 8 CFR parts 214 and 248.                     (July 2009), available at: https://www.sba.gov/sites/


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                                                    Comment. Several commenters stated                   sections 103 and 274A(h)(3)(B), 8 U.S.C.              concerning portability of high-skilled
                                                 that the Department clearly has the legal               1103, and 1324a(h)(3)(B). The                         workers and their spouses is addressed
                                                 authority to implement the compelling                   Secretary’s exercise of discretion to                 in several elements of this rulemaking,
                                                 circumstances EAD, as well as the legal                 grant employment authorization is                     including through the new H–1B
                                                 authority to significantly broaden                      narrowly tailored in this final rule to               portability provisions, the section 204(j)
                                                 eligibility for such EADs. Other                        address the needs of a group of                       portability provisions, and provisions
                                                 commenters questioned DHS’s legal                       individuals who face compelling                       revising the circumstances under which
                                                 authority to extend employment                          circumstances. The employment                         Form I–140 petitions are automatically
                                                 authorization to certain non-U.S.                       authorization is valid for 1 year, with               revoked. To the degree these comments
                                                 citizens based on compelling                            limited opportunities for renewal, and is
                                                                                                                                                               specifically relate to provisions
                                                 circumstances. One such commenter                       only available to discrete categories of
                                                                                                                                                               authorizing employment of H–4
                                                 emphasized that employment for other                    nonimmigrant workers.
                                                 categories is expressly authorized by                      Comment. Several commenters                        nonimmigrant spouses of H–1B
                                                 statute.                                                opposed to the compelling                             nonimmigrant workers who have been
                                                    Response. DHS agrees with the                        circumstances limitation noted that                   sponsored for permanent resident
                                                 commenters who recognized that the                      such limitation was not referenced in                 status, that provision was subject to
                                                 Department has the statutory authority                  the Secretary’s November 20, 2014                     separate notice-and-comment
                                                 to grant employment authorization to                    Memorandum, ‘‘Policies Supporting                     rulemaking and is now codified at 8
                                                 these individuals. Such authority stems,                U.S. High-Skilled Businesses and                      CFR 214.2(h)(9)(iv).
                                                 in part, from the Secretary’s broad                     Workers.’’ 45 Similarly, many                           Comment. Several commenters
                                                 discretion to administer the Nation’s                   commenters stated that the proposed                   claimed that the compelling
                                                 immigration laws and broad authority to                 rule did not deliver portable work                    circumstances EAD provision has
                                                 ‘‘establish such regulations . . . and                  authorization for high-skilled workers                limited value because it introduces
                                                 perform such other acts as he deems                     and their spouses, as described in the
                                                                                                                                                               additional hurdles for individuals who
                                                 necessary for carrying out his authority                White House Fact Sheet on Immigration
                                                                                                                                                               wish to ultimately adjust their status
                                                 under the [INA].’’ See INA 103(a)(3), 8                 Accountability Executive Action.46
                                                 U.S.C. 1103(a)(3). Further, section                        Response. In the November 20, 2014                 domestically. Some commenters
                                                 274A(h)(3)(B) of the INA, 8 U.S.C.                      Memorandum, the Secretary directed                    asserted that the provision would
                                                 1324a(h)(3)(B) recognizes that                          USCIS to take several steps to                        provide employers with increased
                                                 employment may be authorized by                         modernize and improve the immigrant                   avenues to exploit workers.
                                                 statute or by the Secretary. See Arizona                visa process for high-skilled workers. In               Response. DHS appreciates that
                                                 Dream Act Coalition v. Brewer, 757 F.3d                 relevant part, the Secretary instructed               workers who are eligible for the
                                                 1053, 1062 (9th Cir. 2014) (‘‘Congress                  USCIS to carefully consider regulatory                compelling circumstances EAD may
                                                 has given the Executive Branch broad                    or policy changes to better assist and                nevertheless choose to not to apply for
                                                 discretion to determine when                            provide stability to the high-skilled                 this option after weighing all
                                                 noncitizens may work in the United                      beneficiaries of approved Form I–140                  immigration options relevant to their
                                                 States.’’); Perales v. Casillas, 903 F.2d               petitions. DHS believes this rule meets               specific situations. DHS is providing
                                                 1043, 1048, 1050 (5th Cir. 1990)                        the Secretary’s objectives. Although the              this new option in addition to others
                                                 (describing the authority recognized by                 compelling circumstances provision                    already available to foreign workers,
                                                 INA 274A(h)(3) as ‘‘permissive’’ and                    was not specifically referenced in the                such as changing status to another
                                                 largely ‘‘unfettered’’). The fact that                  November 20, 2014 Memorandum, it
                                                                                                                                                               nonimmigrant category or applying for
                                                 Congress has directed the Secretary to                  was proposed by the Department in
                                                                                                                                                               an extension of stay with a new
                                                 authorize employment to specific                        response to the Secretary’s directive to
                                                                                                         ‘‘carefully consider other regulatory or              employer in the same nonimmigrant
                                                 classes of foreign nationals (such as the
                                                                                                         policy changes to better assist and                   category. DHS anticipates that an
                                                 spouses of E and L nonimmigrants) does
                                                 not diminish the Secretary’s broad                      provide stability to the beneficiaries of             individual evaluating whether to apply
                                                 authority to administer the INA and to                  approved Form I–140 petitions.’’ 47 The               for a compelling circumstances EAD
                                                 exercise discretion in numerous                         compelling circumstances provision                    will consider the benefits and
                                                 respects, including through granting                    specifically enables the beneficiaries of             drawbacks of using such an EAD. DHS
                                                 employment authorization as a valid                     such petitions to remain and work in                  expects that such individuals will
                                                 exercise of such discretion. See INA                    the United States if they face compelling             specifically consider the effects of losing
                                                                                                         circumstances while they wait for an                  nonimmigrant status by working under
                                                 default/files/rs349totB0.pdf (presenting the            immigrant visa to become available, and               a compelling circumstances EAD, which
                                                 economic contributions of high-skilled immigrants       therefore directly responds to the                    may require consular processing to
                                                 and the need to retain them, and concluding that
                                                 36 percent of immigrant-founded companies
                                                                                                         Secretary’s directive.                                reenter the United States on a
                                                 conduct R&D and 29 percent of immigrant-founded            The White House Fact Sheet on                      nonimmigrant or immigrant visa. DHS
                                                 companies held patents, both higher percentages         Immigration Accountability Executive                  believes that the rule provides a
                                                 than native-founded companies); Fairlie, Robert,        Action referenced by the commenters                   meaningful benefit to high-skilled
                                                 ‘‘Open for Business: How Immigrants are Driving
                                                 Small Business Creation in the United States,’’ The                                                           individuals who otherwise may face
                                                                                                           45 See Memo from Jeh Charles Johnson, Secretary
                                                 Partnership for a New American Economy (August,                                                               particularly difficult situations.
                                                 2012), available at: http://                            of Homeland Security, Policies Supporting U.S.
                                                 www.renewoureconomy.org/sites/all/themes/pnae/          High-Skilled Business and Workers 2 (Nov. 20,           Finally, commenters did not suggest
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                                                 openforbusiness.pdf; ‘‘Immigrant Small Business         2014), available at http://www.dhs.gov/sites/         how the compelling circumstances EAD
                                                 Owners a Significant and Growing Part of the            default/files/publications/14B1120BmemoB
                                                                                                         businessBactions.pdf.                                 would facilitate the ability of employers
                                                 Economy’’ (June 2012), available at: http://
                                                 www.fiscalpolicy.org/immigrant-small-business-            46 See FACT SHEET: Immigration Accountability       to exploit their employees. DHS
                                                 owners-FPI-20120614.pdf; Anderson, Stuart,              Executive Action, White House (Nov. 20, 2014),        disagrees that the availability of such
                                                 ‘‘American Made 2.0 How Immigrant Entrepreneurs         https://www.whitehouse.gov/the-press-office/2014/     EADs, which are available to high-
                                                 Continue to Contribute to the U.S. Economy,             11/20/fact-sheet-immigration-accountability-
                                                 National Venture Capital Association,’’ available at:   executive-action.                                     skilled nonimmigrant workers on a
                                                 http://nvca.org/research/stats-studies/.                  47 See id. at 2.                                    voluntary basis, would result in

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                                                 increased exploitation of such                          compelling circumstances. Another                     circumstances that USCIS, in its
                                                 workers.48                                              commenter suggested that DHS broaden                  discretion, might find compelling.
                                                                                                         the circumstances in which employer                   USCIS emphasizes that this list is not
                                                 iv. Illustrations of Compelling
                                                                                                         retaliation would be considered to be                 exhaustive of the types of situations that
                                                 Circumstances
                                                                                                         compelling, so as to benefit employees                might involve compelling
                                                   In the NPRM, DHS provided four                        involved in labor disputes. The                       circumstances.
                                                 examples of situations that, depending                  commenter noted that, as discussed in                    x Serious Illnesses and Disabilities.
                                                 on the totality of the circumstances, may               the preamble of the NPRM, the category                The nonimmigrant worker can
                                                 be considered compelling and justify                    titled ‘‘Employer Retaliation’’ would                 demonstrate that he or she, or his or her
                                                 the need for employment authorization:                  require an employee to document that                  dependent, is facing a serious illness or
                                                 (1) Serious illness or disability faced by              an employer had taken retaliatory action              disability that entails the worker moving
                                                 the nonimmigrant worker or his or her                   before the employee could become                      to a different geographic area for
                                                 dependent; (2) employer retaliation                     eligible to apply for employment                      treatment or otherwise substantially
                                                 against the nonimmigrant worker; (3)                    authorization based on compelling                     changing his or her employment
                                                 other substantial harm to the applicant;                circumstances. To alleviate undue risk,               circumstances. A move to another part
                                                 and (4) significant disruption to the                   the commenter recommended revising                    of the country to ensure proper medical
                                                 employer. These situations are meant to                 the category so that it would cover                   care is just one example of compelling
                                                 be illustrative, as compelling                          individuals involved in labor disputes.               circumstances resulting from a serious
                                                 circumstances will be decided on a                      The commenter believed this change                    illness or disability of the principal
                                                 case-by-case basis and may involve facts                would reduce the harm that retaliation                beneficiary or his or her family member.
                                                 that vary from those provided above.                    can cause to employees and prevent the                   x Employer Dispute or Retaliation.
                                                 For that reason, DHS invited the public                 chilling effect such retaliation can have             The nonimmigrant worker can
                                                 to suggest other types of compelling                    on the exercise of labor rights.                      demonstrate that he or she is involved
                                                 circumstances that may warrant a                           A commenter also requested that, as                in a dispute regarding the employer’s
                                                 discretionary grant of separate                         related to DHS’s proposal to consider                 alleged illegal or dishonest conduct as
                                                 employment authorization. DHS also                      significant disruption to employers,                  evidenced by, for example, a complaint
                                                 requested comments on the manner in                     compelling circumstances apply when                   filed with a relevant government
                                                 which applicants should be expected to                  an employer attests that departure of the             agency 49 or court, and that the
                                                 document such compelling                                employee will: (1) Delay a project; (2)               employer has taken retaliatory action
                                                 circumstances. In response, DHS                         require the company to expend time or                 that justifies granting separate
                                                 received numerous comments providing                    resources to train another employee to                employment authorization to the worker
                                                 examples and suggestions, which are                     fill the role; (3) result in additional costs         on a discretionary basis or that the
                                                 discussed below.                                        to recruit and hire a new employee; or                dispute otherwise is shown to have
                                                   Comment. Several commenters                           (4) harm the company’s professional                   created compelling circumstances. DHS
                                                 requested that DHS clearly define the                   reputation in the marketplace.                        recognizes that employer retaliation in
                                                 term ‘‘compelling circumstances.’’ Some                    Response. DHS understands that                     response to a dispute is not limited to
                                                 of these commenters stated that the                     establishing a bright-line definition may             termination of employment and could
                                                 subjectivity of the compelling                          be easier to apply in the view of some                include any number of actions taken by
                                                 circumstances provision would lead to                   stakeholders; however, it may also have               an employer, including harassment.
                                                 unfair and inconsistent results. Other                  the effect of limiting DHS’s flexibility to           Depending on the unique circumstances
                                                 commenters stated that the lack of a                    recognize the various circumstances that              of a situation, an employer dispute
                                                 definition would lead to confusion.                     could be considered compelling. Such
                                                   Another commenter requested that                                                                            could rise to the level of compelling
                                                                                                         flexibility is better afforded through a              circumstances even absent employer
                                                 DHS expand on the phrase ‘‘other                        mechanism that permits DHS to
                                                 substantial harm to the applicant,’’                                                                          retaliation, but DHS declines to adopt
                                                                                                         determine which situations involve                    the suggestion to grant a compelling
                                                 believing that this provision may be the                compelling circumstances on a case-by-
                                                 most common basis for demonstrating                                                                           circumstances EAD on the sole basis
                                                                                                         case basis. Therefore, in the preamble to             that the applicant is involved in a labor
                                                                                                         the NPRM, DHS identified four
                                                    48 DHS takes worker exploitation seriously. The                                                            dispute. DHS is allowing sufficient
                                                                                                         illustrative (i.e., non-exhaustive) types
                                                 Department has created the Blue Campaign to                                                                   flexibility under this ground, including
                                                                                                         of circumstances in which the
                                                 combat human trafficking and aid victims. More                                                                by not defining ‘‘retaliation’’ or ‘‘labor
                                                 information about the Blue Campaign can be found        Department may consider granting
                                                                                                                                                               dispute’’ in this rule or confining the
                                                 at www.dhs.gov/blue-campaign. Other U.S.                employment authorization. The possible
                                                 Government resources include the Department of                                                                ground to LCA violations alone. DHS
                                                                                                         types of circumstances that DHS may
                                                 Justice’s Office of Special Counsel for Immigration-                                                          further notes that the employer
                                                                                                         consider compelling are not restricted to
                                                 Related Unfair Employment Practices, which                                                                    retaliation example does not identify the
                                                 enforces the anti-discrimination provision of the       these examples. In finalizing this rule,
                                                                                                                                                               universe of fact patterns that might
                                                 INA. See INA section 274B; 8 U.S.C. 1324b. More         DHS considered comments requesting
                                                                                                                                                               involve improper behavior by
                                                 information about reporting an immigration-related      additional scenarios for DHS to add to
                                                 unfair employment practice may be found at http://      the illustrative list of potential                    employers. DHS believes that the
                                                 www.justice.gov/crt/about/osc. In addition, the U.S.
                                                                                                         compelling circumstances in the NPRM.                 approach outlined in this final rule will
                                                 Equal Employment Opportunity Commission                                                                       make appropriate relief available for
                                                 (EEOC) enforces Title VII of the Civil Rights Act of    The broad range of additional scenarios
                                                 1964 (Title VII), as amended, and other federal laws    suggested underscores the importance                  certain employees who can demonstrate
                                                 that prohibit employment discrimination based on        for retaining flexibility in making these
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                                                 race, color, national origin, religion, sex, age,                                                               49 Relevant government agencies include, but are

                                                 disability and genetic information. More
                                                                                                         discretionary determinations. Therefore,              not limited to, the Department of Labor, the Equal
                                                 information about Title VII and the EEOC may be         DHS declines to define the term                       Employment Opportunity Commission, the
                                                 found at www.eeoc.gov. DHS also notes that DOL’s        ‘‘compelling circumstances’’ in more                  National Labor Relations Board, and state or local
                                                 Wage and Hour Division investigates allegations of      concrete and limiting terms in this                   counterparts to these federal agencies (e.g., the
                                                 employee abuse. Information about reporting a                                                                 Massachusetts Labor and Workforce Development
                                                 potential wage and hour violation can be found at
                                                                                                         rulemaking. In response to the public                 Office, the New Hampshire Public Employee Labor
                                                 www.dol.gov or by calling 1–866–4USWAGE (1–             comments, however, the agency                         Relations Board, and the Oregon Employment
                                                 866–487–9243).                                          provides this updated list of illustrative            Relations Board).


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                                                 that they do not have the option of                     would cause the petitioning employer                  continuously extend nonimmigrant
                                                 remaining with their current employer                   substantial disruption. DHS does not                  status was in itself a compelling
                                                 or that they face retaliatory actions if                believe that, standing alone, a time                  circumstance and that employment
                                                 they do remain with their current                       delay in project completion would                     authorization should be granted on that
                                                 employer.                                               likely rise to a compelling circumstance,             basis alone. Commenters suggested
                                                    x Other Substantial Harm to the                      as a commenter suggested; however,                    various timeframes for when the wait
                                                 Applicant. The nonimmigrant worker                      such delays when combined with other                  for an immigrant visa would be lengthy
                                                 can demonstrate that due to compelling                  factors, such as the cost to train or                 enough to qualify as a compelling
                                                 circumstances, he or she will be unable                 recruit a replacement or harm to an                   circumstance, including situations
                                                 to timely extend or otherwise maintain                  employer’s reputation in the                          involving beneficiaries: Who are facing
                                                 status, or obtain another nonimmigrant                  marketplace, might rise to a compelling               waits of over 5 years before they are
                                                 status, and absent continued                            circumstance. Additional examples of                  eligible to file their applications for
                                                 employment authorization under this                     significant disruption may include the                adjustment of status; who have
                                                 proposal the applicant and his or her                   following:                                            completed 6 years in H–1B
                                                 family would suffer substantial harm. In                   Æ An L–1B nonimmigrant worker                      nonimmigrant status and have an
                                                 some situations, this showing might be                  sponsored for permanent residence by                  approved Form I–140 petition; who
                                                 tied to financial hardship facing the                   an employer that subsequently                         have an approved Form I–140 petition
                                                 principal and his or her spouse and                     undergoes corporate restructuring (e.g.,              and are facing at least a three month
                                                 children. An example of such                            a sale, merger, split, or spin-off) such              wait before they may be eligible to file
                                                 substantial harm may involve an H–1B                    that the worker’s new employer is no                  their applications for adjustment of
                                                 nonimmigrant worker who has been                        longer a multinational company eligible               status; or who have reached the limit of
                                                 applying an industry-specific skillset in               to employ L–1B workers, there are no                  their nonimmigrant status solely
                                                 a high-technology sector for years with                 available avenues to promptly obtain                  because of the backlog on immigrant
                                                 a U.S. entity that is unexpectedly                      another work-authorized nonimmigrant                  visas.
                                                 terminating its business, where the                     status for the worker, and the employer                  x Academic Qualifications. Several
                                                 worker is able to establish that the same               would suffer substantial disruption due               commenters suggested that DHS should
                                                 or a similar industry (e.g., nuclear                    to the critical nature of the worker’s                grant compelling circumstances EADs to
                                                 energy, aeronautics, or artificial                      services. In such cases, the employment               individuals seeking to gain advanced
                                                 intelligence) does not materially exist in              authorization proposal would provide                  academic experience, such as those
                                                 the home country. Another example                       the employer and worker a temporary                   obtaining a U.S. graduate degree based
                                                 might include a nonimmigrant worker                     bridge allowing for continued                         on specialized research or entering a
                                                 whose return to his or her home country                 employment while they continue in                     fellowship program. One commenter
                                                 would cause significant hardship to the                 their efforts to obtain a new                         requested that U.S. educated advanced-
                                                 worker and his or her family by                         nonimmigrant or immigrant status.                     degree holders in the fields of science,
                                                 resulting in a series of circumstances                     Æ An H–1B nonimmigrant worker                      technology, engineering, and
                                                 regarding the family being uprooted that                who provides critical work on                         mathematics (STEM) be granted
                                                 in their totality, rise to the level of                 biomedical research for a non-profit                  compelling circumstances employment
                                                 compelling circumstances. In this                       entity, affiliated with an institution of             authorization. Another commenter
                                                 circumstance, the employment                            higher education, that subsequently                   requested employment authorization
                                                 authorization proposal would provide                    reorganizes and becomes a for-profit                  under compelling circumstances for
                                                 the individual with an opportunity to                   entity, causing the worker to no longer               workers who are pursuing part-time
                                                 find another employer to sponsor him or                 be exempt from the H–1B cap. In cases                 education and would like to switch to
                                                 her for immigrant or nonimmigrant                       where the worker may be unable to                     a different type of job.
                                                 status and thereby protect the worker                   obtain employment authorization based                    x Dissatisfaction with Current
                                                 and his or her family members from the                  on his or her H–1B status, and the                    Position or Salary. Some commenters
                                                 substantial harm they would suffer if                   employer is unable to file a new H–1B                 indicated that job dissatisfaction should
                                                 required to depart the United States.                   petition based on numerical limitations               be a compelling circumstance, because
                                                    Although approaching or reaching the                 or to obtain another work-authorized                  remaining in such employment can
                                                 statutory temporal limit on an                          nonimmigrant status, the employment                   cause emotional harm and other
                                                 individual’s nonimmigrant status will                   authorization available under 8 CFR                   problems.
                                                 not, standing alone, amount to                          204.5(p) could provide a temporary                       x Home Ownership. One commenter
                                                 compelling circumstances, this could be                 bridge for continued employment of the                recommended that home ownership be
                                                 a factor considered by DHS in weighing                  worker as his or her departure would                  considered a compelling circumstance.
                                                 the totality of the circumstances on a                  create substantial disruption to the                     x Unemployment. One commenter
                                                 case-by-case basis. Likewise, job loss                  employer’s biomedical research.                       recommended that unemployment be
                                                 alone will not be considered substantial                   Comment. The NPRM requested that                   considered a compelling circumstance.
                                                 harm to the applicant, unless an                        commenters submit examples of                            x Effects on Derivatives. One
                                                 individual can show additional                          additional scenarios that could be                    commenter suggested that certain family
                                                 circumstances that compound the                         considered for compelling                             situations should be considered
                                                 hardship associated with job loss.                      circumstances EADs. Many commenters                   compelling circumstances. Specifically,
                                                    x Significant Disruption to the                      suggested fact patterns that they                     the commenter stated that employment
                                                 Employer. The nonimmigrant worker                       believed should rise to the level of a                authorization should be approved where
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                                                 can show that due to compelling                         compelling circumstance. DHS received                 the employee submits evidence that his
                                                 circumstances, he or she is                             the following specific suggestions:                   or her departure will: (1) Negatively
                                                 unexpectedly unable to timely extend or                    x Extraordinary Wait. Many                         affect the employee’s, or a derivative
                                                 change status, there are no other                       commenters asked DHS to consider a                    family member’s, professional career; or
                                                 possible avenues for the immediate                      lengthy wait for an immigrant visa to be              (2) disrupt the ongoing education of the
                                                 employment of such worker with that                     a compelling circumstance. A number of                employee’s child. Many commenters
                                                 employer, and the worker’s departure                    commenters noted that having to                       requested that DHS amend the proposed

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                                                 regulation to protect derivatives who                   not consider that these common                        operation of law.50 See INA 101(b)(1)
                                                 may be ‘‘aging out.’’ The majority of                   consequences, on their own, would                     and 203(d), 8 U.S.C. 1101(b)(1) and
                                                 these commenters believed that ‘‘aging                  amount to compelling circumstances.                   1153(d). Such an individual would no
                                                 out’’ itself constituted a compelling                   Nor does DHS believe that many of the                 longer qualify as an eligible dependent
                                                 circumstance.                                           other scenarios suggested by                          beneficiary of the principal’s Form I–
                                                    x Entrepreneurship. Some                             commenters involve compelling                         140 petition and would not be able to
                                                 commenters advocated for granting                       circumstances on their own. Home                      immigrate to the United States on that
                                                 employment authorization to                             ownership, notable academic                           basis. As such, DHS will not extend the
                                                 individuals who would like to start a                   qualifications, or dissatisfaction with a             benefits of a compelling circumstances
                                                 business. These commenters suggested                    position or salary, standing alone, do                employment authorization to children
                                                 that such entrepreneurship should                       not rise to the level of a compelling                 who have aged out and will not
                                                 always be a compelling circumstance.                    circumstance. However, any one of                     consider the potential for aging-out as a
                                                    x National Interest Waivers. Several                 these situations could rise to the level              per se compelling circumstance
                                                 commenters urged DHS to include                         of compelling circumstances in                        standing alone.
                                                 approval of a national interest waiver as               combination with other circumstances.                   While circumstances relating to a
                                                 a stand-alone compelling circumstance.                     Likewise, unemployment, in and of                  business start-up could be relevant to a
                                                 One commenter requested that DHS                        itself, will generally not be considered              presentation of compelling
                                                 grant employment authorization to                       a compelling circumstance. However,                   circumstances, an interest in
                                                 beneficiaries who have pending                          unemployment could rise to the level of               entrepreneurship standing alone cannot
                                                 petitions for national interest waivers,                a compelling circumstance if, for                     support an employment authorization
                                                 and that DHS eliminate the requirement                  example, the applicant demonstrates                   request based on a compelling
                                                 that individuals be maintaining lawful                  that the unemployment was a result of                 circumstance. With regard to Form I–
                                                 nonimmigrant status to adjust status                    serious illness, employer retaliation, or             140 petitions approved in the EB–2
                                                 pursuant to an employment-based                         would result in substantial harm or                   category based on a national interest
                                                 immigrant visa petition. Another                        significant employer disruption, as                   waiver, in this final rule DHS is
                                                 commenter requested that employment                     described above and in the NPRM. See                  confirming that beneficiaries of
                                                 authorization be granted to physicians                  80 FR 81899, at 81925. The compelling                 approved Form I–140 petitions under
                                                 with national interest waivers who have                 circumstances requirement is a higher                 the EB–2 category, which include
                                                 worked for at least 3 years in federally                standard than mere inconvenience, and                 national interest waiver beneficiaries
                                                 designated underserved areas.                           the applicant would need to establish                 and physicians working in medically
                                                    Response. Compelling circumstances                                                                         underserved areas, are eligible to apply
                                                                                                         the harm resulting from the loss of
                                                 are generally situations outside a                                                                            for employment authorization based on
                                                                                                         employment and the benefits to be
                                                 worker’s control that warrant the                                                                             compelling circumstances, as long as
                                                                                                         gained by being able to continue
                                                 Secretary’s exercise of discretion in                                                                         they meet all other applicable
                                                                                                         employment in the United States.
                                                 granting employment authorization, on                                                                         requirements.51
                                                 a case-by-case basis, given the totality of                DHS closely considered comments
                                                 the circumstances. Adjudicators will                    advocating for protection of derivatives.             v. Nonimmigrant and Immigrant
                                                 look at various factors, including all                  DHS has determined it is appropriate to               Classifications of Individuals Eligible To
                                                 factors identified by the applicant, and                extend the benefits provided by the                   Request Employment Authorization
                                                 may consider whether the evidence                       compelling circumstances provision to                 Based on Compelling Circumstances
                                                 supports providing compelling                           spouses and children of principal                        In the NPRM, DHS proposed to limit
                                                 circumstances employment                                beneficiaries whose employment                        the discretionary grant of employment
                                                 authorization, such as where the high-                  authorization has not been terminated                 authorization based on compelling
                                                 skilled nonimmigrant worker is facing                   or revoked. See final 8 CFR 204.5(p)(2).              circumstances only to certain workers
                                                 retaliation from the employer for                       DHS, however, purposefully made the                   who are in the United States in E–3, H–
                                                 engaging in protected conduct, where                    determinative factor the principal’s                  1B, H–1B1, O–1, or L–1 nonimmigrant
                                                 loss of work authorization would result                 status, because it is the principal’s                 status and who are the beneficiaries of
                                                 in significant disruption to the employer               status that forms the basis for the                   approved employment-based immigrant
                                                 or cause significant harm to the worker,                family’s presence in the United States.
                                                 or other circumstances of similar                       A principal beneficiary, however, would                  50 The Child Status Protection Act (CSPA) was

                                                 magnitude.                                              be able to present evidence that, for                 enacted on August 6, 2002, and provides continuing
                                                                                                         example, his or her departure will                    eligibility for certain immigration benefits to the
                                                    DHS acknowledges that many                                                                                 principal or derivative beneficiaries of certain
                                                 beneficiaries eagerly await the                         negatively impact the derivative family               benefit requests after such beneficiaries reach 21
                                                 opportunity to become lawful                            member’s professional career or disrupt               years of age. See Public Law 107–208; INA sections
                                                 permanent residents. The Department                     the ongoing education of the employee’s               201(f), 203(h), 204(k) 207(c)(2), and 208(b)(3), 8
                                                                                                         child, and DHS will consider these                    U.S.C. 1151(f), 1153(h), 1154(k), 1157(c)(2), and
                                                 works closely with DOS to improve the                                                                         1158(b)(3). Specifically, the CSPA addresses certain
                                                 immigrant visa processing system, but                   factors together with all supporting                  situations involving delays in the adjudication of
                                                 notes that it is inevitable that                        factors as part of the overall analysis.              petitions or applications. The CSPA has wide
                                                                                                            DHS also specifically considered                   applicability, covering family-sponsored and
                                                 beneficiaries may experience long waits                                                                       employment-based beneficiaries, Diversity Visa
                                                 and that processing times will vary. As                 comments expressing concern for                       immigrants, refugees, and asylees.
                                                 indicated in the NPRM, DHS does not                     children who may ‘‘age out’’ or have                     51 DHS observes that physicians receiving

                                                 believe that a long wait for an immigrant               recently ‘‘aged out’’ of immigration                  employment authorization based on compelling
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                                                 visa constitutes a compelling                           benefit eligibility. DHS notes that, by               circumstances who have sought a national interest
                                                                                                         statute, once a person turns 21, he or                waiver based on an immigrant visa petition under
                                                 circumstance on its own. Many workers                                                                         section 203(b)(2)(B)(ii) of the Act remain subject to
                                                 who face a lengthy wait for an                          she is no longer a ‘‘child’’ for purposes             all requirements relating to the national interest
                                                 immigrant visa, including those who                     of the INA, subject to certain statutory              waiver. Similarly, a physician who may be eligible
                                                                                                         exceptions by which individuals who                   for a compelling circumstance EAD may still be
                                                 have reached their statutory maximum                                                                          subject to, and limited by, any applicable
                                                 time period in nonimmigrant status,                     surpass that age are or may be                        obligations under sections 212(e) and 214(l) of the
                                                 often face difficult choices. DHS does                  considered to remain a ‘‘child’’ by                   Act.


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